Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 1 of 323 PageID #:17




                          EXHIBIT B
    Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 2 of 323 PageID #:18




                      IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                            COUNTY DEPARTMENT, LAW DIVISION

BRANDON      SMIETANA,  SKYCOIN           )
GLOBAL FOUNDATION LIMITED, a              )
Singapore Company, and SYMBOLIC           )
ANALYTICS      INC.,  a  Delaware         )
Corporation,                              )
                                          )
          Plaintiffs,                     )    Case No: 2024L003661
                                          )
          v.                              )    Calendar W
BRADFORD STEPHENS, AARON KUNSTMAN, )
JOEL WAYNE CUTHRIELL, MORGEN PECK, )
CATHERINE BYERLY, ADVANCE MAGAZINE )
PUBLISHERS, INC., d/b/a THE NEW YORKER, )
and   UNKNOWN         INDIVIDUALS    AND )
COMPANIES,
          Defendant.           PLEADINGS INDEX

       Date                            Party                   Actions                  Document
 04/04/2024                 Plaintiff SMIETANA,       Complaint at Law and
                            BRANDON                   Exhibits
                                                                                   2024L003661 (1).pdf




                                                                                     2024L003661.pdf



 05/30/2024                 Morgen E. Peck, Conde     Summonses issued             Summons - Aaron    Summons -
                            Nast/American                                            Kunstman.pdf Catherine Byerly.pdf



                            Publishers, Catherine                                   Summons - The Summons - Morgen
                                                                                   New Yorker Magazine.pdf
                                                                                                         E. Peck.pdf
                            Byerly, Aaron Kunstman,
                            Bradford Stephens, Joel                                Summons - Joel W.
                                                                                      Cthriell.pdf
                                                                                                         Summons -
                                                                                                     Bradford Stephens.pdf
                            Wayne, Ryan Eagle
                                                                                    Summons - Ryan
                                                                                       Eagle.pdf




 05/30/2024                 Plaintiff                 Plaintiffs’ Routine Motion
                                                      To Appoint Special
                                                      Process Server for                 2024L003661
                                                                                           (33).pdf
                                                      Bradford Stephens, Aaron
                                                      Kunstman, Ryan Eagle,
                                                      Joel Wayne Cuthriell,
                                                      Morgen Peck, Catherine
                                                      Byerly, American
                                                      Publishers, Inc., d/b/a
                                                      Conde Nast and d/b/a



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    Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 3 of 323 PageID #:19

BRANDON    SMIETANA,        Plaintiffs,                 )          Case No: 2024L003661
v.                                                      )
BRADFORD STEPHENS, et al., Defendant.                   )                Calendar W


          Date                       Party                     Actions                  Document
                                                       The New Yorker set for
                                                       6/11/2024

  06/06/2024                Court                      Initial Case Management
                                                                                      2024L003661
                                                       Notice sent for 7/10/2024        (31).pdf




 06/11/2024                 Court                      Order appointing Special
                                                                                   2024L003661 (1).pdf
                                                       Process Server, allowed
                                                       case set for

 06/12/2024                 Defendant CUTHRIELL,       Appearance Filed - Fee
                                                                                   2024L003661 (4).pdf
                            JOEL WAYNE                 Paid - Party: Defendant

 06/18/2024                 Defendant EAGLE, RYAN      Appearance Filed - Fee
                                                                                   2024L003661 (3).pdf
                            by Attorney Svoboda,       Paid - Party: Defendant
                            George William

 06/28/2024                 Defendant EAGLE, RYAN      Motion To Dismiss Filed;
                                                                                   2024L003661 (1).pdf
                                                       Notice Of Motion set for
                                                       7/10/2024
                                                                                      2024L003661
                                                                                        (35).pdf




 07/10/2024                 Court                      Eagle’s Motion granted in
                                                                                      2024L003661
                                                       part and denied in part;         (16).pdf

                                                       Complaint Stricken; 14
                                                       days to re-plead by
                                                       7/24/24; Eagle to answer
                                                       14 days by 8/7/24; Status
                                                       Hearing 08/27/2024 at
                                                       9:00 AM via zoom

 07/24/2024                 Plaintiff SMIETANA,        Amended Complaint
                                                                                   2024L003661 (8).pdf
                            BRANDON

 07/26/2024                 Plaintiff SMIETANA,        Alias Summons
                                                                                      2024L003661
                            BRANDON                    Issued Brandon Stephens          (38).pdf

                                                       (@ Wife's Address)

 07/29/2024                 Defendant EAGLE, RYAN      Motion to Dismiss filed
                                                                                      2024L003661
                                                       Notice Of Motion for             (37).pdf

                                                       8/27/2024

 08/20/2024                 Court                      Order - Eagle’s Motion to
                                                                                   2024L003661 (2).pdf
                                                       dismiss granted in part
                                                       and enied in part; First
                                                       Amended complaint
                                                       stricken; 7 days to

                                                   2
4874-1633-7638v.1 3970178-000015
    Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 4 of 323 PageID #:20

BRANDON    SMIETANA,        Plaintiffs,                )          Case No: 2024L003661
v.                                                     )
BRADFORD STEPHENS, et al., Defendant.                  )                Calendar W


          Date                       Party                     Actions                Document
                                                      replead; Eagle to answer
                                                      7 days thereafter; status
                                                      on 9/17/2024 @ 9 am via
                                                      Zoom

 08/23/2024                 Defendant AMERICAN        UNOPPOSED MOTION
                            PUBLISHERS, INC. d/b/a    FOR EXTENSION OF            TNY - Extension
                                                                                   Motion.pdf
                            CONDE NAST and d/b/a      TIME BY DEFENDANT
                            THE NEW YORKER            ADVANCE MAGAZINE
                            MAGAZINE                  PUBLISHERS INC. d/b/a
                                                                                  TNY - Notice of
                                                      THE NEW YORKER               Motion.pdf
                                                      (INCORRECTLY SUED
                                                      HEREIN AS AMERICAN
                                                      PUBLISHERS, INC. d/b/a
                                                      COND NAST AND d/b/a
                                                      THE NEW YORKER
                                                      MAGAZINE, Notice Of
                                                      Motion

 08/23/2024                 Defendant AMERICAN        Appearance of Davis
                            PUBLISHERS, INC. d/b/a    Wright Tremaine, LLP by       TNY - HLK
                                                                                  Apperance.pdf
                            CONDE NAST and d/b/a      Harris L. Kay for The New
                            THE NEW YORKER            Yorker Magazine
                                                                                  TNY - Notice of
                            MAGAZINE                                                Filing.pdf




 08/23/2024                 Plaintiff SMIETANA,       Emergency Motion for
                            BRANDON                   Extension of Time to           2024L003661
                                                                                       (11).pdf
                                                      Replead
                                                                                     2024L003661
                                                                                       (14).pdf




 08/26/2024                 Court                     Emergency motion to
                                                                                  2024L003661
                                                      replead granted; replead      (12).pdf

                                                      by 9/9/2024; Eagle
                                                      granted 7 days to answer
                                                      by 9/16/2024; Status set
                                                      for 9/17/2024 to stand

 08/29/2024                 Defendant AMERICAN        UNOPPOSED MOTION
                            PUBLISHERS, INC. d/b/a    FOR EXTENSION OF            TNY - Notice of
                                                                                   Motion.pdf
                            CONDE NAST and d/b/a      TIME BY DEFENDANT
                            THE NEW YORKER            ADVANCE MAGAZINE
                            MAGAZINE                  PUBLISHERS INC. d/b/a
                                                      THE NEW YORKER;
                                                      Notice of Motion – for
                                                      9/17/2024



                                                  3
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    Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 5 of 323 PageID #:21

BRANDON    SMIETANA,        Plaintiffs,                  )          Case No: 2024L003661
v.                                                       )
BRADFORD STEPHENS, et al., Defendant.                    )                 Calendar W


          Date                          Party                    Actions                    Document

 09/05/2024                 Defendant AMERICAN           Affidavit Filed Verified
                            PUBLISHERS INC. d/b/a       Statement of Out-of-State        Smietana v.
                                                                                     Stephens - Affidavit - Nmira Hameed Azmi - 707.pdf
                            CONDE NAST and d/b/a        Attorney Pursuant to
                            THE NEW YORKER              Supreme Court Rule 707
                                                                                         Smietana v.
                            MAGAZINE                    for Nimra Hameed Azmi;       Stephens - Notice of Filing - 707 Statement Azmi.pdf

                                                        Notice of Filing

 09/05/2024                 Defendant AMERICAN          Application Filed Verified
                            PUBLISHERS INC. d/b/a       Statement of Out-of-State        Smietana v.
                                                                                     Stephens - Notice of Filing - 707 Statement Bolger.pdf
                            CONDE NAST and d/b/a        Attorney Pursuant to
                            THE NEW YORKER              Supreme Court Rule 707
                                                                                         Smietana v.
                            MAGAZINE                    for Bolger; Notice of        Stephens - Affidavit - Kate Bolgeri - 707.pdf

                                                        Filing

 09/09/2024                 Plaintiff SMIETANA,         Second Amended
                            BRANDON                     Complaint; Notice Of              2024L003661
                                                                                            (26).pdf
                                                        Filing Filed

 09/11/2024                 Defendant AMERICAN          UNOPPOSED MOTION
                            PUBLISHERS, INC. d/b/a      FOR EXTENSION OF                New Yorker -
                                                                                     Second Extension Motion.pdf
                            CONDE NAST and d/b/a        TIME BY DEFENDANT
                            THE NEW YORKER              ADVANCE MAGAZINE
                            MAGAZINE                    PUBLISHERS INC. d/b/a            Smietana v.
                                                                                     Stephens - Notice of Motion - Updated Motion.pdf
                                                        THE NEW YORKER;
                                                        Notice of Motion - For
                                                        Extension – Updated set
                                                        for 9/17/2024

 09/13/2024                 Plaintiff                   Alias Summons
                                                                                      Alias Summons -  Alias Summons -
                                                        Issued Byerly, Catherine      Morgen Peck.pdf Aaron M. Kunstman.pdf



                                                        J., Kunstman, Aaron,                           Alias Summons -
                                                                                      Alias Summons -
                                                                                     Catherin J. Byerly.pdfBradford Stephens.pdf
                                                        Peck, Morgan, Bradford,
                                                        Stephens (801 North                               Alias Summons -
                                                                                       Alias Summons -
                                                        Brand Blvd) and Alias        Brandon Stephens -Brandon
                                                                                                       Chicago.pdfStephens - California.pdf



                                                        Summons Issued

 09/16/2024                 Plaintiff                   Alias Summons Issued for
                                                        Bradford Stephens (289
                                                                                     2024L003661 (8).pdf
                                                        Clinton Avenue, Apt 2,
                                                        Brooklyn NY 11205)




                                                    4
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BRANDON    SMIETANA,        Plaintiffs,          )           Case No: 2024L003661
v.                                               )
BRADFORD STEPHENS, et al., Defendant.            )                 Calendar W


          Date                      Party                Actions                Document

 09/17/2024                 Court               Plaintiff’s claims against
                                                Eagle dismissed; Claims
                                                                                 2024-09-17
                                                against all other            2024-L-003661 Smietana v. Stephens Dis
                                                defendants remain
                                                pending.
                                                                                 2024-09-17
                                                TNY motion to extend         2024-L-003661 Smietana v. Stephens Pro
                                                time to answer granted;

                                                Status on 11/12/2024 at
                                                9:00 am in Room 1912




                                            5
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                           Case: Initial
      Law Division Motion Section     1:24-cv-08617   Document
                                          Case Management  Dates for #:  1-2 Filed:(A,B,C,D,E,F,H,R,X,Z)
                                                                     CALENDARS       09/18/24 Page 7willofbe323  PageID
                                                                                                             heard         #:23
                                                                                                                   In Person.
      All other Law Division Initial Case Management Dates will be heard via Zoom
      For more information and Zoom Meeting IDs go to https.//www.cookcountycourt,org/HOME?Zoom-Links?Agg4906_SelectTab/12
      Court Date: 7/10/2024 9:00 AM                                                                                   FILED
                                                                                                                               4/4/2024 10:00 PM
                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS IRIS Y. MARTINEZ
                                                                                                         CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                               COOK COUNTY, IL
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                                                                                                                               2024L003661
                                             BRANDON SMIETANA, SKYCOIN GLOBAL                                                  Calendar, W
                                             FOUNDATION LIMITED, a Singapore                                                   27132074
                                             Company, and SYMBOLIC ANALYTICS INC.,
                                             a Delaware Corporation,

                                                                          Plaintiffs,

                                                    v.                                                  Case No.

                                             BRADFORD STEPHENS, AARON
                                             KUNSTMAN, RYAN EAGLE, JOEL WAYNE
                                             CUTHRIELL, MORGEN PECK, CATHERINE
                                             BYERLY, AMERICAN PUBLISHERS, INC.
                                             d/b/a CONDÉ NAST and d/b/a THE NEW
                                             YORKER MAGAZINE, and UNKNOWN
                                             INDIVIDUALS AND COMPANIES,

                                                                          Defendants.

                                                                               COMPLAINT AT LAW

                                                   NOW COME the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, and for their

                                            Complaint against Defendants, BRADFORD STEPHENS, AARON KUNSTMAN, RYAN

                                            EAGLE, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE BYERLY, and

                                            AMERICAN PUBLISHERS, INC. d/b/a CONDÉ NAST and d/b/a THE NEW YORKER

                                            MAGAZINE, and UNKNOWN INDIVIDUAL(S) AND COMPANIES, state as follows:

                                                                                        PARTIES

                                                   1.     SKYCOIN GLOBAL FOUNDATION LIMITED, a Singapore Company (hereafter

                                            “Skycoin”) is a consortium of related entities involved in the development of software, hardware,

                                            design, manufacturing, and services operating under the consumer brand name “Skycoin,” which



                                                                                           1
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                                            includes Skycoin Global Foundation, Symbolic Analytics Inc., Shellpay China, and other entities

                                            that are responsible for regional operations or management of specific assets of Skycoin’s global
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                                            operations.

                                                   2.      Skycoin created 100 million Skycoin Tokens during its launch in 2013, which were

                                            distributed and traded on various exchanges by 2017.

                                                   3.      The peak market capitalization of all existing Skycoin Tokens reached $5 billion

                                            USD in January 2018.

                                                   4.      Skycoin is a private company organized under the laws of Singapore, its principal

                                            place of business located at 2 Venture Drive, #11-31, Vision Exchange, Singapore.

                                                   5.      Plaintiff Symbolic Analytics (“SA”) is a private company organized under the laws

                                            of Delaware, United States.

                                                   6.      Plaintiff, BRANDON SMIETANA (“Smietana”) is an individual citizen of the

                                            United States and is the Chief Software Architect and authorized representative of Skycoin and

                                            SA.

                                                   7.      Defendant BRADFORD STEPHENS (“Stephens) is an individual citizen of the

                                            State of New York, United States.

                                                   8.      Defendant RYAN EAGLE (“Eagle”) is an individual citizen of the State of Illinois,

                                            United States, and the Village of Buffalo Grove.

                                                   9.      On information and belief, Defendant JOEL WAYNE CUTHRIELL (“Cuthriell”)

                                            is an individual citizen of the State of Oklahoma, United States.

                                                   10.     Defendant AARON KUNSTMAN (“Kunstman”) is an individual citizen of the

                                            State of Wisconsin, United States.




                                                                                               2
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                                                    11.      “Sudo” is a network of similarly named Telegram accounts, operated by a minimum

                                            of four persons. At least one of these persons is known to be Kunstman. Stephens is widely
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                                            believed to also be one of the account operators. The other two or more operators are currently

                                            unknown.

                                                    12.      Defendant CATHERINE BYERLY (“Byerly”) is an individual citizen of the State

                                            of Florida, United States.

                                                    13.      Byerly was employed by a marketing company called 22 Acacia Consulting,

                                            located in Chicago, Illinois.

                                                    14.      Byerly was hired by Stephens through her employment at 22 Acacia Consulting to

                                            perform marketing services for Skycoin.

                                                    15.      Defendant MORGEN PECK (“Peck”) is a privately paid journalist and individual

                                            citizen of the State of New York, United States.

                                                    16.      Defendant AMERICAN PUBLISHERS, INC. d/b/a CONDÉ NAST and d/b/a THE

                                            NEW YORKER MAGAZINE (“Condé Nast”) is a global mass media company in the business of

                                            producing world leading print, digital, video, and social media brands organized under the laws of

                                            the State of New York.

                                                    17.      Condé Nast is the owner, operator, and publisher of The New Yorker Magazine

                                            (“The New Yorker”), a prominent American weekly magazine.

                                                    18.      On August 28, 2021, Peck authored an article published in The New Yorker titled

                                            Pumpers, Dumpers, and Shills: The Skycoin Saga.1




                                            1
                                              The article can be found at: https://www.newyorker.com/tech/annals-of-technology/pumpers-dumpers-and-shills-
                                            the-skycoin-saga

                                                                                                   3
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                                                   19.     Stephens, recognizing the success of Skycoin, devised a plan and scheme to

                                            defraud, extort, and steal money and assets from Skycoin in concert with some or all of the other
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                                            named party Defendants.

                                                                         FACTS COMMON TO ALL COUNTS

                                                   20.     On or about January 8, 2018, Plaintiffs entered into discussions with Stephens to

                                            develop, launch, and manage a comprehensive marketing and brand awareness program for

                                            Skycoin, including but not limited to revamping Skycoin’s website, performing search engine

                                            optimization (“SEO”) services, and generating positive publicity for Skycoin (hereafter referred

                                            to as the “Marketing Program”).

                                                   21.     On or about January 8, 2018, Stephens represented himself to be the owner of

                                            Smolder LLC, a marketing startup company, to which the payments would be made for the

                                            Marketing Program. Stephens claimed that his business partners were Eagle, Adam Young, and

                                            Harrison Gevirtz.

                                                   22.     Unbeknownst to Plaintiffs, Stephens and Eagle were prohibited from engaging in

                                            activities such as the Marketing Program pursuant to an order from the Federal Trade Commission

                                            (“FTC”), dated February 19, 2014 (“the Order”). See Federal Trade Commission v. CPA Tank, Inc.,

                                            Vito Glazers, Eagle Web Assets, Inc., and Ryan Eagle, Case No. 14-cv-1239.

                                                   23.     At all times relevant herein, Stephens was aware that pursuant to the Order, he could

                                            not accept payments for marketing activities.

                                                   24.     Stephens failed to inform Plaintiffs of the existence of the Order and further

                                            violated it by offering to provide marketing services to Plaintiffs.

                                                   25.     If Plaintiffs had known about the Order and/or if Stephens had not lied about and

                                            concealed the Order, Plaintiffs would not have entered into the Marketing Program with Stephens.



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                                                   26.     Plaintiffs reached an oral agreement with Stephens to implement the Marketing

                                            Program, and as part and parcel of that agreement, paid him $107,948.00 ($66,258.00 in the form
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                                            of four (4) Bitcoins and $41,690.00 in the form of 1,100 Skycoin Tokens) (the “Initial Payment”).

                                            The Initial Payment included an expense budget for an upcoming industry conference in Las

                                            Vegas, Nevada. Plaintiffs and Stephens explicitly agreed that as part of their agreement, any

                                            expense in excess of $1,000.00 would require prior approval from Skycoin.

                                                   27.     In addition to the Initial Payment, Plaintiffs paid Stephens approximately

                                            $800,000.00 in Skycoin Tokens for an internet advertising campaign.

                                                   28.     Shortly after receiving the Initial Payment, Stephens submitted two additional

                                            invoices for certain work allegedly performed by Byerly totaling approximately $14,752.44.

                                                   29.     On or about January 12, 2018, Stephens and Byerly notified Plaintiffs of a potential

                                            crisis that could critically impact Skycoin’s business, marketing, and internet presence. As

                                            represented by Stephens and Byerly, an unknown third party was targeting Skycoin by linking

                                            pornographic blogs and other harmful spam content to Skycoin’s website. Such content would

                                            function to decrease Skycoin’s website’s ranking precipitously in search engines and irrevocably

                                            damage Skycoin’s image, reputation, and internet presence.

                                                   30.     In order to combat the internet attack by said third party, Stephens represented to

                                            Plaintiffs that an additional payment of $38,000.00 would be required.

                                                   31.     On or about January 14, 2018, and January 19, 2018, Skycoin paid Stephens the

                                            requested $38,000.00.

                                                   32.     Stephens’s attack on Skycoin’s website damaged Skycoin’s SEO ranking and

                                            significantly reduced internet traffic to Skycoin’s website.




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                                                   33.       In January of 2018, Skycoin made the following payments to Stephens in

                                            connection with the Marketing Program:
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                                                          a. January 11, 2018: 20,000 Skycoin Tokens ($842,400.00) for the Marketing
                                                             Program budget;

                                                          b. January 13, 2018: One (1) Bitcoin ($14,314.00) for a conference in Miami, Florida;

                                                          c. January 16, 2018: 3,899 Skycoin Tokens ($121,337.00) for the Marketing Program
                                                             budget;

                                                          d. January 18, 2018: Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens
                                                             ($80,929.00) for Marketing Program labor costs; and

                                                          e. January 19, 2018: Four (4) Bitcoins (56,457.00) and a separate payment of 1.30
                                                             Bitcoin for the Marketing Program and to combat the aforementioned attacks on
                                                             Skycoin’s website. These services were never performed.

                                                   34.       In late January to early February 2018, Stephens demanded that Skycoin pay him

                                            $100,000.00 per month to ward off the supposed third party attacks on Skycoin’s website. Stephens

                                            later increased his monthly demand to $300,000.00 in order to quell the attacks.

                                                   35.       In early February of 2018, Plaintiffs discovered that in actuality, there was no third

                                            party attacking Skycoin’s website. Rather, the attack was instigated by Stephens as a fraudulent

                                            means to extract additional funds from Skycoin. The invoices submitted by Stephens were

                                            fabricated.

                                                   36.       In early February of 2018, SA received deficient invoices that were highly

                                            suggestive of fraud. Upon determining that there may be fraud in Stephens’s invoices, Plaintiffs

                                            discontinued all additional payments.

                                                                              DEFENDANTS’ EXTORTION

                                                   37.       Upon Skycoin’s refusal to pay Stephens the monthly payments requested in or

                                            around February 2018, Stephens met Smietana in Shanghai, China, and in association with Eagle,

                                            who was participating via Zoom, threatened to have Skycoin delisted from all exchanges including,

                                                                                               6
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                                            for example, Bittrex and Binance, unless Smietana agreed to pay them $30,000,000.00 in Bitcoin

                                            and $1,000,000.00 in US Dollars.
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                                                       38.     Defendants’ threats included statements that failure to comply would result in

                                            Skycoin’s destruction and the price of Skycoin being driven to zero.

                                                       39.     Stephens demanded that he be made COO of Skycoin and be put in control of the

                                            management of the company.

                                                       40.     Smietana, in fear of Defendants’ threats, capitulated to their demand and initiated

                                            the first of three (3) extortion payments on or about February 9, 2018, in the amount of $127,000.00

                                            (the “Extortion Payments”).

                                                       41.     On or about February 22, 2018, Stephens ended his Marketing Program

                                            engagement with Plaintiffs under pressure from Skycoin's advisory board because of the discovery

                                            of the fraudulent invoicing and business practices.

                                                       42.     Plaintiffs requested a refund of the unspent prepayments made for the Marketing

                                            Program, however, Stephens refused to return any of said money.

                                                       43.     In and around the time Stephens demanded the Extortion Payments from Smietana,

                                            they also attempted to hostilely seize control of Skycoin. Specifically, Stephens threatened to

                                            orchestrate the publication of a series of negative and damaging articles through various print and

                                            online media sources unless Smietana made Defendant Stephens COO of Skycoin.

                                                       44.     In furtherance of this conspiracy and plan to take over Skycoin, Stephens paid

                                            journalist Tristian Greene (“Greene”) to write and publish the article entitled “Skycoin: Anatomy

                                            of a cryptocurrency scam,” February 15, 2018 - 10:47 pm UTC under an anonymous name.2




                                            2
                                                The article can be found at: https://thenextweb.com/news/anatomy-of-a-cryptocurrency-scam-in-the-wild

                                                                                                      7
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                                                    45.      The negative article caused severe damage to the price of Skycoin Tokens and to

                                            Skycoin’s reputation. Stephens openly admitted that he was responsible for paying Greene to
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                                            publish the article, but went to Skycoin’s investors and claimed that Smietana had ordered him to

                                            have a negative article published to intentionally destroy the price of Skycoin Token. Stephens

                                            attempted to organize a management and investor revolt, to transfer control of the company to

                                            himself, under the pretense that the actions Stephen had himself performed were in fact performed

                                            by Smietana

                                                    46.      Greene later cited that same article in another negative Skycoin article on “The

                                            Next Web,” in an article titled “Exclusive: We suspected this shady cryptocurrency project was a

                                            scam. Now we’re sure of it.” Published March 8, 2018, 3:22 am UTC.3

                                                    47.      A key part of Skycoin’s business plan was to be listed on the Bittrex Exchange. The

                                            Bittrex Exchange is a world-wide trading platform that facilitates real-time order execution of

                                            crypto currencies, such as Skycoin.

                                                    48.      Skycoin devoted significant resources to obtain a Bittrex listing, which had been

                                            negotiated through a third party.

                                                    49.      Knowing that Skycoin was about to obtain a Bittrex listing, on or about February

                                            25, 2018, Stephens threatened Smietana that unless Smietana paid Stephens and Eagle, he would

                                            approach Bittrex and purposely interfere with Skycoin’s third-party relationships to prevent

                                            Skycoin from being listed on Bittrex.

                                                    50.      Smietana refused to pay the money demanded by Defendant Stephens, and in turn

                                            Stephens did, in fact, provide untrue information to Bittrex and which ultimately led to the spread

                                            of false rumors regarding Skycoin and Skycoin ultimately not being listed on the Bittrex Exchange.


                                            3
                                             The article can be found at: https://thenextweb.com/news/exclusive-we-suspected-this-shady-cryptocurrency-
                                            project-was-a-scam-now-were-sure-of-it

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                                                   51.     Between February 26, 2018, through March 9, 2018, Stephens and Byerly stole

                                            access to Skycoin’s media accounts, including but not limited to, Skycoin’s Shopify store, Twitter
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                                            account, Linkedin account, Slack channel account, and accounts associate with the operation of

                                            Skycoin’s website. These media accounts were an integral and necessary component of Skycoin’s

                                            business.

                                                   52.     On or about October 18, 2018, Stephens demanded over $150,000.00 for return of

                                            Skycoin’s stolen computer-based assets and media accounts.

                                                   53.     On or about May 24, 2018, Binace announced that it would list Skycoin on its

                                            exchange. Binance holds itself out as the “world’s largest crypto exchange” and is a trading

                                            platform where customers can buy and sell cryptocurrencies. It is highly desirable for

                                            cryptocurrencies to be listed on the Binance exchange.

                                                   54.     On or about June 12, 2018, when Smietana refused to succumb to Stephens’s

                                            extortion demands, Stephens and Eagle conspired with Yan Xiandong, Li Min, Sam Sing Fond and

                                            Sun Fei (collectively the “Assailants”) in a plot to kidnap Smietana and his girlfriend and steal

                                            $30,000,000.00 that Stephens claimed he was due from Skycoin.

                                                   55.     In furtherance of the conspiracy, the Assailants invaded Smietana’s home where

                                            they violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6)

                                            hours in order to gain access to Smietana’s computer sustems, Skycoin’s source code, Skycoin

                                            intellectual property, company accounts for operation of business, and cryptocurrency wallets.

                                                   56.     Under threats of further violence and death, Smietana provided the passwords to

                                            his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

                                            Skycoin Tokens with a market value of $81,018.98, totaling $220,179.31.




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                                                   57.     During the siege and home invasion, the Assailants called Defendant Stephens and

                                            complained that they did not find the thousands of Bitcoin promised to them.
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                                                                      DEFENDANTS' THEFT OF ACCOUNTS

                                                   58.     Prior to Stephens's separation from Skycoin, upon notice of his departure, the

                                            company made a list of all accounts to which Stephens had authorized access and thereinafter

                                            terminated his access to those accounts.

                                                   59.     Skycoin staff contacted Stephens requesting that he return all company assets and

                                            company accounts, and to provide accounting statements of expenditures so that Plaintiffs could

                                            calculate how much unspent money was due to the company.

                                                   60.     SA staff and members of Skycoin contacted Stephens requesting that he return all

                                            company assets and company accounts, and to provide accounting statements of expenditures so

                                            that Plaintiffs could calculate how much unspent money was due to the company.

                                                   61.     Stephens acknowledged that there were unspent funds due back to Plaintiffs,

                                            however, instead of returning the money due, Defendant Stephens hacked into the various

                                            company accounts and began to engage in a series of extortion and fraudulent acts against Skycoin.

                                                   62.     Stephens and Byerly changed the passwords to some of the company accounts,

                                            locked Skycoin and SA out of them, and then attempted to extort the company for an additional

                                            $150,000.00. In addition, Defendants refused to return the unspent money that was prepaid and

                                            allocated for marketing services. The amount due back to Skycoin and SA was in excess of

                                            $800,000.00.

                                                   63.     Plaintiffs incurred considerable expense to regain access to the stolen accounts and

                                            to migrate the content to the reacquired accounts. Those accounts included, but were not limited




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                                            to, the Medium Account, Shopify, Twitter, Skycoin Telegram, Skycoin Rewards, Facebook, and

                                            Linkedin.
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                                                                  DEFENDANTS’ UNAUTHORIZED EXPENSES

                                                   64.    Stephens and Byerly engaged in various schemes to defraud Skycoin and attempted

                                            to invoice unapproved, non-business related costs including a Las Vegas prostitute orgy,

                                            unsubstantiated ATM withdrawals, personal entertainment costs and what is believed to be money

                                            for the purchase of drugs. These expenses were neither approved by Skycoin nor related to any

                                            legitimate business activities.

                                                   65.    For example, Stephens sent invoices to Skycoin totaling $50,000.00 for cash

                                            payments for two days in Las Vegas. Despite several requests, Defendants refused to produce

                                            ATM receipts for the $50,000.00 expense, could not explain how the cash was used, could not

                                            show that the expenses were business related, could not justify the amount spent, and could not

                                            produce receipts for any “cash payments.”

                                                   66.    Stephens and Byerly billed SA for subcontractors without seeking prior

                                            authorization from Plaintiffs for such payments.

                                                   67.    On information and belief, Stephens and Byerly engaged in a scheme to defraud

                                            Plaintiffs by invoicing full time rates for subcontractors employed part time and even invoicing

                                            Company for nonexistent persons.

                                                   68.    Stephens and Byerly billed for subcontractors work that not only both pre-dated

                                            and post-dated the Marketing Program, but which also included full time rates for part-time work

                                            and also included invoicing from nonexistent subcontractors.




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                                                   69.        Stephens and Byerly billed for invalid date periods, such as submitting invoices for

                                            billing periods prior to the Marketing Program and work performed for billing periods after the
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                                            termination of their relationship with Skycoin.

                                                   70.        Stephens and Byerly attempted to bill for costs which had not been submitted to the

                                            Company for preapproval and made misrepresentations to Skycoin staff, including Skycoin’s

                                            Head of Events, who was responsible for event budgets. Stephens made false misrepresentations

                                            claiming that these expenses had received approval, and that the Company had been notified of

                                            the expenses.

                                                   71.        Stephens and Byerly attempted to bill the company for unapproved "events" on

                                            non-existent dates. Additionally, there were several other strong indicators that many or all of the

                                            claimed expenses were fraudulent or manufactured.

                                                                                   BINANCE DELISTING

                                                   72.        In and around June of 2020, because Smietana refused to capitulate to the extortion

                                            demands, Stephens, in conjunction with Kunstman and others, embarked upon a scheme and plan

                                            to delist Skycoin from Binance and effectively destroy Skycoin’s reputation and depress Skycoin

                                            Tokens’ market value.

                                                   73.        In furtherance of this plan and scheme, Defendant Stephens solicited other

                                            individuals to make false complaints against Skycoin in order to have Binance delist Skycoin from

                                            the exchange. The false complaints they directed others to make to Binance to achieve the delisting

                                            are as follows:

                                                         a. That Skycoin sells Skycoin Tokens customers outside of the Binance exchange
                                                            but after receiving the funds, never sends those customers the Skycoin Tokens for
                                                            which they paid;

                                                         b. That individuals from Skycoin would privately meet with customers and accept
                                                            payment for Skycoin Tokens at 15% below market value;

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                                                         c. After customers consummated such side transactions, they would immediately
                                                            “dump” the Skycoin Tokens on the market;
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                                                         d. That Smietana would request that customers privately pay him $1,000,000.00 in
                                                            Bitcoin or cash for discounted Skycoin Tokens that they could then “dump” on the
                                                            market immediately and achieve a $150,000.00 profit; and

                                                         e. That Smietana and Skycoin launders money through customers by promising them
                                                            an immediate 15%-20% profit through the unauthorized purchase of Skycoin
                                                            Tokens.

                                                   74.      Upon evidence and belief, Cuthriell and other persons were hired to harass Skycoin

                                            and interfere with Skycoin’s relationships with exchanges and partners corporations, made public

                                            statements in Telegram channels bragging that they had paid journalists to publish articles to

                                            slander the company, and even publicly discussed the type and content of false reports that needed

                                            to be made against Skycoin in order to achieve a delisting from Binance.

                                                   75.      As part of his plan and scheme to have Skycoin delisted from Binance, Stephens,

                                            Kunstman, and Cuthriell also orchestrated having several individuals send repeated complaints to

                                            Binance that included allegations of drug use and criminal charges against Smietana and other

                                            baseless allegations.

                                                   76.      As further evidence of the conspiracy, Cuthriell publicly congratulated all persons

                                            involved in the Binance delisting of Skycoin with the exclamation of “Nice work team” and

                                            “PARTY TIME.”

                                                                                      COUNT I
                                                                    Fraud – Bradford Stephens and Catherine Byerly

                                                   77.      Plaintiffs repeat and reallege paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 77 of this Count I as if fully set forth herein.




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                                                    78.       Stephens approached Plaintiffs representing himself as a legitimate advertising and

                                            marketing firm, with Stephens and Eagle Web Assets (EWA) as “business partners” involved in
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                                            every aspect of the “business”.

                                                    79.       Plaintiffs would later learn that these persons came from a company “EWA” which

                                            had a history of litigation and that these persons were under an FTC Order for fraudulent marketing

                                            practices.

                                                    80.       Stephens and Byerly represented to Smietana that they would provide advertising

                                            and marketing services, including web design, online advertising, conference events, and display

                                            advertising.

                                                    81.       Stephens represented to Smietana that he would provide advertising, web design,

                                            and marketing services for Plaintiffs in return for payment.

                                                    82.       In reality, Stephens had no intention of providing any advertising, web design, or

                                            marketing of any kind for Plaintiffs.

                                                    83.       Stephens and Byerly, in fact, did not provide any advertising or marketing services

                                            for Plaintiffs.

                                                    84.       Stephens and Byerly never provided any web design services on behalf of Plaintiffs.

                                                    85.       In reliance upon the representations of Stephens and Byerly, Plaintiffs paid them

                                            approximately $800,000.00 for their services and the costs of advertising and marketing.

                                                    86.       When asked, Defendants represented to Plaintiff Smietana that they had no prior

                                            lawsuits that had been filed against them.

                                                    87.       These representations were knowingly false when made.




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                                                   88.      In fact, Stephens’ business partners, Harrison Gevirtz and Eagle, had an extensive

                                            history of litigation and had been named in multiple lawsuits and were subject to an FTC injunction
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                                            for fraudulent marketing practices.

                                                   89.      Following the payment of the initial $800,000.00, Defendants Stephens and Byerly

                                            requested additional money, including an additional $60,000.00.

                                                   90.      Stephens and Byerly made these representations to Smietana and other Skycoin

                                            staff with the intent to induce payments and defraud Plaintiffs.

                                                   91.      These statements made by Stephens and Byerly were false when made.

                                                   92.      Defendants created scenarios and orchestrated fraudulent crises, making numerous

                                            misrepresentations, solely for the purpose of soliciting more money from Plaintiffs.

                                                   93.      Stephens and Byerly made the following misrepresentations and/or omissions upon

                                            which Plaintiffs justifiably relied to their detriment:

                                                         a. Lied about, concealed, and denied history of litigation against Defendants’
                                                            associates, business partners, and former corporations;

                                                         b. Failed to inform Plaintiffs of the FTC Order and government sanctions against their
                                                            former company, even when explicitly asked about any history of litigation prior to
                                                            payment and contract negotiations;

                                                         c. Falsely represented that an unknown third party was targeting Skycoin by linking
                                                            pornographic blogs and other harmful spam content to Skycoin’s website;

                                                         d. Falsely agreed to seek written pre-approval from the Company for incurred
                                                            expenses;

                                                         e. Falsely represented that they would provide marketing and advertisement services
                                                            to Plaintiffs;

                                                         f. Falsely representing that they would provide web design services to Plaintiffs; and

                                                         g. Falsely represented the expenses and costs of said marketing and advertising
                                                            services.

                                                            (See also Facts Common to All Counts)

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                                                    94.       Plaintiffs relied upon the representations of Defendants Stephens, Gevirtz, and
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                                            Byerly and paid the requested amounts to Defendants.

                                                    95.       As a direct and proximate result of Defendants Stephens, Gevirtz, and Byerly’s

                                            improper actions, Plaintiffs have sustained substantial economic damage through loss of business,

                                            loss of revenue, loss of contracts, loss of market visibility, and damage to their reputation.

                                                    WHEREFORE,           Plaintiffs,   BRANDON            SMIETANA,      SKYCOIN         GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            and CATHERINE BYERLY, and each of them, in an amount in excess of $50,000.00, plus

                                            Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable Court

                                            deems just and equitable in the premises.

                                                                                    COUNT II
                                                       Fraud – Bradford Stephens, Aaron Kunstman, and Joel Wayne Cuthriell

                                                    96.       Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 96 of this Count II as if fully set forth herein.

                                                    97.       On or about January 8, 2018, Plaintiffs entered into an oral agreement with

                                            Stephens, Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services

                                            for Plaintiffs.

                                                    98.       Following that agreement, Stephens defrauded Plaintiffs by failing to provide the

                                            contracted services, creating false “threats,” and extorting funds from Plaintiffs through coercion.

                                            Once discovered, Plaintiffs attempted to distance themselves from Defendants. However, in

                                            retaliation, Stephens, Kunstman, and Cuthriell began making false online profiles and applications



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                                            with false information in order to further defraud Plaintiffs out of approximately $2,000,000.00

                                            worth of Skycoin product.
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                                                   99.        Plaintiffs offered a reward program (“Reward Program”) to entice customers to

                                            their business.

                                                   100.       In order to obtain a reward, each participant is required to submit an application

                                            which conformed to S.A.’s terms and conditions. The terms included the following:

                                                         a. Each customer is only allowed to have one active Skywire Rewards account within
                                                            a single one month period.

                                                         b. Each customer is allowed to claim rewards for up to 8 Skywire nodes in a one
                                                            month period.

                                                         c. Only one instance of the “Skywire Node” software can be run on a single physical
                                                            computer.

                                                         d. Each customer may operate only a single reward program account within a one
                                                            month period

                                                         e. Each computer claiming a reward must be a physically separate and independent
                                                            computer.

                                                         f. It is a violation of the Rewards Program terms and service, for a user to run more
                                                            than one Skywire node per physical computer.

                                                   101.       Cuthriell and Stephens developed software to run over 300 "nodes" on a single

                                            physical computer, to defraud the Reward Program.

                                                   102.       Relying on the misrepresentations, SA provided these persons rewards to which

                                            they were not entitled, totaling approximately $2-$4 million (the precise amount of which is

                                            unknown as they have continued to submit fraudulent applications continuously and under

                                            multiple fake aliases). It is a regular method of the conspirators’ business to harass SA in this and

                                            other ways, and they will not stop without judicial intervention.




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                                                    103.    Plaintiffs relied upon the information provided in those online applications and

                                            profiles.
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                                                    104.    Had Plaintiffs known that these profiles and applications were being generated and

                                            submitted by Stephens, Kunstman, and Cuthriell repeatedly in order to accumulate Skycoin under

                                            false pretenses, Plaintiffs would not have made Reward Program payments to Defendants

                                            Stephens, Kunstman, and Cuthriell.

                                                    105.    Stephens, Kunstman, and Cuthriell made these repeated false representations to

                                            Plaintiffs through these applications and profiles even though they knew that they were false and

                                            made under false pretenses, with an intent to induce Plaintiffs into providing the $2,000,000.00 in

                                            digital payments/digital assets/digital currency.

                                                    106.    Stephens, Kunstman, Cuthriell have at all relevant times perpetuated and

                                            deliberately concealed this fraud from Plaintiffs.

                                                    107.    Stephens, Kunstman, and Cuthriell have engaged in a scheme to defraud Plaintiffs

                                            by consistently attempting to conceal this fraud and continue to submit false applications and

                                            profiles to Plaintiffs.

                                                    108.    Eagle conspired with Stephens and Kunstman to extort Plaintiffs out of money by

                                            threats of physical harm through the Assailants who invaded Smietana’s home and tortured both

                                            him and his pregnant girlfriend for over six hours.

                                                    109.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

                                            actions and misrepresentations, Plaintiffs have sustained damage economically through loss of

                                            business, loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.




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                                                   110.    Plaintiffs relied upon the accuracy and truthfulness of the submitted applications

                                            and profiles, and, had Plaintiffs been aware that the representations of Stephens, Kunstman, and
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                                            Cuthriell were false, Plaintiffs would not have acted as they did.

                                                   WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,     SKYCOIN          GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

                                            excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                            Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                                  COUNT III
                                                Civil Conspiracy – Bradford Stephens, Aaron Kunstman, Ryan Eagle, Joel Wayne
                                               Cuthriell, Morgen Peck, Catherine Byerly, and Unknown Individuals and Companies

                                                   111.    Plaintiffs repeat and reallege Paragraphs 1-76 of this Complaint as and for

                                            Paragraph 111 of this Count III as if fully set forth herein.

                                                   112.    Defendants agreed and conspired with one another to defraud Plaintiffs, tortiously

                                            interfere with their business relationships, commit various acts of wire fraud, computer fraud,

                                            manipulate the cryptocurrency market, and convert Plaintiffs’ property surreptitiously.

                                                   113.    Defendants’ acts in furtherance of the conspiracy included, but were not limited to:

                                                       a. Devising and implementing the Marketing Program to defraud Plaintiffs of
                                                          money;

                                                       b. Hacking and linking pornographic blogs and other harmful spam content to
                                                          Skycoin’s website to decrease Skycoin’s website’s ranking precipitously in search
                                                          engines and irrevocably destroy Skycoin’s image, reputation, and internet presence;

                                                       c. Threatening Plaintiffs with physical harm to extort them out of money;




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                                                       d. Invading Smietana’s home and torturing Plaintiff Smietana and his pregnant
                                                          girlfriend for approximately six (6) hours in order to gain access to Smietana’s
                                                          computer systems, Skycoin’s source code, Skycoin intellectual property, company
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                                                          accounts for operation of business, and cryptocurrency wallets;

                                                       e. Creating and employing a network of journalists to publish fraudulent articles to
                                                          destroy Skycoin’s image and reputation in order to drive down the price of
                                                          Skycoins; and

                                                                i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                                                                   published false articles regarding the legitimacy of Skycoin and Skycoin’s
                                                                   technology;

                                                                       1. Greene was within Stephens’s network and at all times knew
                                                                          Stephens was not the COO of Skycoin, yet published that he was,
                                                                          and continued to publish false information even after Smietana’s
                                                                          continuous attempts to correct the false claims.

                                                               ii. Employing Peck to knowingly write a false and defamatory article
                                                                   published in The New Yorker alleging Skycoin as a fraud and a scam; and

                                                              iii. Publishing an article in Cointelegraph by Simon Chandler, claiming that
                                                                   Plaintiffs’ attackers were “emboldened” to physically harm Smietana due to
                                                                   Skycoin’s “shady dealings.”

                                                       f. Hacking Skycoin’s Reward Program to defraud Plaintiffs out of millions of dollars.

                                                   114.    Defendants worked in concert with one another to accomplish this fraud as

                                            evidenced by their various communications and concerted acts against Plaintiffs.

                                                   115.    Defendants intended to defraud Plaintiffs out of their money, their product, and to

                                            tortiously interfere with their business relationships.

                                                   116.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

                                            market visibility, and loss of reputation.

                                                   WHEREFORE,           Plaintiffs,      BRANDON      SMIETANA,      SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

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                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, RYAN EAGLE, JOEL WAYNE CUTHRIELL, MORGEN PECK,
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                                            CATHERINE BYERLY, and UNKNOWN INDIVIDUALS AND COMPANIES, and each of

                                            them, in an amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further

                                            and other relief for Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                                    COUNT IV
                                                Tortious Interference – Bradford Stephens, Aaron Kunstman, Joel Wayne Cuthriell,
                                                     Catherine Byerly, Ryan Eagle, and Unknown Individuals and Companies

                                                     117.   Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 117 of this Count IV as if fully set forth herein.

                                                     118.   Plaintiffs developed business relationships and contracts with various vendors and

                                            customers since its launch in 2013.

                                                     119.   Skycoin sells non-fungible electronic products that fluctuate in value based upon

                                            the market rates on specific internet exchanges.

                                                     120.   For Skycoin to do business, it must participate in these internet exchange markets,

                                            such as, but not limited to, Bittrex, Binance, Kraken, Poloniex and Bifinix, in order to sell its

                                            goods.

                                                     121.   Stephens, Kunstman, Eagle, Cuthriell, Byerly, and UNKNOWN INDIVIDUALS

                                            AND COMPANIES, orchestrated various schemes to undermine the reputation of Plaintiffs and

                                            cause these internet exchange markets, specifically, Bittrex and Binance, to remove Plaintiffs’

                                            products from their exchanges (known as “Delisting”).

                                                     122.   Defendants were fully aware of Plaintiffs’ position within these internet exchange

                                            markets.




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                                                   123.    Defendants were fully aware that Plaintiffs’ Skycoin Token must be sold on these

                                            internet exchange markets.
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                                                   124.    Defendants were fully aware that Plaintiffs had agreements and/or expected

                                            agreements with these internet exchange markets.

                                                   125.    Defendants, nonetheless, acted in concert to cause these internet exchange markets

                                            to remove Plaintiffs’ Skycoin Token from those markets by harassing Skycoin and interfering with

                                            Skycoin’s relationships with exchanges and partners corporations, making public statements

                                            bragging that they had paid journalists to publish articles to slander the company, publicly

                                            discussing the type and content of false reports that needed to be made against Skycoin in order to

                                            achieve a delisting from Binance, and orchestrating having several individuals send repeated

                                            complaints to Binance that included allegations of drug use and criminal charges against Smietana

                                            and other baseless allegations.

                                                   126.    At all relevant times herein, Defendants intended to cause harm to Plaintiffs’

                                            reputation and finances in order to interfere with their relationships with these internet exchange

                                            markets, along with their customers and vendors.

                                                   127.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

                                            market visibility, and loss of reputation.

                                                   WHEREFORE,            Plaintiffs,     BRANDON    SMIETANA,        SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

                                            AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, RYAN EAGLE,



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                                            and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess

                                            of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as
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                                            this Honorable Court deems just and equitable in the premises.

                                                                                   COUNT V
                                               Unjust Enrichment – Bradford Stephens, Aaron Kunstman, Ryan Eagle, Joel Wayne
                                                     Cuthriell, Catherine Byerly, and Unknown Individuals and Companies

                                                   128.    Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 128 of this Count V as if fully set forth herein.

                                                   129.    Defendants were provided approximately $860,000.00 in funds to provide

                                            marketing, advertising, and web design services to Plaintiffs.

                                                   130.    These funds and goods were not earned, and Plaintiffs received no equivalent value

                                            for them in return.

                                                   131.    It would be unconscionable and against fundamental principles of justice, equity

                                            and good conscience for Defendants to retain the benefit from those funds, which were paid by

                                            Plaintiffs without receiving any benefit in return.

                                                   132.    Defendants also obtained approximately $2,000,000.00 in Skycoin Tokens through

                                            false reward applications.

                                                   133.    These funds and goods were not earned, were stolen by fraudulent means, and

                                            Plaintiffs received no equivalent value for them in return.

                                                   134.    It would be unconscionable and against fundamental principles of justice, equity

                                            and good conscience for Defendants to be unjustly enriched by retaining the benefit from the stolen

                                            funds, without Plaintiffs receiving any benefit in return.




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                                                   135.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of
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                                            market visibility, and loss of reputation.

                                                   WHEREFORE,           Plaintiffs,      BRANDON       SMIETANA,        SKYCOIN         GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

                                            AARON KUNSTMAN, RYAN EAGLE, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY,

                                            and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess

                                            of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as

                                            this Honorable Court deems just and equitable in the premises.

                                                                                   COUNT VI
                                                                  Defamation – Morgen Peck and Bradford Stephens

                                                   136.    Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 136 of this Count VI as if fully set forth herein.

                                                   137.    The New Yorker is an American weekly magazine publication owned and published

                                            by Defendant Condé Nast.

                                                   138.    At all times relevant herein, Peck was an agent of Condé Nast.

                                                   139.    At all times relevant herein, Peck was an apparent agent of Condé Nast.

                                                   140.    At all times relevant herein, Peck was acting within the course and scope of her

                                            authority as an agent of Condé Nast.

                                                   141.    At all times relevant herein, Peck was acting within the course and scope of her

                                            authority as an apparent agent of Condé Nast.




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                                                   142.    On Aug 18, 2021 an article submitted by Peck was published in The New Yorker

                                            (See Appendix A).
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                                                   143.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

                                            million social media followers.

                                                   144.    Peck published blatant lies and misrepresentations about Plaintiffs in her article

                                            including, but not limited to the following:

                                                       a. Misrepresenting         Smietana’s   relationship   with   Stephens   and   Stephens’s

                                                           involvement with Skycoin and Skycoin’s marketing campaign;

                                                       b. Statements alluding to Smietana and Skycoin as a fraud and a scammer, such as:

                                                                i. “In a way, it makes you into a fraud”;

                                                                ii. “Is it a scam? I’m 99 percent sure of it”; and

                                                              iii. Suggesting that Skycoin was part of a “pump and dump” scheme.

                                                       c. Falsely stating Stephens has recordings of Smietana stating, “We want to feminize

                                                           the peasant population to make them more docile ... [i]t’s so they don’t revolt.”

                                                                i. Smietana asked Peck on multiple occasions regarding the existence of the

                                                                    alleged recording to verify the contents of her claims for this statement,

                                                                    however Peck never confirmed that she obtained such a recording, even

                                                                    though it was used as a purported source for factual information in the

                                                                    article.

                                                                ii. Smietana also denied such statements to Peck multiple times, each time

                                                                    reiterating that they were fabricated and untrue. Peck still published the

                                                                    statements.




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                                                         iii. Peck admitted to Smietana that no one she interviewed would corroborate

                                                              the quotes given by Stephens. Therefore, Peck knew or should have known
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                                                              the published quotes were false.

                                                         iv. Peck knew that Stephens and Kunstman were members of the neo-nazi, alt-

                                                              right internet forum “/pol/” and that similar antisemitic quotes were

                                                              circulated there.

                                                          v. As a result of the publication of the article, a Neo Nazi publication cited to

                                                              the false statement from Peck’s article quoting Smietana, and thereby

                                                              causing damage to Plaintiffs’ reputation.

                                                         vi. As a result of the publication of this statement, Smietana was subjected to

                                                              numerous death threats, harassment, and various hate crimes.

                                                   d. Stating falsely that Smietana invited Binance executives to a Skycoin party during

                                                      a 2018 conference in Las Vegas and instructed Stephens to hire prostitues for the

                                                      executives;

                                                          i. In fact, it was confirmed there were no Binance executives at the conference

                                                              and the party was a private party of Stephens, without any affiliations to

                                                              Skycoin or Plaintiffs. (See Appendix C)

                                                          ii. Stephens’s job was to set up meetings at conferences. He unilaterally held a

                                                              private party without instruction to do so. Any approval for holding an event

                                                              was contingent upon finding people from Binance, who were, in fact, not

                                                              even in attendance at the conference.




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                                                         iii. This inaccurate depiction of events was designed to destroy the relationship

                                                             between Binance and Skycoin and was manufactured solely to do damage
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                                                             to Plaintiffs’ reputation and business.

                                                         iv. Peck knew or should have known the statements were false, because

                                                             Smietana sent her the messages from Defendant Stephens for the

                                                             conference.

                                                          v. Peck interviewed Michael Terpin (the event organizer) and Daken

                                                             Freebourne (Skycoin's head of events), who explicitly told Peck that

                                                             Stephens was a compulsive liar and that his account was fabricated.

                                                         vi. Peck merged stories from three separate conferences into a non-factual and

                                                             defamatory account, designed to inflict damages to Plaintiffs.

                                                   e. Conclusory and unsupported statements by others;

                                                          i. Stating that “according to several people” (without any further evidence),

                                                             that Skycoin privately sold to investors at a discounted rate;

                                                         ii. The article continuously includes unsupported statements supposedly from

                                                             “employees” of Skycoin, however Peck told Smietana in conversations that

                                                             she did not have documentation to show who these “employees” were, if

                                                             and when they worked at Skycoin, or any confirmation of their statements.

                                                         iii. Peck published statements made by people against whom she knew Plaintiff

                                                             Smietana had an ongoing lawsuit against and therefore knew or should have

                                                             known these were unreliable sources.

                                                   f. Falsely accusing Smietana of pre-mining “a hundred million coins, which were

                                                      scheduled for circulation;”



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                                                                     i. Peck published this statement with full knowledge that Skycoin does not

                                                                         engage in any mining.
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                                                                    ii. During fact checking, Peck referenced a website that listed companies with

                                                                         pre-mine scams.4

                                                                             1. The website listed “SYC Skycoin – premined” under a list titled,

                                                                                 “List of scamcoins – do not use”

                                                                             2. SYC Skycoin is a completely different company from SKY Skycoin

                                                                                 (Plaintiff).

                                                                             3. Peck knew that SYC was not Plaintiffs’ company and that SYC was

                                                                                 not SKY.

                                                                             4. Therefore, Peck falsely accused and published in her article that

                                                                                 Skycoin engaged in a pre-mining scam.

                                                           g. Falsely accusing Smietana of directing Skycoin’s marketing unit to purposely

                                                                spread negative rumors to attract attention by stating “In a chat with investors,

                                                                Smietana said that they sometimes spread negative rumors about Skycoin, in order

                                                                to attract attention;”

                                                                     i. Peck does not provide support to confirm where this chat was from, who

                                                                         the “investors” were, or the full context of the conversations.

                                                                    ii. The quote itself is purposely suggestive and alludes that Skycoin publishes

                                                                         negative rumors for promotion but does not clarify who “they” are that

                                                                         “spread negative rumors. ”

                                                           h. Falsely accusing Smietana of “plotting new distractions;”



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                                                The website can be found at: https://altcoins.com/scamcoins

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                                                          i. In support, Peck quoted Smietana, “Quick, someone photoshop video of me

                                                             being beheaded by ISIS and see if you can get them to write an article about
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                                                             it.”

                                                         ii. The quote was purposely skewed by Peck and taken out of context to

                                                             defame Smietana and Skycoin.

                                                        iii. The quote is a snippet of a message that clearly signifies a joke, in which

                                                             the full text reads “The media is retarded. They are still writing articles

                                                             about the ‘insider trading’ of cat memes, fake news. Quick, someone

                                                             photoshop video of me being beheaded by ISIS and see if you can get them

                                                             to write an article about it. ‘Kittycash CEO beheaded by ISIS after SEC

                                                             investigation.’”

                                                   i. Purposely taking direct quotes from chatrooms/messaging conversations and

                                                      placing them out of context to twist their meaning and damage Plaintiffs;

                                                          i. Peck wrote, “A few weeks into the sell-off, a voice message from Smietana

                                                             emerged on Telegram that seemed to imply that the biggest Skycoin

                                                             investors were coordinating their moves in a secret chat room. Smietana

                                                             said in the message, of the investors, “Everyone was basically doing the

                                                             exact opposite of whatever the public was doing.” (Smietana acknowledged

                                                             being in the chat room at one point but claimed that he was barely

                                                             involved.)”

                                                                    1. The quote was purposely misconstrued as it had nothing to do with

                                                                       insider trading channels;




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                                                                2. It was evident from the chat conversations that any reference to any

                                                                    “secret insider trading” was a joke. (See Appendix I)
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                                                                3. Peck knew that the “secret chat rooms” were, in fact, public

                                                                    channels, accessible to all people.

                                                         ii. Peck quoted Smietana as stating “If you put in a million dollars now, and

                                                            we have a run just as large as the last one, you’re going to be at fifty million

                                                            dollars.”

                                                                1. This statement was knowing taken out of context, altering its

                                                                    meaning, and presenting Smietana in a false light.

                                                                2. Peck’s quote claims that Smietana engaged in price promotion for

                                                                    Skycoin, knowing that Smietana was prohibited from making such

                                                                    statements by company policy and that Smietana could be fired or

                                                                    reprimanded for violation of company policy for making these

                                                                    statements.

                                                                3. Peck knew, or should have known, these out of context statements

                                                                    would expose Plaintiff Smietana to legal liability and damage his

                                                                    reputation and business.

                                                                4. Peck admitted to Smietana that she could find no example of

                                                                    Smietana engaging in price promotion.

                                                        iii. Defendant Peck quoted Smietana as stating, “many could be corroborated

                                                            only by people whom he swore existed but who couldn’t talk because they

                                                            had government security clearance, or were in hiding, or because he didn’t

                                                            know their real names.”



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                                                                  1. Smietana actually said, “all software developers who work in

                                                                      cryptography have government security clearance, because
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                                                                      government contractors are the only clients of the industry.”

                                                                  2. Peck distorted, or even manufactured, statements wholesale for the

                                                                      purpose of defaming Plaintiffs.

                                                   j. Falsely accusing Smietana of having sole control of the “pre-mined” coins and

                                                      Skycoin’s virtual wallets;

                                                          i. It is public knowledge that Skycoin is an incorporated corporate entity and

                                                              not under the sole control of one person.

                                                         ii. Peck had posession of Skycoin’s incorporation documents and corporate

                                                              structure, and therefore knew, or should have known, that her statements

                                                              were false.

                                                   k. Accusing Smietana of soliciting advice from an online personality who used a

                                                      Hitler avatar in his profile;

                                                          i. Peck admitted to Smietana during fact checking that she could not find any

                                                              evidence substantiating her statement that Smietana solicited and made

                                                              payments to internet users with a Hitler avatar.

                                                         ii. Peck admitted to Smietana that only Stephens and Kuntsman had made

                                                              these claims, and that no other persons could corroborate these statements.

                                                         iii. Peck continued to publish the above statement, knowing its defamatory and

                                                              false nature.




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                                                   l. Alleging that Smietana lied about the extent of his medical injuries sustained from

                                                      the attack on himself and his girlfriend, even after publishing that Smietana’s
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                                                      attackers admitted to detaining and injuring Smietana and his girlfriend;

                                                           i. Smietana provided Peck with copies of court proceedings and medical

                                                              records, completely contradicting the false statements she published in the

                                                              article.

                                                   m. Alleging that Smietana used the attack on himself and his girlfirend to “use his

                                                      power to freeze Skycoin transactions,” when Smietana clearly stated in an official

                                                      announcement to the Company that funds were frozen after making sure all Skycoin

                                                      staff were safe after the attack and extortion demands;

                                                           i. Peck knew that Skycoin’s lead developer, Steven Leonard, not Smietana,

                                                              had initated freezing the stolen funds from the Chinese marketing team and

                                                              employee accounts after the company detected embezzlement.

                                                          ii. Peck knew that the funds that were frozen were solely company accounts.

                                                   n. Peck implied that That Smietana had been employed as a software developer by the

                                                      notorious Washington DC lobbyist, Jack Amabrov, who had several felony

                                                      convictions, including a plea bargain for SEC violations; and

                                                           i. Peck was aware that the allegations were false because the company directly

                                                              informed her that Smietana had briefly spoken to them in 2018, but that no

                                                              agreement had been reached.

                                                          ii. Peck admitted that the statements were false and apologized to Smietana

                                                              multiple times for bringing up false claims.




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                                                             iii. Peck knew or should have known that claiming Smietana had been

                                                                  employed by Jack Amabrov, would cause severe damage to Plaintiffs’
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                                                                  business and reputation.

                                                       o. Peck implied that one of Skycoin’s mathematical algorithms, “Obelisk”, did not

                                                          actually exist and that Plaintiffs committed fraud.

                                                               i. Peck knew that these statements were false, as she had possession of both

                                                                  the source codes and white paper for the algorithm.

                                                              ii. Additionally, Skycoin’s algorithm papers were published on Skycoin’s

                                                                  website and in peer reviewed journal articles. This information was publicly

                                                                  available, and Peck had access to the public links to these algorithms.

                                                             iii. Peck had this information at the time she claimed these algorithms did not

                                                                  exist.

                                                   145.   Defendant Peck published that “Stephens came up with a plan to strip Smietana of

                                            power and transfer management of the company to a foundation.”

                                                   146.   Peck, knowing that Stephens’s intentions were to take the Company from Smietana,

                                            continued to base her article on information provided mainly by Stephens, completely disregarding

                                            his clear bias and motive to disenfranchise Smietana from Skycoin and seize control of the

                                            Company.

                                                   147.   After publication of the article, a former employee of Stephens and Kunstman

                                            contacted Plaintiffs stating that Peck received money to intentionally produce and publish a

                                            defamatory article attacking Plaintiffs and would receive bonus payments for destroying Skycoin’s

                                            relationship with Binance. (See Appendix C)




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                                                   148.     The statements made by Peck in the article were purposely false and defamatory in

                                            return for financial gain and personal benefit of Peck.
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                                                   149.     Peck acted within the scope of her agency with principal Condé Nast when she

                                            submitted and published the article.

                                                   150.     As a direct and proximate result of Peck’s libelous publication, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

                                            market visibility, and loss of reputation.

                                                   151.     As a direct and proximate result of the libelous publication in The New Yorker,

                                            Smietana suffered serious damage to his reputation, which resulted in numerous death threats,

                                            harassment, and financial harm to his company.

                                                   WHEREFORE,           Plaintiffs,      BRANDON      SMIETANA,        SKYCOIN       GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendant, MORGEN PECK, in an

                                            amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other

                                            relief for Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                                   COUNT VII
                                                          Defamation - American Publishers, Inc. d/b/a Condé Nast and d/b/a
                                                                            The New Yorker Magazine

                                                   152.     Plaintiffs repeat and reallege Paragraphs 1 through 76 and Paragraphs 136 through

                                            151 as and for Paragraph 152 of this Count VIII as if fully set forth herein.

                                                   153.     Condé Nast is a global mass media company operating various brands, including

                                            Defendant The New Yorker.




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                                                   154.    The New Yorker is an American weekly magazine publication owned and operated

                                            by Defendant Condé Nast.
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                                                   155.    At all times relevant herein, Peck was an agent of Condé Nast.

                                                   156.    At all times relevant herein, Peck was an apparent agent of Condé Nast.

                                                   157.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

                                            million social media followers.

                                                   158.    On August 18, 2021, Condé Nast, by and through The New Yorker, published

                                            Peck’s article which reached millions of readers worldwide.

                                                   159.    Approximately one week prior to publication, Anna Boots, Fact Checker for The

                                            New Yorker, contacted Smietana regarding the article and stated:

                                                       a. That Peck’s article was the longest fact checking she ever had to do (approximately
                                                          3 months);

                                                       b. That numerous unsubstantiated claims were made in Peck’s article;

                                                       c. That Peck interviewed Michael Terpin regarding the 2018 Las Vegas conference
                                                          and he informed her that Stephens was an unreliable source and a compulsive liar;

                                                       d. That the fact checking process was difficult to complete because almost all the
                                                          information was provided two people, with most claims and statements being
                                                          unsubstantiated; and

                                                       e. That her editor at The New Yorker set a “firm publication date regardless of [fact
                                                          checking] completion.”

                                                   160.    Condé Nast, by and through The New Yorker, published Peck’s article without

                                            properly and completely fact checking the defamatory statements made and checking Peck’s

                                            sources and their credibility.

                                                   161.    As a direct and proximate result of the libelous publication in The New Yorker,

                                            Plaintiffs suffered economic damage through loss of business, loss of revenue, loss of contracts,

                                            loss of market visibility, and loss of reputation.

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                                                   162.    As a direct and proximate result of the libelous publication in the New Yorker,

                                            Smietana suffered serious damage to his reputation, which resulted in numerous death threats,
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                                            harassment, and financial harm to his company.

                                                   WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,        SKYCOIN         GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendant, AMERICAN PUBLISHERS,

                                            INC., d/b/a CONDÉ NAST and d/b/a THE NEW YORKER MAGAZINE, in an amount in excess

                                            of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as

                                            this Honorable Court deems just and equitable in the premises.

                                                                                 COUNT VIII
                                             Breach of Fiduciary Duty – Bradford Stephens, Aaron Kunstman, Joel Wayne Cuthriell,
                                                          Catherine Byerly, and Unknown Individuals and Companies

                                                   163.    Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 163 of this Count VIII as if fully set forth herein.

                                                   164.    At various times, Stephens, Kunstman, Cuthriell, and Byerly were acting as

                                            contractors hired by Plaintiffs to perform certain duties for the marketing of Skycoin.

                                                   165.    Per that relationship and agreement, Defendants were to adhere to the terms of the

                                            agreements and provide the services promised.

                                                   166.    Defendants instead engaged in various schemes to defraud Plaintiffs, including

                                            promising marketing and promotions materials that were never performed, implementing public

                                            schemes to damage Plaintiffs’ reputation needing immediate marketing damage control, and

                                            providing marketing services below the quality and type of what was agreed upon.




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                                                    167.   Defendants did not provide the promised services to Plaintiffs, despite Plaintiffs

                                            having paid for those services.
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                                                    168.   Defendants had a duty to adhere to the terms of the agreements and to provide

                                            Plaintiffs with the promised services.

                                                    169.   Defendants breached that duty by failing to adhere to the terms of the agreements

                                            and failing to provide Plaintiffs with the promised services.

                                                    170.   As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

                                            market visibility, and loss of reputation.

                                                    WHEREFORE,          Plaintiffs,      BRANDON       SMIETANA,        SKYCOIN         GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

                                            INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $50,000.00,

                                            plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

                                            Court deems just and equitable in the premises.

                                                                                  COUNT IX
                                               Breach of Contract – Bradford Stephens, Aaron Kunstman, and Joel Wayne Guthriell

                                                    171.   Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 163 of this Count VIII as if fully set forth herein.

                                                    172.   On or about January 8, 2018, Plaintiffs entered into an agreement with Stephens,

                                            Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services for

                                            Plaintiffs.

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                                                   173.     Following that agreement, Stephens failed to provide the contracted services,

                                            creating false “threats,” and extorting funds from Plaintiffs through coercion.
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                                                   174.     Defendants did not adhere to the terms of the Agreement despite payment.

                                                   175.     Plaintiffs, at all times relevant herein, fully performed on their obligations under

                                            the Agreements with Defendants.

                                                   176.     Defendants failed to provide any advertising or marketing services to Plaintiffs

                                            during the duration of the contract.

                                                   177.     Defendants breached their obligations under the contract through the following acts

                                            or omissions:

                                                       a. failing to provide advertising services;

                                                       b. Failing to provide marketing services;

                                                       c. failing to use the funds provided for the advertising or marketing services;

                                                       d. failing to provide web design services;

                                                       e. failing to use funds to effectuate any web design;

                                                       f. failing to stay within the bounds of the expense budget; and

                                                       g. attempting to extort additional funds outside of the contract terms.

                                                   178.     As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

                                            market visibility, and loss of reputation.

                                                   WHEREFORE,           Plaintiffs,      BRANDON     SMIETANA,        SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS



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                                            AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

                                            excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for
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                                            Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                                     COUNT X
                                                     Violations of 735 ILCS 5/12-7.1 – Bradford Stephens and Aaron Kunstman

                                                    179.    Plaintiffs repeat and reallege Paragraphs 1 through 76 of this Complaint as and for

                                            Paragraph 179 of this Count X as if fully set forth herein.

                                                    180.    On information and belief, during the years 2019-2021, Stephens and Kunstman,

                                            through various internet media and in person, made numerous antisemetic statements and threats

                                            of death, kidnapping, and other acts of violence against Smietana.

                                                    181.    All of these threats were based on Smietana’s religion and Jewish heritage.

                                                    182.    Defendants also discussed Company as a “Jew coin”, called holders of Skycoin

                                            Tokens “Skygoyim”,and other similar hate speech, which Smietana perceived as a direct threat

                                            due to his being Jewish.

                                                    183.    Defendants posted these messages on various social media platforms and also made

                                            said threats directly to Plaintiff.

                                                    184.    In furtherance of their threats, Assailants invaded Smietana’s home where they

                                            violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in

                                            order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

                                            property, company accounts for operation of business, and cryptocurrency wallets.

                                                    185.    Under threats of further violence and death, Smietana provided the passwords to

                                            his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

                                            Skycoin with a market value of $81,018.98, totalling $220,179.31.




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                                                   WHEREFORE,          Plaintiffs,   BRANDON         SMIETANA,          SKYCOIN      GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a
FILED DATE: 4/4/2024 10:00 PM 2024L003661




                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            and AARON KUNSTMAN, in an amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as

                                            well as such further and other relief for Plaintiff as this Honorable Court deems just and equitable

                                            in the premises.

                                                                                              Respectfully submitted,

                                                                                              BRANDON SMIETANA, SKYCOIN
                                                                                              GLOBAL FOUNDATION LIMITED, a
                                                                                              Singapore Company, and SYMBOLIC
                                                                                              ANALYTICS, INC., a Delaware Corporation

                                                                                              By: /s/James A. Karamanis
                                                                                              One of Plaintiffs’ Attorneys




                                            James A. Karamanis
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      Hearing Date: No hearing   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 47 of 323 PageID #:63
                               scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
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                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                   IRIS Y. MARTINEZ
                                                                                                                           CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                           COOK COUNTY, IL
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                                            BRANDON SMIETANA, SKYCOIN GLOBAL                                               Calendar, W
                                            FOUNDATION LIMITED, a Singapore                                                27143636
                                            Company, and SYMBOLIC ANALYTICS INC.,
                                            a Delaware Corporation,

                                                                              Plaintiffs,

                                                   v.                                                 Case No.

                                            BRADFORD STEPHENS, AARON
                                            KUNSTMAN, RYAN EAGLE, JOEL WAYNE
                                            CUTHRIELL, MORGEN PECK, CATHERINE
                                            BYERLY, AMERICAN PUBLISHERS, INC.
                                            d/b/a CONDÉ NAST and d/b/a THE NEW
                                            YORKER MAGAZINE, and UNKNOWN
                                            INDIVIDUALS AND COMPANIES,

                                                                     Defendants.
                                                         AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222(b)

                                                  Pursuant to Supreme Court Rule 222(b), counsel for the above-named Plaintiffs certifies

                                           that Plaintiff seeks money damages in excess of Fifty Thousand and No/100 ($50,000.00),

                                           exclusive of interest and costs.

                                                  Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify that the

                                           statements set forth herein are true and correct.

                                                  FURTHER AFFIANT SAYETH NAUGHT.

                                                                                               /s/James A. Karamanis


                                           James A. Karamanis
                                           BARNEY & KARAMANIS, LLP
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                                                                 APPENDIX A
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                                                                               Annals of Technology



                                                         Pumpers, Dumpers, and Shills:
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                                                              The Skycoin Saga
                                                        The cryptocurrency promised to change the world and make its users rich
                                                                       in the process. Then it began to fall apart.

                                                                                   By Morgen Peck
                                                                                     August 18, 2021
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                                                                         Illustration by Nata Metlukh
                                                         Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 51 of 323 PageID #:67


                                                                                                  Save this story




                                                       n an April afternoon in 2011, a twenty-seven-year-old tech entrepreneur named Bradford
                                           O
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                                                  Stephens arrived at a stucco bungalow near the canals of Venice, California. He had recently
                                           started a new data-analytics company, and had come to speak with a coder named Brandon Smietana,
                                           whom he hoped would get involved. Stephens had already met Smietana online, where he uses the
                                           handle Synth, and where he often debated minute points about math and programming. When
                                           Stephens and Ryan Rawson, an employee who tagged along, arrived, Smietana invited them into a
                                           carpeted den. A computer sat on a table, its casings removed to reveal a tangle of circuits; a sleeping bag
                                           lay on a sofa. Smietana was in his early twenties, with dark hair and a youthful face. Rawson told me,
                                           “He had the air of this mad scientist couch sur ng.” Stephens pitched his new company, but got no
                                                                                             fi
                                           traction. Smietana had turned his attention to a new technology: cryptocurrency. “The only people who
                                           have to work for money are the people who cannot create it or print it out of thin air,” he told them.


                                           The rst cryptocurrency, Bitcoin—released in 2009 by an anonymous programmer (or a group of them)
                                                  fi
                                           called Satoshi Nakamoto—was a feat of computational brilliance. A bitcoin is an abstract unit of value
                                           that people track and spend with digital wallets. When someone contributes her computer’s power to
                                           process Bitcoin transactions, the computer also races to solve an equation, a process called “mining.”
                                           Each solution that meets certain criteria mints new coins. The number created decreases by half every
                                           four years or so—an event known as the Halvening—which keeps the supply limited, guarding against
                                           in ation. The whole economy is maintained on a blockchain, a shared ledger that keeps a tally of every
                                             fl
                                           Bitcoin transaction. As miners add transactions, the Bitcoin software coördinates and nalizes their
                                                                                                                                    fi
                                           contributions, making the ledger transparent and unchangeable and the system nearly impossible for
                                           governments to shut down.

                                           But the technology has a aw: as more people use it, transactions become slower and more expensive.
                                                                         fl
                                           The average transaction fee uctuates wildly; one day last week, it was two dollars and thirty-three
                                                                              fl
                                           cents, making it more expensive than any major credit card for everyday purchases. The pursuit of a
                                           better Bitcoin quickly became a full-blown academic eld, with its own conferences, university courses,
                                                                                                        fi
                                           and peer-reviewed journals. But, as Smietana explained over the next few years to anyone who would
                                           listen, he had the solution. He was designing a cryptocurrency that could be sent around the world
                                           instantaneously, for next to nothing. He called it Skycoin.

                                           He was going to use this currency, he said, to create a decentralized version of the Internet, called
                                           Skywire. He planned to build a large mesh network, a system that allows people to use special Internet
                                           routers to share bandwidth with their neighbors. With enough members, a network can bypass service
                                           providers, making it harder for corporations and governments to surveil Internet use. But it’s di cult to
                                                                                                                                             ffi
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                                           retain volunteers. “A community network really needs density before it is useful,” Brian Hall, of NYC
                                           Mesh, the largest community network in the U.S., wrote in a blog post. “It can be a chicken and egg
                                           problem.” Smietana’s project proposed a different way to attract people: pay them. His customers would
                                           share bandwidth using routers called Skyminers, and get paid for their service in Skycoin. He envisioned
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                                           a new cryptocurrency spent over a community-owned Internet, calling it “the last step to fulfilling
                                           Satoshi’s mission.”

                                           Stephens left his first meeting with Smietana believing that he could be destined for greatness. Skycoin
                                           launched publicly two years later, in 2013. The following year, Stephens attended a party at Smietana’s
                                           new place, an unrenovated warehouse just south of L.A. Someone had painted the walls with images of
                                           horned monsters. “It was very Burning Man meets H. P. Lovecraft,” Stephens told me. Stephens’s friend
                                           Baron Chat, a photographer who attended, said, of Smietana, “He seemed to be receiving his signal
                                           from a different station than everyone else.” According to Stephens, Smietana asked him to join the
                                           fledgling project, but he demurred. (Smietana said he doesn’t remember seeing Stephens at the party.)

                                           The first cryptocurrency boom arrived in 2017. “Several investors I knew, and a lot of my friends, started
                                           pivoting from angel investing to putting money in crypto and seeing insane returns,” Stephens told me.
                                           Skycoin had a “token sale”—a sort of I.P.O. for cryptocurrencies—and was listed on two small
                                           exchanges. By the end of 2017, its price had gone from a little more than a dollar per coin to about fifty
                                           dollars per coin. That December, while Stephens was on vacation with his wife in Japan, Smietana
                                           messaged him with another chance to get involved. It seemed like an opportunity to work on something
                                           revolutionary. But he also thought, Everybody else is getting rich off crypto, so why not me? He said
                                           that he later told Smietana, “I’m going to need 50K up front and I gotta hire a team.” After a couple
                                           days, he checked his Bitcoin wallet and found fifty thousand dollars sitting in it. “I’m, like, ‘I guess I’m
                                           hired,’ ” he said. (Smietana denies sending the money, though he had said he would do so in texts, and
                                           there’s a record of such a transaction on the Bitcoin ledger.) Before leaving Kyoto, he and his wife had
                                           visited a shrine to Inari, the Shinto god of rice, where they left offerings and made wishes. His wife
                                           wished for the health of her father, who was battling cancer. “I asked for wealth and adventure,”
                                           Stephens told me. “And I got one of those.”


                                               n the past decade, a shift has occurred in the way that cryptocurrencies are distributed. Satoshi put
                                           I   bitcoins into circulation through a reward system: the more computing power you contribute, the
                                           more coins you can mint. Some early adopters paid their rent simply through mining. Around 2012,
                                           though, people began devising blockchains that could be used for more ambitious applications: supply
                                           chains with real-time geolocation, for example, or patient-controlled medical records. Such projects
                                           required capital, compelling founders to experiment with less democratic ways to distribute coins. In
                                           2013, J. R. Willett, the founder of Mastercoin, invented the “initial coin offering,” or I.C.O., the first
                                           token sale: developers partially pre-mined their tokens and then sold them off to raise money. Michael
                                           Terpin, who has managed two hundred such token sales, and who handled public relations for Skycoin,
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                                           told me that the scheme empowers entrepreneurs. “Somebody who had an innovative product could sell
                                           directly, prior to it being built, to an audience of enthusiasts,” he said, without having to “give up a third
                                           of the company.”
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                                           A frenzy followed a few years later. Since 2017, hundreds of projects have announced token sales. One
                                           of the most lucrative, eos, raised about three and a half billion dollars in a yearlong I.C.O. Many
                                           projects amassed funds even before their blockchains or applications existed; some prepared assiduously,
                                           but others merely threw together a Web site, a list of advisers (sometimes without their knowledge), and
                                           some semblance of a technical paper (sometimes plagiarized). “A playbook really emerged for how to set
                                           up a legitimate-looking I.C.O.,” Matt Chwierut, the head of research at Smith & Crown, a blockchain
                                           research firm, told me.

                                           In 2018, I attended the North American Bitcoin Conference, in Miami. On the main stage,
                                           representatives from companies with unpronounceable names riled up the crowds. Downstairs, an arcade
                                           of booths hawked every kind of blockchain project: smart glasses, cargo robots, refugee-identity
                                           documents. At a booth for a group claiming to build a volunteer emergency-services network, I asked
                                           why the endeavor required a coin. The attendant told me to come back later when someone more
                                           technical would be arriving.

                                           Because bitcoin mining is regulated by algorithms, everyone, in theory, has a fair chance of getting new
                                           coins. But, to receive pre-mined coins in a token sale, you often have to buy publicly at the sale price or
                                           else negotiate a deal behind the scenes. “A lot of coins were being sold on the side and in secret,” Josh, a
                                           major cryptocurrency investor—who eventually bought into Skycoin, and requested that I use only his
                                           first name, out of concern for his safety regarding another matter—told me. “You’ll do special deals with
                                           people if they give you three or four or five million dollars up front.” This created a sense that making
                                           your fortune required being in the right room to get the right tip.

                                           On the second night of the conference, I went to a strip club for an after-party, where flashing your
                                           badge got you a crypto-inspired cocktail. (I ordered a Satoshi Sour.) Guests exchanged advice, sure that
                                           they were getting the best inside information. But a few hours later a friend whisked me off to a more
                                           exclusive party, thrown at a beachside bar by Patrick Byrne, the former C.E.O. of Overstock. (Byrne
                                           stepped down in 2019, after it was revealed that he had had an affair with the Russian agent Maria
                                           Butina.) The attendees were celebrating the hundred-million-dollar token sale of Byrne’s trading
                                           platform, TZero, which he said was going to “drag Wall Street behind the barn, kill it with an axe, and
                                           re-create it on blockchain.” There were giant platters of sushi and oysters; the rapper Flo Rida pulled
                                           Byrne up onto the bar for a sing-along. Guests exchanged invites to exclusive chat rooms on Telegram,
                                           an app favored by coin enthusiasts. I turned to a man next to me and asked what had brought him to the
                                           party. He rubbed his thumb and forefinger together and shouted, “Making money.”
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                                                he employment structure at Skycoin was loose, and Stephens joined without a contract. “Here I
                                           T    was, a guy used to wrangling hundred-page venture-capital contracts, and I’m joining a company
                                           with no last names and barely any first names,” Stephens said. Smietana, who by then was living in
                                           Shanghai, had pre-mined a hundred million coins, which were scheduled for circulation. Skyminer
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                                           routers were just starting to ship, but sales had already outstripped production. Smietana estimated that
                                           operators who used Skyminers could make between fifteen thousand and forty-five thousand dollars a
                                           month. Most coinholders I spoke to were young men around the world—medical students, craftsmen,
                                           3-D animators—who believed in the project. In chat rooms, Smietana’s followers addressed him with
                                           reverence. “We all are in honor to speak with synth,” a user called Anosis wrote. “It’s like having a
                                           chance to talk to Satoshi.”


                                           Although Stephens studied computer science in college, he admitted that, when he started working with
                                           Skycoin, he “hardly knew anything about crypto.” He was told to handle marketing, and assembled a
                                           team composed mostly of friends and former associates. (Smietana now claims that he contracted a
                                           marketing company that Stephens ran, not Stephens himself.) But he soon realized that word about the
                                           project was already spreading. Large investors recruited in their own circles, and smaller coinholders
                                           hyped Skycoin on social media. At one point, Skycoin advertised a bounty program that promised users
                                           coins in exchange for promotional activities, such as writing blog posts and creating YouTube videos.
                                           One user-made video, titled “Skycoin - To the Moon,” featured footage of a shuttle blasting off next to a
                                           chart of Skycoin’s market value, interspersed with a closeup of glossy lips and the words “YOU
                                           COMIN’?” People who proved their worth on Telegram often got pulled up the ranks. “I started to
                                           spend 90 hours a week in the chat room,” a user called Sudo, who became one of Skycoin’s Telegram
                                           channel moderators, and who refused to tell me his name, messaged me. “They seen how active I was
                                           and offered me a job.”

                                           By early January, 2018, the total estimated value of pre-mined Skycoins had reached almost five billion
                                           dollars. Smietana sent representatives to conferences in New York, Lisbon, San Francisco, and
                                           Singapore, and arranged a retreat in Mauritius. A former marketing contractor, who requested
                                           anonymity out of fear of harassment, recalled that Smietana could spend lavishly on the people who
                                           worked with Skycoin, in one case paying for cryotherapy, vitamin injections, thousand-dollar steak
                                           dinners, and a twelve-thousand-dollar trip to the Esalen Institute. “Dude was very liberal with his
                                           spending and could be very generous,” the marketing contractor said. The team posted a video of a yacht
                                           party, and thundered around in Ferraris. In New York, Skycoin reps cruised in a helicopter to grab
                                           footage of a Skyminer held over Manhattan’s skyline.

                                           That month, Stephens flew to Las Vegas to speak on a panel at the CoinAgenda summit. He wasn’t up
                                           to speed on the technical aspects of Skycoin yet, but he held a Skyminer over his head and said, “You all
                                           are the first to see the new Internet!” On the first day of the conference, Smietana sent Stephens a voice
                                           memo with an urgent request. He was hoping to get Skycoin listed on Binance, one of the world’s
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                                           largest cryptocurrency exchanges, which could help secure its legitimacy. During the I.C.O. boom, it was
                                           common for projects to pay a “listing fee” in order to be included on an exchange. (Binance claims that it
                                           chooses projects based solely on “strict security, legal, and regulatory compliance standards.” In 2018,
                                           facing pressure, it announced that it would donate its listing fees to charity.) Smietana said that he had
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                                           paid Binance executives seven and a half million dollars but that they hadn’t followed through. (Binance
                                           confirmed that Skycoin paid it a hundred and fifty thousand Skycoins to spend on “promotion,” which
                                           were worth seven and a half million at the coin’s peak.) Smietana told Stephens to entertain the
                                           executives, to sweeten the deal. Stephens planned a party in a penthouse suite at the Bellagio. Smietana
                                           gave explicit instructions via voice messages: “You have to buy prostitutes for the people at Binance,” he
                                           said. “Get them, like, three girls each.” (Smietana denies any involvement in the party, and claims that
                                           his voice messages about it were “either a joke or a deep fake but probably a deep fake.”)

                                           That night, Stephens and Baron Chat, who had also started working on Skycoin’s marketing, along with
                                           Catherine Byerly, another member of the team, sat in the hotel suite, with champagne on ice. Six escorts
                                           arrived at nine, and the employees instructed them to make the Binance executives feel like “rock stars.”
                                           “To them, I was this, like, stereotypical businesswoman in an Ann Taylor dress,” Byerly said. “But inside
                                           I’m thinking, How did my decisions lead me here?” Chat said, “It felt almost like you were in the process
                                           of living out some bizarre reality that sometimes you see in the movies. The weird excess . . . Crazy shit
                                           happens when you have a corporate account and a green light.” By ten o’clock, the executives hadn’t
                                           shown up, and Stephens began to worry that he’d lost the deal. He couldn’t reach Smietana, so he
                                           frantically called the event organizers. They explained that not only had no Binance reps showed up at
                                           the conference—they weren’t even on the registration list. (A spokesperson at Binance told me that the
                                           company neither requested nor knew about the party.) “That’s when I started taking anything Brandon
                                           said with a grain of salt,” Stephens told me. Still, he decided that, “if this is going to be weird, I’m going
                                           to make it memorable weird.” Some of the escorts took their pay and left; the rest drank champagne and
                                           played Cards Against Humanity with the group into the morning.


                                                   hen Stephens returned from Las Vegas, he set about mapping Skycoin’s progress. One of the
                                           W       company’s main selling points was Obelisk, an algorithm that allowed it to send coins cheaply
                                           and quickly. On Telegram, Smietana insisted that everything that came before was “obsolete and
                                           primitive.” He boasted that Obelisk was written by Houwu Chen, a developer who had worked on
                                           Ethereum, the second-most popular cryptocurrency platform. He posted an academic paper written by
                                           Chen on the Skycoin Web site, claiming that it was a Skycoin white paper. But when Stephens reached
                                           out to Chen, he got no response. “We kept trying to chase people down to ask details, and it was slowly
                                           revealed it just . . . didn’t exist,” he told me. In a later discussion about technical details, a Skycoin
                                           “community manager” told coinholders that “it’s too advanced to share” and that the company “can’t
                                           trust the public with it.” When pressed, Smietana wrote, of Chen, “He is a recluse, I doubt anyone can
                                           contact him or he would respond.” Smietana eventually told me that Chen had taken a payment of a
                                           million Skycoins for his work on the white paper and then left the project. (Chen declined to comment,
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                                           saying, “Just don’t put my name in the article. That’s my statement.”) Stephens discovered that Obelisk
                                           had never been implemented. (Smietana now acknowledges this, but claims that the project has
                                           published some of Obelisk’s code and used it in simulations.)
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                                           Skycoin’s payments were fast, but only because transactions were processed on a single server, rather than
                                           on a decentralized network of computers. The server sat in the Shanghai office of Scott Freeman, the
                                           C.E.O. of the C2CX cryptocurrency exchange. This also meant that, if Smietana wanted to, he could
                                           freeze transactions. “The big thing about a blockchain is it’s supposed to be decentralized, and no single
                                           entity is supposed to be able to change it,” Freeman told me. He added, of Skycoin’s setup, “In a way, it
                                           makes you into a fraud.” (Smietana claims that his power to freeze transactions was designed as a
                                           security measure.) Freeman said that he nagged Smietana about implementing Obelisk but that
                                           Smietana told him, “People don’t really care. It’s not worth it. We should spend our resources on other
                                           things.” (Smietana denies this.)

                                           Skycoin’s Web site claimed that multiple payments were scrambled together to provide extra privacy, but
                                           this feature was never implemented in the Skycoin wallet. The pre-mined coins sat in virtual wallets
                                           under Smietana’s sole control. (When pressed, Smietana claimed that he shared control of the coins
                                           with a secret group of advisers, but refused to give me their names.) When Stephens asked to see
                                           Skycoin’s accounting books, Smietana explained that his girlfriend, Sarah, was in charge. Sarah told
                                           Stephens that the accounting was a work in progress. (Smietana denies directing Stephens to Sarah, and
                                           she denies being in charge of the project’s accounting.) Everything seemed haphazard. Stephens was
                                           once paid from a bank account in Mauritius registered under a different name; many employees were
                                           paid in bitcoin or Skycoin.

                                           In early February, 2018, a month after the CoinAgenda conference, Stephens booked a trip to Shanghai
                                           to see Smietana, determined to bring some order to Skycoin. One night, he had dinner with Smietana
                                           and members of a Chinese marketing team that Smietana had hired, at a steak house in Xuhui. As the
                                           dinner began, Smietana rose from his chair and launched into a rambling diatribe of conspiracy theories.
                                           For hours, he catalogued the hidden crimes of a class of global élites who controlled citizens through
                                           virtual reality, medical marijuana, and pornography. At some point, Stephens started recording Smietana
                                           on his phone. “We want to feminize the peasant population to make them more docile,” Smietana says.
                                           “It’s so they don’t revolt.”
                                           Stephens told me, “I just became shell-shocked. What the fuck have I gotten myself into?” He had seen
                                           Smietana post conspiracy theories on Telegram before, but he figured it was a joke. In the weeks after
                                           the dinner, Stephens tried to warn some investors, but felt that they brushed him off: “They would be,
                                           like, ‘Brandon is just doing his thing, and the value of the coin keeps going up.’ ”


                                               hortly after Stephens returned from Shanghai, a reporter named Tristan Greene published a
                                           S   scathing article about Skycoin on the Next Web, a technology-news Web site, condemning the
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                                           company for pre-mining its coins. The Skyminer router was being sold for one bitcoin—worth about
                                           ten thousand dollars at the time—but Greene highlighted the fact that it was constructed from
                                           components worth about six hundred dollars. Customers got back the ninety-four-hundred-dollar
                                           difference, but it came in Skycoin, which still sold only on small exchanges, making it difficult to trade
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                                           in quantity. (The software for the miners was also incomplete; users connecting to Skywire had no way
                                           to pay for the service. Smietana claims that this feature is still under development.) Stephens granted
                                           Greene an interview but couldn’t persuade him of the project’s legitimacy. Greene wrote, “Is it a scam?
                                           I’m 99 percent sure of it.”


                                           Skycoin went into full damage-control mode. The project had been running a black-ops marketing unit
                                           sometimes referred to as Shill Team Six, composed of users plucked from Telegram who specialized in
                                           manipulating attention on the Internet. The “shills” occasionally flooded 4chan and Reddit, keeping
                                           engagement up with memes and bots. A former member of Skycoin’s inner circle, who also requested
                                           anonymity, told me that if someone spoke ill of Skycoin the shills could be sent in to “make their life
                                           difficult,” by digging up embarrassing information. (Smietana denied directing the group, saying it was
                                           “completely out of control.”) The shills found that even bad publicity could be good for Skycoin. In a
                                           chat with investors, Smietana said that they sometimes spread negative rumors about Skycoin, in order
                                           to attract attention. “Direct promotion does not get to front page and has low click rate,” he wrote. “If
                                           they create contraversy, then it directs attention and clicks to skycoin.” (Smietana claimed that these
                                           messages were taken out of context.)

                                           Stephens knew that Smietana pored over texts about crowd psychology and even solicited advice from
                                           DJ Hives, an anonymous online personality who at one point used a Hitler avatar, on controlling public
                                           opinion. In voice messages, DJ Hives referred to Skycoin customers as “fish,” a poker term for easily
                                           exploited players, and encouraged Smietana to cultivate an aura of infallibility: “We want to put you on
                                           the level of deity as far as the masses are concerned.” (When contacted on Telegram, DJ Hives said,
                                           “None of this is correct,” and declined to comment further.)

                                           The team gamed search algorithms into ignoring Greene’s article. “We helped bury that page for a
                                           while,” Sudo, the anonymous user, who claimed to be part of Shill Team Six, messaged me on Telegram.
                                           (Smietana claimed that Skycoin ignored the article.) But word was already spreading. Skeptics showed
                                           up in Skycoin’s social-media channels to ask questions, and Skycoin moderators started blocking them.
                                           “After banning enough losers, everyone left will be winners,” Smietana wrote. Skycoin enthusiasts
                                           smeared Greene on Telegram, accusing him of writing a paid hit piece. When Greene showed up in the
                                           channel to address their concerns, moderators kicked him out. Someone claiming to be a Skycoin
                                           investor e-mailed Greene and threatened to “visit” him, his wife, and their son if he didn’t stop “messing”
                                           with Skycoin, writing, “nothing is really impossible in the world for people like us that grew theire
                                           wealth on crypto.”
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                                           Stephens contacted Michael Terpin, the adviser, to voice his worries, but, he said, “It turns out Terpin
                                           didn’t give a shit.” (Terpin told me that, by this time, his company was phasing out its involvement with
                                           Skycoin. “Brandon’s got a flair for the dramatic,” he said. “Honestly, that’s one reason I found it difficult
                                           to keep working with Skycoin.”) Stephens came up with a plan to strip Smietana of power and transfer
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                                           management of the company to a foundation; he still believed that Skycoin could become a reality if
                                           reasonable people were in charge. But, by late February, 2018, six weeks after he joined the project, he
                                           found that he was locked out of both the Skycoin Telegram and his work e-mail. Members of his team
                                           were locked out, too. “The whole thing was so terrible,” Chat, from the marketing team, told me.
                                           Smietana sent an e-mail to the Next Web denying that Stephens represented Skycoin. “The person you
                                           interviewed has nothing to do with Skycoin and is a known scammer,” Smietana wrote. “Please update
                                           the article.” Stephens heard from Smietana again in June, 2018, when Smietana sent him a mysterious
                                           Facebook message in which he claimed that he had acted out of concern for Stephens’s safety. “I saved
                                           your life. You do not even know,” Smietana wrote. “I will tell you in a few years.”


                                               n July, 2018, a recording leaked of Li Xiaolai, a Chinese billionaire and the founder of a coin that
                                           I   launched with an eighty-two-million-dollar token sale, giving his unfiltered perspective on the
                                           industry. “From the start, I knew one thing,” he said. “The main power to compete here is the traffic.”
                                           Successful coins accrue value, in other words, not because of technical sophistication but because they
                                           get people’s attention. This requires having a founder who can capture the imagination. “All the
                                           successful 100X, 1000X projects—you go and look at the founder, they will definitely be a spin doctor,”
                                           he said. What matters with a coin is that people are talking about it. “The consensus of idiots is still
                                           consensus,” he said.


                                           To some extent, this is true of most modern currencies: they have no value apart from what we
                                           collectively assign them. But the U.S. dollar is supported by government guarantees and controlled
                                           through monetary policies. Bitcoin abolished government backing, but its scarcity is regulated through
                                           algorithms. (Even so, a tweet or statement from a high-profile coinholder like Elon Musk can raise or
                                           crash its price.) Coins that are manually distributed in token sales provide even fewer assurances. It is
                                           often impossible to know how many are in circulation. Their value is built on a promise that some
                                           feature, often still in development, will make them more useful than other currencies. Until that promise
                                           is fulfilled, it is largely a matter of faith. “Money is a social construct,” Smietana wrote, on Telegram. “It
                                           is based upon CONFIDENCE . . . Confidence is a religion and is built upon perception and not
                                           reality.”

                                           Founders that control perception control the price of their coin. According to Chwierut, the blockchain
                                           researcher, during the I.C.O. bubble, it was not uncommon for founders to spend as much as thirty per
                                           cent of their budget on ad campaigns. Some of the effort went to gaming the attention economy,
                                           requesting mentions from influencers or using bots to create an illusion of broad support. Traders can
                                           even use these metrics to manage their portfolios: IntoTheBlock, a “crypto-intelligence” firm, tracks
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                                           Twitter mentions and Telegram-member counts and sells the information to investors; a data platform
                                           called Santiment alerts users when chatter about their coins surges. Recommendation algorithms can
                                           encourage the spread of incendiary content, and coins promoted with controversy and falsehood often
                                           perform well. Some coin promoters use stunts or scandals to keep users engaged. After closing a fifty-
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                                           million-dollar token sale, the founder of a cryptocurrency called Savedroid posted a picture of himself at
                                           what looked like an airport with a caption reading “Thanks guys! Over and out,” which was taken as a
                                           confession that he was running off with the funds. A day later, he revealed that he was trolling about
                                           escaping with the money, but only after several articles had been written about the scandal. The firm
                                           ASKfm hired mountaineers to climb Mt. Everest and film themselves leaving a cryptocurrency wallet on
                                           its peak. (The company released a statement saying, “On a market where launching a blockchain
                                           endeavor is not really a newsbreak, companies have to stand out.”) A sherpa died in the process.

                                           Market manipulation is rampant. In schemes called “pump and dumps,” traders meet in exclusive chat
                                           rooms where they coördinate to purchase a coin, causing the trading volume to go up and others to take
                                           interest. When the price is at its highest, the pump-and-dumpers sell, leaving faithful users holding the
                                           bag. In an industry where everyone is a coinholder, there is no one left to pull the alarm. Should
                                           investors realize that their coin is a sham, it would be an act of self-sabotage to raise concerns. Better to
                                           become evangelists, wooing others in order to boost the price.

                                           U.S. law generally requires projects to register with the S.E.C., forcing them to make financial
                                           disclosures that investors could then inspect before buying. Almost none do, giving convoluted rationales
                                           that John Reed Stark, the founder of the S.E.C.’s Internet-enforcement office, told me are “poppycock.”
                                           Not registering can facilitate further rule-breaking, as when, say, influencers promote coins without
                                           disclosing their investment, or projects pump coins with fraudulent claims. Stark said, of I.C.O.s, “Every
                                           single one I ever saw was unlawful on multiple levels.” The S.E.C. began cracking down in 2017, but
                                           prosecution often requires “extraordinary resources from an alphabet soup of federal and state law-
                                           enforcement agencies,” Stark said. As a result, few projects face consequences.


                                               n the spring of 2018, Skycoin climbed into the list of the top hundred coins, and appeared on a
                                           I   Nasdaq Web cast. That May, Binance announced that it would list Skycoin on its trading platform.
                                           Around the time of the listing, the price jumped thirty-eight per cent. Then, suddenly, it came crashing
                                           down. According to several people involved, Skycoin privately sold to investors at a steep discount—in
                                           at least one case, coins worth millions of dollars—inadvertently giving them an incentive to dump it on
                                           the market as soon as they could. (Smietana denied being involved in such sales.) Smietana had claimed
                                           on Telegram that the investors were restricted from selling. But, as soon as Binance listed Skycoin, the
                                           market flooded with sell orders. Freeman, from the C2CX exchange, had been acting as the project’s
                                           primary “market maker,” using a pool of reserves to provide market liquidity and stabilize prices. “I tried
                                           to hold at about twenty,” he told me. But the sell-off was too much to contain. Coinholders shared their
                                           misery on Telegram. “Its been fun guys, i’m gonns hang myself in 2 hours,” a user named Willy Jr. wrote.
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                                           “Bought 20K at 20 dollars.” A user named Dante wrote, “synth told me this shit would moon,” adding, “i
                                           took a mortage on my house.”


                                           A few weeks into the sell-off, a voice message from Smietana emerged on Telegram that seemed to
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                                           imply that the biggest Skycoin investors were coördinating their moves in a secret chat room. Smietana
                                           said in the message, of the investors, “Everyone was basically doing the exact opposite of whatever the
                                           public was doing.” (Smietana acknowledged being in the chat room at one point but claimed that he was
                                           barely involved.) Rumor spread that the S.E.C. would investigate Skycoin as a result, and that Binance
                                           was considering delisting it. In the public chat, coinholders prepared for a death spiral. A user called
                                           Opaque wrote, “I want to say calm down guys, but its really doesnt look good.”

                                           Then, out of nowhere, Smietana announced that he had big news to share once “all the staff are safe.” In
                                           the coming days, he accused members of the Chinese marketing team of breaking into his house with
                                           five gang members, holding him and his girlfriend hostage for six hours, beating him until one of his
                                           ribs broke, and stealing a small quantity of cryptocurrency. Members of the Chinese marketing team
                                           denied this. In a letter to investors, they claimed that Smietana and his girlfriend had pushed them out,
                                           refused to pay them, and frozen their Skycoin wallets, which contained coins that were then worth
                                           somewhere between four and nine million dollars. This was the first apparent instance of Smietana’s
                                           using his power to freeze Skycoin transactions. (Smietana claims that the wallets contained embezzled
                                           company funds.) In their letter, the marketing-team members claimed that they had been invited to
                                           Smietana’s apartment to find a resolution, and a small scuffle broke out in which he got a bruised wrist.
                                           Afterward, Smietana’s girlfriend filed a police report, and four defendants spent a few months in
                                           detention, after admitting to detaining Smietana and his girlfriend in an incident that left them “lightly”
                                           injured.

                                           Smietana blitzed Telegram with messages about the alleged “kidnapping.” “This is the best thing that
                                           has ever happened to Skycoin. Ever...As long as we can keep this drama going, we can get [the trading
                                           volume] even higher.” He amused himself by plotting new distractions: “Quick, someone photoshop
                                           video of me being beheaded by ISIS and see if you can get them to write an article about it.” But
                                           coinholders seemed not to buy it. When he did a live YouTube interview, shortly after the incident,
                                           someone commented, “I dont see one bruise on his face. beaten the shit out of me, what with ? a piece of
                                           toast.?” As the sell-off continued, Smietana blamed it on the “kidnappers” for dumping their stolen
                                           coins. “They have been surpressing the price the whole time,” he wrote.

                                           In November, 2018, Smietana, apparently growing desperate, enlisted John McAfee to promote the coin.
                                           McAfee, once famous for the antivirus software that he developed in the eighties, had earned a
                                           reputation as a kind of cyber outlaw: he was a “person of interest” in a murder in Belize, in 2012, and
                                           subsequently fled the country, later posting images of himself cruising the Caribbean in his yacht,
                                           brandishing guns. He was a sought-after crypto promoter. McAfee tweeted a video that seemed to show
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                                           him with the Skycoin logo freshly tattooed on his back and the message, “Why Skycoin? If you have to
                                           ask, you’ve been living in a fucking closet.” (Smietana admitted to paying McAfee during this period but
                                           insisted that it was a gift to help with “yacht repairs.”) Smietana urged people to buy: “If you put in a
                                           million dollars now, and we have a run just as large as the last one, you’re going to be at fifty million
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                                           dollars,” he said, in a video. Then, in March, 2019, McAfee publicly broke ties with Skycoin. (Smietana
                                           told me that McAfee began demanding large fees that he refused to pay.) When asked on Twitter what
                                           he would do about the tattoo, McAfee replied, “I’ll keep it as a reminder that no matter how old I get, I
                                           still get scammed by unscrupulous people with pie in the sky plans. They almost drove me to violence.”
                                           Stephens, watching from afar, felt that he had been spared the worst. He hadn’t behaved perfectly: he
                                           had been taken in by Skycoin’s promise, but he also promoted a coin that he knew little about. After
                                           being cut off, he took Skycoin’s social-media accounts hostage, and unsuccessfully demanded a severance
                                           payment. In the end, he told me, he sold his holdings for thirty thousand dollars. The internal drama
                                           and crashing prices prompted a broader exodus from the project. In 2019, Freeman’s exchange
                                           announced that it was delisting Skycoin. Michael Terpin’s name still appears on the Skycoin Web site,
                                           but he told me that he no longer has anything to do with it. Josh, the cryptocurrency investor, lost faith
                                           after visiting Smietana in China, last year. “Crypto is a bunch of con artists conning each other,” he said.
                                           “Obelisk was always a week away, and it still is.” He sold his holdings and told me that he lost ninety-
                                           nine per cent of his investment.

                                           Investors who sold at the peak would have made large profits, but many average coinholders suffered.
                                           (Smietana claimed that he urged restraint: “I told people not to put money into the market that they
                                           were not prepared to lose.”) Armon Koochek, a recent college graduate in Santa Barbara, California,
                                           invested in Skycoin in 2018, lured by the promise of a new Internet and excited by the “memes and
                                           content on Reddit and Twitter.” He lost some fifteen thousand dollars. He tried to warn others away
                                           from the project in the Telegram chat room, and was soon banned. “I hope I saved a lot of investors,” he
                                           told me. Dael Lithgow, a forty-five-year-old bootmaker in Pietermaritzburg, South Africa, invested
                                           most of his savings in Skycoin in 2017, and convinced his mother and girlfriend to invest, as well. Had
                                           they sold during the boom, the profits would have been “life-changing,” but they held on. “I really
                                           believed in what they were trying to do,” he told me. Today their coins are nearly worthless.

                                               n the summer of 2019, I met Smietana at a mozzarella bar in Manhattan. He was wearing all black,
                                           I  and his hair was starting to gray. As we sat, he warned me, unprompted, “Honestly, like, ninety-eight
                                           per cent of the people are scammers in blockchain.” Then, preëmpting my questions, he visited every bit
                                           of Skycoin intrigue. The “gang members” who kidnapped him in China had demanded “sixty million
                                           dollars.” The technology for Skywire, the decentralized Internet service, was already “working” and
                                           Obelisk was just “a few months” out. His girlfriend, Sarah, called several times while we were speaking.
                                           He showed me frantic messages from her, and said that he was blowing off an important meeting, but
                                           he kept talking, telling me about his coin’s promise. He seemed to regard me as the next potential pump.
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                                           Almost four hours into my lunch, I made an excuse to leave, saying that I needed to walk to my bank.
                                           Smietana followed along for almost thirty blocks, ranting about his court case in China. Eventually, I
                                           brought him to Times Square, where his girlfriend was waiting. She must have seen something in my
                                           eyes, and said, “He’s a mad scientist.” After New York, they were headed to the Caribbean, where they
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                                           would see Terpin and check out the crypto scene. They invited me to join. In the months that followed,
                                           Skycoin’s price dropped below a dollar a coin, but Smietana remained optimistic. He told me, on
                                           Telegram, that he had a new hardware lab where he was developing antennae for the Skyminer, and said
                                           that Skycoin was moving into the medical industry, agricultural automation, and underground mining.

                                           When I confronted Smietana about Skycoin’s history, he began sending me dozens of voice messages a
                                           day, spinning elaborate stories that often contradicted one another. Many could be corroborated only by
                                           people whom he swore existed but who couldn’t talk because they had government security clearance, or
                                           were in hiding, or because he didn’t know their real names. He attacked those who spoke ill of Skycoin,
                                           calling them criminals, junkies, and blackmailers. He claimed at first that he didn’t know Stephens (“I
                                           contacted advisor board and no one involved in Skycoin has heard of Bradford”), then that he was a “con
                                           artist,” then that he was a “federal informant/agent” trying to entrap him. At one point, Smietana even
                                           suggested that he wasn’t the real founder of Skycoin. I began to feel dizzy reporting this story, trying to
                                           sort through the layers of deception and to figure out whom I could trust. Everyone seemed to think
                                           that they could spin what I wrote to their advantage.

                                           Smietana continues to post in the Telegram chat room, assuring loyal coinholders that the features
                                           they’ve waited years for are almost complete. “In that Telegram group, he is king,” the former member of
                                           Skycoin’s inner circle told me. Former employees remain divided about Smietana’s motives. “It’s almost
                                           as if he viewed Skycoin as a money printer,” the former marketing contractor told me. “Everything that
                                           happened was a distraction or ruse to keep people in the dark while he kept his shit-coin casino
                                           operating.” It’s impossible to know how much Smietana made on the currency. (“Overall, I would say, I
                                           did ok,” Smietana wrote to me.) But other founders have pulled “exit scams,” dumping all of their coins
                                           at the market’s height and disappearing entirely, which Smietana never did. One of Skycoin’s lead
                                           software developers—who was also Smietana’s friend from college, and who requested anonymity out of
                                           fear of harassment—doesn’t think Smietana was in it to get rich: “Being a figurehead in blockchain is
                                           like being a cult leader and I think he enjoyed that more than the money.” At one point, Smietana sent
                                           me a voice message, asking, “Why didn’t I just take the seventy million and just, like, run off ?”

                                           In the past several years, the S.E.C. has charged multiple I.C.O. operators with offering unregistered
                                           securities and committing fraud, and the cases have resulted in settlements that have ordered hundreds
                                           of millions of dollars returned to coinholders. Last July, Jack Abramoff, who became famous, in 2006, for
                                           his role in a political-lobbying scheme, pleaded guilty to committing securities fraud with a token sale.
                                           The project, called AML BitCoin, published a white paper in 2017 that listed Smietana as one of its
                                           software developers. (Smietana claims that he was included without his consent.) In October, Spanish
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                                           authorities arrested McAfee on an extradition request from the U.S., where he faced charges of tax
                                           evasion and illegally promoting cryptocurrencies. (In June, he was found dead in his jail cell, in an
                                           apparent suicide.) In the past few years, cryptocurrency founders have tweaked their strategies; instead
                                           of I.C.O.s, they now hold “initial exchange o erings” and “initial decentralized exchange o erings.”




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                                           Stark, the former S.E.C. o cial, told me that the new terminology is “designed to create confusion and



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                                           avoid S.E.C. scrutiny, but all of it is the same.” David Silver, a lawyer who represents victims of
                                           cryptocurrency fraud, hopes that, as the S.E.C. enforces securities laws, fraud in the market will decrease.
                                           “Yesterday’s crypto heroes are tomorrow’s crypto felons,” he said. “The statute of limitations is very
                                           long.”

                                           This past January, a Telegram channel named after WallStreetBets, the Reddit forum that supercharged
                                           GameStop’s stock price, targeted Skycoin with a pumping campaign. As the pump spread to other
                                           social-media platforms, the price punched up above ve dollars per coin. The mood in the chat was


                                                                                                        fi
                                           ecstatic. “I’m frantically moving funds around to buy more,” a user named Krzys P wrote. Smietana
                                           wrote, “MOON MOON LAMBO MOON.” Stephens is now a software developer at Salesforce, and
                                           insists that he is done with cryptocurrency: “My personality is not well suited to fraud, and ma oso, and




                                                                                                                                             fi
                                           everything that crypto is.” He recently returned with his wife to Japan and sought out a new Shinto
                                           shrine where, he said, he wished for good health.




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                                           Morgen Peck is a freelance journalist who has covered cryptocurrency since 2012.


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                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                           Case No. 2024 L 003661

                                                                 v.                 Plaintiff,


                                            Aaron Kunstman


                                            1683 Humboldt Ave,
                                            Milwaukee, WI 53202


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                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
      Hearing Date: No Case:   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 68 of 323 PageID #:84
                       hearing scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                           FILED
                                                                                                                                           5/30/2024 8:40 PM
                                                                                                                                           IRIS Y. MARTINEZ
                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                                                                                                                           2024L003661
                                                                                                                                           Calendar, W
                                                                                                                                           27913467

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                           Case No. 2024 L 003661

                                                                 v.                 Plaintiff,


                                            Bradford Stephens


                                            1649 Fairfield Ave Apt 7J,
                                            Chicago, IL 60647


                                            Address of Defendant(s)
                                                                                         SUMMONS
                                            Please serve as follows (check one):      Certified Mail           Sheriff Service Alias Process Server X

                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court, within
                                            30 days after service of this summons, not counting the day of service. If you fail to do so, a judgment
                                            by default may be entered against you for the relief asked in the complaint.
                                                              THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
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                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 69 of 323 PageID #:85


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            service provider.
                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
                                            with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to
                                            file in-person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
                                            www illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court
                                            hearing date AND for information whether your hearing will be held by video conference or by telephone.
                                            The Clerk's office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used
                                            to register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
                                            website: cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or
                                            contact the appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
                                            be returned so endorsed. This summons may not be served later than thirty (30) days after its date.
                                                                                                                                             5/30/2024 8:40 PM IRIS Y. MARTINEZ




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 70 of 323 PageID #:86



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
      Hearing Date: No Case:   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 71 of 323 PageID #:87
                       hearing scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                           FILED
                                                                                                                                           5/30/2024 8:40 PM
                                                                                                                                           IRIS Y. MARTINEZ
                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                                                                                                                           2024L003661
                                                                                                                                           Calendar, W
                                                                                                                                           27913467

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                           Case No. 2024 L 003661

                                                                 v.                 Plaintiff,


                                            CATHERINE BYERLY



                                            375 S. Lake Howard Drive
                                            Winter Haven, FL 33880

                                            Address of Defendant(s)
                                                                                         SUMMONS
                                            Please serve as follows (check one):      Certified Mail           Sheriff Service Alias Process Server X

                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court, within
                                            30 days after service of this summons, not counting the day of service. If you fail to do so, a judgment
                                            by default may be entered against you for the relief asked in the complaint.
                                                              THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE. You will need: a computer with internet access; an email address;, a completed
                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.

                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 72 of 323 PageID #:88


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            service provider.
                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
                                            with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to
                                            file in-person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
                                            www illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court
                                            hearing date AND for information whether your hearing will be held by video conference or by telephone.
                                            The Clerk's office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used
                                            to register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
                                            website: cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or
                                            contact the appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
                                            be returned so endorsed. This summons may not be served later than thirty (30) days after its date.
                                                                                                                                    5/30/2024 8:40 PM IRIS Y. MARTINEZ




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 73 of 323 PageID #:89



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
      Hearing Date: No Case:   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 74 of 323 PageID #:90
                       hearing scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                           FILED
                                                                                                                                           5/30/2024 8:40 PM
                                                                                                                                           IRIS Y. MARTINEZ
                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                                                                                                                           2024L003661
                                                                                                                                           Calendar, W
                                                                                                                                           27913467

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
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                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                   IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                           Case No. 2024 L 003661

                                                                   v.               Plaintiff,


                                            Joel Wayne Cuthriell


                                            8922 E. 49th Place
                                            Tulsa, OK 74145



                                            Address of Defendant(s)
                                                                                         SUMMONS
                                            Please serve as follows (check one):      Certified Mail           Sheriff Service Alias Process Server X

                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 75 of 323 PageID #:91


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 5/30/2024 8:40 PM 2024L003661




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                                                                                                                                    5/30/2024 8:40 PM IRIS Y. MARTINEZ




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 76 of 323 PageID #:92



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
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                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
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                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
      Hearing Date: No Case:   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 77 of 323 PageID #:93
                       hearing scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                           FILED
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                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
FILED DATE: 5/30/2024 8:40 PM 2024L003661




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                                                                                                                                           Calendar, W
                                                                                                                                           27913467

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                           Case No. 2024 L 003661

                                                                 v.                 Plaintiff,


                                            MORGEN E. PECK


                                            76 Canal Street, 3rd Floor
                                            New York, NY 10002


                                            Address of Defendant(s)
                                                                                         SUMMONS
                                            Please serve as follows (check one):      Certified Mail           Sheriff Service Alias Process Server X

                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court, within
                                            30 days after service of this summons, not counting the day of service. If you fail to do so, a judgment
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                                                              THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 78 of 323 PageID #:94


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            service provider.
                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
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                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
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                                            To the officer: (Sheriff Service)
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                                                                                                                                       5/30/2024 8:40 PM IRIS Y. MARTINEZ




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 79 of 323 PageID #:95



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
      Hearing Date: No Case:   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 80 of 323 PageID #:96
                       hearing scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
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                                                                                                                                           IRIS Y. MARTINEZ
                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
FILED DATE: 5/30/2024 8:40 PM 2024L003661




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                                            2120 - Served                2121- Served               2620 - Sec. of State
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                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                           Case No. 2024 L 003661

                                                                 v.                 Plaintiff,


                                            Ryan Eagle



                                            363 Wacker Dr Unit 5405,
                                            Chicago, IL 60601

                                            Address of Defendant(s)
                                                                                         SUMMONS
                                            Please serve as follows (check one):      Certified Mail           Sheriff Service Alias Process Server X

                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
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                                                              THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
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                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 81 of 323 PageID #:97


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            service provider.
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                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
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                                            This summons must be returned by the officer or other person to whom it was given for service, with
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                                                                                                                                        5/30/2024 8:40 PM IRIS Y. MARTINEZ




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 82 of 323 PageID #:98



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 5/30/2024 8:40 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
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                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
      Hearing Date: No Case:   1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 83 of 323 PageID #:99
                       hearing scheduled
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
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FILED DATE: 5/30/2024 8:40 PM 2024L003661




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                                            2120 - Served                2121- Served               2620 - Sec. of State
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                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED and SYMBOLIC
                                            ANALYTICS INC.,

                                                                                                             Case No. 2024 L 003661

                                                                 v.                  Plaintiff,

                                            American Publishers, Inc., d/b/a Conde Naste and
                                            d/b/a The New Yorker Magazine

                                            c/o The Company Corporation, Reg.Agent
                                            251 Little Falls Drive
                                            Wilmington, DE 19808


                                            Address of Defendant(s)
                                                                                           SUMMONS
                                            Please serve as follows (check one):        Certified Mail           Sheriff Service Alias Process Server X

                                            To each Defendant:
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                                                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                 cookcountyclerkofcourtorg
                                                                                               Page 1 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 84 of 323 PageID #:100


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

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FILED DATE: 5/30/2024 8:40 PM 2024L003661




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                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
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                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 85 of 323 PageID #:101



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
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FILED DATE: 5/30/2024 8:40 PM 2024L003661




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                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

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                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
                        Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 86 of 323 PageID #:102
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                    FILED
                                                                                                                                    5/30/2024 9:00 PM
                                                                                                                                    IRIS Y. MARTINEZ
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                           CIRCUIT CLERK
                                                                                                                                    COOK COUNTY, IL
                                                                  COUNTY DEPARTMENT, LAW DIVISION
FILED DATE: 5/30/2024 9:00 PM 2024L003661




                                                                                                                                    2024L003661
                                                                                                                                    Calendar, W
                                            BRANDON SMIETANA, SKYCOIN GLOBAL                       )                                27913517
                                            FOUNDATION LIMITED and SYMBOLIC                        )
                                            ANALYTICS INC.                                         )
                                                                                                   )
                                                           Plaintiff,                              )
                                                   v.                                              )       No. 2024 L 003661
                                                                                                   )
                                            BRADFORD STEPHENS, AARON                               )
                                            KUNSTMAN, RYAN EAGLE, JOEL WAYNE                       )
                                            CUTHRIELL, MORGEN PECK,                                )
                                            CATHERINE BYERLY, AMERICAN                             )
                                            PUBLISHERS, INC., d/b/a CONDE NAST and                 )
                                            d/b/a THE NEW YORKER, et al.,                          )
                                                                                                   )
                                                           Defendants.                             )

                                                 PLAINTIFFS’ ROUTINE MOTION TO APPOINT SPECIAL PROCESS SERVER

                                                   NOW COME the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL FOUNDATION

                                            LIMITED and SYMBOLIC ANALYTICS INC., by and through their attorneys, Barney & Karamanis,

                                            LLP, and respectfully requests that this Court appoint Judicial Attorney Services, as special process

                                            server to serve process on Defendants, BRADFORD STEPHENS, AARON KUNSTMAN, RYAN

                                            EAGLE, JOEL WAYNE CUTHRIELL, MORGEN PECK,

                                            CATHERINE BYERLY, AMERICAN PUBLISHERS, INC., d/b/a CONDE NAST and

                                            d/b/a THE NEW YORKER. In support of their motion, Plaintiffs state as follows:

                                                   1.      That the Complaint at Law in this matter was filed on April 4, 2024.

                                                   2.      Plaintiff filed her Complaint at Law as aforesaid and on May 30, 2024, filed

                                            Summons to be issued to the Defendants.

                                                   3.      Plaintiff is unable and/or unwilling to procure service of process through the sheriff’s

                                            department due to the unresponsiveness of attempted service upon defendant(s) generally due to

                                            COVID and/or defendants and/or registered agents working remotely.
                                              Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 87 of 323 PageID #:103




                                                    4.      A majority of the above-referenced defendants have a history of evading service as

                                            this matter was filed in Northern District Federal Court under Case No. 22-cv-00708 and Special
FILED DATE: 5/30/2024 9:00 PM 2024L003661




                                            Process service is required so that service of Summons and Complaint may be effectuated legally and

                                            technically with proper service upon Defendants.

                                                    5.      That to date, service has not been procured on Defendants, above-referenced.

                                                    6.      That Judicial Attorney Services’ employees and/or agents are over the age of 18 and

                                            not a party to this action.

                                                    7.      That Judicial Attorney Services’ license number is 117-001119.

                                                    WHEREFORE, the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL

                                            FOUNDATION LIMITED and SYMBOLIC ANALYTICS INC, by and through their attorneys,

                                            Barney & Karamanis, LLP, prays that this Honorable Court enter an Order appointing Judicial

                                            Attorney Services as special process server, and for such other relief for Plaintiffs as this Honorable

                                            Court deems just and fair.

                                                                                            Respectfully submitted,

                                                                                            By: /s/:Michaela Coughlin
                                                                                                    One of Plaintiff’s Attorneys




                                            James A. Karamanis (james@bkchicagolaw.com)
                                            Michaela Coughlin (michaela@bkchicagolaw.com)
                                            Barney & Karamanis, LLP
                                            Two Prudential Plaza
                                            180 N. Stetson, Suite 3050
                                            Chicago, Illinois 60601
                                            Tel.: 312/553-5300
                                            Attorney No. 48525
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Date: 6/6/2024


CIRCUIT COURT OF COOK COUNTY
LAW DIV. RM. 801, DALEY CENTER.
 CHICAGO IL-60602


SMIETANA BRANDON


-
KaramanisJames Andreas
james@bkchicagolaw.com


       NOTICE OF ZOOM CASE MANAGEMENT
       CASE: 2024L003661


BRANDON SMIETANA,SKYCOIN GLOBAL FOUNDATION LIMITED,SYMBOLIC ANALYTICS INC.-vs-BR


This cause is scheduled for initial case management via Zoom
before Judge, Donnelly, Thomas M On Wednesday July 10 2024 at 09:00 AM
        ** DO NOT APPEAR IN PERSON **
To access Zoom by video go to https://zoom.us/join then
enter the access code and password listed below.
ZOOM ACCESS CODE: 921 0771 7798 PASSWORD: 881878

To access Zoom by phone, call 312-626-6799 and then enter
the access code and password listed above.
For questions email: Law.Calwcc@cookcountyil.gov
You cannot access Zoom until your scheduled hearing date.
All attorneys of record and self-represented litigants are
required to appear via Zoom and advise the court as to the status of the case.
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Hearing Date: No hearing scheduled                                                             FILED
Location: <<CourtRoomNumber>>                                                                  6/28/2024 3:21 PM
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Judge: Calendar, W                                                                             IRIS Y. MARTINEZ
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                                                                                                                                        2024L003661
                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                              Calendar, W
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                                                                   COUNTY DEPARTMENT, LAW DIVISION
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                                            BRANDON SMIETANA,             )
                                            SKYCOIN GLOBAL FOUNDATON,     )
                                            LIMITED., et al.              )
                                                                          )
                                                     Plaintiffs,          )                     LAW DIVISION
                                                                          )                     CASE NO.: 24-L-003661
                                            Vs.                           )
                                                                          )
                                            BRANDON STEPHENS, RYAN EAGLE, )
                                            et al.,                       )
                                                                          )
                                                     Defendants.          )
                                                                          )

                                              DEFENDANT, RYAN EAGLE’S COMBINED MOTION TO DISMISS COMPLAINT

                                                   COMES NOW the Defendant, RYAN EAGLE, by and through his undersigned attorney

                                            and moves this Court for dismissal of Plaintiff’s Complaint against Defendant pursuant to 735

                                            ILCS 5/2-619.1 as a combined motion under sections 735 ILCS 5/2-619 and 735 ILCS 5/2-615

                                            and states as follows:

                                                                 FACTUAL AND PROCEDURAL BACKGROUND

                                                   Plaintiffs filed this Complaint on April 4, 2024 alleging numerous counts of fraudulent

                                            conduct by many Defendants in what is loosely described as a conspiracy to steal money through

                                            fraudulent billing and marketing practices targeted against Plaintiffs’ cryptocurrency business by

                                            Defendants’ marketing management practices. Plaintiffs allege the head of the marketing

                                            company, Defendant, Bradford Stephens and others employed by and or associated with him

                                            engaged in a scheme to defraud Plaintiffs. Plaintiffs allege they hired the marketing company to

                                            boost the Plaintiffs’ business by marketing and to boost its presence through search engine

                                            optimization.

                                                   As for Defendant, Ryan Eagle, however, no fraudulent acts whatsoever are alleged against
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                                            him anywhere in the Complaint and therefore the Complaint as a whole fails to state any cause of

                                            action against Ryan Eagle. Eagle is named in only 3 counts of the Complaint. They are:
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                                                              Count 3: Civil Conspiracy (“to defraud Plaintiffs, tortiously interfere

                                                      with their business relationships, commit various acts of wire fraud, computer

                                                      fraud, manipulate the cryptocurrency market, and convert Plaintiffs’ property

                                                      surreptitiously.”).

                                                              Count 4: Tortious Interference (the alleged subject of the civil

                                                      conspiracy).

                                                              Count 5: Unjust Enrichment

                                                    Additionally, Plaintiffs actions against Defendant, Eagle are time-barred by the operation

                                            of the applicable Statute of Limitations and Plaintiffs lack standing to bring this action under the

                                            Business Corporation Act of 1983 (5/1.01 to 5/17.05) for failure to either register to do business

                                            in the State of Illinois.

                                                                            I.    MEMORANDUM OF LAW

                                            A. LEGAL STANDARD

                                                A section 2–615(a) motion to dismiss “tests the legal sufficiency of the complaint,” Kean v.

                                            Wal–Mart Stores, Inc., 235 Ill.2d 351, 361, 336 Ill.Dec. 1, 919 N.E.2d 926, 931–32 (2009). Section

                                            2–615 motions “raise but a single issue: whether, when taken as true, the facts alleged in the

                                            complaint set forth a good and sufficient cause of action.” Scott Wetzel Services v. Regard, 271

                                            Ill.App.3d 478, 480, 208 Ill.Dec. 98, 648 N.E.2d 1020 (1995).

                                                In order to withstand a motion to dismiss based on section 2–615, a complaint must allege facts

                                            that set forth the essential elements of the cause of action. Urbaitis v. Commonwealth Edison, 143

                                            Ill.2d 458, 475, 159 Ill.Dec. 50, 575 N.E.2d 548 (1991). “[A] court must take as true all well-pled



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                                            allegations of fact contained in the complaint and construe all reasonable inferences therefrom in

                                            favor of the plaintiff.” Vernon v. Schuster, 179 Ill.2d 338, 341, 228 Ill.Dec. 195, 688 N.E.2d 1172
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                                            (1997). In ruling on a motion to dismiss, the court will construe pleadings liberally. Pfendler v.

                                            Anshe Emet Day School, 81 Ill.App.3d 818, 821, 37 Ill.Dec. 1, 401 N.E.2d 1094 (1980). “A

                                            plaintiff is not required to prove his case in the pleading stage; rather, he must merely allege

                                            sufficient facts to state all the elements which are necessary to constitute his cause of action.”

                                            Claire Associates v. Pontikes, 151 Ill.App.3d 116, 123, 104 Ill.Dec. 526, 502 N.E.2d 1186 (1986).

                                            [Emphasis added]

                                               “The purpose of a section 2-619 motion to dismiss is to dispose of issues of law and easily

                                            proven issues of fact at the outset of litigation.” Dratewska-Zator v. Rutherford, 2013 IL App (1st)

                                            122699, 996 N.E.2d 1151. A section 2-619 motion to dismiss “admits the legal sufficiency of the

                                            complaint, but raises defects, defenses, or other affirmative matters appearing on the face of the

                                            complaint or established by external submissions, which defeat the action.” Nourse v. City of

                                            Chicago, 2017 IL App (1st) 160664, 75 N.E.3d 397. “In deciding a section 2-619 motion, a court

                                            accepts all well-pleaded facts and their inferences as true and construes all pleadings and

                                            supporting documents in favor of the nonmoving party.” In re Estate of Shelton, 2017 IL 121199,

                                            89 N.E.3d 391. Section 2-619(a)(5) of the Code allows for the involuntary dismissal of an action

                                            that “was not commenced within the time limited by law.” 735 ILCS 5/2-619(a)(5)

                                            B. ARGUMENT

                                               In short summary, Plaintiffs’ Complaint entirely fails to make even a single specific factual

                                            allegation against Defendant, Ryan Eagle. Plaintiffs instead have only made one conclusory

                                            allegation to the effect that Ryan Eagle ‘conspired’ with Defendant Brandford Stephens and others

                                            to commit tortious acts against Plaintiffs. They fail to allege even a single instance of how or in



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                                            what capacity Eagle engaged in such conspiracy as was alleged against Defendant, Stephen. The

                                            details of Plaintiffs’ allegations and lack thereof as to Defendant, Eagle as set forth below.
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                                                       1) CIVIL CONSPIRACY (COUNT 3): [Brought under 735 ILCS 5/2-615]

                                               Civil conspiracy “requires proof that a defendant ‘knowingly and voluntarily participates in a

                                            common scheme to commit an unlawful act or a lawful act in an unlawful manner.’ “ McClure v.

                                            Owens Corning Fiberglas Corp., 188 Ill. 2d 102, 720 N.E.2d 242 (1999), (quoting Adcock, 164

                                            Ill.2d at 64). The necessary elements of a civil conspiracy include: (1) an agreement between two

                                            or more persons; (2) to participate in an unlawful act, or a lawful act in an unlawful manner; (3)

                                            an injury caused by an unlawful overt act performed by one of the parties; and (4) the overt act

                                            was done pursuant to and in furtherance of the common scheme. Canel and Hale, Ltd. v. Tobin,

                                            304 Ill.App.3d 906, 920 (1999).

                                               Conspiracy is not a separate and distinct tort in Illinois. Hurst v. Capital Cities Media, Inc.,

                                            323 Ill.App.3d 812, 822–23 (2001). “To state a cause of action for civil conspiracy, a plaintiff

                                            must allege an agreement and a tortious act committed in furtherance of that agreement, as

                                            well as an injury caused by the defendant.” [See: Benton v. Little League Baseball, Inc., 181 N.E.3d

                                            902 (Ill. App. Ct. 2020)][Emphasis added] “Mere knowledge of the fraudulent or illegal actions

                                            of another is insufficient.” Id. [Emphasis added]

                                               In the instant case, Defendant, Eagle is named in only 3 of the 10 counts and in only 9 of the

                                            185 paragraphs. No allegation, however, extends beyond a possible allegation showing

                                            ‘knowledge’ of a scheme and another is but a mere conclusion. For example, paragraph 37 alleges:

                                                     37. Upon Skycoin’s refusal to pay Stephens the monthly payments requested
                                                     in or around February 2018, Stephens met Smietana in Shanghai, China, and
                                                     in association with Eagle, who was participating via Zoom, threatened to
                                                     have Skycoin delisted from all exchanges including, for example, Bittrex and
                                                     Binance, unless Smietana agreed to pay them $30,000,000.00 in Bitcoin and
                                                     $1,000,000.00 in US Dollars.

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                                            [Complaint, ¶37] [Emphasis added]
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                                                   54. On or about June 12, 2018, when Smietana refused to succumb to
                                                   Stephens’s extortion demands, Stephens and Eagle conspired with Yan
                                                   Xiandong, Li Min, Sam Sing Fond and Sun Fei (collectively the
                                                   “Assailants”) in a plot to kidnap Smietana and his girlfriend and steal
                                                   $30,000,000.00 that Stephens claimed he was due from Skycoin.
                                            [Complaint, ¶54] [Emphasis added]

                                                     Paragraph 37 merely alleges that Defendant, Stephens “threatened to have Skycoin delisted

                                            from all exchanges” and only ‘incidentally’ or ‘gratuitously’ adds that Defendant, Eagle “was

                                            ‘participating’ via Zoom”. The allegation, however, fails to reflect that Eagle said or did anything.

                                            It merely, in conclusory language claims he ‘was participating”. The threat, however, is clearly

                                            alleged to have been made by Defendant, Stephens in this paragraph 37, not by Eagle, who at most

                                            was ‘listening’. “Mere knowledge of the fraudulent or illegal actions of another is insufficient.”

                                            Benton, supra.

                                                     Paragraph 54 on the other hand is likewise insufficient and merely alleges the ‘conclusion’

                                            that “Stephens and Eagle conspired” with others. It fails, however, to indicate or alleges in any

                                            fashion whatsoever what Defendant, Eagle did as on ‘overt act’ ‘in furtherance of the conspiracy’.

                                            There can be no conspiracy without such overt act. Illinois Traffic Court, supra.

                                                     Other references to Defendant, Eagle in the Complaint are no more illuminating as to any

                                            act or participation engaged in by Eagle. These appear as follows:

                                                     ¶21: Defendant, Bradford Stephens claimed Eagle was his business partner.

                                                     ¶49: Defendant Stephens threatened Plaintiff with harm if he didn’t pay Stephens and

                                            Eagle.

                                                     ¶78: Pet Defendant, Stephens, Eagle was his business partner.

                                                     ¶88: Defendant, Stephens and Eagle were business partners.



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                                                   ¶108: “Eagle conspired with Stephens and Kunstman to extort Plaintiffs out of money by

                                            threats of physical harm through the Assailants who invaded Smietana’s home and tortured both
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                                            him and his pregnant girlfriend for over six hours.”

                                                   Paragraph 108 again, like paragraph 54 is but a conclusion that Eagle ‘conspired’ with

                                            others. This is clearly insufficient and cites to no ‘act performed by Eagle in furtherance of the

                                            conspiracy’. Only the conclusion that he ‘conspired’. Each of the other references merely allege

                                            him to be a business partner of Defendant, Stephens. Nowhere in the Complaint is there any

                                            allegation of an overt act committed by Defendant, Eagle.

                                                       2) TORTIOUS INTERFERENCE (COUNT 4) and UNJUST ENRICHMENT
                                                          (COUNT 5): [Brought under 735 ILCS 5/2-615]

                                                   At this point, Eagle has no idea what he did to evidence his intent to join or participate in

                                            the alleged conspiracy, Count 3, or the substantive counts 4 and 5 for Tortious Interference and

                                            Unjust Enrichment, respectively. It is interesting to note further that each of the counts that Eagle

                                            is charged in adopt only the prior allegations in paragraphs 1-76 of the Complaint under general

                                            facts and no count Eagle is charged in alleges any specific conduct by Eagle.

                                                   It is unnecessary to enumerate the elements that must be pled by Plaintiffs to establish the

                                            substantive causes of action for ‘tortious interference’ and ‘unjust enrichment’ because no

                                            allegations are made in any fashion whatsoever. There are no allegations in either count which

                                            names Ryan Eagle at all. Instead, the counts are based upon the ‘adopted’ prior allegations in

                                            paragraphs 1-76 of the Complaint. Those allegations, a few of which reference Defendant, Eagle

                                            are set forth above. It is abundantly clear from a reading of such allegations that, again, nothing is

                                            pled or alleged against Defendant, Eagle by way of a substantive allegation. Nothing showing that

                                            he ‘did’ or ‘said’ anything at all, let alone anything relevant to the causes of action. The only

                                            allegations are that he is the business partner of the primary defendant, Bradford Stephens and that

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                                            he ‘conspired’ with others. Again, other than the mere conclusion of conspiracy, no specific act of

                                            the Defendant is alleged or mentioned in any manner whatsoever. These counts must also be
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                                            dismissed.

                                                         3. PLAINTIFFS’ FAILURE TO REGISTER TO DO BUSINESS PRECLUDES
                                                            MAINTAING THIS ACTION: [Brough under 735 ILCS 5/2-615]

                                                   Plaintiffs are foreign residents to Illinois and are thus required to register to do business in

                                            this State and to commence and maintain this litigation against Defendant, Eagle. Plaintiffs have

                                            failed to allege such registration or obtaining of the required authorization from the Secretary of

                                            State and are this barred from maintaining this action at this time. Young Am.'s Found. v. Doris A.

                                            Pistole Revocable Living Tr., 998 N.E.2d 94 (Ill. App. Ct. 2013)

                                                   Act 5. Business Corporation Act of 1983 (5/1.01 to 5/17.05) provides in pertinent part, the

                                            following:

                                                            § 13.05. Admission of foreign corporation. Except as provided in Article

                                                     V of the Illinois Insurance Code,1 a foreign corporation organized for profit,

                                                     before it transacts business in this State, shall procure authority so to do from the

                                                     Secretary of State.

                                                            § 13.70. Transacting business without authority.

                                                            (a) No foreign corporation transacting business in this State without

                                                     authority to do so is permitted to maintain a civil action in any court of this State,

                                                     until the corporation obtains that authority. Nor shall a civil action be maintained

                                                     in any court of this State by any successor or assignee of the corporation on any

                                                     right, claim or demand arising out of the transaction of business by the corporation

                                                     in this State, until authority to transact business in this State is obtained by the

                                                     corporation or by a corporation that has acquired all or substantially all of its

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                                                        assets.

                                                   There is no record of the Plaintiffs on the records of the Illinois Secretary of State. Plaintiffs
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                                            have failed to register to do business in this state and therefore the action must be dismissed for

                                            such failure.

                                                          4. ALL ACTIONS ARE TIME-BARRED: [Brought under 735 ILCS 5/2-619]

                                                   As noted above, Plaintiffs have alleged causes of action against Defendant, Eagle for Civil

                                            Conspiracy (Count 3), Tortious Interference (Count 4) and Unjust Enrichment (Count 5). The

                                            underlying offense of the alleged ‘civil conspiracy’ against Defendant, Eagle is the alleged

                                            fraudulent conduct of Eagle and more specifically, “to defraud Plaintiffs, tortiously interfere with

                                            their business relationships, commit various acts of wire fraud, computer fraud, manipulate the

                                            cryptocurrency market, and convert Plaintiffs’ property surreptitiously.” [See Complaint, Count

                                            3, ¶112].

                                                   In Mauvais-Jarvis v. Wong, 987 N.E.2d 864 (Ill. App. Ct. 2013) the court addressed the

                                            applicable statute of limitations (“S/L”) issue as it relates to civil conspiracy and ruled that the

                                            underlying offense will govern the applicable limitation period. The Court ruled:

                                                        It is well-settled that conspiracy, standing alone, is not a separate and distinct
                                                        tort in Illinois. … See 15 C.J.S. Conspiracy § 26, at 1043 (2013) (Unless a
                                                        jurisdiction provides an independent statute of limitations for civil conspiracy,
                                                        “[t]he statute of limitations for a civil-conspiracy claim is determined by the
                                                        nature of the underlying conduct on which the claim of conspiracy is based. A
                                                        claim alleging civil conspiracy is thus time-barred if the substantive tort
                                                        underlying it was time-barred.”).

                                                   The statute of limitations in a civil conspiracy claim “runs from the commission of the last

                                            overt act alleged to have caused damage.” Austin v. House of Vision, Inc., 101 Ill. App. 2d 251,

                                            255, 243 N.E.2d 297, 299 (1968). A review of the Complaint reveals that the last pled of fraud

                                            occurred at the latest, October 18, 2018 (Complaint, ¶52). Notwithstanding that there is no



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                                            allegation of Defendant, Eagle as to any the commission of any act or overt act in furtherance of

                                            any conspiracy, were this to be the last alleged act, the Complaint is clearly filed more than 5 years
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                                            from such date.

                                                    There is also alleged in paragraph 54 of the Complaint that a kidnap plot occurred on June

                                            12, 2018. Again, not only is Defendant, Eagle not alleged to have participated in this alleged plot,

                                            the Complaint is likewise filed beyond the applicable 5 year statute of limitations period. In fact,

                                            the only allegation of any act in the Complaint occurring within the 5-year S/L is found in

                                            paragraph 72 of the Complaint and regards some plan to ‘delist’ Plaintiff from certain web based

                                            platforms. While this act may be within the S/L, Defendant, Eagle is not alleged to have

                                            participated in such act.

                                                    Additionally, and more importantly, Count 5, Unjust Enrichment would seem to be a cause

                                            of action that is certainly beyond the 5 year S/L in that the action of Unjust Enrichment would

                                            necessarily involve the receipt of something of value under circumstances whereby the receiver

                                            would expect to pay for such thing of value. “To prevail on a claim for unjust enrichment, a

                                            plaintiff must prove that the defendant “retained a benefit to the plaintiff's detriment, and that

                                            defendant's retention of the benefit violates fundamental principles of justice, equity, and good

                                            conscience.” Nat'l Union Fire Ins. Co. of Pittsburgh v. DiMucci, 34 N.E.3d 1023 (Ill. App. Ct.

                                            2015)

                                                    The last allegation of anything of value changing hands to the other Defendants, occurred

                                            in 2018 and therefore, such cause of action must of necessity have been brought no later than 2023.

                                            The complaint was filed on April 4, 2024, and therefore Count 5 must be dismissed as time-barred.

                                                    Finally, the blatant pleading deficiencies of the Complaint, in its failure to allege ‘any’ act

                                            that Defendant, Eagle engaged in, prevents the Defendant from properly or adequately responding



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                                            to the Complaint and prevents him from properly arguing further the definitive violation of any

                                            applicable S/L. Defendant simply does not know what he did or said and when he is alleged to
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                                            have done or said anything that shows his participation in and intent to join the alleged conspiracy.

                                                                                 II.     CONCLUSION

                                                   Plaintiffs have failed to allege sufficient facts, or any facts at all for that matter, to show

                                            that Defendant, Ryan Eagle said or did anything at all to evidence his intent to join the conspiracy

                                            which Plaintiffs describe in the Complaint. There is in fact, no statement of an overt act or

                                            statement of any kind alleged against Defendant, Eagle, save for an allegation that he was present

                                            on a Zoom call. This is clearly insufficient to plead a cause of action against Eagle in any of the

                                            counts he is included in. Counts 3, 4 and 5 must each be dismissed. Furthermore, Plaintiffs’ actions

                                            against Defendant, Eagle are time-barred or at least pled in such an egregious and deficient manner

                                            so as to prevent Defendant and this Court from properly assessing if the S/L is violated or not.

                                            Finally, Plaintiffs’ failure to register and obtain authority to engage in and maintain this suit

                                            requires dismissal of this action.

                                                   Moreover, unless Plaintiffs are prepared to allege that they are in possession of any such

                                            acts to allege against Defendant, Eagle in any amended complaint, this dismissal must be with

                                            prejudice.

                                                                                                  Respectfully submitted,

                                                                                                  By: /s/ George W. Svoboda
                                                                                                  Attorney for Defendant Ryan Eagle
                                            Atty. No. 65708
                                            George W. Svoboda
                                            The Law Office of George W. Svoboda
                                            P.O. Box 1299
                                            McHenry, IL 60051
                                            (224) 360-0696 – Phone
                                            Email: george@georgesvobodalaw.com



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                       Case:scheduled
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                                                                 IN THE STATE OF ILLINOIS, CIRCUIT COURT                                                                 CIRCUIT CLERK
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                                                                                                                                                                         2024L003661
                                                                                                                                                                         Calendar, W
                                                        COUNTY: __________________________________________
                                                                Cook                                                                                                     28093851
                                                                           County Where You Are Filing the Case

                                                         Enter the case information as it appears on your other court documents.
                                                                                        Braindon Smietana
                                                         PLAINTIFF/PETITIONER OR IN RE: ________________________________
                                                            Who started the case.                        First, Middle, and Last Name, or Business Name


                                                                                 Joel Wayne Cuthriell
                                                        DEFENDANTS/RESPONDENTS: __________________________________                                                 2024 L 003661
                                                                                                                                                                   ____________________
                                                            Who the case was filed against.                                                                            Case Number
                                                                                                    __________________________________
                                                                                                    __________________________________
                                                                                                     First, Middle, and Last Name, or Business Name


                                                 If you want to request a trial with a judge and a jury (jury trial), you will also need to fill out and file a separate
                                                 Jury Request form, available at ilcourts.info/appearance. You do not have a right to a jury trial in every case. If
                                                 you want a trial with a judge only (bench trial), do not file the separate Jury Request form.
                                                 The deadline for filing a Jury Request is different depending on the type of case and your situation. If you are the
                                                 plaintiff, usually you must file a Jury Request at the same time that you file the case. If you are the defendant,
                                                 usually you must file a Jury Request at the same time as your Appearance.

                                               1. NAME & INFORMATION
                                                      If you do not have a lawyer, enter your information below to tell the court how to address you. If you are a
                                                      lawyer entering an appearance for a client, enter your client’s information below.
                                                                Joel
                                                          Name: __________________________                             Cuthriell
                                                                                           __________________________ _________________________
                                                                         First                                        Middle                                 Last Name

                                                          Pronouns (Optional):
                                                           He/Him  She/Her                    They/Them  Other: ______________

                                                          Prefix (Optional):
                                                          
                                                          ✔ Mr.  Ms.  Mrs.                      Mx.         Other: ___________



                                               2. APPEARANCE
                                                     Check only one box.
                                                          
                                                          ✔ I do not have a lawyer and I am entering my own appearance in this case. With this Appearance
                                                            form, I am telling the court that I am participating in this case.
                                                        - OR -
                                                           I am a lawyer entering my appearance for a client in this case:

                                                               ____________________________________________________
                                                                   Attorney or Firm Name



                                            This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts. Forms are free at ilcourts.info/forms.
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                                            Your Address ____________________________________________________________________________________
                                                            Street, Apt. #                                        City                                          State      Zip Code
                                                               (405) 582-0062
                                            Your Phone Number ____________________________ Attorney Number (if any) ____________________________
                                                                         joel@cuthriell.com
                                            Your Email (if you have one) ____________________________________________
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                                             BRANDON SMIETANA, SKYCOIN GLOBAL                                                  Calendar, W
                                             FOUNDATION LIMITED, a Singapore                                                   28653777
                                             Company, and SYMBOLIC ANALYTICS INC.,
                                             a Delaware Corporation,

                                                                          Plaintiffs,

                                                    v.                                                  Case No. 2024L003661

                                             BRADFORD STEPHENS, AARON
                                             KUNSTMAN, RYAN EAGLE, JOEL WAYNE
                                             CUTHRIELL, MORGEN PECK, CATHERINE
                                             BYERLY, AMERICAN PUBLISHERS, INC.
                                             d/b/a CONDÉ NAST and d/b/a THE NEW
                                             YORKER MAGAZINE, and UNKNOWN
                                             INDIVIDUALS AND COMPANIES,

                                                                          Defendants.

                                                                         AMENDED COMPLAINT AT LAW

                                                   NOW COME the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, and for their

                                            Amended Complaint against Defendants, BRADFORD STEPHENS, AARON KUNSTMAN,

                                            RYAN EAGLE, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE BYERLY, and

                                            AMERICAN PUBLISHERS, INC. d/b/a CONDÉ NAST and d/b/a THE NEW YORKER

                                            MAGAZINE, and UNKNOWN INDIVIDUAL(S) AND COMPANIES, state as follows:

                                                                                        PARTIES

                                                   1.     SKYCOIN GLOBAL FOUNDATION LIMITED, a Singapore Company (hereafter

                                            “Skycoin”) is a consortium of related entities involved in the development of software, hardware,

                                            design, manufacturing, and services operating under the consumer brand name “Skycoin,” which



                                                                                           1
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                                            includes Skycoin Global Foundation, Symbolic Analytics Inc., Shellpay China, and other entities

                                            that are responsible for regional operations or management of specific assets of Skycoin’s global
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                                            operations.

                                                   2.      Skycoin created 100 million Skycoin Tokens during its launch in 2013, which were

                                            distributed and traded on various exchanges by 2017.

                                                   3.      The peak market capitalization of all existing Skycoin Tokens reached $5 billion

                                            USD in January 2018.

                                                   4.      Skycoin is a private company organized under the laws of Singapore, its principal

                                            place of business located at 2 Venture Drive, #11-31, Vision Exchange, Singapore.

                                                   5.      Plaintiff Symbolic Analytics (“SA”) is a private company organized under the laws

                                            of Delaware, United States.

                                                   6.      Plaintiff, BRANDON SMIETANA (“Smietana”) is an individual citizen of the

                                            United States and is the Chief Software Architect and authorized representative of Skycoin and

                                            SA.

                                                   7.      Defendant BRADFORD STEPHENS (“Stephens) is an individual citizen of the

                                            State of New York, United States.

                                                   8.      Defendant RYAN EAGLE (“Eagle”) is an individual citizen of the State of Illinois,

                                            United States, and the Village of Buffalo Grove.

                                                   9.      On information and belief, Defendant JOEL WAYNE CUTHRIELL (“Cuthriell”)

                                            is an individual citizen of the State of Oklahoma, United States.

                                                   10.     Defendant AARON KUNSTMAN (“Kunstman”) is an individual citizen of the

                                            State of Wisconsin, United States.




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                                                     11.     “Sudo” is a network of similarly named Telegram accounts, operated by a minimum

                                            of four persons. At least one of these persons is known to be Kunstman. Stephens is widely
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                                            believed to also be one of the account operators. The other two or more operators are currently

                                            unknown.

                                                     12.     Defendant CATHERINE BYERLY (“Byerly”) is an individual citizen of the State

                                            of Florida, United States.

                                                     13.     Byerly was employed by a marketing company called 22 Acacia Consulting,

                                            located in Chicago, Illinois.

                                                     14.     Byerly was hired by Stephens through her employment at 22 Acacia Consulting to

                                            perform marketing services for Skycoin.

                                                     15.     Defendant MORGEN PECK (“Peck”) is a privately paid journalist and individual

                                            citizen of the State of New York, United States.

                                                     16.     Defendant AMERICAN PUBLISHERS, INC. d/b/a CONDÉ NAST and d/b/a THE

                                            NEW YORKER MAGAZINE (“Condé Nast”) is a global mass media company in the business of

                                            producing world leading print, digital, video, and social media brands organized under the laws of

                                            the State of New York.

                                                     17.     Condé Nast is the owner, operator, and publisher of The New Yorker Magazine

                                            (“The New Yorker”), a prominent American weekly magazine.

                                                     18.     On August 28, 2021, Peck authored an article published in The New Yorker titled

                                            Pumpers, Dumpers, and Shills: The Skycoin Saga (the “New Yorker Article”).1 A copy of the New

                                            Yorker Article is attached hereto as Exhibit A.




                                            1
                                              The article can be found at: https://www.newyorker.com/tech/annals-of-technology/pumpers-dumpers-and-shills-
                                            the-skycoin-saga

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                                                   19.     Stephens, recognizing the success of Skycoin, devised a plan and scheme to

                                            defraud, extort, and steal money and assets from Skycoin in concert with some or all of the other
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                                            named party Defendants.

                                                                        FACTS COMMON TO ALL COUNTS

                                                   20.     On or about January 8, 2018, Plaintiffs entered into discussions with Stephens to

                                            develop, launch, and manage a comprehensive marketing and brand awareness program for

                                            Skycoin, including but not limited to revamping Skycoin’s website, performing search engine

                                            optimization (“SEO”) services, and generating positive publicity for Skycoin (hereafter referred

                                            to as the “Marketing Program”).

                                                   21.     On or about January 8, 2018, Stephens represented himself to be the owner of

                                            Smolder LLC, a marketing startup company, to which the payments would be made for the

                                            Marketing Program.

                                                   22.     Stephens claimed that his business partners were Eagle, Adam Young (“Young”),

                                            and Harrison Gevirtz (“Gevirtz”) (Stephens, Eagle, Young, and Gevirtz will collectively be

                                            referred to hereinafter as the “Smolder Partners”).

                                                   23.     Stephens represented to Plaintiffs that Eagle, Young, and Gevirtz were the

                                            individuals who would be providing the marketing services contemplated by the Marketing

                                            Program.

                                                   24.     Stephens represented to Plaintiffs that Eagle and Young were the individuals who

                                            would receive Plaintiffs’ payments and that they were responsible for handling the money.

                                                   25.     Stephens represented to Plaintiffs that the Smolder Partners were “inseparable” and

                                            that all business activities they conducted were done jointly and that payment for said activities

                                            was to be shared or split between them.



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                                                   26.     Unbeknownst to Plaintiffs, Stephens and Eagle were prohibited from engaging in

                                            activities such as the Marketing Program pursuant to an order from the Federal Trade Commission
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                                            (“FTC”), dated February 19, 2014 (“the Order”). See Federal Trade Commission v. CPA Tank, Inc.,

                                            Vito Glazers, Eagle Web Assets, Inc., and Ryan Eagle, Case No. 14-cv-1239.

                                                   27.     At all times relevant herein, Stephens and Eagle were aware that pursuant to the

                                            Order, they could not accept payments for marketing activities.

                                                   28.     Neither Stephens nor Eagle informed Plaintiffs of the existence of the Order and

                                            further violated it by offering to provide marketing services to Plaintiffs.

                                                   29.     If Plaintiffs had known about the Order and/or if Stephens and Eagle had not lied

                                            about and concealed the Order, Plaintiffs would not have entered into the Marketing Program with

                                            Stephens, Eagle, and the Smolder Partners.

                                                   30.     Plaintiffs reached an oral agreement with Stephens to implement the Marketing

                                            Program, and as part and parcel of that agreement, paid the Smolder Partners $107,948.00

                                            ($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form of 1,100 Skycoin Tokens)

                                            (the “Initial Payment”). The Initial Payment included an expense budget for an upcoming industry

                                            conference in Las Vegas, Nevada. Plaintiffs and Stephens explicitly agreed that as part of their

                                            agreement, any expense in excess of $1,000.00 would require prior approval from Skycoin.

                                                   31.     In addition to the Initial Payment, Plaintiffs paid the Smolder Partners

                                            approximately $800,000.00 in Skycoin Tokens for an internet advertising campaign.

                                                   32.     Shortly after receiving the Initial Payment, Stephens submitted two additional

                                            invoices for certain work allegedly performed by Byerly totaling approximately $14,752.44.

                                                   33.     On or about January 12, 2018, Stephens and Byerly notified Plaintiffs of a potential

                                            crisis that could critically impact Skycoin’s business, marketing, and internet presence. As



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                                            represented by Stephens and Byerly, an unknown third party was targeting Skycoin by linking

                                            pornographic blogs and other harmful spam content to Skycoin’s website. Such content would
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                                            function to decrease Skycoin’s website’s ranking precipitously in search engines and irrevocably

                                            damage Skycoin’s image, reputation, and internet presence.

                                                   34.      In order to combat the internet attack by said third party, Stephens represented to

                                            Plaintiffs that an additional payment of $38,000.00 would be required.

                                                   35.      On or about January 14, 2018, and January 19, 2018, Skycoin paid the Smolder

                                            Partners the requested $38,000.00.

                                                   36.      The attack on Skycoin’s website damaged Skycoin’s SEO ranking and significantly

                                            reduced internet traffic to Skycoin’s website.

                                                   37.      In January of 2018, Skycoin made the following payments to the Smolder Partners

                                            in connection with the Marketing Program:

                                                         a. January 11, 2018: 20,000 Skycoin Tokens ($842,400.00) for the Marketing
                                                            Program budget;

                                                         b. January 13, 2018: One (1) Bitcoin ($14,314.00) for a conference in Miami, Florida;

                                                         c. January 16, 2018: 3,899 Skycoin Tokens ($121,337.00) for the Marketing Program
                                                            budget;

                                                         d. January 18, 2018: Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens
                                                            ($80,929.00) for Marketing Program labor costs; and

                                                         e. January 19, 2018: Four (4) Bitcoins (56,457.00) and a separate payment of 1.30
                                                            Bitcoin for the Marketing Program and to combat the aforementioned attacks on
                                                            Skycoin’s website. These services were never performed.

                                                   38.      In late January to early February 2018, Stephens demanded that Skycoin pay the

                                            Smolder Partners $100,000.00 per month to ward off the supposed third-party attacks on Skycoin’s

                                            website. Stephens later increased his monthly demand to $300,000.00 in order to quell the attacks.




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                                                   39.     In early February of 2018, Plaintiffs discovered that in actuality, there was no third

                                            party attacking Skycoin’s website. Rather, the attack was instigated by Stephens, Eagle, and/or the
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                                            Smolder Partners as a fraudulent means to extract additional funds from Skycoin. The invoices

                                            submitted by Stephens were fabricated.

                                                   40.     In early February of 2018, SA received deficient invoices that were highly

                                            suggestive of fraud. Upon determining that there may be fraud in the Smolder Partners’ invoices,

                                            Plaintiffs discontinued all additional payments.

                                                                            DEFENDANTS’ EXTORTION

                                                   41.     Upon Skycoin’s refusal to pay Stephens the monthly payments requested in or

                                            around February 2018, Smietana and Stephens met in Shanghai, China, with Eagle joining the

                                            meeting via Zoom.

                                                   42.     During this meeting, Stephens and Eagle threatened to have Skycoin delisted from

                                            all exchanges including, for example, Bittrex and Binance, unless Smietana agreed to pay them

                                            $30,000,000.00 in Bitcoin and $1,000,000.00 in US Dollars.

                                                   43.     Stephens and Eagle’s threats included statements that failure to comply would result

                                            in Skycoin’s destruction and the price of Skycoin being driven to zero.

                                                   44.     Stephens and Eagle also threatened that if Plaintiffs refused to pay, they would

                                            block Skycoin from being listed on Bitfinix and would interfere with Plaintiffs’ contracts so as to

                                            ensure that “no one would work with” Plaintiffs.

                                                   45.     Stephens and Eagle attempted to blackmail Plaintiffs into making Stephens the

                                            COO of Skycoin and be put in control of the management of the company. Stephens and Eagle

                                            also attempted to blackmail Plaintiffs into giving Gevirtz control of all Skycoin’s bank accounts.




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                                                       46.     Smietana, in fear of Stephens and Eagle’s threats, capitulated to their demand and

                                            initiated the first of three (3) extortion payments on or about February 9, 2018, in the amount of
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                                            $127,000.00 (the “Extortion Payments”).

                                                       47.     On or about February 22, 2018, the Marketing Program engagement between

                                            Plaintiffs and the Smolder Partners ended due to pressure from Skycoin's advisory board because

                                            of the discovery of the fraudulent invoicing and business practices.

                                                       48.     Plaintiffs requested a refund of the unspent prepayments made for the Marketing

                                            Program, however, the Smolder Partners refused to return any of said money.

                                                       49.     In and around the time Stephens and Eagle demanded the Extortion Payments from

                                            Smietana, they also attempted to hostilely seize control of Skycoin. Specifically, Stephens and

                                            Eagle threatened to orchestrate the publication of a series of negative and damaging articles through

                                            various print and online media sources unless Smietana made Stephens COO of Skycoin.

                                                       50.     A Sudo account run by Stephens and/or Kunstman openly admitted their

                                            involvement in maintaining the Sudo account and that they were “trying to extort [S]ynth…for

                                            $1,000,000.00,” through threatening to have published a series of articles and lies about Smietana

                                            and Skycoin and that they had a team of twelve (12) individuals who would be splitting the money

                                            (See Exhibit B).2

                                                       51.     In furtherance of this conspiracy and plan to take over Skycoin, Stephens paid

                                            journalist Tristian Greene (“Greene”) to write and publish the article entitled “Skycoin: Anatomy

                                            of a cryptocurrency scam,” February 15, 2018 - 10:47 pm UTC under an anonymous name.3

                                                       52.     The negative article caused severe damage to the price of Skycoin Tokens and to

                                            Skycoin’s reputation. Stephens openly admitted that he was responsible for paying Greene to


                                            2
                                                “Synth” is Smietana’s online persona.
                                            3
                                                The article can be found at: https://thenextweb.com/news/anatomy-of-a-cryptocurrency-scam-in-the-wild

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                                            publish the article, but went to Skycoin’s investors and claimed that Smietana had ordered him to

                                            have a negative article published to intentionally destroy the price of Skycoin Token.
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                                                     53.     Stephens attempted to organize a management and investor revolt, to transfer

                                            control of the company to himself, under the pretense that the unlawful actions Stephen had himself

                                            performed were in fact performed by Smietana.

                                                     54.     Greene later cited that same article in another negative Skycoin article on “The

                                            Next Web,” in an article titled “Exclusive: We suspected this shady cryptocurrency project was a

                                            scam. Now we’re sure of it.” Published March 8, 2018, 3:22 am UTC.4

                                                     55.     A key part of Skycoin’s business plan was to be listed on the Bittrex Exchange. The

                                            Bittrex Exchange is a world-wide trading platform that facilitates real-time order execution of

                                            crypto currencies, such as Skycoin.

                                                     56.     Skycoin devoted significant resources to obtain a Bittrex listing, which had been

                                            negotiated through a third party.

                                                     57.     Knowing that Skycoin was about to obtain a Bittrex listing, on or about February

                                            25, 2018, Stephens and Eagle threatened Smietana that unless Smietana paid them, they would

                                            approach Bittrex and purposely interfere with Skycoin’s third-party relationships to prevent

                                            Skycoin from being listed on Bittrex.

                                                     58.     Smietana refused to pay the money demanded by Stephens and Eagle, and in turn

                                            they did, in fact, provide untrue information to Bittrex and which ultimately led to the spread of

                                            false rumors regarding Skycoin and Skycoin ultimately not being listed on the Bittrex Exchange.

                                                     59.     Between February 26, 2018, through March 9, 2018, Stephens and Byerly stole

                                            access to Skycoin’s media accounts, including but not limited to, Skycoin’s Shopify store, Twitter


                                            4
                                             The article can be found at: https://thenextweb.com/news/exclusive-we-suspected-this-shady-cryptocurrency-
                                            project-was-a-scam-now-were-sure-of-it

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                                            account, Linkedin account, Slack channel account, and accounts associate with the operation of

                                            Skycoin’s website. These media accounts were an integral and necessary component of Skycoin’s
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                                            business.

                                                   60.     On or about October 18, 2018, Stephens demanded over $150,000.00 for return of

                                            Skycoin’s stolen computer-based assets and media accounts.

                                                   61.     On or about May 24, 2018, Binace announced that it would list Skycoin on its

                                            exchange. Binance holds itself out as the “world’s largest crypto exchange” and is a trading

                                            platform where customers can buy and sell cryptocurrencies. It is highly desirable for

                                            cryptocurrencies to be listed on the Binance exchange.

                                                   62.     After Smietana refused to pay the Extortion Payments demanded by Stephens and

                                            Eagle, both defendants conspired with Yan Xiandong, Li Min, Sam Sing Fond and Sun Fei

                                            (collectively the “Assailants”) in a plot to kidnap Smietana and his girlfriend and steal

                                            $30,000,000.00 that Stephens and Eagle claimed they were due from Skycoin.

                                                   63.     In furtherance of the conspiracy to kidnap Smietana and his girlfriend and steal

                                            money from them with Stephens and Eagle, the Assailants invaded Smietana’s home where they

                                            violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in

                                            order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

                                            property, company accounts for operation of business, and cryptocurrency wallets.

                                                   64.     Under threats of further violence and death, Smietana provided the passwords to

                                            his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

                                            Skycoin Tokens with a market value of $81,018.98, totaling $220,179.31.

                                                   65.     During the siege and home invasion, the Assailants called Stephens and complained

                                            that they did not find the thousands of Bitcoin promised to them.



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                                                                      DEFENDANTS' THEFT OF ACCOUNTS

                                                   66.     Prior to the conclusion of Stephens’ work with Skycoin, upon notice of his
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                                            separation, the company made a list of all accounts to which Stephens had authorized access and

                                            thereinafter terminated his access to those accounts.

                                                   67.     Skycoin staff contacted Stephens requesting that he return all company assets and

                                            company accounts, and to provide accounting statements of expenditures so that Plaintiffs could

                                            calculate how much unspent money was due to the company.

                                                   68.     SA staff and members of Skycoin contacted Stephens requesting that he return all

                                            company assets and company accounts, and to provide accounting statements of expenditures so

                                            that Plaintiffs could calculate how much unspent money was due to the company.

                                                   69.     Stephens acknowledged that there were unspent funds due back to Plaintiffs,

                                            however, instead of returning the money due, Stephens hacked into the various company accounts

                                            and began to engage in a series of extortion and fraudulent acts against Skycoin.

                                                   70.     Stephens and Byerly changed the passwords to some of the company accounts,

                                            locked Skycoin and SA out of them, and then attempted to extort the company for an additional

                                            $150,000.00.

                                                   71.     Stephens and Byerly also refused to return the unspent money that was prepaid and

                                            allocated for marketing services. The amount due back to Skycoin and SA was in excess of

                                            $800,000.00.

                                                   72.     Plaintiffs incurred considerable expense to regain access to the stolen accounts and

                                            to migrate the content to the reacquired accounts. Those accounts included, but were not limited

                                            to, the Medium Account, Shopify, Twitter, Skycoin Telegram, Skycoin Rewards, Facebook, and

                                            Linkedin.



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                                                                  DEFENDANTS’ UNAUTHORIZED EXPENSES

                                                  73.     Stephens and Byerly engaged in various schemes to defraud Skycoin and attempted
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                                            to invoice unapproved, non-business related costs including a Las Vegas prostitute orgy,

                                            unsubstantiated ATM withdrawals, personal entertainment costs, and what is believed to be

                                            money for the purchase of drugs. These expenses were neither approved by Skycoin nor related

                                            to any legitimate business activities.

                                                  74.     For example, Stephens sent invoices to Skycoin totaling $50,000.00 for cash

                                            payments for two days in Las Vegas. Despite several requests, Defendants refused to produce

                                            ATM receipts for the $50,000.00 expense, could not explain how the cash was used, could not

                                            show that the expenses were business related, could not justify the amount spent, and could not

                                            produce receipts for any “cash payments.”

                                                  75.     Stephens and Byerly billed SA for subcontractors without seeking prior

                                            authorization from Plaintiffs for such payments.

                                                  76.     Stephens and Byerly engaged in a scheme to defraud Plaintiffs by invoicing full

                                            time rates for subcontractors employed part time and even invoicing Company for nonexistent

                                            persons.

                                                  77.     Stephens and Byerly billed for subcontractors work that not only both pre-dated

                                            and post-dated the Marketing Program, but which also included full time rates for part-time work

                                            and also included invoicing from nonexistent subcontractors.

                                                  78.     Stephens and Byerly billed for invalid date periods, such as submitting invoices for

                                            billing periods prior to the Marketing Program and work performed for billing periods after the

                                            termination of their relationship with Skycoin.




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                                                   79.      Stephens and Byerly attempted to bill for costs which had not been submitted to the

                                            Company for preapproval and made misrepresentations to Skycoin staff, including Skycoin’s
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                                            Head of Events, who was responsible for event budgets. Stephens made false misrepresentations

                                            claiming that these expenses had received approval, and that the Company had been notified of

                                            the expenses.

                                                   80.      Stephens and Byerly attempted to bill the company for unapproved "events" on

                                            non-existent dates. Additionally, there were several other strong indicators that many or all of the

                                            claimed expenses were fraudulent or manufactured.

                                                                                 BINANCE DELISTING

                                                   81.      In and around June of 2020, because Smietana refused to capitulate to the extortion

                                            demands, Stephens, in conjunction with Eagle, Kunstman and others, embarked upon a scheme

                                            and plan to delist Skycoin from Binance and effectively destroy Skycoin’s reputation and depress

                                            Skycoin Tokens’ market value.

                                                   82.      In furtherance of this plan and scheme, Stephens solicited other individuals to make

                                            false complaints against Skycoin in order to have Binance delist Skycoin from the exchange. The

                                            false complaints they directed others to make to Binance to achieve the delisting are as follows:

                                                         a. That Skycoin sells Skycoin Tokens customers outside of the Binance exchange
                                                            but after receiving the funds, never sends those customers the Skycoin Tokens for
                                                            which they paid;

                                                         b. That individuals from Skycoin would privately meet with customers and accept
                                                            payment for Skycoin Tokens at 15% below market value;

                                                         c. After customers consummated such side transactions, they would immediately
                                                            “dump” the Skycoin Tokens on the market;

                                                         d. That Smietana would request that customers privately pay him $1,000,000.00 in
                                                            Bitcoin or cash for discounted Skycoin Tokens that they could then “dump” on the
                                                            market immediately and achieve a $150,000.00 profit; and



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                                                         e. That Smietana and Skycoin launders money through customers by promising them
                                                            an immediate 15%-20% profit through the unauthorized purchase of Skycoin
                                                            Tokens.
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                                                   83.      Upon information and belief, Cuthriell and other persons were hired to harass

                                            Skycoin and interfere with Skycoin’s relationships with exchanges and partners corporations,

                                            made public statements in Telegram channels bragging that they had paid journalists to publish

                                            articles to slander the company, and even publicly discussed the type and content of false reports

                                            that needed to be made against Skycoin in order to achieve a delisting from Binance.

                                                   84.      As part of their plan and scheme to have Skycoin delisted from Binance, Stephens,

                                            Kunstman, and Cuthriell also orchestrated having several individuals send repeated complaints to

                                            Binance that included allegations of drug use and criminal charges against Smietana and other

                                            baseless complaints.

                                                   85.      As further evidence of the conspiracy, Cuthriell publicly congratulated all persons

                                            involved in the Binance delisting of Skycoin with the exclamation of “Nice work team” and

                                            “PARTY TIME.”

                                                                              COUNT I
                                                          FRAUD – BRADFORD STEPHENS AND CATHERINE BYERLY

                                                   86.      Plaintiffs repeat and reallege paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 86 of this Count I as if fully set forth herein.

                                                   87.      Stephens approached Plaintiffs representing himself as a legitimate advertising and

                                            marketing firm, with Stephens and Eagle Web Assets (EWA) as “business partners” involved in

                                            every aspect of the “business.”

                                                   88.      EWA is and/or was a business owned and/or operated by Eagle, Gevirtz, and Young.

                                                   89.      Plaintiffs would later learn that EWA and Eagle, Gevirtz, and Young had a history

                                            of litigation and that these persons were under an FTC Order for fraudulent marketing practices.

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                                                    90.       Stephens and Byerly represented to Smietana that they would provide advertising

                                            and marketing services, including web design, online advertising, conference events, and display
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                                            advertising.

                                                    91.       Stephens represented to Smietana that he would provide advertising, web design,

                                            and marketing services for Plaintiffs in return for payment.

                                                    92.       In reality, Stephens had no intention of providing any advertising, web design, or

                                            marketing of any kind for Plaintiffs.

                                                    93.       Stephens and Byerly, in fact, did not provide any advertising or marketing services

                                            for Plaintiffs.

                                                    94.       Stephens and Byerly never provided any web design services on behalf of Plaintiffs.

                                                    95.       In reliance upon the representations of Stephens and Byerly, Plaintiffs paid them

                                            approximately $800,000.00 for their services and the costs of advertising and marketing.

                                                    96.       When asked, Stephens and Byerly represented to Smietana that they had no prior

                                            lawsuits that had been filed against them.

                                                    97.       These representations were knowingly false when made.

                                                    98.       In fact, Stephens’ business partners, Eagle and Gevirtz, had an extensive history of

                                            litigation and had been named in multiple lawsuits and were subject to an FTC injunction for

                                            fraudulent marketing practices.

                                                    99.       Following the payment of the initial $800,000.00, Defendants Stephens and Byerly

                                            requested additional money, including an additional $60,000.00.

                                                    100.      Stephens and Byerly made these representations to Smietana and other Skycoin

                                            staff with the intent to induce payments and defraud Plaintiffs.

                                                    101.      These statements made by Stephens and Byerly were false when made.



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                                                   102.    Stephens and Byerly created scenarios and orchestrated fraudulent crises, making

                                            numerous misrepresentations, solely for the purpose of soliciting more money from Plaintiffs.
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                                                   103.    Stephens and Byerly made the following misrepresentations and/or omissions upon

                                            which Plaintiffs justifiably relied to their detriment:

                                                       a. Lied about, concealed, and denied history of litigation against Defendants’
                                                          associates, business partners, and former corporations;

                                                       b. Failed to inform Plaintiffs of the FTC Order and government sanctions against their
                                                          former company, even when explicitly asked about any history of litigation prior to
                                                          payment and contract negotiations;

                                                       c. Falsely represented that an unknown third party was targeting Skycoin by linking
                                                          pornographic blogs and other harmful spam content to Skycoin’s website;

                                                       d. Falsely agreed to seek written pre-approval from the Company for incurred
                                                          expenses;

                                                       e. Falsely represented that they would provide marketing and advertisement services
                                                          to Plaintiffs;

                                                       f. Falsely represented that they would provide web design services to Plaintiffs; and

                                                       g. Falsely represented the expenses and costs of said marketing and advertising
                                                          services.

                                                           (See also Facts Common to All Counts)

                                                   104.    Plaintiffs relied upon the representations of Stephens and Byerly and paid them the

                                            requested amounts.

                                                   105.    As a direct and proximate result of Stephens and and Byerly’s improper actions,

                                            Plaintiffs have sustained substantial economic damage through loss of business, loss of revenue,

                                            loss of contracts, loss of market visibility, and damage to their reputation.

                                                   WHEREFORE,           Plaintiffs,   BRANDON         SMIETANA,         SKYCOIN    GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

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                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            and CATHERINE BYERLY, and each of them, in an amount in excess of $50,000.00, plus
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                                            Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable Court

                                            deems just and equitable in the premises.

                                                                                 COUNT II
                                                               FRAUD – BRADFORD STEPHENS, AARON KUNSTMAN,
                                                                        AND JOEL WAYNE CUTHRIELL

                                                    106.      Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 106 of this Count II as if fully set forth herein.

                                                    107.      On or about January 8, 2018, Plaintiffs entered into an oral agreement with

                                            Stephens, Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services

                                            for Plaintiffs.

                                                    108.      Following that agreement, Stephens defrauded Plaintiffs by failing to provide the

                                            contracted services, creating false “threats,” and extorting funds from Plaintiffs through coercion.

                                            Once discovered, Plaintiffs attempted to distance themselves from Defendants. However, in

                                            retaliation, Stephens, Kunstman, and Cuthriell began making false online profiles and applications

                                            with false information in order to further defraud Plaintiffs out of approximately $2,000,000.00

                                            worth of Skycoin product.

                                                    109.      Plaintiffs offered a reward program (“Reward Program”) to entice customers to

                                            their business.

                                                    110.      In order to obtain a reward under the Reward Program, each participant was

                                            required to submit an application which conformed to S.A.’s terms and conditions. The terms

                                            included the following:

                                                        a. Each customer is only allowed to have one active Skywire Rewards account within
                                                           a single one month period;

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                                                        b. Each customer is allowed to claim rewards for up to 8 Skywire nodes in a one
                                                           month period;
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                                                        c. Only one instance of the “Skywire Node” software can be run on a single physical
                                                           computer;

                                                        d. Each customer may operate only a single reward program account within a one
                                                           month period;

                                                        e. Each computer claiming a reward must be a physically separate and independent
                                                           computer; and

                                                        f. It is a violation of the Rewards Program terms and service for a user to run more
                                                           than one Skywire node per physical computer.

                                                    111.     Cuthriell and Stephens developed software to run over 300 "nodes" on a single

                                            physical computer in order to defraud the Reward Program.

                                                    112.     Relying on the misrepresentations by Stephens, Kunstman, and Cuthriell, SA

                                            provided these persons rewards to which they were not entitled, totaling approximately $2-$4

                                            million (the precise amount of which is unknown as they have continued to submit fraudulent

                                            applications continuously and under multiple fake aliases).

                                                    113.     Plaintiffs relied upon the information provided in those online applications and

                                            profiles.

                                                    114.     Had Plaintiffs known that these profiles and applications were being generated and

                                            submitted by Stephens, Kunstman, and Cuthriell repeatedly in order to accumulate Skycoin under

                                            false pretenses, Plaintiffs would not have made Reward Program payments to Stephens, Kunstman,

                                            and Cuthriell.

                                                    115.     Stephens, Kunstman, and Cuthriell made these repeated false representations to

                                            Plaintiffs through these applications and profiles even though they knew that they were false and




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                                            made under false pretenses, with an intent to induce Plaintiffs into providing the $2-$4 million in

                                            digital payments/digital assets/digital currency.
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                                                    116.    Stephens, Kunstman, Cuthriell have at all relevant times perpetuated and

                                            deliberately concealed this fraud from Plaintiffs.

                                                    117.    Stephens, Kunstman, and Cuthriell have engaged in a scheme to defraud Plaintiffs

                                            by consistently attempting to conceal this fraud and continue to submit false applications and

                                            profiles to Plaintiffs.

                                                    118.    Plaintiffs relied upon the accuracy and truthfulness of the submitted applications

                                            and profiles, and, had Plaintiffs been aware that the representations of Stephens, Kunstman, and

                                            Cuthriell were false, Plaintiffs would not have acted as they did.

                                                    119.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

                                            actions and misrepresentations, Plaintiffs have sustained damage economically through loss of

                                            business, loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

                                                    WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

                                            excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                            Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                             COUNT III
                                                       CIVIL CONSPIRACY – BRADFORD STEPHENS AND RYAN EAGLE

                                                    120.    Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 120 of this Count III as if fully set forth herein.

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                                                   121.    Stephens and Eagle agreed and conspired with one another to defraud Plaintiffs,

                                            tortiously interfere with their business relationships, commit various acts of wire fraud, computer
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                                            fraud, manipulate the cryptocurrency market, and convert Plaintiffs’ property surreptitiously.

                                                   122.    Stephens and Eagle knowingly and voluntarily entered into an agreement and

                                            participated in a scheme to defraud Plaintiffs of money.

                                                   123.    Stephens and Eagle, as business partners in Smolder, had an agreement to provide

                                            “marketing services” to Plaintiffs as part of the Marketing Program.

                                                   124.    Stephens and Eagle initiated a cyber-attack on Skycoin’s website, linking

                                            pornographic blogs and other harmful spam content to the website in order to decrease Skycoin’s

                                            website’s ranking precipitously in search engines and destroy Skycoin’s image, reputation, and

                                            internet presence.

                                                   125.    Stephens and Eagle represented to Plaintiffs that the cyber-attack was being carried

                                            out by unknown third parties, despite their knowledge that they had initiated the cyber-attack

                                            themselves.

                                                   126.    Stephens and Eagle demanded an additional $38,000.00 from Plaintiffs in order to

                                            fight off the supposed third-party attacks, which Plaintiffs paid.

                                                   127.    Stephens and Eagle’s cyber-attack damaged Skycoin’s SEO ranking and

                                            significantly reduced internet traffic to Skycoin’s website.

                                                   128.    Stephens and Eagle conspired to extort Plaintiffs out of money through threats of

                                            ruining Skycoin’s reputation, having Skycoin delisted from cryptocurrency exchanges, destroying

                                            the company, and of physical harm through the Assailants who invaded Smietana’s home and

                                            tortured both him and his pregnant girlfriend, .




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                                                   129.    Stephens and Eagle’s acts in furtherance of the conspiracy included, but were not

                                            limited, to the following:
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                                                       a. Devising and implementing the Marketing Program to defraud Plaintiffs of money;

                                                       b. Submitting falsified and fraudulent invoices to Plaintiffs;

                                                       c. Hacking and linking pornographic blogs and other harmful spam content to
                                                          Skycoin’s website to decrease Skycoin’s website’s ranking precipitously in search
                                                          engines and irrevocably destroy Skycoin’s image, reputation, and internet presence;

                                                       d. Threatening Plaintiffs with having Skycoin delisted from cryptocurrency
                                                          exchanges to extort them out of money;

                                                       e. Threatening to and ultimately providing false information about Skycoin to Bittrex
                                                          in order to prevent Skycoin from being listed on Bittrex to extort Plaintiffs out of
                                                          money;

                                                       f. Attempting to blackmail Plaintiffs into making Stephens COO of Skycoin;

                                                       g. Attempting to hostilely seize control of Skycoin through orchestrating the
                                                          publication of a series of negative and damaging articles through various print and
                                                          online media sources unless Smietana made Stephens COO of Skycoin;

                                                       h. Attempting to blackmail Plaintiffs into making Gevirtz in charge of all of Skycoin’s
                                                          bank accounts;

                                                       i. Lying about Eagle’s history of litigation and the FTC injunction against Eagle for
                                                          fraudulent marketing practices;

                                                       j. Refusing to return unspent money that was prepaid and allocated for the Marketing
                                                          Program;

                                                       k. Threatening Plaintiffs with physical harm to extort them out of money;

                                                       l. Refusing to refund Plaintiffs for unspent pre-payments made for the Marketing
                                                          Program;

                                                       m. Directing the Assailants to invade Smietana’s home and torturing Smietana and his
                                                          pregnant girlfriend for approximately six (6) hours in order to gain access to
                                                          Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual
                                                          property, company accounts for operation of business, and cryptocurrency wallets;
                                                          and



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                                                          n. Publishing material stolen during the home invasion to Telegram as blackmail in
                                                             order to extort Plaintiffs out of money.
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                                                             (See also Facts Common to All Counts)

                                                   130.      Stephens and Eagle worked in concert with one another to accomplish this fraud as

                                            evidenced by their various communications and concerted acts against Plaintiffs.

                                                   131.      Stephens and Eagle intended to defraud Plaintiffs out of their money, their product,

                                            and to tortiously interfere with their business relationships.

                                                   132.      As a direct and proximate result of Stephens and Eagle’s aforesaid unlawful acts,

                                            Plaintiffs were damaged, forced to pay Stephens and Eagle large sums of money, subjected to a

                                            home invasion, kidnapping and torture, had great sums of money stolen by the Assailants, and

                                            Skycoin was ultimately not listed on the Bittrex Exchange and was delisted from Binance, resulting

                                            in loss of business, loss of revenue, loss of contracts, loss of market visibility, and loss of

                                            reputation.

                                                   WHEREFORE,            Plaintiffs,   BRANDON        SMIETANA,        SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            and RYAN EAGLE, and each of them, in an amount in excess of $50,000.00, plus Plaintiffs’ costs

                                            herein, as well as such further and other relief for Plaintiff as this Honorable Court deems just and

                                            equitable in the premises.

                                                                          COUNT IV
                                            CIVIL CONSPIRACY – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL WAYNE
                                                 CUTHRIELL, MORGEN PECK, CATHERINE BYERLY, AND UNKNOWN
                                                                 INDIVIDUALS AND COMPANIES




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                                                   133.    Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 133 of this Count IV as if fully set forth herein
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                                                   134.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                            Companies conspired to destroy Skycoin’s reputation and Plaintiffs’ business by publishing false

                                            and inflammatory news articles and to extort Plaintiffs of money through making monetary

                                            demands in exchange for the articles not being published.

                                                   135.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                            Companies’ acts in furtherance of the conspiracy included, but were not limited to:

                                                       a. Creating and employing a network of journalists to publish fraudulent articles to
                                                          destroy Skycoin’s image and reputation in order to drive down the price of
                                                          Skycoins; and

                                                               i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                                                                  published false articles regarding the legitimacy of Skycoin and Skycoin’s
                                                                  technology;

                                                                       1. Greene was within Stephens’s network and at all times knew
                                                                          Stephens was not the COO of Skycoin, yet published that he was,
                                                                          and continued to publish false information even after Smietana’s
                                                                          continuous attempts to correct the false claims.

                                                       b. Employing Peck to knowingly write the false and defamatory New Yorker Article
                                                          alleging that Skycoin a fraud and a scam;

                                                       c. Publishing an article in Cointelegraph by Simon Chandler, claiming that Plaintiffs’
                                                          attackers were “emboldened” to physically harm Smietana due to Skycoin’s “shady
                                                          dealings;”

                                                       d. Soliciting individuals to make false complaints against Skycoin in order to have
                                                          Skycoin delisted from the Binance Exchange;

                                                       e. Stealing access to Skycoin’s media accounts and demanding over $150,000.00 for
                                                          return of the accounts;

                                                       f. Refusing to return unspent money that was prepaid and allocated for marketing
                                                          services;



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                                                       g. Invoicing unapproved and non-business related costs and personal entertainment
                                                          costs;
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                                                       h. Invoicing Skycoin and/or SA for $50,000.00 in cash payments and refusing to
                                                          provide an explanation or receipts for how the cash was used;

                                                       i. Invoicing Skycoin and/or SA for subcontractors without prior authorization;

                                                       j. Invoicing Skycoin and/or SA full time rates for part-time subcontractors;

                                                       k. Invoicing Skycoin and/or SA for payment to non-existent persons;

                                                       l. Invoicing Skycoin and/or SA for marketing services performed both before and
                                                          after the company’s relationship with Defendants;

                                                       m. Made false representations to Skycoin staff that costs had been approved by
                                                          Skycoin when they knew said costs had not been approved;

                                                       n. Invoicing Skycoin and/or SA for unapproved “events” on non-existent dates; and

                                                       o. Creating false online profiles and Rewards Program applications with false
                                                          information in order to defraud Skycoin of $2-$4 million.

                                                           (See also Facts Common to All Counts)

                                                   136.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                            Companies worked in concert with one another to accomplish this fraud as evidenced by their

                                            various communications and concerted acts against Plaintiffs.

                                                   137.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                            Companies intended to defraud Plaintiffs out of their money, their product, and to tortiously

                                            interfere with their business relationships.

                                                   138.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Peck, Byerly,

                                            and Unknown Individuals and Companies improper actions, Plaintiffs were damaged and defamed,

                                            forced to pay large sums of money, were defrauded of $2-$4 million, and Skycoin was ultimately

                                            not listed on the Bittrex Exchange and was delisted from Binance, resulting in loss of business,

                                            loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

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                                                     WHEREFORE,        Plaintiffs,   BRANDON         SMIETANA,        SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a
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                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE

                                            BYERLY, and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount

                                            in excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                            Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                        COUNT V
                                            TORTIOUS INTERFERENCE – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL
                                              WAYNE CUTHRIELL, CATHERINE BYERLY, RYAN EAGLE, AND UNKNOWN
                                                               INDIVIDUALS AND COMPANIES

                                                     139.   Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 139 of this Count V as if fully set forth herein.

                                                     140.   Plaintiffs developed business relationships and contracts with various vendors and

                                            customers since Skycoin’s launch in 2013.

                                                     141.   Skycoin sells non-fungible electronic products that fluctuate in value based upon

                                            the market rates on specific internet exchanges.

                                                     142.   For Skycoin to do business, it must participate in these internet exchange markets,

                                            such as, but not limited to, Bittrex, Binance, Kraken, Poloniex and Bifinix, in order to sell its

                                            goods.

                                                     143.   Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and

                                            Companies orchestrated various schemes to undermine the reputation of Plaintiffs and cause these

                                            internet exchange markets, specifically, Bittrex and Binance, to remove Plaintiffs’ products from

                                            their exchanges.

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                                                   144.   Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and

                                            Companies were fully aware of Plaintiffs’ position within these internet exchange markets.
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                                                   145.   Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and

                                            Companies were fully aware that Plaintiffs’ Skycoin Token must be sold on these internet exchange

                                            markets.

                                                   146.   Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and

                                            Companies were fully aware that Plaintiffs had agreements and/or expected agreements with these

                                            internet exchange markets.

                                                   147.   Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and

                                            Companies nonetheless acted in concert to cause these internet exchange markets to remove

                                            Plaintiffs’ Skycoin Token from those markets by committing the following acts:

                                                       a. Stephens and Eagle hacked and linked pornographic blogs and other harmful spam
                                                          content to Skycoin’s website to decrease Skycoin’s website’s ranking precipitously
                                                          in search engines and irrevocably destroy Skycoin’s image, reputation, and internet
                                                          presence;

                                                       b. Stephens, Kunstman, Cuthriell, and Byerly created and employed a network of
                                                          journalists to publish fraudulent articles to destroy Skycoin’s image and reputation
                                                          in order to drive down the price of Skycoins;

                                                               i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                                                                  published false articles regarding the legitimacy of Skycoin and Skycoin’s
                                                                  technology;

                                                              ii. Greene was within Stephens’s network and at all times knew Stephens was
                                                                  not the COO of Skycoin, yet published that he was, and continued to publish
                                                                  false information even after Smietana’s continuous attempts to correct the
                                                                  false claims;

                                                       c. Stephens, Kunstman, Cuthriell, and Byerly employed Peck to knowingly write a
                                                          false and defamatory article published in The New Yorker alleging Skycoin as a
                                                          fraud and a scam;




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                                                       d. Stephens solicited an article to be published in Cointelegraph by Simon Chandler,
                                                          claiming that Plaintiffs’ attackers were “emboldened” to physically harm Smietana
                                                          due to Skycoin’s “shady dealings;”
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                                                       e. Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and
                                                          Companies made public statements bragging that they had paid journalists to
                                                          publish articles to slander the company;

                                                       f. Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and
                                                          Companies publicly discussed the type and content of false reports that needed to
                                                          be made against Skycoin in order to achieve a delisting from Binance; and

                                                       g. Stephens, Kunstman, Eagle, Cuthriell, Byerly, and Unknown Individuals and
                                                          Companies orchestrated having several individuals send repeated complaints to
                                                          Binance that included allegations of drug use and criminal charges against Smietana
                                                          and other baseless allegations.

                                                           (See also Facts Common to All Counts)

                                                   148.    At all relevant times herein, Stephens, Kunstman, Eagle, Cuthriell, Byerly, and

                                            Unknown Individuals and Companies intended to cause harm to Plaintiffs’ reputation and finances

                                            in order to interfere with their relationships with these internet exchange markets, along with their

                                            customers and vendors.

                                                   149.    As a direct and proximate result of Stephens, Kunstman, Eagle, Cuthriell, Byerly,

                                            and Unknown Individuals and Companies’ improper actions, Plaintiffs have sustained damage

                                            economically through loss of business, loss of revenue, loss of contracts, loss of market visibility,

                                            and loss of reputation.

                                                   WHEREFORE,          Plaintiffs,   BRANDON         SMIETANA,         SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

                                            AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, RYAN EAGLE,

                                            and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess

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                                            of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as

                                            this Honorable Court deems just and equitable in the premises.
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                                                                          COUNT VI
                                               UNJUST ENRICHMENT – BRADFORD STEPHENS, AARON KUNSTMAN, RYAN
                                                EAGLE, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, AND UNKNOWN
                                                                 INDIVIDUALS AND COMPANIES

                                                   150.    Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 150 of this Count VI as if fully set forth herein.

                                                   151.    Defendants were provided approximately $860,000.00 in funds to provide

                                            marketing, advertising, and web design services to Plaintiffs.

                                                   152.    Specifically, Plaintiffs made the following payments to Stephens, Kunstman, Eagle,

                                            Cuthriell, Byerly, Unknown Individuals and Companies, and/or the Smolder Partners:

                                                       a. $107,948.00 ($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form
                                                          of 1,100 Skycoin Tokens) in an initial payment for the Marketing Program paid to
                                                          Smolder Partners;

                                                       b. $800,000.00 in Skycoin Tokens paid to Stephens for an internet advertising
                                                          campaign;

                                                       c. $14,752.44 paid to Stephens and Byerly as a result of a fraudulent invoice;

                                                       d. $38,000.00 to Stephens and Eagle in order to quell the cyber attacks initiated by
                                                          Stephens and Eagle;

                                                       e. 20,000 Skycoin Tokens ($842,400.00) to Smolder Partners for the Marketing
                                                          Program budget;

                                                       f. One (1) Bitcoin ($14,314.00) to Smolder Partners for a conference in Miami, Florida;

                                                       g. 3,899 Skycoin Tokens ($121,337.00) to Smolder Partners for the Marketing Program
                                                          budget;

                                                       h. Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens ($80,929.00) to Smolder
                                                          Partners for Marketing Program labor costs;




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                                                         i. Four (4) Bitcoins (56,457.00) and a separate payment of 1.30 Bitcoin to Stephens
                                                            and Eagle for the Marketing Program and to combat the aforementioned attacks on
                                                            Skycoin’s website; and
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                                                         j. $127,000.00 as part of the Extortion Payments to Stephens and Eagle.

                                                            (See also Facts Common to All Counts)

                                                   153.     In addition to the payments made by Plaintiffs, the Assailants, in connection with

                                            their conspiracy with Stephens and Eagle, stole 18.88 Bitcoin ($139,160.33) and 6,466 Skycoin

                                            ($81,018.98), totaling $220,179.31 from Plaintiffs.

                                                   154.     Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                            also obtained approximately $2-$4 million in Skycoin Tokens through false reward applications.

                                                   155.     Stephens, Kunstman, Eagle, Cuthriell, Byerly, Unknown Individuals and

                                            Companies, and/or the Smolder Partners invoiced and charged Plaintiffs for work that was never

                                            completed.

                                                   156.     These funds and goods were not earned, were stolen by fraudulent means, and

                                            Plaintiffs received no equivalent value for them in return.

                                                   157.     It would be unconscionable and against fundamental principles of justice, equity

                                            and good conscience for Stephens, Kunstman, Eagle, Cuthriell, Byerly, Unknown Individuals and

                                            Companies, and/or the Smolder Partners to retain the benefit from those funds, which were paid

                                            by Plaintiffs without receiving any benefit in return.

                                                   158.     As a direct and proximate result of Stephens, Kunstman, Eagle, Cuthriell, Byerly,

                                            Unknown Individuals and Companies, and/or the Smolder Partners’ improper actions, Plaintiffs

                                            have sustained damage economically through loss of business, loss of revenue, loss of contracts,

                                            loss of market visibility, and loss of reputation.




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                                                   WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,        SKYCOIN         GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a
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                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

                                            AARON KUNSTMAN, RYAN EAGLE, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY,

                                            and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess

                                            of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as

                                            this Honorable Court deems just and equitable in the premises.

                                                                            COUNT VII
                                                          DEFAMATION – MORGEN PECK AND BRADFORD STEPHENS

                                                   159.    Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 159 of this Count VII as if fully set forth herein.

                                                   160.    The New Yorker is an American weekly magazine publication owned and published

                                            by Defendant Condé Nast.

                                                   161.    At all times relevant herein, Peck was an actual agent of Condé Nast.

                                                   162.    At all times relevant herein, Peck was an apparent agent of Condé Nast.

                                                   163.    At all times relevant herein, Peck was acting within the course and scope of her

                                            authority as an agent of Condé Nast.

                                                   164.    At all times relevant herein, Peck was acting within the course and scope of her

                                            authority as an apparent agent of Condé Nast.

                                                   165.    On Aug 18, 2021, the New Yorker Article authored by Peck was published in the

                                            New Yorker (see Ex. A).

                                                   166.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

                                            million social media followers.

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                                                   167.    Peck published blatant lies and misrepresentations about Plaintiffs in her New

                                            Yorker article including, but not limited to the following:
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                                                       a. Misrepresenting Smietana’s relationship with Stephens               and    Stephens’s
                                                          involvement with Skycoin and Skycoin’s marketing campaign;

                                                       b. Statements alluding to Smietana and Skycoin as a fraud and a scammer, such as:

                                                               i. “In a way, it makes you into a fraud;”

                                                               ii. “Is it a scam? I’m 99 percent sure of it”; and

                                                              iii. Suggesting that Skycoin was part of a “pump and dump” scheme.

                                                       c. Falsely stating that Stephens has recordings of Smietana stating, “We want to
                                                          feminize the peasant population to make them more docile ... [i]t’s so they don’t
                                                          revolt;”

                                                               i. Smietana asked Peck on multiple occasions about the existence of the
                                                                  alleged recording to verify the contents of her claims for this statement,
                                                                  however Peck never confirmed that she obtained such a recording, even
                                                                  though it was used as a purported source for factual information in the
                                                                  article.

                                                               ii. Smietana denied such statements to Peck multiple times, each time
                                                                   reiterating that they were fabricated and untrue. Peck still published the
                                                                   statements.

                                                              iii. Peck admitted to Smietana that no one she interviewed would corroborate
                                                                   the quotes given by Stephens. Therefore, Peck knew or should have known
                                                                   the published quotes were false.

                                                              iv. Peck knew that Stephens and Kunstman were members of the Neo Nazi alt-
                                                                  right internet forum “/pol/” and that similar antisemitic quotes were
                                                                  circulated there.

                                                               v. As a result of the publication of the article, a Neo Nazi publication cited to
                                                                  the false statement from Peck’s article quoting Smietana, and thereby
                                                                  causing damage to Plaintiffs’ reputation.

                                                              vi. As a result of the publication of this statement, Smietana was subjected to
                                                                  numerous death threats, harassment, and various hate crimes.




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                                                    d. Falsely stating that Smietana invited Binance executives to a Skycoin party during
                                                       a 2018 conference in Las Vegas and instructed Stephens to hire prostitutes for the
                                                       executives;
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                                                           i. In fact, it was confirmed there were no Binance executives at the conference
                                                              and the party was a private party of Stephens, without any affiliation to
                                                              Skycoin or Plaintiffs.

                                                           ii. Stephens’s job was to set up meetings at conferences. He unilaterally held a
                                                               private party without instruction to do so. Any approval for holding an event
                                                               was contingent upon finding people from Binance, who were, in fact, not in
                                                               attendance at the conference.

                                                          iii. This inaccurate depiction of events was designed to destroy the relationship
                                                               between Binance and Skycoin and was manufactured solely to do damage
                                                               to Plaintiffs’ reputation and business.

                                                          iv. Peck knew or should have known the statements were false because
                                                              Smietana sent her the messages from Stephens relating to the conference.

                                                           v. Peck interviewed Michael Terpin (the event organizer) and Daken
                                                              Freebourne (Skycoin's head of events), who explicitly told Peck that
                                                              Stephens was a compulsive liar and that his account was fabricated.

                                                          vi. Peck merged stories from three separate conferences into a non-factual and
                                                              defamatory account, designed to inflict damages to Plaintiffs.

                                                    e. Publishing conclusory and unsupported statements by others;

                                                           i. Stating that “according to several people” (without any evidence or
                                                              support), that Skycoin privately sold to investors at a discounted rate;

                                                           ii. Publishing numerous unsupported statements supposedly from
                                                               “employees” of Skycoin, however, Peck told Smietana that she did not have
                                                               documentation to show who these “employees” were, if and when they
                                                               worked at Skycoin, or any confirmation of their statements; and

                                                          iii. Publishing statements made by people against whom she knew Smietana
                                                               had an ongoing lawsuit against and therefore knew or should have known
                                                               these were unreliable sources.

                                                    f. Falsely accusing Smietana of pre-mining “a hundred million coins, which were
                                                       scheduled for circulation;”

                                                           i. Peck published this statement with full knowledge that Skycoin does not
                                                              engage in any mining.

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                                                                    ii. During fact checking, Peck referenced a website that listed companies with
                                                                        pre-mine scams.5
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                                                                             1. The website listed “SYC Skycoin – premined” under a list titled,
                                                                                “List of scamcoins – do not use.”

                                                                             2. SYC Skycoin is a completely different company from SKY Skycoin
                                                                                (Plaintiff).

                                                                             3. Peck knew that SYC was not Plaintiffs’ company and that SYC was
                                                                                not SKY.

                                                                             4. Peck falsely accused and published in her article that Skycoin
                                                                                engaged in a pre-mining scam.

                                                           g. Falsely accusing Smietana of directing Skycoin’s marketing unit to purposely
                                                              spread negative rumors to attract attention by stating “In a chat with investors,
                                                              Smietana said that they sometimes spread negative rumors about Skycoin, in order
                                                              to attract attention;”

                                                                     i. Peck does not provide support to confirm where this chat was from, who
                                                                        the “investors” were, or the full context of the conversations.

                                                                    ii. The quote itself is purposely suggestive and alludes that Skycoin publishes
                                                                        negative rumors for promotion but does not clarify who “they” are that
                                                                        “spread negative rumors.”

                                                           h. Falsely accusing Smietana of “plotting new distractions;”

                                                                     i. In support of this claim, Peck quoted Smietana, “Quick, someone photoshop
                                                                        video of me being beheaded by ISIS and see if you can get them to write an
                                                                        article about it.”

                                                                    ii. Smietana was improperly quoted and Smietana’s words were purposely
                                                                        skewed by Peck and taken out of context to defame Smietana and Skycoin.

                                                                   iii. The quote is a snippet of a message that clearly signifies a joke, in which
                                                                        the full text reads “The media is retarded. They are still writing articles
                                                                        about the ‘insider trading’ of cat memes, fake news. Quick, someone
                                                                        photoshop video of me being beheaded by ISIS and see if you can get them
                                                                        to write an article about it. ‘Kittycash CEO beheaded by ISIS after SEC
                                                                        investigation.’”



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                                                The website can be found at: https://altcoins.com/scamcoins

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                                                    i. Purposely taking direct quotes from chatrooms/messaging conversations and
                                                       placing them out of context to twist their meaning and damage Plaintiffs;
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                                                           i. Peck wrote, “A few weeks into the sell-off, a voice message from Smietana
                                                              emerged on Telegram that seemed to imply that the biggest Skycoin
                                                              investors were coordinating their moves in a secret chat room. Smietana
                                                              said in the message, of the investors, “Everyone was basically doing the
                                                              exact opposite of whatever the public was doing.” (Smietana acknowledged
                                                              being in the chat room at one point but claimed that he was barely
                                                              involved).”

                                                                  1. The quote was purposely misconstrued as it had nothing to do with
                                                                     insider trading channels.

                                                                  2. It was evident from the chat conversations that any reference to any
                                                                     “secret insider trading” was a joke.

                                                                  3. Peck knew that the “secret chat rooms” were, in fact, public
                                                                     channels, accessible to all people.

                                                          ii. Peck quoted Smietana as stating “If you put in a million dollars now, and
                                                              we have a run just as large as the last one, you’re going to be at fifty million
                                                              dollars;”

                                                                  1. This statement was knowingly taken out of context, altering its
                                                                     meaning, and presented Smietana in a false light.

                                                                  2. Peck’s quote claims that Smietana engaged in price promotion for
                                                                     Skycoin, knowing that Smietana was prohibited from making such
                                                                     statements by company policy and that Smietana could be fired or
                                                                     reprimanded for violation of company policy for making these
                                                                     statements.

                                                                  3. Peck knew or should have known that these out of context
                                                                     statements would expose Plaintiff Smietana to legal liability and
                                                                     damage his reputation and business.

                                                                  4. Peck admitted to Smietana that she could find no example of
                                                                     Smietana engaging in price promotion.

                                                         iii. Peck quoted Smietana as stating, “many could be corroborated only by
                                                              people whom he swore existed but who couldn’t talk because they had
                                                              government security clearance, or were in hiding, or because he didn’t know
                                                              their real names;”




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                                                                  1. Smietana’s actual quote was, “all software developers who work in
                                                                     cryptography have government security clearance, because
                                                                     government contractors are the only clients of the industry.”
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                                                                  2. Peck distorted and/or manufactured, statements wholesale for the
                                                                     purpose of defaming Plaintiffs.

                                                    j. Falsely accusing Smietana of having sole control of the “pre-mined” coins and
                                                       Skycoin’s virtual wallets;

                                                            i. It is public knowledge that Skycoin is an incorporated corporate entity and
                                                               not under the sole control of one person.

                                                           ii. Peck had possession of Skycoin’s incorporation documents and corporate
                                                               structure, and therefore knew or should have known that her statements
                                                               were false.

                                                    k. Accusing Smietana of soliciting advice from an online personality who used a
                                                       Hitler avatar in his profile;

                                                            i. Peck admitted to Smietana during fact checking that she could not find any
                                                               evidence substantiating her statement that Smietana solicited and made
                                                               payments to internet users with a Hitler avatar.

                                                           ii. Peck admitted to Smietana that only Stephens and Kuntsman had made
                                                               these claims, and that no other persons could corroborate these statements.

                                                          iii. Peck continued to publish the above statement, knowing its defamatory and
                                                               false nature.

                                                    l. Alleging that Smietana lied about the extent of his medical injuries sustained from
                                                       the attack on himself and his girlfriend, even after publishing that Smietana’s
                                                       attackers admitted to detaining and injuring Smietana and his girlfriend;

                                                            i. Smietana provided Peck with copies of court proceedings and medical
                                                               records, clear evidence that the claims she published in the article were
                                                               false.

                                                    m. Alleging that Smietana used the attack on himself and his girlfriend to “use his
                                                       power to freeze Skycoin transactions,” when Smietana clearly stated in an official
                                                       announcement to the Company that funds were frozen after making sure all Skycoin
                                                       staff were safe after the attack and extortion demands;

                                                            i. Peck knew that Skycoin’s lead developer, Steven Leonard, not Smietana,
                                                               had initiated freezing the stolen funds from the Chinese marketing team and
                                                               employee accounts after the company detected embezzlement.

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                                                              ii. Peck knew that the funds that were frozen were solely company accounts.
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                                                       n. Peck implied that that Smietana had been employed as a software developer by the
                                                          notorious Washington DC lobbyist, Jack Amabrov, who had several felony
                                                          convictions, including a plea bargain for SEC violations; and

                                                               i. Peck was aware that the allegations were false because the company directly
                                                                  informed her that Smietana had briefly spoken to them in 2018, but that no
                                                                  agreement had been reached.

                                                              ii. Peck admitted that the statements were false and apologized to Smietana
                                                                  multiple times for bringing up false claims.

                                                             iii. Peck knew or should have known that claiming Smietana had been
                                                                  employed by Jack Amabrov would cause severe damage to Plaintiffs’
                                                                  business and reputation.

                                                       o. Peck implied that one of Skycoin’s mathematical algorithms, “Obelisk”, did not
                                                          actually exist and that Plaintiffs committed fraud.

                                                               i. Peck knew that these statements were false, as she had possession of both
                                                                  the source codes and white paper for the algorithm.

                                                              ii. Additionally, Skycoin’s algorithm papers were published on Skycoin’s
                                                                  website and in peer reviewed journal articles. This information was publicly
                                                                  available, and Peck had access to the public links to these algorithms.

                                                             iii. Peck had this information at the time she claimed these algorithms did not
                                                                  exist.

                                                   168.   Peck wrote that “Stephens came up with a plan to strip Smietana of power and

                                            transfer management of the company to a foundation.”

                                                   169.   Peck, knowing that Stephens’ intentions were to take Skycoin from Smietana,

                                            continued to base her article on information provided mainly by Stephens, completely disregarding

                                            his clear bias and motive to disenfranchise Smietana from Skycoin and seize control of Skycoin.

                                                   170.   After the New Yorker Article was published, a former employee of Stephens and

                                            Kunstman contacted Plaintiffs stating that Peck received money to intentionally produce and




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                                            publish a defamatory article attacking Plaintiffs and would receive bonus payments for destroying

                                            Skycoin’s relationship with Binance.
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                                                    171.    The statements made by Peck in the New Yorker Article were purposely false and

                                            defamatory in return for financial gain and personal benefit of Peck.

                                                    172.    Peck acted within the scope of her agency with principal Condé Nast when she

                                            submitted and published the New Yorker Article.

                                                    173.    As a direct and proximate result of Peck’s libelous publication, Plaintiffs have

                                            sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

                                            market visibility, and loss of reputation.

                                                    174.    As a direct and proximate result of Peck’s libelous publication, Smietana suffered

                                            serious damage to his reputation, which resulted in numerous death threats, harassment, and

                                            financial harm to his company.

                                                    WHEREFORE,              Plaintiffs,   BRANDON    SMIETANA,        SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendant, MORGEN PECK, in an

                                            amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other

                                            relief for Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                        COUNT VIII
                                               DEFAMATION - AMERICAN PUBLISHERS, INC. d/b/a CONDÉ NAST AND d/b/a
                                                                THE NEW YORKER MAGAZINE

                                                    175.    Plaintiffs repeat and reallege Paragraphs 1 through 85 and Paragraphs 160 through

                                            174, inclusive of subparts, of this Amended Complaint as and for Paragraph 175 of this Count VIII

                                            as if fully set forth herein.



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                                                   176.    Condé Nast is a global mass media company operating various brands, including

                                            Defendant The New Yorker.
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                                                   177.    The New Yorker is an American weekly magazine publication owned and operated

                                            by Defendant Condé Nast.

                                                   178.    At all times relevant herein, Peck was an actual agent of Condé Nast.

                                                   179.    At all times relevant herein, Peck was an apparent agent of Condé Nast.

                                                   180.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

                                            million social media followers.

                                                   181.    On August 18, 2021, Condé Nast, by and through The New Yorker, published the

                                            New Yorker Article authored by Peck which reached millions of readers worldwide.

                                                   182.    Approximately one week prior to publication, Anna Boots, Fact Checker for The

                                            New Yorker, contacted Smietana regarding the article and stated:

                                                       a. That Peck’s article was the longest fact checking she ever had to do (approximately
                                                          3 months);

                                                       b. That numerous unsubstantiated claims were made in Peck’s article;

                                                       c. That Peck interviewed Michael Terpin regarding the 2018 Las Vegas conference
                                                          and he informed her that Stephens was an unreliable source and a compulsive liar;

                                                       d. That the fact checking process was difficult to complete because almost all the
                                                          information was provided two people, with most claims and statements being
                                                          unsubstantiated; and

                                                       e. That her editor at The New Yorker set a “firm publication date regardless of [fact
                                                          checking] completion.”

                                                   183.    Condé Nast, by and through The New Yorker, published Peck’s article without

                                            properly and completely fact checking the defamatory statements made and checking Peck’s

                                            sources and their credibility.




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                                                   184.    As a direct and proximate result of the libelous publication in The New Yorker,

                                            Plaintiffs suffered economic damage through loss of business, loss of revenue, loss of contracts,
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                                            loss of market visibility, and loss of reputation.

                                                   185.    As a direct and proximate result of the libelous publication in the New Yorker,

                                            Smietana suffered serious damage to his reputation, which resulted in numerous death threats,

                                            harassment, and financial harm to his company.

                                                   WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,        SKYCOIN         GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendant, AMERICAN PUBLISHERS,

                                            INC., d/b/a CONDÉ NAST and d/b/a THE NEW YORKER MAGAZINE, in an amount in excess

                                            of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as

                                            this Honorable Court deems just and equitable in the premises.

                                                                          COUNT IX
                                              BREACH OF FIDUCIARY DUTY – BRADFORD STEPHENS, AARON KUNSTMAN,
                                                       JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, AND
                                                           UNKNOWN INDIVIDUALS AND COMPANIES

                                                   186.    Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 186 of this Count IX as if fully set forth herein.

                                                   187.    At various times, Stephens, Kunstman, Cuthriell, and Byerly were acting as

                                            contractors hired by Plaintiffs to perform certain duties for the marketing of Skycoin.

                                                   188.    Per that relationship and agreement, Stephens, Kunstman, Cuthriell, and Byerly

                                            were to adhere to the terms of the agreement and provide the services promised.

                                                   189.    Stephens, Kunstman, Cuthriell, and Byerly instead engaged in various schemes to

                                            defraud Plaintiffs, including promising marketing and promotions materials that were never

                                                                                                 39
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                                            performed, implementing public schemes to damage Plaintiffs’ reputation needing immediate

                                            marketing damage control, and providing marketing services below the quality and type of what
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                                            was agreed upon.

                                                    190.    Stephens, Kunstman, Cuthriell, and Byerly did not provide the promised services

                                            to Plaintiffs, despite Plaintiffs having paid for those services.

                                                    191.    Stephens, Kunstman, Cuthriell, and Byerly had a duty to adhere to the terms of the

                                            agreements and to provide Plaintiffs with the promised services.

                                                    192.    Stephens, Kunstman, Cuthriell, and Byerly breached that duty by failing to adhere

                                            to the terms of the agreements and failing to provide Plaintiffs with the promised services.

                                                    193.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, and Byerly’s

                                            improper actions, Plaintiffs have sustained damage economically through loss of business, loss of

                                            revenue, loss of contracts, loss of market visibility, and loss of reputation.

                                                    WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

                                            INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $50,000.00,

                                            plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

                                            Court deems just and equitable in the premises.

                                                                        COUNT X
                                              BREACH OF CONTRACT – BRADFORD STEPHENS, AARON KUNSTMAN, AND
                                                                 JOEL WAYNE CUTHRIELL




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                                                    194.     Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 194 of this Count X as if fully set forth herein.
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                                                    195.     On or about January 8, 2018, Plaintiffs entered into an agreement with Stephens,

                                            Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services for

                                            Plaintiffs.

                                                    196.     Following that agreement, Stephens failed to provide the contracted services,

                                            creating false “threats,” and extorting funds from Plaintiffs through coercion.

                                                    197.     Stephens, Kunstman, and Cuthriell did not adhere to the terms of the Agreement

                                            despite payment.

                                                    198.     Plaintiffs, at all times relevant herein, fully performed on their obligations under

                                            the their agreement with Stephens, Kunstman, and Cuthriell.

                                                    199.     Stephens, Kunstman, and Cuthriell failed to provide any advertising or marketing

                                            services to Plaintiffs during the duration of the contract.

                                                    200.     Stephens, Kunstman, and Cuthriell breached their obligations under the contract

                                            through the following acts or omissions:

                                                          a. Failing to provide advertising services;

                                                          b. Failing to provide marketing services;

                                                          c. Failing to use the funds provided for the advertising or marketing services;

                                                          d. Failing to provide web design services;

                                                          e. Failing to use funds to effectuate any web design;

                                                          f. Failing to stay within the bounds of the expense budget; and

                                                          g. Attempting to extort additional funds outside of the contract terms.




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                                                    201.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

                                            actions, Plaintiffs have sustained damage economically through loss of business, loss of revenue,
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                                            loss of contracts, loss of market visibility, and loss of reputation.

                                                    WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,      SKYCOIN       GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

                                            excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                            Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                              COUNT XI
                                                       VIOLATIONS OF 735 ILCS 5/12-7.1 – BRADFORD STEPHENS AND
                                                                          AARON KUNSTMAN

                                                    202.    Plaintiffs repeat and reallege Paragraphs 1 through 85 of this Amended Complaint

                                            as and for Paragraph 202 of this Count XI as if fully set forth herein.

                                                    203.    Upon information and belief, during the years 2019-2021, Stephens and Kunstman,

                                            through various internet media and in person, made numerous anti-Semitic statements and threats

                                            of death, kidnapping, and other acts of violence against Smietana.

                                                    204.    All of these threats were based on Smietana’s religion and Jewish heritage.

                                                    205.    Stephens and Kunstman also discussed Skycoin as a “Jew coin”, called holders of

                                            Skycoin Tokens “Skygoyim,” and other similar hate speech, which Smietana perceived as a direct

                                            threat due to his being Jewish (See Exhibit C).

                                                    206.    Stephens and Kunstman posted these messages on various social media platforms

                                            and also made said threats directly to Plaintiff.


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                                                   207.    In furtherance of their threats, the Assailants invaded Smietana’s home where they

                                            violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in
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                                            order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

                                            property, company accounts for operation of business, and cryptocurrency wallets.

                                                   208.    Under threats of further violence and death, Smietana provided the passwords to

                                            his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

                                            Skycoin with a market value of $81,018.98, totaling $220,179.31.

                                                   209.    As a direct and proximate result of Stephens and Kunstman’s aforesaid unlawful

                                            acts, Plaintiffs were damaged, subjected to religion and heritage-based violence, online

                                            harassment, a home invasion, kidnapping and torture, and had great sums of money stolen by the

                                            Assailants.

                                                   WHEREFORE,          Plaintiffs,   BRANDON         SMIETANA,          SKYCOIN      GLOBAL

                                            FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                            pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                            and AARON KUNSTMAN, in an amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as

                                            well as such further and other relief for Plaintiff as this Honorable Court deems just and equitable

                                            in the premises.

                                                                                              Respectfully submitted,

                                                                                              BRANDON SMIETANA, SKYCOIN
                                                                                              GLOBAL FOUNDATION LIMITED, a
                                                                                              Singapore Company, and SYMBOLIC
                                                                                              ANALYTICS, INC., a Delaware Corporation

                                                                                              By: /s/James A. Karamanis
                                                                                              One of Plaintiffs’ Attorneys



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                                            James A. Karamanis
                                            BARNEY & KARAMANIS, LLP
                                            Two Prudential Plaza
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                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                  COUNTY DEPARTMENT, LAW DIVISION
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                                             BRANDON SMIETANA, SKYCOIN GLOBAL
                                             FOUNDATION LIMITED, a Singapore
                                             Company, and SYMBOLIC ANALYTICS INC.,
                                             a Delaware Corporation,

                                                                               Plaintiffs,

                                                    v.                                                      Case No. 2024L003661

                                             BRADFORD STEPHENS, AARON
                                             KUNSTMAN, RYAN EAGLE, JOEL WAYNE
                                             CUTHRIELL, MORGEN PECK, CATHERINE
                                             BYERLY, AMERICAN PUBLISHERS, INC.
                                             d/b/a CONDÉ NAST and d/b/a THE NEW
                                             YORKER MAGAZINE, and UNKNOWN
                                             INDIVIDUALS AND COMPANIES,

                                                                               Defendants.

                                                          AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222(b)

                                                   Pursuant to Supreme Court Rule 222(b), counsel for the above-named Plaintiffs certifies

                                            that Plaintiffs seek money damages in excess of Fifty Thousand and No/100 ($50,000.00),

                                            exclusive of interest and costs.

                                                   Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify that the

                                            statements set forth herein are true and correct.

                                                   FURTHER AFFIANT SAYETH NAUGHT.

                                                                                                     /s/James A. Karamanis

                                            James A. Karamanis
                                            BARNEY & KARAMANIS, LLP
                                            Two Prudential Plaza
                                            180 N. Stetson, Suite 3050
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                                                                   EXHIBIT A
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                                                                                 Annals of Technology



                                                           Pumpers, Dumpers, and Shills:
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                                                                The Skycoin Saga
                                                          The cryptocurrency promised to change the world and make its users rich
                                                                         in the process. Then it began to fall apart.

                                                                                     By Morgen Peck
                                                                                       August 18, 2021
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                                                                           Illustration by Nata Metlukh
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                                                                                                   Save this story




                                                        n an April afternoon in 2011, a twenty-seven-year-old tech entrepreneur named Bradford
                                            O
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                                                   Stephens arrived at a stucco bungalow near the canals of Venice, California. He had recently
                                            started a new data-analytics company, and had come to speak with a coder named Brandon Smietana,
                                            whom he hoped would get involved. Stephens had already met Smietana online, where he uses the
                                            handle Synth, and where he often debated minute points about math and programming. When
                                            Stephens and Ryan Rawson, an employee who tagged along, arrived, Smietana invited them into a
                                            carpeted den. A computer sat on a table, its casings removed to reveal a tangle of circuits; a sleeping bag
                                            lay on a sofa. Smietana was in his early twenties, with dark hair and a youthful face. Rawson told me,
                                            “He had the air of this mad scientist couch sur ng.” Stephens pitched his new company, but got no
                                                                                              fi
                                            traction. Smietana had turned his attention to a new technology: cryptocurrency. “The only people who
                                            have to work for money are the people who cannot create it or print it out of thin air,” he told them.


                                            The rst cryptocurrency, Bitcoin—released in 2009 by an anonymous programmer (or a group of them)
                                                   fi
                                            called Satoshi Nakamoto—was a feat of computational brilliance. A bitcoin is an abstract unit of value
                                            that people track and spend with digital wallets. When someone contributes her computer’s power to
                                            process Bitcoin transactions, the computer also races to solve an equation, a process called “mining.”
                                            Each solution that meets certain criteria mints new coins. The number created decreases by half every
                                            four years or so—an event known as the Halvening—which keeps the supply limited, guarding against
                                            in ation. The whole economy is maintained on a blockchain, a shared ledger that keeps a tally of every
                                              fl
                                            Bitcoin transaction. As miners add transactions, the Bitcoin software coördinates and nalizes their
                                                                                                                                     fi
                                            contributions, making the ledger transparent and unchangeable and the system nearly impossible for
                                            governments to shut down.

                                            But the technology has a aw: as more people use it, transactions become slower and more expensive.
                                                                          fl
                                            The average transaction fee uctuates wildly; one day last week, it was two dollars and thirty-three
                                                                               fl
                                            cents, making it more expensive than any major credit card for everyday purchases. The pursuit of a
                                            better Bitcoin quickly became a full-blown academic eld, with its own conferences, university courses,
                                                                                                         fi
                                            and peer-reviewed journals. But, as Smietana explained over the next few years to anyone who would
                                            listen, he had the solution. He was designing a cryptocurrency that could be sent around the world
                                            instantaneously, for next to nothing. He called it Skycoin.

                                            He was going to use this currency, he said, to create a decentralized version of the Internet, called
                                            Skywire. He planned to build a large mesh network, a system that allows people to use special Internet
                                            routers to share bandwidth with their neighbors. With enough members, a network can bypass service
                                            providers, making it harder for corporations and governments to surveil Internet use. But it’s di cult to
                                                                                                                                              ffi
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                                            retain volunteers. “A community network really needs density before it is useful,” Brian Hall, of NYC
                                            Mesh, the largest community network in the U.S., wrote in a blog post. “It can be a chicken and egg
                                            problem.” Smietana’s project proposed a different way to attract people: pay them. His customers would
                                            share bandwidth using routers called Skyminers, and get paid for their service in Skycoin. He envisioned
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                                            a new cryptocurrency spent over a community-owned Internet, calling it “the last step to fulfilling
                                            Satoshi’s mission.”

                                            Stephens left his first meeting with Smietana believing that he could be destined for greatness. Skycoin
                                            launched publicly two years later, in 2013. The following year, Stephens attended a party at Smietana’s
                                            new place, an unrenovated warehouse just south of L.A. Someone had painted the walls with images of
                                            horned monsters. “It was very Burning Man meets H. P. Lovecraft,” Stephens told me. Stephens’s friend
                                            Baron Chat, a photographer who attended, said, of Smietana, “He seemed to be receiving his signal
                                            from a different station than everyone else.” According to Stephens, Smietana asked him to join the
                                            fledgling project, but he demurred. (Smietana said he doesn’t remember seeing Stephens at the party.)

                                            The first cryptocurrency boom arrived in 2017. “Several investors I knew, and a lot of my friends, started
                                            pivoting from angel investing to putting money in crypto and seeing insane returns,” Stephens told me.
                                            Skycoin had a “token sale”—a sort of I.P.O. for cryptocurrencies—and was listed on two small
                                            exchanges. By the end of 2017, its price had gone from a little more than a dollar per coin to about fifty
                                            dollars per coin. That December, while Stephens was on vacation with his wife in Japan, Smietana
                                            messaged him with another chance to get involved. It seemed like an opportunity to work on something
                                            revolutionary. But he also thought, Everybody else is getting rich off crypto, so why not me? He said
                                            that he later told Smietana, “I’m going to need 50K up front and I gotta hire a team.” After a couple
                                            days, he checked his Bitcoin wallet and found fifty thousand dollars sitting in it. “I’m, like, ‘I guess I’m
                                            hired,’ ” he said. (Smietana denies sending the money, though he had said he would do so in texts, and
                                            there’s a record of such a transaction on the Bitcoin ledger.) Before leaving Kyoto, he and his wife had
                                            visited a shrine to Inari, the Shinto god of rice, where they left offerings and made wishes. His wife
                                            wished for the health of her father, who was battling cancer. “I asked for wealth and adventure,”
                                            Stephens told me. “And I got one of those.”


                                                n the past decade, a shift has occurred in the way that cryptocurrencies are distributed. Satoshi put
                                            I   bitcoins into circulation through a reward system: the more computing power you contribute, the
                                            more coins you can mint. Some early adopters paid their rent simply through mining. Around 2012,
                                            though, people began devising blockchains that could be used for more ambitious applications: supply
                                            chains with real-time geolocation, for example, or patient-controlled medical records. Such projects
                                            required capital, compelling founders to experiment with less democratic ways to distribute coins. In
                                            2013, J. R. Willett, the founder of Mastercoin, invented the “initial coin offering,” or I.C.O., the first
                                            token sale: developers partially pre-mined their tokens and then sold them off to raise money. Michael
                                            Terpin, who has managed two hundred such token sales, and who handled public relations for Skycoin,
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                                            told me that the scheme empowers entrepreneurs. “Somebody who had an innovative product could sell
                                            directly, prior to it being built, to an audience of enthusiasts,” he said, without having to “give up a third
                                            of the company.”
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                                            A frenzy followed a few years later. Since 2017, hundreds of projects have announced token sales. One
                                            of the most lucrative, eos, raised about three and a half billion dollars in a yearlong I.C.O. Many
                                            projects amassed funds even before their blockchains or applications existed; some prepared assiduously,
                                            but others merely threw together a Web site, a list of advisers (sometimes without their knowledge), and
                                            some semblance of a technical paper (sometimes plagiarized). “A playbook really emerged for how to set
                                            up a legitimate-looking I.C.O.,” Matt Chwierut, the head of research at Smith & Crown, a blockchain
                                            research firm, told me.

                                            In 2018, I attended the North American Bitcoin Conference, in Miami. On the main stage,
                                            representatives from companies with unpronounceable names riled up the crowds. Downstairs, an arcade
                                            of booths hawked every kind of blockchain project: smart glasses, cargo robots, refugee-identity
                                            documents. At a booth for a group claiming to build a volunteer emergency-services network, I asked
                                            why the endeavor required a coin. The attendant told me to come back later when someone more
                                            technical would be arriving.

                                            Because bitcoin mining is regulated by algorithms, everyone, in theory, has a fair chance of getting new
                                            coins. But, to receive pre-mined coins in a token sale, you often have to buy publicly at the sale price or
                                            else negotiate a deal behind the scenes. “A lot of coins were being sold on the side and in secret,” Josh, a
                                            major cryptocurrency investor—who eventually bought into Skycoin, and requested that I use only his
                                            first name, out of concern for his safety regarding another matter—told me. “You’ll do special deals with
                                            people if they give you three or four or five million dollars up front.” This created a sense that making
                                            your fortune required being in the right room to get the right tip.

                                            On the second night of the conference, I went to a strip club for an after-party, where flashing your
                                            badge got you a crypto-inspired cocktail. (I ordered a Satoshi Sour.) Guests exchanged advice, sure that
                                            they were getting the best inside information. But a few hours later a friend whisked me off to a more
                                            exclusive party, thrown at a beachside bar by Patrick Byrne, the former C.E.O. of Overstock. (Byrne
                                            stepped down in 2019, after it was revealed that he had had an affair with the Russian agent Maria
                                            Butina.) The attendees were celebrating the hundred-million-dollar token sale of Byrne’s trading
                                            platform, TZero, which he said was going to “drag Wall Street behind the barn, kill it with an axe, and
                                            re-create it on blockchain.” There were giant platters of sushi and oysters; the rapper Flo Rida pulled
                                            Byrne up onto the bar for a sing-along. Guests exchanged invites to exclusive chat rooms on Telegram,
                                            an app favored by coin enthusiasts. I turned to a man next to me and asked what had brought him to the
                                            party. He rubbed his thumb and forefinger together and shouted, “Making money.”
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                                                 he employment structure at Skycoin was loose, and Stephens joined without a contract. “Here I
                                            T    was, a guy used to wrangling hundred-page venture-capital contracts, and I’m joining a company
                                            with no last names and barely any first names,” Stephens said. Smietana, who by then was living in
                                            Shanghai, had pre-mined a hundred million coins, which were scheduled for circulation. Skyminer
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                                            routers were just starting to ship, but sales had already outstripped production. Smietana estimated that
                                            operators who used Skyminers could make between fifteen thousand and forty-five thousand dollars a
                                            month. Most coinholders I spoke to were young men around the world—medical students, craftsmen,
                                            3-D animators—who believed in the project. In chat rooms, Smietana’s followers addressed him with
                                            reverence. “We all are in honor to speak with synth,” a user called Anosis wrote. “It’s like having a
                                            chance to talk to Satoshi.”


                                            Although Stephens studied computer science in college, he admitted that, when he started working with
                                            Skycoin, he “hardly knew anything about crypto.” He was told to handle marketing, and assembled a
                                            team composed mostly of friends and former associates. (Smietana now claims that he contracted a
                                            marketing company that Stephens ran, not Stephens himself.) But he soon realized that word about the
                                            project was already spreading. Large investors recruited in their own circles, and smaller coinholders
                                            hyped Skycoin on social media. At one point, Skycoin advertised a bounty program that promised users
                                            coins in exchange for promotional activities, such as writing blog posts and creating YouTube videos.
                                            One user-made video, titled “Skycoin - To the Moon,” featured footage of a shuttle blasting off next to a
                                            chart of Skycoin’s market value, interspersed with a closeup of glossy lips and the words “YOU
                                            COMIN’?” People who proved their worth on Telegram often got pulled up the ranks. “I started to
                                            spend 90 hours a week in the chat room,” a user called Sudo, who became one of Skycoin’s Telegram
                                            channel moderators, and who refused to tell me his name, messaged me. “They seen how active I was
                                            and offered me a job.”

                                            By early January, 2018, the total estimated value of pre-mined Skycoins had reached almost five billion
                                            dollars. Smietana sent representatives to conferences in New York, Lisbon, San Francisco, and
                                            Singapore, and arranged a retreat in Mauritius. A former marketing contractor, who requested
                                            anonymity out of fear of harassment, recalled that Smietana could spend lavishly on the people who
                                            worked with Skycoin, in one case paying for cryotherapy, vitamin injections, thousand-dollar steak
                                            dinners, and a twelve-thousand-dollar trip to the Esalen Institute. “Dude was very liberal with his
                                            spending and could be very generous,” the marketing contractor said. The team posted a video of a yacht
                                            party, and thundered around in Ferraris. In New York, Skycoin reps cruised in a helicopter to grab
                                            footage of a Skyminer held over Manhattan’s skyline.

                                            That month, Stephens flew to Las Vegas to speak on a panel at the CoinAgenda summit. He wasn’t up
                                            to speed on the technical aspects of Skycoin yet, but he held a Skyminer over his head and said, “You all
                                            are the first to see the new Internet!” On the first day of the conference, Smietana sent Stephens a voice
                                            memo with an urgent request. He was hoping to get Skycoin listed on Binance, one of the world’s
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 162 of 323 PageID #:178
                                            largest cryptocurrency exchanges, which could help secure its legitimacy. During the I.C.O. boom, it was
                                            common for projects to pay a “listing fee” in order to be included on an exchange. (Binance claims that it
                                            chooses projects based solely on “strict security, legal, and regulatory compliance standards.” In 2018,
                                            facing pressure, it announced that it would donate its listing fees to charity.) Smietana said that he had
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                                            paid Binance executives seven and a half million dollars but that they hadn’t followed through. (Binance
                                            confirmed that Skycoin paid it a hundred and fifty thousand Skycoins to spend on “promotion,” which
                                            were worth seven and a half million at the coin’s peak.) Smietana told Stephens to entertain the
                                            executives, to sweeten the deal. Stephens planned a party in a penthouse suite at the Bellagio. Smietana
                                            gave explicit instructions via voice messages: “You have to buy prostitutes for the people at Binance,” he
                                            said. “Get them, like, three girls each.” (Smietana denies any involvement in the party, and claims that
                                            his voice messages about it were “either a joke or a deep fake but probably a deep fake.”)

                                            That night, Stephens and Baron Chat, who had also started working on Skycoin’s marketing, along with
                                            Catherine Byerly, another member of the team, sat in the hotel suite, with champagne on ice. Six escorts
                                            arrived at nine, and the employees instructed them to make the Binance executives feel like “rock stars.”
                                            “To them, I was this, like, stereotypical businesswoman in an Ann Taylor dress,” Byerly said. “But inside
                                            I’m thinking, How did my decisions lead me here?” Chat said, “It felt almost like you were in the process
                                            of living out some bizarre reality that sometimes you see in the movies. The weird excess . . . Crazy shit
                                            happens when you have a corporate account and a green light.” By ten o’clock, the executives hadn’t
                                            shown up, and Stephens began to worry that he’d lost the deal. He couldn’t reach Smietana, so he
                                            frantically called the event organizers. They explained that not only had no Binance reps showed up at
                                            the conference—they weren’t even on the registration list. (A spokesperson at Binance told me that the
                                            company neither requested nor knew about the party.) “That’s when I started taking anything Brandon
                                            said with a grain of salt,” Stephens told me. Still, he decided that, “if this is going to be weird, I’m going
                                            to make it memorable weird.” Some of the escorts took their pay and left; the rest drank champagne and
                                            played Cards Against Humanity with the group into the morning.


                                                    hen Stephens returned from Las Vegas, he set about mapping Skycoin’s progress. One of the
                                            W       company’s main selling points was Obelisk, an algorithm that allowed it to send coins cheaply
                                            and quickly. On Telegram, Smietana insisted that everything that came before was “obsolete and
                                            primitive.” He boasted that Obelisk was written by Houwu Chen, a developer who had worked on
                                            Ethereum, the second-most popular cryptocurrency platform. He posted an academic paper written by
                                            Chen on the Skycoin Web site, claiming that it was a Skycoin white paper. But when Stephens reached
                                            out to Chen, he got no response. “We kept trying to chase people down to ask details, and it was slowly
                                            revealed it just . . . didn’t exist,” he told me. In a later discussion about technical details, a Skycoin
                                            “community manager” told coinholders that “it’s too advanced to share” and that the company “can’t
                                            trust the public with it.” When pressed, Smietana wrote, of Chen, “He is a recluse, I doubt anyone can
                                            contact him or he would respond.” Smietana eventually told me that Chen had taken a payment of a
                                            million Skycoins for his work on the white paper and then left the project. (Chen declined to comment,
                                                   Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 163 of 323 PageID #:179
                                            saying, “Just don’t put my name in the article. That’s my statement.”) Stephens discovered that Obelisk
                                            had never been implemented. (Smietana now acknowledges this, but claims that the project has
                                            published some of Obelisk’s code and used it in simulations.)
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                                            Skycoin’s payments were fast, but only because transactions were processed on a single server, rather than
                                            on a decentralized network of computers. The server sat in the Shanghai office of Scott Freeman, the
                                            C.E.O. of the C2CX cryptocurrency exchange. This also meant that, if Smietana wanted to, he could
                                            freeze transactions. “The big thing about a blockchain is it’s supposed to be decentralized, and no single
                                            entity is supposed to be able to change it,” Freeman told me. He added, of Skycoin’s setup, “In a way, it
                                            makes you into a fraud.” (Smietana claims that his power to freeze transactions was designed as a
                                            security measure.) Freeman said that he nagged Smietana about implementing Obelisk but that
                                            Smietana told him, “People don’t really care. It’s not worth it. We should spend our resources on other
                                            things.” (Smietana denies this.)

                                            Skycoin’s Web site claimed that multiple payments were scrambled together to provide extra privacy, but
                                            this feature was never implemented in the Skycoin wallet. The pre-mined coins sat in virtual wallets
                                            under Smietana’s sole control. (When pressed, Smietana claimed that he shared control of the coins
                                            with a secret group of advisers, but refused to give me their names.) When Stephens asked to see
                                            Skycoin’s accounting books, Smietana explained that his girlfriend, Sarah, was in charge. Sarah told
                                            Stephens that the accounting was a work in progress. (Smietana denies directing Stephens to Sarah, and
                                            she denies being in charge of the project’s accounting.) Everything seemed haphazard. Stephens was
                                            once paid from a bank account in Mauritius registered under a different name; many employees were
                                            paid in bitcoin or Skycoin.

                                            In early February, 2018, a month after the CoinAgenda conference, Stephens booked a trip to Shanghai
                                            to see Smietana, determined to bring some order to Skycoin. One night, he had dinner with Smietana
                                            and members of a Chinese marketing team that Smietana had hired, at a steak house in Xuhui. As the
                                            dinner began, Smietana rose from his chair and launched into a rambling diatribe of conspiracy theories.
                                            For hours, he catalogued the hidden crimes of a class of global élites who controlled citizens through
                                            virtual reality, medical marijuana, and pornography. At some point, Stephens started recording Smietana
                                            on his phone. “We want to feminize the peasant population to make them more docile,” Smietana says.
                                            “It’s so they don’t revolt.”
                                            Stephens told me, “I just became shell-shocked. What the fuck have I gotten myself into?” He had seen
                                            Smietana post conspiracy theories on Telegram before, but he figured it was a joke. In the weeks after
                                            the dinner, Stephens tried to warn some investors, but felt that they brushed him off: “They would be,
                                            like, ‘Brandon is just doing his thing, and the value of the coin keeps going up.’ ”


                                                hortly after Stephens returned from Shanghai, a reporter named Tristan Greene published a
                                            S   scathing article about Skycoin on the Next Web, a technology-news Web site, condemning the
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                                            company for pre-mining its coins. The Skyminer router was being sold for one bitcoin—worth about
                                            ten thousand dollars at the time—but Greene highlighted the fact that it was constructed from
                                            components worth about six hundred dollars. Customers got back the ninety-four-hundred-dollar
                                            difference, but it came in Skycoin, which still sold only on small exchanges, making it difficult to trade
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                                            in quantity. (The software for the miners was also incomplete; users connecting to Skywire had no way
                                            to pay for the service. Smietana claims that this feature is still under development.) Stephens granted
                                            Greene an interview but couldn’t persuade him of the project’s legitimacy. Greene wrote, “Is it a scam?
                                            I’m 99 percent sure of it.”


                                            Skycoin went into full damage-control mode. The project had been running a black-ops marketing unit
                                            sometimes referred to as Shill Team Six, composed of users plucked from Telegram who specialized in
                                            manipulating attention on the Internet. The “shills” occasionally flooded 4chan and Reddit, keeping
                                            engagement up with memes and bots. A former member of Skycoin’s inner circle, who also requested
                                            anonymity, told me that if someone spoke ill of Skycoin the shills could be sent in to “make their life
                                            difficult,” by digging up embarrassing information. (Smietana denied directing the group, saying it was
                                            “completely out of control.”) The shills found that even bad publicity could be good for Skycoin. In a
                                            chat with investors, Smietana said that they sometimes spread negative rumors about Skycoin, in order
                                            to attract attention. “Direct promotion does not get to front page and has low click rate,” he wrote. “If
                                            they create contraversy, then it directs attention and clicks to skycoin.” (Smietana claimed that these
                                            messages were taken out of context.)

                                            Stephens knew that Smietana pored over texts about crowd psychology and even solicited advice from
                                            DJ Hives, an anonymous online personality who at one point used a Hitler avatar, on controlling public
                                            opinion. In voice messages, DJ Hives referred to Skycoin customers as “fish,” a poker term for easily
                                            exploited players, and encouraged Smietana to cultivate an aura of infallibility: “We want to put you on
                                            the level of deity as far as the masses are concerned.” (When contacted on Telegram, DJ Hives said,
                                            “None of this is correct,” and declined to comment further.)

                                            The team gamed search algorithms into ignoring Greene’s article. “We helped bury that page for a
                                            while,” Sudo, the anonymous user, who claimed to be part of Shill Team Six, messaged me on Telegram.
                                            (Smietana claimed that Skycoin ignored the article.) But word was already spreading. Skeptics showed
                                            up in Skycoin’s social-media channels to ask questions, and Skycoin moderators started blocking them.
                                            “After banning enough losers, everyone left will be winners,” Smietana wrote. Skycoin enthusiasts
                                            smeared Greene on Telegram, accusing him of writing a paid hit piece. When Greene showed up in the
                                            channel to address their concerns, moderators kicked him out. Someone claiming to be a Skycoin
                                            investor e-mailed Greene and threatened to “visit” him, his wife, and their son if he didn’t stop “messing”
                                            with Skycoin, writing, “nothing is really impossible in the world for people like us that grew theire
                                            wealth on crypto.”
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                                            Stephens contacted Michael Terpin, the adviser, to voice his worries, but, he said, “It turns out Terpin
                                            didn’t give a shit.” (Terpin told me that, by this time, his company was phasing out its involvement with
                                            Skycoin. “Brandon’s got a flair for the dramatic,” he said. “Honestly, that’s one reason I found it difficult
                                            to keep working with Skycoin.”) Stephens came up with a plan to strip Smietana of power and transfer
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                                            management of the company to a foundation; he still believed that Skycoin could become a reality if
                                            reasonable people were in charge. But, by late February, 2018, six weeks after he joined the project, he
                                            found that he was locked out of both the Skycoin Telegram and his work e-mail. Members of his team
                                            were locked out, too. “The whole thing was so terrible,” Chat, from the marketing team, told me.
                                            Smietana sent an e-mail to the Next Web denying that Stephens represented Skycoin. “The person you
                                            interviewed has nothing to do with Skycoin and is a known scammer,” Smietana wrote. “Please update
                                            the article.” Stephens heard from Smietana again in June, 2018, when Smietana sent him a mysterious
                                            Facebook message in which he claimed that he had acted out of concern for Stephens’s safety. “I saved
                                            your life. You do not even know,” Smietana wrote. “I will tell you in a few years.”


                                                n July, 2018, a recording leaked of Li Xiaolai, a Chinese billionaire and the founder of a coin that
                                            I   launched with an eighty-two-million-dollar token sale, giving his unfiltered perspective on the
                                            industry. “From the start, I knew one thing,” he said. “The main power to compete here is the traffic.”
                                            Successful coins accrue value, in other words, not because of technical sophistication but because they
                                            get people’s attention. This requires having a founder who can capture the imagination. “All the
                                            successful 100X, 1000X projects—you go and look at the founder, they will definitely be a spin doctor,”
                                            he said. What matters with a coin is that people are talking about it. “The consensus of idiots is still
                                            consensus,” he said.


                                            To some extent, this is true of most modern currencies: they have no value apart from what we
                                            collectively assign them. But the U.S. dollar is supported by government guarantees and controlled
                                            through monetary policies. Bitcoin abolished government backing, but its scarcity is regulated through
                                            algorithms. (Even so, a tweet or statement from a high-profile coinholder like Elon Musk can raise or
                                            crash its price.) Coins that are manually distributed in token sales provide even fewer assurances. It is
                                            often impossible to know how many are in circulation. Their value is built on a promise that some
                                            feature, often still in development, will make them more useful than other currencies. Until that promise
                                            is fulfilled, it is largely a matter of faith. “Money is a social construct,” Smietana wrote, on Telegram. “It
                                            is based upon CONFIDENCE . . . Confidence is a religion and is built upon perception and not
                                            reality.”

                                            Founders that control perception control the price of their coin. According to Chwierut, the blockchain
                                            researcher, during the I.C.O. bubble, it was not uncommon for founders to spend as much as thirty per
                                            cent of their budget on ad campaigns. Some of the effort went to gaming the attention economy,
                                            requesting mentions from influencers or using bots to create an illusion of broad support. Traders can
                                            even use these metrics to manage their portfolios: IntoTheBlock, a “crypto-intelligence” firm, tracks
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                                            Twitter mentions and Telegram-member counts and sells the information to investors; a data platform
                                            called Santiment alerts users when chatter about their coins surges. Recommendation algorithms can
                                            encourage the spread of incendiary content, and coins promoted with controversy and falsehood often
                                            perform well. Some coin promoters use stunts or scandals to keep users engaged. After closing a fifty-
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                                            million-dollar token sale, the founder of a cryptocurrency called Savedroid posted a picture of himself at
                                            what looked like an airport with a caption reading “Thanks guys! Over and out,” which was taken as a
                                            confession that he was running off with the funds. A day later, he revealed that he was trolling about
                                            escaping with the money, but only after several articles had been written about the scandal. The firm
                                            ASKfm hired mountaineers to climb Mt. Everest and film themselves leaving a cryptocurrency wallet on
                                            its peak. (The company released a statement saying, “On a market where launching a blockchain
                                            endeavor is not really a newsbreak, companies have to stand out.”) A sherpa died in the process.

                                            Market manipulation is rampant. In schemes called “pump and dumps,” traders meet in exclusive chat
                                            rooms where they coördinate to purchase a coin, causing the trading volume to go up and others to take
                                            interest. When the price is at its highest, the pump-and-dumpers sell, leaving faithful users holding the
                                            bag. In an industry where everyone is a coinholder, there is no one left to pull the alarm. Should
                                            investors realize that their coin is a sham, it would be an act of self-sabotage to raise concerns. Better to
                                            become evangelists, wooing others in order to boost the price.

                                            U.S. law generally requires projects to register with the S.E.C., forcing them to make financial
                                            disclosures that investors could then inspect before buying. Almost none do, giving convoluted rationales
                                            that John Reed Stark, the founder of the S.E.C.’s Internet-enforcement office, told me are “poppycock.”
                                            Not registering can facilitate further rule-breaking, as when, say, influencers promote coins without
                                            disclosing their investment, or projects pump coins with fraudulent claims. Stark said, of I.C.O.s, “Every
                                            single one I ever saw was unlawful on multiple levels.” The S.E.C. began cracking down in 2017, but
                                            prosecution often requires “extraordinary resources from an alphabet soup of federal and state law-
                                            enforcement agencies,” Stark said. As a result, few projects face consequences.


                                                n the spring of 2018, Skycoin climbed into the list of the top hundred coins, and appeared on a
                                            I   Nasdaq Web cast. That May, Binance announced that it would list Skycoin on its trading platform.
                                            Around the time of the listing, the price jumped thirty-eight per cent. Then, suddenly, it came crashing
                                            down. According to several people involved, Skycoin privately sold to investors at a steep discount—in
                                            at least one case, coins worth millions of dollars—inadvertently giving them an incentive to dump it on
                                            the market as soon as they could. (Smietana denied being involved in such sales.) Smietana had claimed
                                            on Telegram that the investors were restricted from selling. But, as soon as Binance listed Skycoin, the
                                            market flooded with sell orders. Freeman, from the C2CX exchange, had been acting as the project’s
                                            primary “market maker,” using a pool of reserves to provide market liquidity and stabilize prices. “I tried
                                            to hold at about twenty,” he told me. But the sell-off was too much to contain. Coinholders shared their
                                            misery on Telegram. “Its been fun guys, i’m gonns hang myself in 2 hours,” a user named Willy Jr. wrote.
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                                            “Bought 20K at 20 dollars.” A user named Dante wrote, “synth told me this shit would moon,” adding, “i
                                            took a mortage on my house.”


                                            A few weeks into the sell-off, a voice message from Smietana emerged on Telegram that seemed to
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                                            imply that the biggest Skycoin investors were coördinating their moves in a secret chat room. Smietana
                                            said in the message, of the investors, “Everyone was basically doing the exact opposite of whatever the
                                            public was doing.” (Smietana acknowledged being in the chat room at one point but claimed that he was
                                            barely involved.) Rumor spread that the S.E.C. would investigate Skycoin as a result, and that Binance
                                            was considering delisting it. In the public chat, coinholders prepared for a death spiral. A user called
                                            Opaque wrote, “I want to say calm down guys, but its really doesnt look good.”

                                            Then, out of nowhere, Smietana announced that he had big news to share once “all the staff are safe.” In
                                            the coming days, he accused members of the Chinese marketing team of breaking into his house with
                                            five gang members, holding him and his girlfriend hostage for six hours, beating him until one of his
                                            ribs broke, and stealing a small quantity of cryptocurrency. Members of the Chinese marketing team
                                            denied this. In a letter to investors, they claimed that Smietana and his girlfriend had pushed them out,
                                            refused to pay them, and frozen their Skycoin wallets, which contained coins that were then worth
                                            somewhere between four and nine million dollars. This was the first apparent instance of Smietana’s
                                            using his power to freeze Skycoin transactions. (Smietana claims that the wallets contained embezzled
                                            company funds.) In their letter, the marketing-team members claimed that they had been invited to
                                            Smietana’s apartment to find a resolution, and a small scuffle broke out in which he got a bruised wrist.
                                            Afterward, Smietana’s girlfriend filed a police report, and four defendants spent a few months in
                                            detention, after admitting to detaining Smietana and his girlfriend in an incident that left them “lightly”
                                            injured.

                                            Smietana blitzed Telegram with messages about the alleged “kidnapping.” “This is the best thing that
                                            has ever happened to Skycoin. Ever...As long as we can keep this drama going, we can get [the trading
                                            volume] even higher.” He amused himself by plotting new distractions: “Quick, someone photoshop
                                            video of me being beheaded by ISIS and see if you can get them to write an article about it.” But
                                            coinholders seemed not to buy it. When he did a live YouTube interview, shortly after the incident,
                                            someone commented, “I dont see one bruise on his face. beaten the shit out of me, what with ? a piece of
                                            toast.?” As the sell-off continued, Smietana blamed it on the “kidnappers” for dumping their stolen
                                            coins. “They have been surpressing the price the whole time,” he wrote.

                                            In November, 2018, Smietana, apparently growing desperate, enlisted John McAfee to promote the coin.
                                            McAfee, once famous for the antivirus software that he developed in the eighties, had earned a
                                            reputation as a kind of cyber outlaw: he was a “person of interest” in a murder in Belize, in 2012, and
                                            subsequently fled the country, later posting images of himself cruising the Caribbean in his yacht,
                                            brandishing guns. He was a sought-after crypto promoter. McAfee tweeted a video that seemed to show
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                                            him with the Skycoin logo freshly tattooed on his back and the message, “Why Skycoin? If you have to
                                            ask, you’ve been living in a fucking closet.” (Smietana admitted to paying McAfee during this period but
                                            insisted that it was a gift to help with “yacht repairs.”) Smietana urged people to buy: “If you put in a
                                            million dollars now, and we have a run just as large as the last one, you’re going to be at fifty million
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                                            dollars,” he said, in a video. Then, in March, 2019, McAfee publicly broke ties with Skycoin. (Smietana
                                            told me that McAfee began demanding large fees that he refused to pay.) When asked on Twitter what
                                            he would do about the tattoo, McAfee replied, “I’ll keep it as a reminder that no matter how old I get, I
                                            still get scammed by unscrupulous people with pie in the sky plans. They almost drove me to violence.”
                                            Stephens, watching from afar, felt that he had been spared the worst. He hadn’t behaved perfectly: he
                                            had been taken in by Skycoin’s promise, but he also promoted a coin that he knew little about. After
                                            being cut off, he took Skycoin’s social-media accounts hostage, and unsuccessfully demanded a severance
                                            payment. In the end, he told me, he sold his holdings for thirty thousand dollars. The internal drama
                                            and crashing prices prompted a broader exodus from the project. In 2019, Freeman’s exchange
                                            announced that it was delisting Skycoin. Michael Terpin’s name still appears on the Skycoin Web site,
                                            but he told me that he no longer has anything to do with it. Josh, the cryptocurrency investor, lost faith
                                            after visiting Smietana in China, last year. “Crypto is a bunch of con artists conning each other,” he said.
                                            “Obelisk was always a week away, and it still is.” He sold his holdings and told me that he lost ninety-
                                            nine per cent of his investment.

                                            Investors who sold at the peak would have made large profits, but many average coinholders suffered.
                                            (Smietana claimed that he urged restraint: “I told people not to put money into the market that they
                                            were not prepared to lose.”) Armon Koochek, a recent college graduate in Santa Barbara, California,
                                            invested in Skycoin in 2018, lured by the promise of a new Internet and excited by the “memes and
                                            content on Reddit and Twitter.” He lost some fifteen thousand dollars. He tried to warn others away
                                            from the project in the Telegram chat room, and was soon banned. “I hope I saved a lot of investors,” he
                                            told me. Dael Lithgow, a forty-five-year-old bootmaker in Pietermaritzburg, South Africa, invested
                                            most of his savings in Skycoin in 2017, and convinced his mother and girlfriend to invest, as well. Had
                                            they sold during the boom, the profits would have been “life-changing,” but they held on. “I really
                                            believed in what they were trying to do,” he told me. Today their coins are nearly worthless.

                                                n the summer of 2019, I met Smietana at a mozzarella bar in Manhattan. He was wearing all black,
                                            I  and his hair was starting to gray. As we sat, he warned me, unprompted, “Honestly, like, ninety-eight
                                            per cent of the people are scammers in blockchain.” Then, preëmpting my questions, he visited every bit
                                            of Skycoin intrigue. The “gang members” who kidnapped him in China had demanded “sixty million
                                            dollars.” The technology for Skywire, the decentralized Internet service, was already “working” and
                                            Obelisk was just “a few months” out. His girlfriend, Sarah, called several times while we were speaking.
                                            He showed me frantic messages from her, and said that he was blowing off an important meeting, but
                                            he kept talking, telling me about his coin’s promise. He seemed to regard me as the next potential pump.
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                                            Almost four hours into my lunch, I made an excuse to leave, saying that I needed to walk to my bank.
                                            Smietana followed along for almost thirty blocks, ranting about his court case in China. Eventually, I
                                            brought him to Times Square, where his girlfriend was waiting. She must have seen something in my
                                            eyes, and said, “He’s a mad scientist.” After New York, they were headed to the Caribbean, where they
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                                            would see Terpin and check out the crypto scene. They invited me to join. In the months that followed,
                                            Skycoin’s price dropped below a dollar a coin, but Smietana remained optimistic. He told me, on
                                            Telegram, that he had a new hardware lab where he was developing antennae for the Skyminer, and said
                                            that Skycoin was moving into the medical industry, agricultural automation, and underground mining.

                                            When I confronted Smietana about Skycoin’s history, he began sending me dozens of voice messages a
                                            day, spinning elaborate stories that often contradicted one another. Many could be corroborated only by
                                            people whom he swore existed but who couldn’t talk because they had government security clearance, or
                                            were in hiding, or because he didn’t know their real names. He attacked those who spoke ill of Skycoin,
                                            calling them criminals, junkies, and blackmailers. He claimed at first that he didn’t know Stephens (“I
                                            contacted advisor board and no one involved in Skycoin has heard of Bradford”), then that he was a “con
                                            artist,” then that he was a “federal informant/agent” trying to entrap him. At one point, Smietana even
                                            suggested that he wasn’t the real founder of Skycoin. I began to feel dizzy reporting this story, trying to
                                            sort through the layers of deception and to figure out whom I could trust. Everyone seemed to think
                                            that they could spin what I wrote to their advantage.

                                            Smietana continues to post in the Telegram chat room, assuring loyal coinholders that the features
                                            they’ve waited years for are almost complete. “In that Telegram group, he is king,” the former member of
                                            Skycoin’s inner circle told me. Former employees remain divided about Smietana’s motives. “It’s almost
                                            as if he viewed Skycoin as a money printer,” the former marketing contractor told me. “Everything that
                                            happened was a distraction or ruse to keep people in the dark while he kept his shit-coin casino
                                            operating.” It’s impossible to know how much Smietana made on the currency. (“Overall, I would say, I
                                            did ok,” Smietana wrote to me.) But other founders have pulled “exit scams,” dumping all of their coins
                                            at the market’s height and disappearing entirely, which Smietana never did. One of Skycoin’s lead
                                            software developers—who was also Smietana’s friend from college, and who requested anonymity out of
                                            fear of harassment—doesn’t think Smietana was in it to get rich: “Being a figurehead in blockchain is
                                            like being a cult leader and I think he enjoyed that more than the money.” At one point, Smietana sent
                                            me a voice message, asking, “Why didn’t I just take the seventy million and just, like, run off ?”

                                            In the past several years, the S.E.C. has charged multiple I.C.O. operators with offering unregistered
                                            securities and committing fraud, and the cases have resulted in settlements that have ordered hundreds
                                            of millions of dollars returned to coinholders. Last July, Jack Abramoff, who became famous, in 2006, for
                                            his role in a political-lobbying scheme, pleaded guilty to committing securities fraud with a token sale.
                                            The project, called AML BitCoin, published a white paper in 2017 that listed Smietana as one of its
                                            software developers. (Smietana claims that he was included without his consent.) In October, Spanish
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                                            authorities arrested McAfee on an extradition request from the U.S., where he faced charges of tax
                                            evasion and illegally promoting cryptocurrencies. (In June, he was found dead in his jail cell, in an
                                            apparent suicide.) In the past few years, cryptocurrency founders have tweaked their strategies; instead
                                            of I.C.O.s, they now hold “initial exchange o erings” and “initial decentralized exchange o erings.”




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                                            Stark, the former S.E.C. o cial, told me that the new terminology is “designed to create confusion and



                                                                           ffi
                                            avoid S.E.C. scrutiny, but all of it is the same.” David Silver, a lawyer who represents victims of
                                            cryptocurrency fraud, hopes that, as the S.E.C. enforces securities laws, fraud in the market will decrease.
                                            “Yesterday’s crypto heroes are tomorrow’s crypto felons,” he said. “The statute of limitations is very
                                            long.”

                                            This past January, a Telegram channel named after WallStreetBets, the Reddit forum that supercharged
                                            GameStop’s stock price, targeted Skycoin with a pumping campaign. As the pump spread to other
                                            social-media platforms, the price punched up above ve dollars per coin. The mood in the chat was


                                                                                                         fi
                                            ecstatic. “I’m frantically moving funds around to buy more,” a user named Krzys P wrote. Smietana
                                            wrote, “MOON MOON LAMBO MOON.” Stephens is now a software developer at Salesforce, and
                                            insists that he is done with cryptocurrency: “My personality is not well suited to fraud, and ma oso, and




                                                                                                                                              fi
                                            everything that crypto is.” He recently returned with his wife to Japan and sought out a new Shinto
                                            shrine where, he said, he wished for good health.




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                                            Morgen Peck is a freelance journalist who has covered cryptocurrency since 2012.


                                            More:   Cryptocurrency   Bitcoin     Entrepreneurs   Fraud        Money   Technology




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                                                                   EXHIBIT B
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                                                                   EXHIBIT C
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      Judge: Calendar, W
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                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                             Name all Parties

                                             BRANDON SMIETANA/SKYCOIN,


                                                                                      Plaintiff(s)
                                                                      V.
                                                                                                      Case No. 2024 L 003661
                                             BRANDON STEPHENS


                                                                                    Defendant(s)

                                             1011 Wolcott Ave., 1S, Chicago, IL. 60622

                                                                     Address of Defendant(s)
                                             Please serve as follows (check one):       Certified Mail       Sheriff Service Alias Process Server X
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                                             To each Defendant:
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                                                                THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
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                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                      IRIS Y. MARTINEZ
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                                                                                                                                COOK COUNTY, IL
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                                            BRANDON SMIETANA,             )                                                     Calendar, W
                                            SKYCOIN GLOBAL FOUNDATON,     )                                                     28708464
                                            LIMITED., et al.              )
                                                                          )
                                                     Plaintiffs,          )                     LAW DIVISION
                                                                          )                     CASE NO.: 24-L-003661
                                            Vs.                           )
                                                                          )
                                            BRANDON STEPHENS, RYAN EAGLE, )
                                            et al.,                       )
                                                                          )
                                                     Defendants.          )
                                                                          )

                                              DEFENDANT, RYAN EAGLE’S COMBINED MOTION TO DISMISS PLAINTIFF’S
                                                                FIRST AMENDED COMPLAINT

                                                   COMES NOW the Defendant, RYAN EAGLE, by and through his undersigned attorney

                                            and moves this Court for dismissal of Plaintiff’s First Amended Complaint against Defendant

                                            pursuant to 735 ILCS 5/2-619.1 as a combined motion under sections 735 ILCS 5/2-619 and 735

                                            ILCS 5/2-615 and states as follows:

                                                                 FACTUAL AND PROCEDURAL BACKGROUND

                                                   Plaintiffs filed this Complaint on April 4, 2024, alleging numerous counts of fraudulent

                                            conduct by many Defendants in what is loosely described as a conspiracy to steal money through

                                            fraudulent billing and marketing practices targeted against Plaintiffs’ cryptocurrency business by

                                            Defendants’ marketing management practices. Plaintiffs allege the head of the marketing

                                            company, Defendant, Bradford Stephens and others employed by and or associated with him,

                                            allegedly including, Defendant, Ryan Eagle, engaged in a scheme to defraud Plaintiffs in various

                                            ways. Plaintiffs allege they hired the marketing company to boost the Plaintiffs’ business by

                                            marketing and to boost its presence through search engine optimization.
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                                                   After Plaintiffs filed their Complaint, Defendant, Eagle, filed his Combined Motion to

                                            Dismiss alleging multiple deficiencies, including failure to state a cause of action under either of
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                                            the three (3) counts Eagle was named in and that the actions were time-barred. The chief argument

                                            being that the Plaintiffs failed to allege any specific act or conduct on the part of Eagle and instead

                                            relied upon general conclusions and classic hearsay as allegations, none of which was sufficient to

                                            support the pleading and all of which lacked any firsthand specificity as detailed below.

                                                   Following the Court’s granting of Eagle’s Motion to Dismiss, Plaintiffs, filed their instant

                                            First Amended Complaint (“FAC”). The FAC, trying desperately to tie Defendant, Eagle to the

                                            alleged conspiracy, clearly added the name of Defendant, Ryan Eagle to several additional

                                            allegations. However, the FAC still suffers from the same deficiencies and blatantly and

                                            completely fail to allege any ‘facts’ to support their conclusory allegations. Adding more

                                            conclusion and more hearsay not only fail to cure the earlier deficiencies of the initial Complaint

                                            but show more clearly that Plaintiffs can allege no specific conduct on the part of Eagle to support

                                            the same causes of action as set forth in the earlier Complaint.

                                                   Similar to the initial Complaint, the FAC again fails to allege any fraudulent acts, acts in

                                            furtherance of any alleged conspiracy whatsoever against Eagle and therefore the FAC as a whole

                                            fails once again to state any cause of action against Ryan Eagle. Eagle is named in only the same

                                            3 counts of the FAC as in the initial Complaint. They are:

                                                             Count 3: Civil Conspiracy (“to defraud Plaintiffs, tortiously interfere

                                                     with their business relationships, commit various acts of wire fraud, computer

                                                     fraud, manipulate the cryptocurrency market, and convert Plaintiffs’ property

                                                     surreptitiously.”).




                                                                                              2
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                                                                 Count 4: Tortious Interference (the alleged subject of the civil

                                                      conspiracy).
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                                                                 Count 5: Unjust Enrichment

                                                    Additionally, Plaintiffs actions against Defendant, Eagle are time-barred by the operation

                                            of the applicable Statute of Limitations and Plaintiffs lack standing to bring this action under the

                                            Business Corporation Act of 1983 (5/1.01 to 5/17.05) for failure to register to do business in the

                                            State of Illinois.

                                                                             I.     MEMORANDUM OF LAW

                                            A. LEGAL STANDARD

                                                A section 2–615(a) motion to dismiss “tests the legal sufficiency of the complaint,” Kean v.

                                            Wal–Mart Stores, Inc., 235 Ill.2d 351, 361, 336 Ill.Dec. 1, 919 N.E.2d 926, 931–32 (2009). Section

                                            2–615 motions “raise but a single issue: whether, when taken as true, the facts alleged in the

                                            complaint set forth a good and sufficient cause of action.” Scott Wetzel Services v. Regard, 271

                                            Ill.App.3d 478, 480, 208 Ill.Dec. 98, 648 N.E.2d 1020 (1995).

                                                In order to withstand a motion to dismiss based on section 2–615, a complaint must allege facts

                                            that set forth the essential elements of the cause of action. Urbaitis v. Commonwealth Edison, 143

                                            Ill.2d 458, 475, 159 Ill.Dec. 50, 575 N.E.2d 548 (1991). “[A] court must take as true all well-pled

                                            allegations of fact contained in the complaint and construe all reasonable inferences therefrom in

                                            favor of the plaintiff.” Vernon v. Schuster, 179 Ill.2d 338, 341, 228 Ill.Dec. 195, 688 N.E.2d 1172

                                            (1997). In ruling on a motion to dismiss, the court will construe pleadings liberally. Pfendler v.

                                            Anshe Emet Day School, 81 Ill.App.3d 818, 821, 37 Ill.Dec. 1, 401 N.E.2d 1094 (1980). “A

                                            plaintiff is not required to prove his case in the pleading stage; rather, he must merely allege

                                            sufficient facts to state all the elements which are necessary to constitute his cause of action.”



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                                            Claire Associates v. Pontikes, 151 Ill.App.3d 116, 123, 104 Ill.Dec. 526, 502 N.E.2d 1186 (1986).

                                            [Emphasis added]
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                                               “The purpose of a section 2-619 motion to dismiss is to dispose of issues of law and easily

                                            proven issues of fact at the outset of litigation.” Dratewska-Zator v. Rutherford, 2013 IL App (1st)

                                            122699, 996 N.E.2d 1151. A section 2-619 motion to dismiss “admits the legal sufficiency of the

                                            complaint, but raises defects, defenses, or other affirmative matters appearing on the face of the

                                            complaint or established by external submissions, which defeat the action.” Nourse v. City of

                                            Chicago, 2017 IL App (1st) 160664, 75 N.E.3d 397. “In deciding a section 2-619 motion, a court

                                            accepts all well-pleaded facts and their inferences as true and construes all pleadings and

                                            supporting documents in favor of the nonmoving party.” In re Estate of Shelton, 2017 IL 121199,

                                            89 N.E.3d 391. Section 2-619(a)(5) of the Code allows for the involuntary dismissal of an action

                                            that “was not commenced within the time limited by law.” 735 ILCS 5/2-619(a)(5)

                                            B. ARGUMENT

                                               Plaintiffs’ FAC again, entirely fails to make even a single specific factual allegation against

                                            Defendant, Ryan Eagle. Plaintiffs instead have only made one conclusory allegation to the effect

                                            that Ryan Eagle ‘conspired’ with Defendant Brandford Stephens and others to commit tortious

                                            acts against Plaintiffs. They fail to allege even a single instance of how or in what capacity or

                                            means Eagle engaged in such conspiracy as was alleged against Defendant, Stephen. The details

                                            of Plaintiffs’ allegations and lack thereof as to Defendant, Eagle as set forth below.

                                                       1) CIVIL CONSPIRACY (COUNT 3): [Brought under 735 ILCS 5/2-615]

                                               Civil conspiracy “requires proof that a defendant ‘knowingly and voluntarily participates in a

                                            common scheme to commit an unlawful act or a lawful act in an unlawful manner.’ “ McClure v.

                                            Owens Corning Fiberglas Corp., 188 Ill. 2d 102, 720 N.E.2d 242 (1999), (quoting Adcock, 164



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                                            Ill.2d at 64). The necessary elements of a civil conspiracy include: (1) an agreement between two

                                            or more persons; (2) to participate in an unlawful act, or a lawful act in an unlawful manner; (3)
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                                            an injury caused by an unlawful overt act performed by one of the parties; and (4) the overt act

                                            was done pursuant to and in furtherance of the common scheme. Canel and Hale, Ltd. v.

                                            Tobin, 304 Ill.App.3d 906, 920 (1999). [Emphasis added]

                                               Conspiracy is not a separate and distinct tort in Illinois. Hurst v. Capital Cities Media, Inc.,

                                            323 Ill.App.3d 812, 822–23 (2001). “To state a cause of action for civil conspiracy, a plaintiff

                                            must allege an agreement and a tortious act committed in furtherance of that agreement, as

                                            well as an injury caused by the defendant.” [See: Benton v. Little League Baseball, Inc., 181 N.E.3d

                                            902 (Ill. App. Ct. 2020)][Emphasis added] “Mere knowledge of the fraudulent or illegal actions

                                            of another is insufficient.” Id. [Emphasis added] “It is the act performed in pursuit of the

                                            agreement that may create liability.” Weber v. Cueto, 253 Ill.App.3d 509, 518 (1993). “There is

                                            no cause of action unless an overt, tortious, or unlawful act is done that, in absence of the

                                            conspiracy, would give rise to a claim for relief.” Illinois Traffic Court Driver Improvement

                                            Educational Foundation v. Peoria Journal Star, Inc., 144 Ill.App.3d 555, 562 (1986). [Emphasis

                                            added]

                                               “However, these allegations do not include any facts to support an agreement. Merely

                                            alleging that a party knows that the acts of another are illegal is not enough to show a

                                            conspiracy (McClure, 188 Ill.2d at 134, 241 Ill.Dec. 787, 720 N.E.2d at 258), and merely

                                            characterizing “a combination of acts as a conspiracy is insufficient to withstand a motion to

                                            dismiss” (Buckner, 182 Ill.2d at 23, 230 Ill.Dec. 596, 694 N.E.2d at 571).” See. Reuter v.

                                            MasterCard Intern., Inc., 921 N.E.2d 1205 (Ill. App. Ct. 2010).




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                                               In the instant case, Defendant, Eagle is named in only 3 of the 11 counts. No allegation,

                                            however, extends beyond a possible allegation showing ‘knowledge’ of a scheme and others are
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                                            at most mere conclusions and cite no specific allegation whatsoever. “A successful common law

                                            fraud complaint must allege, with specificity and particularity, facts from which fraud is the

                                            necessary or probable inference, including what misrepresentations were made, when they were

                                            made, who made the misrepresentations and to whom they were made.” Connick v. Suzuki Motor

                                            Co., 174 Ill.2d 482, 496–497, 221 Ill.Dec. 389, 675 N.E.2d 584, 591 (1996).

                                               For example, paragraphs 22 through 25 are nothing more than allegations of Defendant,

                                            Stephens’ claim that he and Defendant Eagle are business partners. While these allegations are

                                            nothing more than hearsay and allege nothing substantive, being a business partner of Stephens

                                            does not in itself allege or prove that Eagle is a participant in a conspiracy and fails to allege any

                                            act in furtherance of the alleged conspiracy.

                                               The Amended Complaint alleges at the following paragraphs:

                                                         22. Stephens claimed that his business partners were Eagle, ….
                                                         23. Stephens represented to Plaintiffs that Eagle, Young, and Gevirtz were the
                                                     individuals who would be providing the marketing services ….
                                                         24. Stephens represented to Plaintiffs that Eagle and Young were the individuals who
                                                     would receive Plaintiffs’ payments and …
                                                         25. Stephens represented to Plaintiffs that the Smolder Partners were
                                                     “inseparable”…

                                                   Obviously, none of the above allegations reflect any conduct or act or position on the part

                                            of Defendant, Eagle, other than the blatant hearsay conclusions of Defendant, Stephens that he and

                                            Eagle are business partners and further, add nothing to any substantive allegation or element of

                                            any cause of action against Eagle. The next grouping of meaningless allegations is similarly

                                            deficient as to any allegation of an element of the pleaded causes of action and constitutes only the

                                            conclusions and ‘wishful’ thinking of Plaintiffs. They are based on no acts of Eagle or observations



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                                            by Plaintiffs and are simply meaningless conclusions devoid of any specifics whatsoever. In

                                            general, these are cited in the following paragraphs of the FAC:
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                                                       39. In early February of 2018, Plaintiffs discovered that in actuality, there was no third
                                                       party attacking Skycoin’s website. Rather, the attack was instigated by Stephens,
                                                       Eagle, and/or the Smolder Partners as a fraudulent means to extract additional funds
                                                       from Skycoin. The invoices submitted by Stephens were fabricated.

                                                       57. Knowing that Skycoin was about to obtain a Bittrex listing, on or about February 25,
                                                       2018, Stephens and Eagle threatened Smietana…

                                                       58. Smietana refused to pay the money demanded by Stephens and Eagle, …

                                                       62. After Smietana refused to pay the Extortion Payments demanded by Stephens and
                                                       Eagle, both defendants conspired…

                                                       63. In furtherance of the conspiracy to kidnap Smietana and his girlfriend and steal money
                                                       from them with Stephens and Eagle, the Assailants invaded Smietana’s home …

                                                       81. In and around June of 2020, because Smietana refused to capitulate to the extortion
                                                       demands, Stephens, in conjunction with Eagle, Kunstman and others, embarked upon
                                                       a scheme and plan to delist Skycoin …

                                                      [Emphasis added]

                                                      It is noteworthy that in this paragraph 39 of the FAC above, Plaintiffs allege the

                                            involvement of several Defendants, including Eagle in the disjunctive using the phrase “and/or”

                                            clearly evidencing the fact that Plaintiffs don’t truly know who did what in regard to the alleged

                                            conspiracy. Such pleading is insufficient as “Illinois is a fact-pleading state; conclusions of law

                                            and conclusory allegations unsupported by specific facts are not deemed admitted.” Time Savers,

                                            Inc. v. LaSalle Bank, N.A., 371 Ill.App.3d 759, 767 (2007).

                                                      On review of the FAC, it is further important to note that there is only one time when

                                            Plaintiff, Stephens actually was even in the presence of Defendant, Eagle. That alleged meeting is

                                            described in paragraph 41 of the FAC and involved a face-to-face meeting in China between

                                            Plaintiff and Defendant, Stephens. It is alleged there that Eagle attended by Zoom. The allegation

                                            states:
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                                                   41. Upon Skycoin’s refusal to pay Stephens the monthly payments requested in
                                                   or around February 2018, Smietana and Stephens met in Shanghai, China, with
                                                   Eagle joining the meeting via Zoom.
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                                            [Complaint, ¶41] [Emphasis added]

                                                   Plaintiffs then go on to attempt to bolster their case against Eagle by now claiming in each

                                            of the next several paragraphs that “Stephens and Eagle” threatened them stating:

                                                        42. During this meeting, Stephens and Eagle threatened to have Skycoin
                                                    delisted from all exchanges…
                                                        43. Stephens and Eagle’s threats included statements …
                                                        44. Stephens and Eagle also threatened that …
                                                        45. Stephens and Eagle attempted to blackmail Plaintiffs…
                                            [FAC, ¶¶42-45] [Emphasis added]

                                                   FAC paragraph 41 merely alleges that Defendant, Stephens “threatened to have Skycoin

                                            delisted from all exchanges” and only ‘incidentally’ or ‘gratuitously’ adds that Defendant, Eagle

                                            “was ‘participating’ via Zoom”. The following allegations (¶¶ 42-45) are merely Plaintiffs’

                                            attempts to lump Defendant Eagle into a general conspiracy without alleging any specific conduct

                                            on his part engaged in in furtherance of the conspiracy, evidencing his intent to join the conspiracy.

                                            The allegations, however, fail to reflect that Eagle said or did anything. It merely, in conclusory

                                            language claims he ‘was participating” via Zoom. The threat, however, is clearly alleged to have

                                            been made by Defendant Stephens in these paragraphs, not by Eagle, who at most was ‘listening’.

                                            Plaintiff alleges no participation or specific acts in furtherance by Eagle. “Mere knowledge of the

                                            fraudulent or illegal actions of another is insufficient.” Benton, supra.

                                                   The above allegations are nothing more than mere conclusions of fraud, civil conspiracy,

                                            and involvement in threats and schemes to defraud. Plaintiffs have no facts to allege in this their

                                            second attempt to plead their case against Defendant, Ryan Eagle. Additionally, Plaintiffs even

                                            include Eagle in the most serious of the allegations by nothing more than a mere conclusion

                                            alleging in paragraph 62 and 63 the following conclusion:



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                                                   62. After Smietana refused to pay the Extortion Payments demanded by
                                                   Stephens and Eagle, both defendants conspired with Yan Xiandong, Li Min,
                                                   Sam Sing Fond and Sun Fei (collectively the “Assailants”) in a plot to kidnap
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                                                   Smietana and his girlfriend and steal $30,000,000.00 that Stephens and Eagle
                                                   claimed they were due from Skycoin.
                                                   63. In furtherance of the conspiracy to kidnap Smietana and his girlfriend
                                                   and steal money from them with Stephens and Eagle, the Assailants invaded
                                                   Smietana’s home where they violently beat and tortured Smietana and his
                                                   pregnant girlfriend for approximately six (6) hours in order to gain access to
                                                   Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual
                                                   property, company accounts for operation of business, and cryptocurrency
                                                   wallets.
                                            [See FAC, ¶¶ 62 and 63]

                                                   Paragraph 62 on the other hand is likewise insufficient and merely alleges the ‘conclusion’

                                            that “Stephens and Eagle conspired” with others. It fails, however, to indicate or allege in any

                                            fashion whatsoever what Defendant, Eagle did as an ‘overt act’ ‘in furtherance of the conspiracy’.

                                            There can be no conspiracy without such overt acts. Illinois Traffic Court, supra.

                                                   It is not sufficient to plead merely the elements of the civil conspiracy, it is necessary to

                                            plead ultimate facts to support the conspiracy. “Since plaintiff failed to plead the elements of a

                                            claim for civil conspiracy or any facts to support the claim, count VIII was properly dismissed.”

                                            Canel & Hale, Ltd. v. Tobin, 710 N.E.2d 861 (Ill. App. Ct. 1999) [Emphasis added]

                                                   The FAC is devoid of any allegation of fact to support the ultimate ‘conclusion’ of Eagle’s

                                            joinder in any conspiracy and the conclusions are the only allegations made by Plaintiffs. No

                                            allegation against Eagle is based upon personal knowledge or observation by the Plaintiff,

                                            Smietana or any other Plaintiff as to Eagle. Each allegation regarding Eagle is couched in terms of

                                            what Defendant, Stephens said, claimed, represented, etc. each of which representations are

                                            hearsay comments from another and do not qualify as “facts to support the claim”. Id.

                                                   Based upon the pleading thus far, and the paucity of any facts, Defendant, Eagle has been

                                            apprised of no specific fact whatsoever to support the myriad of ‘conclusions’ made by Plaintiffs



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                                            and therefore, Plaintiffs’ Complaint must be dismissed. Finally, in that this is Plaintiffs’ second

                                            attempt and still they have nothing to allege against Eagle, this dismissal should be with prejudice.
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                                            Bellik v. Bank of Am., 869 N.E.2d 1179 (Ill. App. Ct. 2007).

                                                         2) TORTIOUS INTERFERENCE (COUNT 4) and UNJUST ENRICHMENT
                                                            (COUNT 5): [Brought under 735 ILCS 5/2-615]

                                                   At this point, Eagle has no idea what he did to evidence his intent to join or participate in

                                            the alleged conspiracy, Count 3, or the substantive counts 4 and 5 for Tortious Interference and

                                            Unjust Enrichment, respectively. It is interesting to note further that each of the counts that Eagle

                                            is charged in adopts only the prior allegations in paragraphs 1-85 of the FAC under general facts

                                            and no count Eagle is charged in alleges any specific conduct by Eagle.

                                                   It is unnecessary to enumerate the elements that must be pled by Plaintiffs to establish the

                                            substantive causes of action for ‘tortious interference’ and ‘unjust enrichment’ because no

                                            allegations are made in any fashion whatsoever. There are no allegations in either count which

                                            names Ryan Eagle at all. Instead, the counts are based upon the ‘adopted’ prior allegations in

                                            paragraphs 1-85 of the FAC. Those allegations, a few of which reference Defendant, Eagle are set

                                            forth above. It is abundantly clear from a reading of such allegations that, again, nothing is pled or

                                            alleged against Defendant, Eagle by way of a substantive allegation. Nothing showing that he ‘did’

                                            or ‘said’ anything at all, let alone anything relevant to the causes of action. The only allegations

                                            are that he is the business partner of the primary defendant, Bradford Stephens and that he

                                            ‘conspired’ with others. Again, other than the mere conclusion of conspiracy, no specific act of

                                            the Defendant is alleged or mentioned in any manner whatsoever. These counts must also be

                                            dismissed.

                                                         3. PLAINTIFFS’ FAILURE TO REGISTER TO DO BUSINESS PRECLUDES
                                                            MAINTAING THIS ACTION: [Brough under 735 ILCS 5/2-615]

                                                   Plaintiffs are foreign residents to Illinois and are thus required to register to do business in
                                                                                             10
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                                            this State and to commence and maintain this litigation against Defendant, Eagle. Plaintiffs have

                                            failed to allege such registration or obtaining of the required authorization from the Secretary of
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                                            State and are thus barred from maintaining this action at this time. Young Am.'s Found. v. Doris A.

                                            Pistole Revocable Living Tr., 998 N.E.2d 94 (Ill. App. Ct. 2013)

                                                   Act 5. Business Corporation Act of 1983 (5/1.01 to 5/17.05) (“BCA”) provides in pertinent

                                            part, the following:

                                                             § 13.05. Admission of foreign corporation. Except as provided in Article

                                                     V of the Illinois Insurance Code,1 a foreign corporation organized for profit,

                                                     before it transacts business in this State, shall procure authority so to do from

                                                     the Secretary of State.

                                                             § 13.70. Transacting business without authority.

                                                             (a) No foreign corporation transacting business in this State without

                                                     authority to do so is permitted to maintain a civil action in any court of this State,

                                                     until the corporation obtains that authority. Nor shall a civil action be maintained

                                                     in any court of this State by any successor or assignee of the corporation on any

                                                     right, claim or demand arising out of the transaction of business by the

                                                     corporation in this State, until authority to transact business in this State is

                                                     obtained by the corporation or by a corporation that has acquired all or

                                                     substantially all of its assets.

                                                   Plaintiffs have failed to register to do business in this state and therefore the action must

                                            be dismissed for such failure.

                                                       4. ALL ACTIONS ARE TIME-BARRED: [Brought under 735 ILCS 5/2-619]

                                                   As noted above, Plaintiffs have alleged causes of action against Defendant, Eagle for Civil



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                                            Conspiracy (Count 3), Tortious Interference (Count 4) and Unjust Enrichment (Count 5). The

                                            underlying offense of the alleged ‘civil conspiracy’ against Defendant, Eagle is the alleged
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                                            fraudulent conduct of Eagle and more specifically, “to defraud Plaintiffs, tortiously interfere with

                                            their business relationships, commit various acts of wire fraud, computer fraud, manipulate the

                                            cryptocurrency market, and convert Plaintiffs’ property surreptitiously.” [See Complaint, Count

                                            3, ¶112].

                                                   In Mauvais-Jarvis v. Wong, 987 N.E.2d 864 (Ill. App. Ct. 2013) the court addressed the

                                            applicable statute of limitations (“S/L”) issue as it relates to civil conspiracy and ruled that the

                                            underlying offense will govern the applicable limitation period. The Court ruled:

                                                        It is well-settled that conspiracy, standing alone, is not a separate and distinct
                                                        tort in Illinois. … See 15 C.J.S. Conspiracy § 26, at 1043 (2013) (Unless a
                                                        jurisdiction provides an independent statute of limitations for civil conspiracy,
                                                        “[t]he statute of limitations for a civil-conspiracy claim is determined by the
                                                        nature of the underlying conduct on which the claim of conspiracy is based. A
                                                        claim alleging civil conspiracy is thus time-barred if the substantive tort
                                                        underlying it was time-barred.”).

                                                   The statute of limitations in a civil conspiracy claim “runs from the commission of the last

                                            overt act alleged to have caused damage.” Austin v. House of Vision, Inc., 101 Ill. App. 2d 251,

                                            255, 243 N.E.2d 297, 299 (1968). A review of the FAC reveals that the last pleaded act of fraud

                                            occurred at the latest 2018 and there appears to be no act pled that occurred beyond 2018.

                                            Notwithstanding that there is no allegation of Defendant, Eagle as to any commission of any act

                                            or overt act in furtherance of any conspiracy, were this to be the last alleged act, the FAC is clearly

                                            filed more than 5 years from such date, having been filed April 4, 2024.

                                                   Moreover, paragraph 47 of the FAC states that the Plaintiffs discovered the fraud in

                                            February 22, 2018 and ceased the business marketing venture with Defendants. “On or about

                                            February 22, 2018, the Marketing Program engagement between Plaintiffs and the Smolder



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                                            Partners ended due to pressure from Skycoin's advisory board because of the discovery of the

                                            fraudulent invoicing and business practices.” [FAC, ¶47] Defendant, Eagle is not alleged to have
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                                            participated in any act cognizable in Counts 3, 5 or 6 that occurred within the applicable statute of

                                            limitations.

                                                    Additionally, and more importantly, Count 5, Unjust Enrichment would seem to be a cause

                                            of action that is certainly beyond the 5 year S/L in that the action of Unjust Enrichment would

                                            necessarily involve the receipt of something of value under circumstances whereby the receiver

                                            would expect to pay for such thing of value. “To prevail on a claim for unjust enrichment, a

                                            plaintiff must prove that the defendant “retained a benefit to the plaintiff's detriment, and that

                                            defendant's retention of the benefit violates fundamental principles of justice, equity, and good

                                            conscience.” Nat'l Union Fire Ins. Co. of Pittsburgh v. DiMucci, 34 N.E.3d 1023 (Ill. App. Ct.

                                            2015)

                                                    The last allegation of anything of value changing hands to the other Defendants, occurred

                                            in 2018 and therefore, such cause of action must of necessity have been brought no later than 2023.

                                            The complaint was filed on April 4, 2024, and therefore Count 5 must be dismissed as time barred.

                                                    Finally, the blatant pleading deficiencies of the FAC, in its failure to allege ‘any’ act that

                                            Defendant, Eagle engaged in, prevents the Defendant from properly or adequately responding to

                                            the Complaint and prevents him from properly arguing further the definitive violation of any

                                            applicable S/L. Defendant simply is not on notice of any fact to show what he did or said and when

                                            he is alleged to have done or said anything that shows his participation in and intent to join the

                                            alleged conspiracy.

                                                                                  II.     CONCLUSION

                                                    Plaintiffs have failed to allege any supporting facts whatsoever in this FAC. No facts are



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                                            alleged to show that Defendant, Ryan Eagle said or did anything at all to evidence his intent to

                                            join the conspiracy which Plaintiffs describe in the FAC. There is in fact, no statement of an overt
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                                            act or statement of any kind alleged against Defendant, Eagle, save for an allegation that he was

                                            present on a Zoom call. This is clearly insufficient to plead a cause of action against Eagle in any

                                            of the counts he is included in. Counts 3, 5 and 6 must each be dismissed. Furthermore, Plaintiffs’

                                            actions against Defendant, Eagle are time-barred or at least pled in such an egregious and deficient

                                            manner so as to prevent Defendant and this Court from properly assessing if the S/L is violated or

                                            not. Finally, Plaintiffs’ failure to register and obtain authority to engage in and maintain this suit

                                            requires dismissal of this action.

                                                   Moreover, it should be noted by the Court that this is continued litigation from case number

                                            1:22-cv-00708 filed in The U.S. District Court for the Norther District of Illinois. In that case,

                                            Plaintiff’s Third Amended Complaint was ultimately dismissed by the Court, and all Federal

                                            counts were dismissed with prejudice. That makes this FAC the fifth time the Plaintiffs have filed

                                            an amended complaint. Unless Plaintiffs are prepared to allege that they are in possession of any

                                            actual acts to allege against Defendant Eagle in another amended complaint, this dismissal must

                                            be with prejudice. Further, the Court must bar SKYCOIN GLOBAL FOUNDATION LIMITED

                                            and SYMBOLIC ANALYTICS INC. from participating further in this litigation until they are

                                            properly registered to do business under the BCA.

                                                                                                  Respectfully submitted,

                                                                                                  By: /s/ George W. Svoboda
                                                                                                  Attorney for Defendant Ryan Eagle
                                            George W. Svoboda #6220463
                                            The Law Office of George W. Svoboda
                                            P.O. Box 1299
                                            McHenry, IL 60051
                                            (224) 360-0696 – Phone
                                            Email: george@georgesvobodalaw.com

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                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 196 of 323 PageID #:212
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                  FILED
                                                                                                                                  8/23/2024 1:48 PM
                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                   IRIS Y. MARTINEZ
                                                                        COUNTY DEPARTMENT, LAW DIVISION                           CIRCUIT CLERK
                                                                                                                                  COOK COUNTY, IL
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                                                                                                                                  2024L003661
                                            BRANDON Smietana, Skycoin Global                    )                                 Calendar, W
                                            Foundation Limited, a Singapore Company,            )                                 29082732
                                            and Symbolic Analytics Inc., a Delaware             )
                                            Corporation,                                        )
                                                                                                )
                                                           Plaintiffs,                          )
                                                                                                )          Case No: 2024L003661
                                                           v.                                   )
                                            Bradford Stephens, Aaron Kunstman, Ryan Eagle, )               Calendar W
                                            Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                            Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                            and d/b/a The New Yorker Magazine, and Unknown )
                                            Individuals and Companies,                          )
                                                           Defendant.                           )


                                                       UNOPPOSED MOTION FOR EXTENSION OF TIME BY DEFENDANT
                                                       ADVANCE MAGAZINE PUBLISHERS INC. d/b/a THE NEW YORKER
                                                         (INCORRECTLY SUED HEREIN AS “AMERICAN PUBLISHERS,
                                                      INC. d/b/a CONDÉ NAST AND d/b/a THE NEW YORKER MAGAZINE”)

                                                      Defendant Advance Magazine Publishers Inc. d/b/a The New Yorker (incorrectly sued

                                            herein as “American Publishers, Inc. d/b/a Condé Nast and d/b/a The New Yorker Magazine”), by

                                            counsel, respectfully requests that this Court extend by 60 days the time by which it must answer

                                            or otherwise respond to the Complaint filed in this matter, until October 21, 2024. This requested

                                            extension is not presented for purposes of delay, but rather to allow Defendant to prepare the most

                                            appropriate responsive pleading to Plaintiff’s Complaint. Defendant has agreed to accept service

                                            in exchange for Plaintiff’s agreement to extend the time to answer or otherwise plead. Counsel

                                            has only recently been retained and wishes to have additional time to investigate Plaintiff’s claims

                                            and prepare its response accordingly. This motion is filed in good faith and no prejudice will result

                                            to the Plaintiff by the granting of this motion.




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                                            Dated: August 23, 2024

                                                                                 Respectfully submitted,
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                                                                                 DAVIS WRIGHT TREMAINE LLP

                                                                                 /s/ Harris L. Kay

                                                                                 Harris L. Kay
                                                                                 Conor McDonough
                                                                                 300 North LaSalle Street, Suite 2200
                                                                                 Chicago, IL 60654
                                                                                 Phone: (312) 820-5460
                                                                                 harriskay@dwt.com
                                                                                 conormcdonough@dwt.com

                                                                                 Attorneys for Defendant, The New Yorker Magazine




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                                            4870-0297-9803v.1 -
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 198 of 323 PageID #:214
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
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                                                                                                                               8/23/2024 1:48 PM
                                                                                                                               IRIS Y. MARTINEZ
                                                                                                                               CIRCUIT CLERK
                                                                                                                               COOK COUNTY, IL
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                                                                                                                               2024L003661
                                                                                                                               Calendar, W
                                                                                                                               29082732
                                            Appearance/Jury Demand                               (05/03/21) CCL 0530
                                                         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                               COUNTY DEPARTMENT, LAW DIVISION
                                             Brandon Smietana, Skycoin Global Foundation
                                             Limited, a Singapore Company, and Symbolic Analytics,
                                            
                                                                                                               2024L003661
                                                                                                      Case No. _______________
                                                                                         Plaintiff
                                                                      v.                                       W
                                                                                                     Calendar: ________________
                                             Bradford Stephens, Aaron Kunstman, Ryan Eagle, Joel
                                             Wayne Cuthriell, Morgan Peck, Catherine Byerly, et. al.
                                            
                                                                                       Defendant
                                                                         APPEARANCE/JURY DEMAND
                                            ✔   General Appearance               0900 - Appearance - Fee Paid
                                                                                       0909 - Appearance- No Fee
                                                                                       0904 - Appearance Filed - Fee Waived
                                                Jury Demand                            1900 - Appearance & Jury Demand - Fee Paid
                                                                                       1909 - Appearance & Jury Demand - No Fee

                                            The undersigned enters the appearance of:          Plaintiff    Defendant
                                                                                               Additional Party
                                                                                               Respondent-in-discovery

                                            Defendant Advance Magazine Publishers Inc. d/b/a The New Yorker (incorrectly sued herein as
                                            “American Publishers, Inc. d/b/a Condé Nast and d/b/a The New Yorker Magazine”)
                                                                                   Litigant’s Name


                                                                                              /s/ Harris L. Kay
                                                                                                                   Signature

                                            ✔   INITIAL COUNSEL OF RECORD                             PRO SE
                                                ADDITIONAL APPEARANCE                                 SUBSTITUTE APPEARANCE
                                            A copy of this appearance shall be given to all parties who have appeared and have not been
                                            found by the Court to be in default.

                                                        Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                             cookcountyclerkofcourt.org
                                                                                        Page 1 of 2
                                                    Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 199 of 323 PageID #:215
                                            Appearance/Jury Demand                                                                          (05/03/21) CCL 0530

                                                          64951/Fir 100236
                                               Atty. No.: ________________        Pro Se 99500          Pro Se Only:
                                            Name: Harris L. Kay/Davis Wright Tremaine, LLP                    I have read and agree to the terms of the
FILED DATE: 8/23/2024 1:48 PM 2024L003661




                                            Atty. for (if applicable):                                         Clerk’s Office Electronic Notice Policy and
                                                                                                               choose to opt in to electronic notice from the
                                            The New Yorker Magazine
                                                                                                               Clerk’s office for this case at this email address:
                                            Address: 300 N LaSalle Street, Suite 2200
                                                                                                               
                                            City: Chicago
                                                    IL Zip: ________
                                            State: ____     60645
                                                       (312) 820-5460
                                            Telephone: ________________________
                                            Primary Email: harriskay@dwt.com




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                     cookcountyclerkofcourt.org
                                                                                                 Page 2 of 2
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 200 of 323 PageID #:216
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                               FILED
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                                                                                                                               IRIS Y. MARTINEZ
                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                CIRCUIT CLERK
                                                                                                                               COOK COUNTY, IL
                                                                        COUNTY DEPARTMENT, LAW DIVISION
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                                                                                                                               2024L003661
                                                                                                                               Calendar, W
                                            BRANDON Smietana, Skycoin Global                    )                              29082732
                                            Foundation Limited, a Singapore Company,            )
                                            and Symbolic Analytics Inc., a Delaware             )
                                            Corporation,                                        )
                                                                                                )
                                                           Plaintiffs,                          )
                                                                                                )        Case No: 2024L003661
                                                           v.                                   )
                                            Bradford Stephens, Aaron Kunstman, Ryan Eagle, )            Calendar W
                                            Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                            Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                            and d/b/a The New Yorker Magazine, and Unknown )
                                            Individuals and Companies,                          )
                                                           Defendant.                           )


                                                                                NOTICE OF FILING

                                            To:       SEE ATTACHED SERVICE LIST

                                                   PLEASE TAKE NOTICE that on August 23, 2024, we filed with the Clerk of the Circuit
                                            Court of Cook County, Law Division, an APPEARANCE for the Defendant, Advance Magazine
                                            Publishers Inc. d/b/a The New Yorker (incorrectly sued herein as “American Publishers, Inc. d/b/a
                                            Condé Nast and d/b/a The New Yorker Magazine”) and UNOPPOSED MOTION FOR
                                            EXTENSION OF TIME BY DEFENDANT ADVANCE MAGAZINE PUBLISHERS INC. d/b/a
                                            THE NEW YORKER (INCORRECTLY SUED HEREIN AS “AMERICAN PUBLISHERS, INC.
                                            D/B/A CONDÉ NAST AND d/b/a THE NEW YORKER MAGAZINE”), copies of which are
                                            attached hereto and served upon you.

                                            Dated: August 23, 2024
                                                                                        Respectfully submitted,

                                                                                        /s/ Harris Kay
                                                                                        Harris Kay
                                                                                        Davis Wright Tremaine LLP
                                                                                        300 N. La Salle, Suite 2200
                                                                                        Chicago, IL 60654
                                                                                        Tel: 312-820-5460
                                                                                        Firm #100236
                                                                                        ARDC No. 6294732
                                                                                        Cook County. No. 64951
                                                                                        harriskay@dwt.com

                                                                                        Attorneys for Defendant, The New Yorker Magazine

                                            4883-9955-1963v.1 -
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                                                                                  CERTIFICATE OF SERVICE

                                                      I, Harris L. Kay, an attorney, hereby certify that this NOTICE OF FILING, APPEARANCE
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                                            for the Defendant, The New Yorker Magazine, and DEFENDANT THE NEW YORKER
                                            MAGAZINE’S UNOPPOSED MOTION FOR EXTENSION OF TIME, was served on
                                            August 23, 2024, by electronic mail to the following parties:

                                                                  SEE ATTACHED SERVICE LIST

                                                      Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the

                                            undersigned certifies that the statements set forth in this instrument are true and correct, except as to matters

                                            therein stated to be on information and belief and as to such matters the undersigned certifies as aforesaid

                                            that he verily believes the same to be true.

                                                                                                          /s/ Harris L. Kay




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                                            BRANDON Smietana, Skycoin Global                    )
                                            Foundation Limited, a Singapore Company,            )
                                            and Symbolic Analytics Inc., a Delaware             )
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                                            Corporation,                                        )
                                                                                                )
                                                           Plaintiffs,                          )
                                                                                                )    Case No: 2024L003661
                                                           v.                                   )
                                            Bradford Stephens, Aaron Kunstman, Ryan Eagle, )         Calendar W
                                            Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                            Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                            and d/b/a The New Yorker Magazine, and Unknown )
                                            Individuals and Companies,                          )
                                                           Defendant.                           )


                                                                                    SERVICE LIST

                                             Party                Name                                 Attorney

                                             Plaintiffs           Skycoin Global Foundation Limited and James Andreas Karamanis
                                                                  Brandon Smietana                      Barney & Karamanis, LLP
                                                                                                        Two Prudential Plaza
                                                                                                        180 North Stetson, 3050
                                                                                                        Chicago, Illinois 60601
                                                                                                        312-553-5300 (W)
                                                                                                        james@bkchicagolaw.com
                                             Defendant            Ryan Eagle                           George William Svoboda
                                                                                                       P.O. Box 1299
                                                                                                       McHenry, Illinois 60051
                                                                                                       224-360-0696 (W)
                                                                                                       George@georgesvobodalaw.com

                                             Defendant            Joel Wayne Cuthriell                 Joel Cuthriell
                                                                                                       8922 East 49th Place
                                                                                                       Tulas Oklahoma 74145
                                                                                                       (405) 582-0062
                                                                                                       Joel@cuthriell.com

                                             Defendants           Symbolic Analytics Inc., American Unknown
                                                                  Publishers, Inc. d/b/a Condé Nast and
                                                                  d/b/a The New Yorker Magazine,
                                                                  Catherin Byerly, Joel Wayne Cuthriell
                                                                  and Aaron Kunstman, Morgen Peck
                                                                  Bradford       Stephens,     Unknown
                                                                  Individuals and Companies


                                                                                           3
                                            4883-9955-1963v.1 -
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 203 of 323 PageID #:219
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                  FILED
                                                                                                                                  8/23/2024 5:23 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                                                  COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                                  COOK COUNTY, IL
FILED DATE: 8/23/2024 5:23 PM 2024L003661




                                                                                                                                  2024L003661
                                             BRANDON SMIETANA, SKYCOIN GLOBAL                                                     Calendar, W
                                             FOUNDATION LIMITED, a Singapore                                                      29088695
                                             Company, and SYMBOLIC ANALYTICS INC.,
                                             a Delaware Corporation,

                                                                            Plaintiffs,

                                                    v.                                                    Case No. 2024L003661

                                             BRADFORD STEPHENS, AARON
                                             KUNSTMAN, RYAN EAGLE, JOEL WAYNE
                                             CUTHRIELL, MORGEN PECK, CATHERINE
                                             BYERLY, AMERICAN PUBLISHERS, INC.
                                             d/b/a CONDÉ NAST and d/b/a THE NEW
                                             YORKER MAGAZINE, and UNKNOWN
                                             INDIVIDUALS AND COMPANIES,

                                                                            Defendants.

                                              PLAINTIFFS’ EMERGENCY MOTION FOR EXTENSION OF TIME TO REPLEAD

                                                   NOW COME the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL

                                            FOUNDATION LIMITED, s Singapore Company, and SYMBOLIC ANALYTICS INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, and move this

                                            Honorable Court for the entry of an Order granting Plaintiffs time to replead. In support of this

                                            Motion, Plaintiffs state as follows:

                                                   1.      Plaintiffs filed their Complaint at Law in this matter on April 4, 2024.

                                                   2.      Defendant RYAN EAGLE (hereinafter “Eagle”) moved to dismiss Plaintiff’s

                                            Complaint at Law on June 28, 2024.

                                                   3.      This Court ruled on Eagle’s Motion to Dismiss on July 10, 2024, granting the

                                            Motion in part and denying it in part. See Order dated July 10, 2024, attached hereto as Exhibit

                                            “A.”



                                                                                             1
                                             Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 204 of 323 PageID #:220




                                                   4.        Pursuant to the July 10, 2024 Order, Plaintiffs filed their Amended Complaint on

                                            July 24, 2024.
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                                                   5.        Eagle moved to dismiss Plaintiffs’ Amended Complaint on July 29, 2024.

                                                   6.        Though Eagle’s second Motion to Dismiss was set for hearing on August 27, 2024,

                                            this Court issued a ruling on Eagle’s Motion on August 20, 2024, again granting the Motion in part

                                            and denying it in part. See Order dated August 20, 2024, attached hereto as Exhibit “B.”

                                                   7.        This Court granted Plaintiff seven (7) days to replead, on or before August 27, 2024.

                                            See Ex. “B.”

                                                   8.        The undersigned counsel for Plaintiff is set to begin a two-week jury trial on August

                                            27, 2024.

                                                   9.        Plaintiff Brandon Smietana is presently in China and Plaintiffs’ counsel is unable

                                            to efficiently communicate with him to procure the additional facts sought by Eagle’s Motion to

                                            Dismiss.

                                                   10.       Given the impending trial and aforesaid lapses in communication, Plaintiffs’

                                            counsel is unable to replead within the seven (7) days ordered by this Court.

                                                   11.       No party will be prejudiced by the entry of an order granting Plaintiffs’ request for

                                            an extension of time, but that the denial of this motion would greatly prejudice Plaintiffs.

                                                   12.       This Motion is brought in good faith and not for the purpose of delay.

                                                   WHEREFORE,            Plaintiffs,   BRANDON         SMIETANA,        SKYCOIN        GLOBAL

                                            FOUNDATION LIMITED, s Singapore Company, and SYMBOLIC ANALYTICS INC., a

                                            Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, pray for the

                                            entry of an Order granting them an additional fourteen (14) days in which to replead, and for

                                            whatever other relief this Honorable Court deems appropriate.



                                                                                               2
                                             Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 205 of 323 PageID #:221




                                                                                     Respectfully submitted,

                                                                                     BRANDON SMIETANA, SKYCOIN
FILED DATE: 8/23/2024 5:23 PM 2024L003661




                                                                                     GLOBAL FOUNDATION LIMITED, a
                                                                                     Singapore Company, and SYMBOLIC
                                                                                     ANALYTICS, INC., a Delaware Corporation

                                                                                     By: /s/James A. Karamanis
                                                                                     One of Plaintiffs’ Attorneys




                                            James A. Karamanis
                                            BARNEY & KARAMANIS, LLP
                                            Two Prudential Plaza
                                            180 N. Stetson, Suite 3050
                                            Chicago, IL 60601
                                            Tel.: (312) 553-5300
                                            Attorney No.: 48525
                                            james@bkchicagolaw.com




                                                                                    3
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 206 of 323 PageID #:222
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                                                                   EXHIBIT A
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 207 of 323 PageID #:223
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                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 208 of 323 PageID #:224
FILED DATE: 8/23/2024 5:23 PM 2024L003661




                                                                   EXHIBIT B
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 209 of 323 PageID #:225
FILED DATE: 8/23/2024 5:23 PM 2024L003661
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 210 of 323 PageID #:226
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                  FILED
                                                                                                                                  8/26/2024 12:00 AM
                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                        IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                                                   COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                                  COOK COUNTY, IL
FILED DATE: 8/26/2024 12:00 AM 2024L003661




                                                                                                                                  2024L003661
                                              BRANDON SMIETANA, SKYCOIN GLOBAL                                                    Calendar, W
                                              FOUNDATION LIMITED, a Singapore                                                     29091819
                                              Company, and SYMBOLIC ANALYTICS INC.,
                                              a Delaware Corporation,

                                                                            Plaintiffs,

                                                     v.                                                   Case No. 2024L003661

                                              BRADFORD STEPHENS, AARON
                                              KUNSTMAN, RYAN EAGLE, JOEL WAYNE
                                              CUTHRIELL, MORGEN PECK, CATHERINE
                                              BYERLY, AMERICAN PUBLISHERS, INC.
                                              d/b/a CONDÉ NAST and d/b/a THE NEW
                                              YORKER MAGAZINE, and UNKNOWN
                                              INDIVIDUALS AND COMPANIES,

                                                                            Defendants.

                                                                                  NOTICE OF MOTION

                                             TO:    See attached Service List

                                                     PLEASE TAKE NOTICE that on the 26th day of August, 2024, at 9:00 a.m., or as soon
                                             thereafter as counsel may be heard, the undersigned will appear via Zoom before the Honorable
                                             Judge Donnelly and will then and there present Plaintiff’s Motion for Extension of Time to
                                             Replead, a copy of which is attached hereto. To join Zoom, use the following: Meeting ID 921-
                                             0771-7798, Password 881878. Telephone: call (312) 626-6799.


                                             NAME:          BARNEY & KARAMANIS, LLP                      ATTY. FOR: Plaintiff
                                             ADDRESS:       180 N. Stetson, Suite 3050                   PHONE:     (312) 553-5300
                                             CITY:          Chicago, IL 60601                            ATTY. NO.: 48525

                                                                              CERTIFICATE OF SERVICE

                                                    I, Michaela Coughlin, an attorney, on oath state that I served the foregoing Notice and
                                             Motion referred to therein on all counsel of record as indicated on the attached service list on or
                                             before 5:00 p.m. on this 25th day of August, 2024.

                                             [X]    Under penalties as provided by law                   Date: 08/25/2024
                                                    pursuant to 735 ILCS 5/1-109, I
                                                    certify that the statements set forth                /s/Michaela Coughlin
                                                    herein are true and correct.
                                              Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 211 of 323 PageID #:227




                                                                              SERVICE LIST

                                             George W. Svoboda
FILED DATE: 8/26/2024 12:00 AM 2024L003661




                                             THE LAW OFFICE OF GEORGE W. SVOBODA
                                             P.O. Box 1299
                                             McHenry, IL 60051
                                             (224) 360-0696
                                             george@georgesvobodalaw.com
                                             Counsel for Defendant Ryan Eagle

                                             Joel Cuthriell
                                             8922 E. 48th Place
                                             Tulsa, OK 74145
                                             (405) 582-0062
                                             joel@cuthriell.com
                                             Pro Se Defendant
Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 212 of 323 PageID #:228
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 213 of 323 PageID #:229
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                     FILED
                                                                                                                                     8/29/2024 2:01 PM
                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                      IRIS Y. MARTINEZ
                                                                        COUNTY DEPARTMENT, LAW DIVISION                              CIRCUIT CLERK
                                                                                                                                     COOK COUNTY, IL
FILED DATE: 8/29/2024 2:01 PM 2024L003661




                                                                                                                                     2024L003661
                                            BRANDON       Smietana,       Skycoin    Global       )                                  Calendar, W
                                            Foundation Limited, a Singapore Company, and          )                                  29163174
                                            Symbolic Analytics Inc., a Delaware Corporation,      )
                                                                                                  )
                                                           Plaintiffs,                            )
                                                                                                  )
                                                                                                                  Case No: 2024L003661
                                                           v.                                     )
                                            Bradford Stephens, Aaron Kunstman, Ryan Eagle, Joel )              Calendar W
                                            Wayne Cuthriell, Morgen Peck, Catherine Byerly, )
                                            American Publishers, Inc. d/b/a Condé Nast, and d/b/a )
                                            The New Yorker Magazine, and Unknown Individuals )
                                            and Companies,                                        )
                                                           Defendant.                             )


                                                                                   NOTICE OF MOTION

                                            To:       SEE ATTACHED SERVICE LIST

                                            PLEASE TAKE NOTICE that on September 17, 2024, at 9:00 a.m., or as soon thereafter as counsel may
                                            be heard, counsel for Defendant, Advance Magazine Publishers Inc. d/b/a The New Yorker shall appear via
                                            Zoom before the Honorable Judge Donnelly, or any judge sitting in his stead in Room 1912 of the Richard
                                            J. Daley Center, and shall then and there present its UNOPPOSED MOTION FOR EXTENSION OF
                                            TIME BY DEFENDANT ADVANCE MAGAZINE PUBLISHERS INC. d/b/a THE NEW YORKER
                                            (INCORRECTLY SUED HEREIN AS “AMERICAN PUBLISHERS, INC. D/B/A CONDÉ NAST
                                            AND d/b/a THE NEW YORKER MAGAZINE”), copies of which are attached hereto and served upon
                                            you. To join via Zoom, use the following: Meeting ID 921-0771-7798, Password 881 878, Telephone (312)
                                            626-6799.

                                            Dated: August 29, 2024
                                                                                               Respectfully submitted,

                                                                                               /s/ Harris Kay
                                                                                               Harris Kay
                                                                                               Davis Wright Tremaine LLP
                                                                                               300 N. La Salle, Suite 2200
                                                                                               Chicago, IL 60654
                                                                                               Tel: 312-820-5460
                                                                                               Firm #100236
                                                                                               ARDC No. 6294732
                                                                                               Cook County. No. 64951
                                                                                               harriskay@dwt.com

                                                                                               Attorneys for Defendant, The New Yorker Magazine



                                            4883-9955-1963v.1 -
                                             Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 214 of 323 PageID #:230




                                                                                   CERTIFICATE OF SERVICE

                                            Harris L. Kay, attorney, certifies that he served the foregoing Notice of Motion by submission of a true and
FILED DATE: 8/29/2024 2:01 PM 2024L003661




                                            correct copy thereof to the court’s electronic filing system, causing the attorneys of record to receive a copy
                                            thereof at their registered e-mail addresses, on this August 29, 2024. I have also caused a true and correct
                                            copy of the same to be delivered by email to:

                                                                  SEE ATTACHED SERVICE LIST


                                                       Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of Civil

                                            Procedure, the undersigned certifies that the statements set forth in this Certificate of Service are true and

                                            correct.


                                                                                                         /s/ Harris L. Kay




                                                                                                  2
                                            4883-9955-1963v.1 -
                                             Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 215 of 323 PageID #:231




                                            BRANDON       Smietana,       Skycoin    Global       )
                                            Foundation Limited, a Singapore Company, and          )
                                            Symbolic Analytics Inc., a Delaware Corporation,      )
FILED DATE: 8/29/2024 2:01 PM 2024L003661




                                                                                                  )
                                                           Plaintiffs,                            )
                                                                                                  )
                                                           v.                                     )        Case No: 2024L003661
                                            Bradford Stephens, Aaron Kunstman, Ryan Eagle, Joel )
                                            Wayne Cuthriell, Morgen Peck, Catherine Byerly, )            Calendar W
                                            American Publishers, Inc. d/b/a Condé Nast, and d/b/a )
                                            The New Yorker Magazine, and Unknown Individuals )
                                            and Companies,                                        )
                                                           Defendant.                             )
                                                                                                  )


                                                                                         SERVICE LIST

                                             Party                Name                                        Attorney

                                             Plaintiffs           Skycoin Global Foundation Limited and James Andreas Karamanis
                                                                  Brandon Smietana                      Barney & Karamanis, LLP
                                                                                                        Two Prudential Plaza
                                                                                                        180 North Stetson, 3050
                                                                                                        Chicago, Illinois 60601
                                                                                                        312-553-5300 (W)
                                                                                                        james@bkchicagolaw.com

                                             Defendant            Ryan Eagle                                  George William Svoboda
                                                                                                              P.O. Box 1299
                                                                                                              McHenry, Illinois 60051
                                                                                                              224-360-0696 (W)
                                                                                                              George@georgesvobodalaw.com

                                             Defendant            Joel Wayne Cuthriell                        Joel Cuthriell
                                                                                                              8922 East 49th Place
                                                                                                              Tulas Oklahoma 74145
                                                                                                              (405) 582-0062
                                                                                                              Joel@cuthriell.com

                                             Defendants           Symbolic Analytics Inc., American Publishers, Unknown
                                                                  Inc. d/b/a Condé Nast and d/b/a The New
                                                                  Yorker Magazine, Catherin Byerly, Joel
                                                                  Wayne Cuthriell and Aaron Kunstman,
                                                                  Morgen Peck Bradford Stephens, Unknown
                                                                  Individuals and Companies




                                                                                               3
                                            4883-9955-1963v.1 -
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 216 of 323 PageID #:232
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                   FILED
                                                                                                                                   9/5/2024 4:28 PM
                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         IRIS Y. MARTINEZ
                                                                                                                                   CIRCUIT CLERK
                                                                   COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                                   COOK COUNTY, IL
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                                                                                                                   2024L003661
                                            Brandon Smietana, Skycoin Global Foundation )                                          Calendar, W
                                            Limited, a Singapore Company, and Symbolic )                                           29247388
                                                Analytics Inc., a Delaware Corporation,   )
                                                                Plaintiffs,               )
                                                                    v.                    )
                                           Bradford Stephens, Aaron Kunstman, Ryan Eagle, )                   Case No: 2024L003661
                                            Joel Wayne Cuthriell, Morgen Peck, Catherine )                         Calendar W
                                            Byerly, American Publishers, Inc. d/b/a Condé )
                                              Nast and d/b/a The New Yorker Magazine,     )
                                              and Unknown Individuals and Companies,      )
                                                              Defendants.                 )
                                                                                          )

                                                   Verified Statement of Out-of-State Attorney Pursuant to Supreme Court Rule 707

                                                  I, Nimra H. Azmi, submit this Verified Statement pursuant to Illinois Supreme Court
                                           Rule 707.

                                           1.      My full name is Nimra Hameed Azmi and my date of birth is August 1, 1990. The
                                           address of offices from which I practice law and related email address and telephone numbers
                                           are as follows:

                                                     Davis Wright Tremaine LLP
                                                     1251 Avenue of the Americas, Floor 21
                                                     New York, NY 10020
                                                     (332) 234-5199
                                                     nimraazmi@dwt.com

                                           2.      I represent Defendant Advance Magazine Publishers Inc. d/b/a The New Yorker
                                           (incorrectly sued herein as “American Publishers, Inc. d/b/a Condé Nast and d/b/a The New
                                           Yorker Magazine”) in Brandon Smietana, et. al. vs. Bradford Stephens, et.al., Case No:
                                           2024L003661.

                                           3(a).     I have not filed any other appearance pursuant to this rule during this calendar year.

                                           3(b).     I have not received a registration number from the ARDC.

                                           4(a). I list each jurisdiction of admission, including any state, territory, or commonwealth of the
                                           United States, the District of Columbia, or in a foreign country, and my full admission name and
                                           license number.
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 217 of 323 PageID #:233




                                                 Date of                   Jurisdiction                        Name             Bar Number
                                                Admission
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                            10/05/2016         New York                                   Nimra H. Azmi           5466693

                                            01/21/2019         U.S. District Court for the Southern       Nimra H. Azmi           5466693
                                                               District of New York

                                            01/12/2022         U.S. District Court for the Eastern        Nimra H. Azmi           5466693
                                                               District of New York

                                            02/05/2024         U.S. District Court for the Western        Nimra H. Azmi           5466693
                                                               District of New York

                                            07/02/2019         District of Columbia                       Nimra H. Azmi           1614977

                                            01/06/2020         U.S. District Court for the District of    Nimra H. Azmi           1614977
                                                               Columbia

                                            10/09/2019         U.S. Court of Appeals for the Fourth       Nimra H. Azmi
                                                               Circuit

                                            01/12/2022         U.S. District Court for the Eastern        Nimra H. Azmi
                                                               District of Michigan


                                           4(b). I attach a letter or certificate of good standing for each of the jurisdictions listed in
                                           paragraph 4(a) above.

                                           5.      I have no office or other presence in Illinois for the practice of law.

                                           6.      I submit to the disciplinary authority of the Supreme Court of Illinois.

                                           7.       I have undertaken to become familiar with and to comply, as if admitted to practice in
                                           Illinois, with the rules of the Supreme Court of Illinois, including the Illinois Rules of Professional
                                           Conduct and the Supreme Court Rules on Admission and Discipline of Attorneys, and other
                                           Illinois law and practices that pertain to the proceeding;

                                           (8)    The full name, business address and ARDC number of the Illinois attorney with whom I
                                           have associated in the matter is:

                                                   Harris L. Kay
                                                   Davis Wright Tremaine, LLP
                                                   300 North LaSalle Street, Suite 2200
                                                   Chicago, Illinois 60654
                                                   ARDC No.: 6294732
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 218 of 323 PageID #:234




                                           9.      I certify that I have served this Statement upon the parties listed below and that these
                                           parties are all entitled to service under this rule.
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                            Plaintiffs          Skycoin Global Foundation Limited and   James Andreas Karmanis
                                                                Brandon Smietana                        180 North Stetson, 3050
                                                                                                        Chicago, Illinois 60601
                                            Defendants          Symbolic Analytics Inc., American       George William Svoboda
                                                                Publishers, Inc. d/b/a Condé Nast and   P.O. Box 1299
                                                                d/b/a The New Yorker Magazine, Catherin McHenry, Illinois 60051
                                                                Byerly, Joel Wayne Cuthriell and Ryan
                                                                Eagle
                                                                Aaron Kunstman, Morgen Peck Bradford           Unknown
                                                                Stephens, Unknown Individuals and
                                                                Companies



                                                                                      Verification

                                           I verify the accuracy and completeness of each of the above statements.

                                                                                                 /s/ Nimra H. Azmi



                                                                                         Date: September 5, 2024
                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 219 of 323 PageID #:235
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                                      On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                                                                      the District of Columbia Bar does hereby certify that



                                                                        Nimra Hameed Azmi
                                                     was duly qualified and admitted on July 2, 2019 as an attorney and counselor entitled to
                                                     practice before this Court; and is, on the date indicated below, an Active member in good
                                                                                         standing of this Bar.




                                                                                                                            In Testimony Whereof,
                                                                                                                        I have hereunto subscribed my
                                                                                                                       name and affixed the seal of this
                                                                                                                              Court at the City of
                                                                                                                    Washington, D.C., on September 05, 2024.




                                                                                                                             JULIO A. CASTILLO
                                                                                                                              Clerk of the Court




                                                                                                       Issued By:


                                                                                                                          David Chu - Director, Membership
                                                                                                                         District of Columbia Bar Membership




                                               For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                                                                   memberservices@dcbar.org.
                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 220 of 323 PageID #:236
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                                        Appellate Division of the Supreme Court
                                                                  of the State of New York
                                                                Second Judicial Department


                                                 I, Darrell M. Joseph, Clerk of the Appellate Division of the
                                           Supreme Court of the State of New York, Second Judicial
                                           Department, do hereby certify that

                                                                         Nimra Azmi
                                           was duly licensed and admitted to practice as an Attorney and
                                           Counselor at Law in all the courts of this State on October 5, 2016,
                                           has duly taken and subscribed the oath of office prescribed by law,
                                           has been enrolled in the Roll of Attorneys and Counselors at Law
                                           on file in this office, is duly registered with the Office of Court
                                           Administration, and         according to the records of this Court is
                                           currently in good standing as an Attorney and Counselor-at-Law.



                                                                          In Witness Whereof, I have hereunto set
                                                                          my hand in the City of Brooklyn on
                                                                          September 5, 2024.




                                                                                 Clerk of the Court


                                           CertID-00189823
                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 221 of 323 PageID #:237

                                                                             Appellate Division
                                                                    Supreme Court of the State of New York
                                                                         Second Judicial Department
                                                                              45 Monroe Place
                                                                           Brooklyn, N.Y. 11201
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                                                                   (718) 875-1300
                                            HECTOR D. LASALLE                                                       KENNETH BAND
                                              PRESIDING JUSTICE                                                        DEPUTY CLERKS

                                                                                                                  MELISSA KRAKOWSKI
                                            DARRELL M. JOSEPH
                                             CLERK OF THE COURT                                                      WENDY STYNES
                                                                                                                    LAUREN G. DOME
                                                                                                                   BRIAN E. KENNEDY
                                                                                                                       January 7, 2005
                                                                                                                  ASSOCIATE DEPUTY CLERKS



                                           To Whom It May Concern


                                                 An attorney admitted to practice by this Court may request a certificate of
                                           good standing, which is the only official document this Court issues certifying to an
                                           attorney's admission and good standing.


                                                  An attorney's registration status, date of admission and disciplinary history
                                           may be viewed through the attorney search feature on the website of the Unified
                                           Court System.


                                                   New York State does not register attorneys as active or inactive.


                                                 An attorney may request a disciplinary history letter from the Attorney
                                           Grievance Committee of the Second Judicial Department.


                                                 Bar examination history is available from the New York State Board of Law
                                           Examiners.


                                                   Instructions, forms and links are available on this Court's website.




                                                                                             Darrell M. Joseph
                                                                                             Clerk of the Court




                                           Revised March 2024
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 222 of 323 PageID #:238
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                          FILED
                                                                                                                          9/5/2024 4:28 PM
                                                                                                                          IRIS Y. MARTINEZ
                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS            CIRCUIT CLERK
                                                                                                                          COOK COUNTY, IL
                                                                       COUNTY DEPARTMENT, LAW DIVISION
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                                                                                                          2024L003661
                                                                                                                          Calendar, W
                                           BRANDON Smietana, Skycoin Global                    )                          29247388
                                           Foundation Limited, a Singapore Company,            )
                                           and Symbolic Analytics Inc., a Delaware             )
                                           Corporation,                                        )
                                                                                               )
                                                          Plaintiffs,                          )
                                                                                               )      Case No: 2024L003661
                                                          v.                                   )
                                           Bradford Stephens, Aaron Kunstman, Ryan Eagle, )           Calendar W
                                           Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                           Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                           and d/b/a The New Yorker Magazine, and Unknown )
                                           Individuals and Companies,                          )
                                                          Defendant.                           )


                                                                               NOTICE OF FILING

                                           To:       SEE ATTACHED SERVICE LIST

                                                   PLEASE TAKE NOTICE that on September 5, 2024, we filed with the Clerk of the Circuit
                                           Court of Cook County, Law Division, Nimra H. Azmi’s VERIFIED STATEMENT OF OUT-
                                           OF-STATE ATTORNEY PURSUANT TO SUPREME COURT RULE 707, copies of which
                                           are attached hereto and served upon you.

                                           Dated: September 5, 2024
                                                                                       Respectfully submitted,

                                                                                       /s/ Harris Kay
                                                                                       Harris Kay
                                                                                       Davis Wright Tremaine LLP
                                                                                       300 N. La Salle, Suite 2200
                                                                                       Chicago, IL 60654
                                                                                       Tel: 312-820-5460
                                                                                       Firm #100236
                                                                                       ARDC No. 6294732
                                                                                       Cook County. No. 64951
                                                                                       harriskay@dwt.com

                                                                                       Attorneys for Defendant, The New Yorker Magazine




                                           4883-9955-1963v.1 -
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 223 of 323 PageID #:239




                                                                                 CERTIFICATE OF SERVICE

                                                      I, Harris L. Kay, an attorney, hereby certify that this NOTICE OF FILING, and Nimra H.
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                           Azmi’s VERIFIED STATEMENT OF OUT-OF-STATE ATTORNEY PURSUANT TO
                                           SUPREME COURT RULE 707, was served on September 5, 2024, by electronic mail to the following
                                           parties:

                                                                 SEE ATTACHED SERVICE LIST

                                                      Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the

                                           undersigned certifies that the statements set forth in this instrument are true and correct, except as to matters

                                           therein stated to be on information and belief and as to such matters the undersigned certifies as aforesaid

                                           that he verily believes the same to be true.

                                                                                                         /s/ Harris L. Kay




                                                                                                  2
                                           4883-9955-1963v.1 -
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 224 of 323 PageID #:240




                                           BRANDON Smietana, Skycoin Global                    )
                                           Foundation Limited, a Singapore Company,            )
                                           and Symbolic Analytics Inc., a Delaware             )
FILED DATE: 9/5/2024 4:28 PM 2024L003661




                                           Corporation,                                        )
                                                                                               )
                                                          Plaintiffs,                          )
                                                                                               )    Case No: 2024L003661
                                                          v.                                   )
                                           Bradford Stephens, Aaron Kunstman, Ryan Eagle, )         Calendar W
                                           Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                           Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                           and d/b/a The New Yorker Magazine, and Unknown )
                                           Individuals and Companies,                          )
                                                          Defendant.                           )


                                                                                   SERVICE LIST

                                            Party                Name                                 Attorney

                                            Plaintiffs           Skycoin Global Foundation Limited and James Andreas Karamanis
                                                                 Brandon Smietana                      Barney & Karamanis, LLP
                                                                                                       Two Prudential Plaza
                                                                                                       180 North Stetson, 3050
                                                                                                       Chicago, Illinois 60601
                                                                                                       312-553-5300 (W)
                                                                                                       james@bkchicagolaw.com
                                            Defendant            Ryan Eagle                           George William Svoboda
                                                                                                      P.O. Box 1299
                                                                                                      McHenry, Illinois 60051
                                                                                                      224-360-0696 (W)
                                                                                                      George@georgesvobodalaw.com

                                            Defendant            Joel Wayne Cuthriell                 Joel Cuthriell
                                                                                                      8922 East 49th Place
                                                                                                      Tulas Oklahoma 74145
                                                                                                      (405) 582-0062
                                                                                                      Joel@cuthriell.com

                                            Defendants           Symbolic Analytics Inc., American Unknown
                                                                 Publishers, Inc. d/b/a Condé Nast and
                                                                 d/b/a The New Yorker Magazine,
                                                                 Catherin Byerly, Joel Wayne Cuthriell
                                                                 and Aaron Kunstman, Morgen Peck
                                                                 Bradford       Stephens,     Unknown
                                                                 Individuals and Companies


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                                           4883-9955-1963v.1 -
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 225 of 323 PageID #:241
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                FILED
                                                                                                                                9/5/2024 4:10 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                       IRIS Y. MARTINEZ
                                                                                                                                CIRCUIT CLERK
                                                                  COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                                COOK COUNTY, IL
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                                                                                                                2024L003661
                                            Brandon Smietana, Skycoin Global Foundation )                                       Calendar, W
                                            Limited, a Singapore Company, and Symbolic )                                        29246829
                                                Analytics Inc., a Delaware Corporation,   )
                                                                Plaintiffs,               )
                                                                    v.                    )
                                           Bradford Stephens, Aaron Kunstman, Ryan Eagle, )                Case No: 2024L003661
                                            Joel Wayne Cuthriell, Morgen Peck, Catherine )                      Calendar W
                                            Byerly, American Publishers, Inc. d/b/a Condé )
                                              Nast and d/b/a The New Yorker Magazine,     )
                                              and Unknown Individuals and Companies,      )
                                                              Defendants.                 )
                                                                                          )

                                                  Verified Statement of Out-of-State Attorney Pursuant to Supreme Court Rule 707

                                                    I, Kate Bolger, submit this Verified Statement pursuant to Illinois Supreme Court Rule
                                           707.

                                           1.      My full name is Katherine M. Bolger and my date of birth is January 24, 1972. The
                                           address of offices from which I practice law and related email address and telephone numbers
                                           are as follows:

                                                    Davis Wright Tremaine LLP
                                                    1251 Avenue of the Americas, Floor 21
                                                    New York, NY 10020
                                                    (212) 402-4068
                                                    katebolger@dwt.com

                                           2.      I represent Defendant Advance Magazine Publishers Inc. d/b/a The New Yorker
                                           (incorrectly sued herein as “American Publishers, Inc. d/b/a Condé Nast and d/b/a The New
                                           Yorker Magazine”) in Brandon Smietana, et. al. vs. Bradford Stephens, et.al.,
                                           Case No: 2024L003661.

                                           3(a). I have not filed any other appearance pursuant to this rule during this calendar year.
                                            I have not received a registration number from the ARDC.

                                           4(a). I list each jurisdiction of admission, including any state, territory, or commonwealth of the
                                           United States, the District of Columbia, or in a foreign country, and my full admission name and
                                           license number.
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 226 of 323 PageID #:242




                                               Date of                  Jurisdiction                        Name                Bar Number
                                             Admission
                                            1999              New York                             Katherine M. Bolger        2976868
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                            2024              U.S. District Court for the          Katherine M. Bolger
                                                              Western District of New York
                                            2017              U.S. District Court for the          Katherine M. Bolger
                                                              Northern District of Illinois
                                            2015              U.S. Tax Court                       Katherine M. Bolger
                                            2015              U.S. Court of Appeals for the        Katherine M. Bolger
                                                              Eighth Circuit
                                            2014              U.S. Court of Appeals for the        Katherine M. Bolger
                                                              Fourth Circuit
                                            2014              U.S. Court of Appeals for the        Katherine M. Bolger
                                                              Ninth Circuit
                                            2007              U.S. Court of Appeals for the        Katherine M. Bolger
                                                              Seventh Circuit
                                            2005              U.S. Court of Appeals for the        Katherine M. Bolger
                                                              Fifth Circuit
                                            2004              U.S. Court of Appeals for the        Katherine M. Bolger
                                                              Eleventh Circuit
                                            2004              U.S. Supreme Court                   Katherine M. Bolger
                                            2002              U.S. Court of Appeals for the 2nd    Katherine M. Bolger
                                                              Circuit
                                            1999              U.S. Court of Appeals for the 3rd    Katherine M. Bolger
                                                              Circuit
                                            1999              U.S. District Court for the          Katherine M. Bolger
                                                              Eastern District of New York
                                            1999              U.S. District Court for the          Katherine M. Bolger
                                                              Southern District of New York

                                           4(b). I attach a letter or certificate of good standing for each of the jurisdictions listed in
                                           paragraph 4(a) above.

                                           5.      I have no office or other presence in Illinois for the practice of law.

                                           6.      I submit to the disciplinary authority of the Supreme Court of Illinois;

                                           7.       I have undertaken to become familiar with and to comply, as if admitted to practice in
                                           Illinois, with the rules of the Supreme Court of Illinois, including the Illinois Rules of Professional
                                           Conduct and the Supreme Court Rules on Admission and Discipline of Attorneys, and other
                                           Illinois law and practices that pertain to the proceeding;

                                           (8)    The full name, business address and ARDC number of the Illinois attorney with whom I
                                           have associated in the matter is:

                                                   Harris L. Kay
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 227 of 323 PageID #:243




                                                  Davis Wright Tremaine, LLP
                                                  300 North LaSalle Street, Suite 2200
                                                  Chicago, Illinois 60654
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                                  ARDC No.: 6294732

                                           9.      I certify that I have served this Statement upon the parties listed below and that these
                                           parties are all entitled to service under this rule.

                                            Plaintiffs          Skycoin Global Foundation Limited and          James Andreas Karmanis
                                                                Brandon Smietana                               180 North Stetson, 3050
                                                                                                               Chicago, Illinois 60601

                                            Defendants          Symbolic Analytics Inc., American       George William Svoboda
                                                                Publishers, Inc. d/b/a Condé Nast and   P.O. Box 1299
                                                                d/b/a The New Yorker Magazine, Catherin McHenry, Illinois 60051
                                                                Byerly, Joel Wayne Cuthriell and Ryan
                                                                Eagle

                                                                Aaron Kunstman, Morgen Peck Bradford           Unknown
                                                                Stephens, Unknown Individuals and
                                                                Companies



                                                                                      Verification

                                           I verify the accuracy and completeness of each of the above statements.

                                                                                                 /s/ Kate M. Bolger



                                                                                         Date: September 5, 2024
                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 228 of 323 PageID #:244
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                                        Appellate Division of the Supreme Court
                                                                  of the State of New York
                                                                 First Judicial Department


                                                 I, Susanna M. Rojas, Clerk of the Appellate Division of the
                                           Supreme Court of the State of New York, First Judicial
                                           Department, do hereby certify that

                                                                 Katherine Mary Bolger
                                           was duly licensed and admitted to practice as an Attorney and
                                           Counselor at Law in all the courts of this State on May 24, 1999,
                                           has duly taken and subscribed the oath of office prescribed by law,
                                           has been enrolled in the Roll of Attorneys and Counselors at Law
                                           on file in this office, is duly registered with the Office of Court
                                           Administration, and         according to the records of this Court is
                                           currently in good standing as an Attorney and Counselor-at-Law.



                                                                          In Witness Whereof, I have hereunto set
                                                                          my hand in the City of New York on
                                                                          August 12, 2024.




                                                                                       Clerk of the Court




                                           CertID-00187014
                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 229 of 323 PageID #:245


                                                             Supreme Court of the State of New York
                                                              Appellate Division, First Department
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                             DIANNE T. RENWICK                                                                 MARGARET SOWAH
                                                PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT


                                           SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
                                                CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


                                           To Whom It May Concern


                                                  An attorney admitted to practice by this Court may request a certificate of good
                                           standing, which is the only official document this Court issues certifying to an
                                           attorney's admission and good standing.


                                                  An attorney's registration status, date of admission and disciplinary history may
                                           be viewed through the attorney search feature on the website of the Unified Court
                                           System.


                                                  New York State does not register attorneys as active or inactive.


                                                 An attorney may request a disciplinary history letter from the Attorney
                                           Grievance Committee of the First Judicial Department.


                                                Bar examination history is available from the New York State Board of Law
                                           Examiners.


                                                  Instructions, forms and links are available on this Court's website.




                                                                                                   Susanna Rojas
                                                                                                   Clerk of the Court




                                           Revised October 2020


                                                                     27 MADISON AVENUE   NEW YORK, NEW YORK 10010-2201
                                                               TEL.: (212) 340 0400   INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 230 of 323 PageID #:246
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                          FILED
                                                                                                                          9/5/2024 4:10 PM
                                                                                                                          IRIS Y. MARTINEZ
                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS            CIRCUIT CLERK
                                                                                                                          COOK COUNTY, IL
                                                                       COUNTY DEPARTMENT, LAW DIVISION
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                                                                                                          2024L003661
                                                                                                                          Calendar, W
                                           BRANDON Smietana, Skycoin Global                    )                          29246829
                                           Foundation Limited, a Singapore Company,            )
                                           and Symbolic Analytics Inc., a Delaware             )
                                           Corporation,                                        )
                                                                                               )
                                                          Plaintiffs,                          )
                                                                                               )      Case No: 2024L003661
                                                          v.                                   )
                                           Bradford Stephens, Aaron Kunstman, Ryan Eagle, )           Calendar W
                                           Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                           Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                           and d/b/a The New Yorker Magazine, and Unknown )
                                           Individuals and Companies,                          )
                                                          Defendant.                           )


                                                                               NOTICE OF FILING

                                           To:       SEE ATTACHED SERVICE LIST

                                                  PLEASE TAKE NOTICE that on September 5, 2024, we filed with the Clerk of the Circuit
                                           Court of Cook County, Law Division, Kate Bolger’s VERIFIED STATEMENT OF OUT-OF-
                                           STATE ATTORNEY PURSUANT TO SUPREME COURT RULE 707, copies of which are
                                           attached hereto and served upon you.

                                           Dated: September 5, 2024
                                                                                       Respectfully submitted,

                                                                                       /s/ Harris Kay
                                                                                       Harris Kay
                                                                                       Davis Wright Tremaine LLP
                                                                                       300 N. La Salle, Suite 2200
                                                                                       Chicago, IL 60654
                                                                                       Tel: 312-820-5460
                                                                                       Firm #100236
                                                                                       ARDC No. 6294732
                                                                                       Cook County. No. 64951
                                                                                       harriskay@dwt.com

                                                                                       Attorneys for Defendant, The New Yorker Magazine




                                           4883-9955-1963v.1 -
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 231 of 323 PageID #:247




                                                                                 CERTIFICATE OF SERVICE

                                                     I, Harris L. Kay, an attorney, hereby certify that this NOTICE OF FILING, and Kate Bolger’s
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                           VERIFIED STATEMENT OF OUT-OF-STATE ATTORNEY PURSUANT TO SUPREME
                                           COURT RULE 707, was served on September 5, 2024, by electronic mail to the following parties:

                                                                 SEE ATTACHED SERVICE LIST

                                                     Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the

                                           undersigned certifies that the statements set forth in this instrument are true and correct, except as to matters

                                           therein stated to be on information and belief and as to such matters the undersigned certifies as aforesaid

                                           that he verily believes the same to be true.

                                                                                                         /s/ Harris L. Kay




                                                                                                  2
                                           4883-9955-1963v.1 -
                                            Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 232 of 323 PageID #:248




                                           BRANDON Smietana, Skycoin Global                    )
                                           Foundation Limited, a Singapore Company,            )
                                           and Symbolic Analytics Inc., a Delaware             )
FILED DATE: 9/5/2024 4:10 PM 2024L003661




                                           Corporation,                                        )
                                                                                               )
                                                          Plaintiffs,                          )
                                                                                               )    Case No: 2024L003661
                                                          v.                                   )
                                           Bradford Stephens, Aaron Kunstman, Ryan Eagle, )         Calendar W
                                           Joel Wayne Cuthriell, Morgen Peck, Catherine )
                                           Byerly, American Publishers, Inc. d/b/a Condé Nast, )
                                           and d/b/a The New Yorker Magazine, and Unknown )
                                           Individuals and Companies,                          )
                                                          Defendant.                           )


                                                                                   SERVICE LIST

                                            Party                Name                                 Attorney

                                            Plaintiffs           Skycoin Global Foundation Limited and James Andreas Karamanis
                                                                 Brandon Smietana                      Barney & Karamanis, LLP
                                                                                                       Two Prudential Plaza
                                                                                                       180 North Stetson, 3050
                                                                                                       Chicago, Illinois 60601
                                                                                                       312-553-5300 (W)
                                                                                                       james@bkchicagolaw.com
                                            Defendant            Ryan Eagle                           George William Svoboda
                                                                                                      P.O. Box 1299
                                                                                                      McHenry, Illinois 60051
                                                                                                      224-360-0696 (W)
                                                                                                      George@georgesvobodalaw.com

                                            Defendant            Joel Wayne Cuthriell                 Joel Cuthriell
                                                                                                      8922 East 49th Place
                                                                                                      Tulas Oklahoma 74145
                                                                                                      (405) 582-0062
                                                                                                      Joel@cuthriell.com

                                            Defendants           Symbolic Analytics Inc., American Unknown
                                                                 Publishers, Inc. d/b/a Condé Nast and
                                                                 d/b/a The New Yorker Magazine,
                                                                 Catherin Byerly, Joel Wayne Cuthriell
                                                                 and Aaron Kunstman, Morgen Peck
                                                                 Bradford       Stephens,     Unknown
                                                                 Individuals and Companies


                                                                                          3
                                           4883-9955-1963v.1 -
                       Case:scheduled
      Hearing Date: No hearing 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 233 of 323 PageID #:249
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                              FILED
                                                                                                                              9/9/2024 8:52 PM
                                                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                       IRIS Y. MARTINEZ
                                                                                                                              CIRCUIT CLERK
                                                                COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                              COOK COUNTY, IL
FILED DATE: 9/9/2024 8:52 PM 2024L003661




                                                                                                                              2024L003661
                                            BRANDON SMIETANA, SKYCOIN GLOBAL                                                  Calendar, W
                                            FOUNDATION LIMITED, a Singapore                                                   29291047
                                            Company, and SYMBOLIC ANALYTICS INC.,
                                            a Delaware Corporation,

                                                                         Plaintiffs,

                                                   v.                                                  Case No. 2024L003661

                                            BRADFORD STEPHENS, AARON
                                            KUNSTMAN, JOEL WAYNE CUTHRIELL,
                                            MORGEN PECK, CATHERINE BYERLY,
                                            ADVANCE MAGAZINE PUBLISHERS, INC.,
                                            d/b/a THE NEW YORKER, and UNKNOWN
                                            INDIVIDUALS AND COMPANIES,

                                                                         Defendants.

                                                                  SECOND AMENDED COMPLAINT AT LAW

                                                  NOW COME the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, and for their

                                           Second Amended Complaint at Law against Defendants, BRADFORD STEPHENS, AARON

                                           KUNSTMAN, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE BYERLY,

                                           ADVANCE MAGAZINE PUBLISHERS, INC., d/b/a THE NEW YORKER, and UNKNOWN

                                           INDIVIDUAL(S) AND COMPANIES, state as follows:

                                                                                       PARTIES

                                                  1.     SKYCOIN GLOBAL FOUNDATION LIMITED, a Singapore Company (hereafter

                                           “Skycoin”) is a consortium of related entities involved in the development of software, hardware,

                                           design, manufacturing, and services operating under the consumer brand name “Skycoin,” which

                                           includes Skycoin Global Foundation, Symbolic Analytics Inc., Shellpay China, and other entities

                                                                                          1
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                                           that are responsible for regional operations or management of specific assets of Skycoin’s global

                                           operations.
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                                                  2.      Skycoin created 100 million Skycoin Tokens during its launch in 2013, which were

                                           distributed and traded on various exchanges by 2017.

                                                  3.      The peak market capitalization of all existing Skycoin Tokens reached $5 billion

                                           USD in January 2018.

                                                  4.      Skycoin is a private company organized under the laws of Singapore, its principal

                                           place of business located at 2 Venture Drive, #11-31, Vision Exchange, Singapore.

                                                  5.      Plaintiff SYMBOLIC ANALYTICS, INC. (“SA”) is a private company organized

                                           under the laws of Delaware, United States.

                                                  6.      Plaintiff, BRANDON SMIETANA (“Smietana”) is an individual citizen of the

                                           United States and is the Chief Software Architect and authorized representative of Skycoin and

                                           SA.

                                                  7.      Defendant BRADFORD STEPHENS (“Stephens”) is an individual citizen of the

                                           State of New York, United States.

                                                  8.      On information and belief, Defendant JOEL WAYNE CUTHRIELL (“Cuthriell”)

                                           is an individual citizen of the State of Oklahoma, United States.

                                                  9.      Defendant AARON KUNSTMAN (“Kunstman”) is an individual citizen of the

                                           State of Wisconsin, United States.

                                                  10.     “Sudo” is a network of similarly named Telegram accounts, operated by a minimum

                                           of four persons. At least one of these persons is known to be Kunstman. Stephens is widely

                                           believed to also be one of the account operators. The other two or more operators are currently

                                           unknown.



                                                                                            2
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                                                    11.     Defendant CATHERINE BYERLY (“Byerly”) is an individual citizen of the State

                                           of Florida, United States.
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                                                    12.     Byerly was employed by a marketing company called 22 Acacia Consulting,

                                           located in Chicago, Illinois.

                                                    13.     Byerly was hired by Stephens through her employment at 22 Acacia Consulting to

                                           perform marketing services for Skycoin.

                                                    14.     Defendant MORGEN PECK (“Peck”) is a privately paid journalist and individual

                                           citizen of the State of New York, United States.

                                                    15.     Defendant ADVANCE MAGAZINE PUBLISHERS, INC., d/b/a THE NEW

                                           YORKER (“Advance”) is a global mass media company in the business of producing world

                                           leading print, digital, video, and social media brands organized under the laws of the State of New

                                           York.

                                                    16.     Advance is the owner, operator, and publisher of The New Yorker Magazine (“The

                                           New Yorker”), a prominent American weekly magazine.

                                                    17.     On August 28, 2021, Peck authored an article published in The New Yorker titled

                                           Pumpers, Dumpers, and Shills: The Skycoin Saga (the “New Yorker Article”).1 A copy of the New

                                           Yorker Article is attached hereto as Exhibit A.

                                                    18.     Stephens, recognizing the success of Skycoin, devised a plan and scheme to

                                           defraud, extort, and steal money and assets from Skycoin in concert with some or all of the other

                                           named party Defendants.




                                           1
                                             The article can be found at: https://www.newyorker.com/tech/annals-of-technology/pumpers-dumpers-and-shills-
                                           the-skycoin-saga

                                                                                                  3
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                                                                       FACTS COMMON TO ALL COUNTS

                                                  19.     On or about January 8, 2018, Plaintiffs entered into discussions with Stephens to
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                                           develop, launch, and manage a comprehensive marketing and brand awareness program for

                                           Skycoin, including but not limited to revamping Skycoin’s website, performing search engine

                                           optimization (“SEO”) services, and generating positive publicity for Skycoin (hereafter referred

                                           to as the “Marketing Program”).

                                                  20.     On or about January 8, 2018, Stephens represented himself to be the owner of

                                           Smolder LLC, a marketing startup company, to which the payments would be made for the

                                           Marketing Program.

                                                  21.     Stephens claimed that his business partners were Ryan Eagle (“Eagle”), Adam

                                           Young (“Young”), and Harrison Gevirtz (“Gevirtz”) (Stephens, Eagle, Young, and Gevirtz will

                                           collectively be referred to hereinafter as the “Smolder Partners”).

                                                  22.     Stephens represented to Plaintiffs that he, along with the other Smolder Partners,

                                           would be providing the marketing services contemplated by the Marketing Program.

                                                  23.     Stephens represented to Plaintiffs that Eagle and Young were the individuals who

                                           would receive Plaintiffs’ payments and that they were responsible for handling the money.

                                                  24.     Stephens represented to Plaintiffs that the Smolder Partners were “inseparable” and

                                           that all business activities they conducted were done jointly and that payment for said activities

                                           was to be shared or split between them.

                                                  25.     Unbeknownst to Plaintiffs, Stephens and Eagle were prohibited from engaging in

                                           activities such as the Marketing Program pursuant to an order from the Federal Trade Commission

                                           dated February 19, 2014 (“the FTC Order”). See Federal Trade Commission v. CPA Tank, Inc.,

                                           Vito Glazers, Eagle Web Assets, Inc., and Ryan Eagle, Case No. 14-cv-1239.



                                                                                            4
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                                                  26.     At all times relevant herein, Stephens was aware that pursuant to the FTC Order,

                                           he could not accept payments for marketing activities.
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                                                  27.     Stephens never informed Plaintiffs of the existence of the FTC Order and further

                                           violated it by offering to provide marketing services to Plaintiffs.

                                                  28.     If Plaintiffs had known about the FTC Order and/or if Stephens had not lied about

                                           and concealed the FTC Order, Plaintiffs would not have entered into the Marketing Program with

                                           Stephens and the Smolder Partners.

                                                  29.     Plaintiffs reached an oral agreement with Stephens to implement the Marketing

                                           Program, and as part and parcel of that agreement, paid the Smolder Partners $107,948.00

                                           ($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form of 1,100 Skycoin Tokens)

                                           (the “Initial Payment”). The Initial Payment included an expense budget for an upcoming industry

                                           conference in Las Vegas, Nevada. Plaintiffs and Stephens explicitly agreed that as part of their

                                           agreement, any expense in excess of $1,000.00 would require prior approval from Skycoin.

                                                  30.     In addition to the Initial Payment, Plaintiffs paid the Smolder Partners

                                           approximately $800,000.00 in Skycoin Tokens for an internet advertising campaign.

                                                  31.     Shortly after receiving the Initial Payment, Stephens submitted two additional

                                           invoices for certain work allegedly performed by Byerly totaling approximately $14,752.44.

                                                  32.     On or about January 12, 2018, Stephens and Byerly notified Plaintiffs of a potential

                                           crisis that could critically impact Skycoin’s business, marketing, and internet presence. As

                                           represented by Stephens and Byerly, an unknown third party was targeting Skycoin by linking

                                           pornographic blogs and other harmful spam content to Skycoin’s website. Such content would

                                           function to decrease Skycoin’s website’s ranking precipitously in search engines and irrevocably

                                           damage Skycoin’s image, reputation, and internet presence.



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                                                  33.      In order to combat the internet attack by said third party, Stephens represented to

                                           Plaintiffs that an additional payment of $38,000.00 would be required.
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                                                  34.      On or about January 14, 2018, and January 19, 2018, Skycoin paid the Smolder

                                           Partners the requested $38,000.00.

                                                  35.      The attack on Skycoin’s website damaged Skycoin’s SEO ranking and significantly

                                           reduced internet traffic to Skycoin’s website.

                                                  36.      In January of 2018, Skycoin made the following payments to the Smolder Partners

                                           in connection with the Marketing Program:

                                                        a. January 11, 2018: 20,000 Skycoin Tokens ($842,400.00) for the Marketing
                                                           Program budget;

                                                        b. January 13, 2018: One (1) Bitcoin ($14,314.00) for a conference in Miami, Florida;

                                                        c. January 16, 2018: 3,899 Skycoin Tokens ($121,337.00) for the Marketing Program
                                                           budget;

                                                        d. January 18, 2018: Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens
                                                           ($80,929.00) for Marketing Program labor costs; and

                                                        e. January 19, 2018: Four (4) Bitcoins (56,457.00) and a separate payment of 1.30
                                                           Bitcoin for the Marketing Program and to combat the aforementioned attacks on
                                                           Skycoin’s website. These services were never performed.

                                                  37.      In late January to early February 2018, Stephens demanded that Skycoin pay the

                                           Smolder Partners $100,000.00 per month to ward off the supposed third-party attacks on Skycoin’s

                                           website. Stephens later increased his monthly demand to $300,000.00 in order to quell the attacks.

                                                  38.      In early February of 2018, Plaintiffs discovered that in actuality, there was no third

                                           party attacking Skycoin’s website. Rather, the attack was instigated by Stephens and the Smolder

                                           Partners as a fraudulent means to extract additional funds from Skycoin. The invoices submitted

                                           by Stephens to combat the alleged “attacks” were fabricated.




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                                                  39.     In early February of 2018, SA received deficient invoices that were highly

                                           suggestive of fraud. Upon determining that there may be fraud in the Smolder Partners’ invoices,
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                                           Plaintiffs discontinued all additional payments.

                                                                            DEFENDANTS’ EXTORTION

                                                  40.     Upon Skycoin’s refusal to pay Stephens the monthly payments requested in or

                                           around February 2018, Smietana and Stephens met in Shanghai, China, with Eagle joining the

                                           meeting via Zoom.

                                                  41.     During this meeting, Stephens threatened to have Skycoin delisted from all

                                           exchanges including, for example, Bittrex and Binance, unless Smietana agreed to pay him

                                           $30,000,000.00 in Bitcoin and $1,000,000.00 in US Dollars.

                                                  42.     Stephens’ threats included statements that failure to comply would result in

                                           Skycoin’s destruction and the price of Skycoin being driven to zero.

                                                  43.     Stephens also threatened that if Plaintiffs refused to pay, he would block Skycoin

                                           from being listed on Bitfinex, another prominent online cryptocurrency exchange, and would

                                           interfere with Plaintiffs’ contracts so as to ensure that “no one would work with” Plaintiffs.

                                                  44.     Stephens attempted to blackmail Plaintiffs into making Stephens the COO of

                                           Skycoin and put him in control of the management of the company. Stephens also attempted to

                                           blackmail Plaintiffs into giving Gevirtz control of all Skycoin’s bank accounts.

                                                  45.     Smietana, in fear of Stephens’ threats, capitulated to their demand and initiated the

                                           first of three (3) extortion payments on or about February 9, 2018, in the amount of $127,000.00

                                           (the “Extortion Payments”).




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                                                      46.     On or about February 22, 2018, the Marketing Program engagement between

                                           Plaintiffs and the Smolder Partners ended due to pressure from Skycoin's advisory board because
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                                           of the discovery of the fraudulent invoicing and business practices.

                                                      47.     Plaintiffs requested a refund of the unspent prepayments made for the Marketing

                                           Program, however, the Smolder Partners refused to return any of said money.

                                                      48.     In and around the time Stephens demanded the Extortion Payments from Smietana,

                                           he and the Smolder Partners also attempted to hostilely seize control of Skycoin. Specifically,

                                           Stephens threatened to orchestrate the publication of a series of negative and damaging articles

                                           through various print and online media sources unless Smietana made Stephens COO of Skycoin.

                                                      49.     The Sudo account run by Stephens and/or Kunstman openly admitted their

                                           involvement in maintaining the Sudo account and that they were “trying to extort [S]ynth…for

                                           $1,000,000.00,” through threatening to have published a series of articles and lies about Smietana

                                           and Skycoin and that they had a team of twelve (12) individuals who would be splitting the money

                                           (See Exhibit B).2

                                                      50.     In furtherance of this conspiracy and plan to take over Skycoin, Stephens paid

                                           journalist Tristian Greene (“Greene”) to write and publish the article on The Next Web entitled

                                           Skycoin: Anatomy of a cryptocurrency scam, February 15, 2018 - 10:47 pm UTC under an

                                           anonymous name.3

                                                      51.     The negative article caused severe damage to the price of Skycoin Tokens and to

                                           Skycoin’s reputation. Stephens openly admitted that he was responsible for paying Greene to

                                           publish the article but went to Skycoin’s investors and claimed that Smietana had ordered him to

                                           have a negative article published to intentionally destroy the price of Skycoin Token.


                                           2
                                               “Synth” is Smietana’s online persona.
                                           3
                                               The article can be found at: https://thenextweb.com/news/anatomy-of-a-cryptocurrency-scam-in-the-wild

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                                                    52.     Stephens attempted to organize a management and investor revolt in order to

                                           transfer control of the company to himself under the pretense that the unlawful actions Stephens
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                                           himself had performed were in fact performed by Smietana.

                                                    53.     Greene later cited that same article in another negative Skycoin article on The Next

                                           Web, in an article titled Exclusive: We suspected this shady cryptocurrency project was a scam.

                                           Now we’re sure of it. Published March 8, 2018, 3:22 am UTC.4

                                                    54.     A key part of Skycoin’s business plan was to be listed on the Bittrex Exchange. The

                                           Bittrex Exchange is a world-wide trading platform that facilitates real-time order execution of

                                           crypto currencies, such as Skycoin.

                                                    55.     Skycoin devoted significant resources to obtain a Bittrex listing, which had been

                                           negotiated through a third party.

                                                    56.     Knowing that Skycoin was about to obtain a Bittrex listing, on or about February

                                           25, 2018, Stephens threatened Smietana that unless Smietana paid him, he would approach Bittrex

                                           and purposely interfere with Skycoin’s third-party relationships to prevent Skycoin from being

                                           listed on Bittrex.

                                                    57.     Smietana refused to pay the money demanded by Stephens, and in turn he did, in

                                           fact, provide untrue information to Bittrex and which ultimately led to the spread of false rumors

                                           regarding Skycoin and Skycoin ultimately not being listed on the Bittrex Exchange.

                                                    58.     Between February 26, 2018 and March 9, 2018, Stephens and Byerly stole access

                                           to Skycoin’s media accounts, including but not limited to, Skycoin’s Shopify store, Twitter

                                           account, LinkedIn account, Slack channel account, and accounts associate with the operation of




                                           4
                                            The article can be found at: https://thenextweb.com/news/exclusive-we-suspected-this-shady-cryptocurrency-
                                           project-was-a-scam-now-were-sure-of-it

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                                           Skycoin’s website. These media accounts were an integral and necessary component of Skycoin’s

                                           business.
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                                                  59.     On or about October 18, 2018, Stephens demanded over $150,000.00 for return of

                                           Skycoin’s stolen computer-based assets and media accounts.

                                                  60.     On or about May 24, 2018, Binace announced that it would list Skycoin on its

                                           exchange. Binance holds itself out as the “world’s largest crypto exchange” and is a trading

                                           platform where customers can buy and sell cryptocurrencies. It is highly desirable for

                                           cryptocurrencies to be listed on the Binance exchange.

                                                  61.     After Smietana refused to pay the Extortion Payments demanded by Stephens,

                                           Stephens conspired with Yan Xiandong, Li Min, Sam Sing Fond and Sun Fei (collectively the

                                           “Assailants”) in a plot to kidnap Smietana and his girlfriend and steal $30,000,000.00 that Stephens

                                           claimed he was due from Skycoin.

                                                  62.     In furtherance of the conspiracy with Stephens to kidnap Smietana and his

                                           girlfriend and steal money from them, the Assailants invaded Smietana’s home where they

                                           violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in

                                           order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

                                           property, company accounts for operation of business, and cryptocurrency wallets.

                                                  63.     Under threats of further violence and death, Smietana provided the passwords to

                                           his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

                                           Skycoin Tokens with a market value of $81,018.98, totaling $220,179.31.

                                                  64.     During the siege and home invasion, the Assailants called Stephens and complained

                                           that they did not find the thousands of Bitcoin promised to them.




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                                                                     DEFENDANTS' THEFT OF ACCOUNTS

                                                  65.     Prior to the conclusion of Stephens’ work with Skycoin, upon notice of his
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                                           separation, the company made a list of all accounts to which Stephens had authorized access and

                                           thereinafter terminated his access to those accounts.

                                                  66.     Skycoin staff contacted Stephens requesting that he return all company assets and

                                           company accounts, and to provide accounting statements of expenditures so that Plaintiffs could

                                           calculate how much unspent money was due to the company.

                                                  67.     SA staff and members of Skycoin contacted Stephens requesting that he return all

                                           company assets and company accounts, and to provide accounting statements of expenditures so

                                           that Plaintiffs could calculate how much unspent money was due to the company.

                                                  68.     Stephens acknowledged that there were unspent funds due back to Plaintiffs,

                                           however, instead of returning the money due, Stephens hacked into the various company accounts

                                           and began to engage in a series of extortion and fraudulent acts against Skycoin.

                                                  69.     Stephens and Byerly changed the passwords to some of the company accounts,

                                           locked Skycoin and SA out of them, and then attempted to extort the company for an additional

                                           $150,000.00.

                                                  70.     Stephens and Byerly also refused to return the unspent money that was prepaid and

                                           allocated for marketing services. The amount due back to Skycoin and SA was in excess of

                                           $800,000.00.

                                                  71.     Plaintiffs incurred considerable expense to regain access to the stolen accounts and

                                           to migrate the content to the reacquired accounts. Those accounts included, but were not limited

                                           to, the Medium Account, Shopify, Twitter, Skycoin Telegram, Skycoin Rewards, Facebook, and

                                           LinkedIn.



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                                                                 DEFENDANTS’ UNAUTHORIZED EXPENSES

                                                 72.     Stephens and Byerly engaged in various schemes to defraud Skycoin and attempted
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                                           to invoice unapproved, non-business-related costs including a Las Vegas prostitute orgy,

                                           unsubstantiated ATM withdrawals, personal entertainment costs, and what is believed to be

                                           money for the purchase of drugs. These expenses were neither approved by Skycoin nor related

                                           to any legitimate business activities.

                                                 73.     For example, Stephens sent invoices to Skycoin totaling $50,000.00 for cash

                                           payments for two days in Las Vegas. Despite several requests, Stephens refused to produce ATM

                                           receipts for the $50,000.00 expense, could not explain how the cash was used, could not show

                                           that the expenses were business related, could not justify the amount spent, and could not produce

                                           receipts for any “cash payments.”

                                                 74.     Stephens and Byerly billed SA for subcontractors without seeking prior

                                           authorization from Plaintiffs for such payments.

                                                 75.     Stephens and Byerly engaged in a scheme to defraud Plaintiffs by invoicing full

                                           time rates for subcontractors employed part time and even invoicing Company for nonexistent

                                           persons.

                                                 76.     Stephens and Byerly billed for subcontractor work that not only both pre-dated and

                                           post-dated the Marketing Program, but which also included full time rates for part-time work and

                                           also included invoicing from nonexistent subcontractors.

                                                 77.     Stephens and Byerly billed for invalid date periods, such as submitting invoices for

                                           billing periods prior to the Marketing Program and work performed for billing periods after the

                                           termination of their relationship with Skycoin.




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                                                  78.      Stephens and Byerly attempted to bill for costs which had not been submitted to the

                                           Company for preapproval and made misrepresentations to Skycoin staff, including Skycoin’s
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                                           Head of Events, who was responsible for event budgets. Stephens made false misrepresentations

                                           claiming that these expenses had received approval, and that the Company had been notified of

                                           the expenses.

                                                  79.      Stephens and Byerly attempted to bill the company for unapproved "events" on

                                           non-existent dates. Additionally, there were several other strong indicators that many or all of the

                                           claimed expenses were fraudulent or manufactured.

                                                                                BINANCE DELISTING

                                                  80.      In and around June of 2020, because Smietana refused to capitulate to the extortion

                                           demands, Stephens, in conjunction with Kunstman and others, embarked upon a scheme and plan

                                           to delist Skycoin from Binance and effectively destroy Skycoin’s reputation and depress Skycoin

                                           Tokens’ market value.

                                                  81.      In furtherance of this plan and scheme, Stephens solicited other individuals to make

                                           false complaints against Skycoin in order to have Binance delist Skycoin from the exchange. The

                                           false complaints they directed others to make to Binance to achieve the delisting are as follows:

                                                        a. That Skycoin sells Skycoin Tokens customers outside of the Binance exchange
                                                           but after receiving the funds, never sends those customers the Skycoin Tokens for
                                                           which they paid;

                                                        b. That individuals from Skycoin would privately meet with customers and accept
                                                           payment for Skycoin Tokens at 15% below market value;

                                                        c. After customers consummated such side transactions, they would immediately
                                                           “dump” the Skycoin Tokens on the market;

                                                        d. That Smietana would request that customers privately pay him $1,000,000.00 in
                                                           Bitcoin or cash for discounted Skycoin Tokens that they could then “dump” on the
                                                           market immediately and achieve a $150,000.00 profit; and



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                                                        e. That Smietana and Skycoin launders money through customers by promising them
                                                           an immediate 15%-20% profit through the unauthorized purchase of Skycoin
                                                           Tokens.
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                                                  82.      Upon information and belief, Cuthriell and other persons were hired to harass

                                           Skycoin and interfere with Skycoin’s relationships with exchanges and partners corporations,

                                           made public statements in Telegram channels bragging that they had paid journalists to publish

                                           articles to slander the company, and even publicly discussed the type and content of false reports

                                           that needed to be made against Skycoin in order to achieve a delisting from Binance.

                                                  83.      As part of their plan and scheme to have Skycoin delisted from Binance, Stephens,

                                           Kunstman, and Cuthriell also orchestrated having several individuals send repeated complaints to

                                           Binance that included allegations of drug use and criminal charges against Smietana and other

                                           baseless complaints.

                                                  84.      As further evidence of the conspiracy, Cuthriell publicly congratulated all persons

                                           involved in the Binance delisting of Skycoin with the exclamation of “Nice work team” and

                                           “PARTY TIME.”

                                                                             COUNT I
                                                         FRAUD – BRADFORD STEPHENS AND CATHERINE BYERLY

                                                  85.      Plaintiffs repeat and reallege paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 85 of this Count I as if fully set forth herein.

                                                  86.      Stephens approached Plaintiffs representing himself as a legitimate advertising and

                                           marketing firm, with Stephens and Eagle Web Assets (EWA) as “business partners” involved in

                                           every aspect of the “business.”

                                                  87.      EWA is and/or was a business owned and/or operated by Eagle, Gevirtz, and Young.

                                                  88.      Plaintiffs would later learn that EWA and Eagle, Gevirtz, and Young had a history

                                           of litigation and that these persons were under an FTC Order for fraudulent marketing practices.

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                                                   89.       Stephens and Byerly represented to Smietana that they would provide advertising

                                           and marketing services, including web design, online advertising, conference events, and display
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                                           advertising.

                                                   90.       Stephens represented to Smietana that he would provide advertising, web design,

                                           and marketing services for Plaintiffs in return for payment.

                                                   91.       In reality, Stephens had no intention of providing any advertising, web design, or

                                           marketing of any kind for Plaintiffs.

                                                   92.       Stephens and Byerly, in fact, did not provide any advertising or marketing services

                                           for Plaintiffs.

                                                   93.       Stephens and Byerly never provided any web design services on behalf of Plaintiffs.

                                                   94.       In reliance upon the representations of Stephens and Byerly, Plaintiffs paid them

                                           approximately $800,000.00 for their services and the costs of advertising and marketing.

                                                   95.       When asked, Stephens and Byerly represented to Smietana that they had no prior

                                           lawsuits that had been filed against them.

                                                   96.       These representations were knowingly false when made.

                                                   97.       In fact, Stephens’ business partners, Eagle and Gevirtz, had an extensive history of

                                           litigation and had been named in multiple lawsuits and were subject to an FTC injunction for

                                           fraudulent marketing practices.

                                                   98.       Following the payment of the initial $800,000.00, Defendants Stephens and Byerly

                                           requested additional money, including an additional $60,000.00.

                                                   99.       Stephens and Byerly made these representations to Smietana and other Skycoin

                                           staff with the intent to induce payments and defraud Plaintiffs.

                                                   100.      These statements made by Stephens and Byerly were false when made.



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                                                  101.    Stephens and Byerly created scenarios and orchestrated fraudulent crises, making

                                           numerous misrepresentations, solely for the purpose of soliciting more money from Plaintiffs.
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                                                  102.    Stephens and Byerly made the following misrepresentations and/or omissions upon

                                           which Plaintiffs justifiably relied to their detriment:

                                                      a. Lied about, concealed, and denied history of litigation against Defendants’
                                                         associates, business partners, and former corporations;

                                                      b. Failed to inform Plaintiffs of the FTC Order and government sanctions against their
                                                         former company, even when explicitly asked about any history of litigation prior to
                                                         payment and contract negotiations;

                                                      c. Falsely represented that an unknown third party was targeting Skycoin by linking
                                                         pornographic blogs and other harmful spam content to Skycoin’s website;

                                                      d. Falsely agreed to seek written pre-approval from the Company for incurred
                                                         expenses;

                                                      e. Falsely represented that they would provide marketing and advertisement services
                                                         to Plaintiffs;

                                                      f. Falsely represented that they would provide web design services to Plaintiffs; and

                                                      g. Falsely represented the expenses and costs of said marketing and advertising
                                                         services.

                                                          (See also Facts Common to All Counts)

                                                  103.    Plaintiffs relied upon the representations of Stephens and Byerly and paid them the

                                           requested amounts.

                                                  104.    As a direct and proximate result of Stephens and Byerly’s improper actions,

                                           Plaintiffs have sustained substantial economic damage through loss of business, loss of revenue,

                                           loss of contracts, loss of market visibility, and damage to their reputation.

                                                  WHEREFORE,           Plaintiffs,   BRANDON         SMIETANA,         SKYCOIN    GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

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                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           and CATHERINE BYERLY, and each of them, in an amount in excess of $50,000.00, plus
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                                           Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable Court

                                           deems just and equitable in the premises.

                                                                              COUNT II
                                                          FRAUD – BRADFORD STEPHENS, AARON KUNSTMAN, AND
                                                                       JOEL WAYNE CUTHRIELL

                                                   105.      Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 105 of this Count II as if fully set forth herein.

                                                   106.      On or about January 8, 2018, Plaintiffs entered into an oral agreement with

                                           Stephens, Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services

                                           for Plaintiffs.

                                                   107.      Following that agreement, Stephens defrauded Plaintiffs by failing to provide the

                                           contracted services, creating false “threats,” and extorting funds from Plaintiffs through coercion.

                                           Once discovered, Plaintiffs attempted to distance themselves from Defendants. However, in

                                           retaliation, Stephens, Kunstman, and Cuthriell began making false online profiles and applications

                                           with false information in order to further defraud Plaintiffs out of approximately $2,000,000.00

                                           worth of Skycoin product.

                                                   108.      Plaintiffs offered a reward program (“Reward Program”) to entice customers to

                                           their business.

                                                   109.      In order to obtain a reward under the Reward Program, each participant was

                                           required to submit an application which conformed to S.A.’s terms and conditions. The terms

                                           included the following:

                                                       a. Each customer is only allowed to have one active Skywire Rewards account within
                                                          a single one month period;

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                                                       b. Each customer is allowed to claim rewards for up to 8 Skywire nodes in a one
                                                          month period;
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                                                       c. Only one instance of the “Skywire Node” software can be run on a single physical
                                                          computer;

                                                       d. Each customer may operate only a single reward program account within a one
                                                          month period;

                                                       e. Each computer claiming a reward must be a physically separate and independent
                                                          computer; and

                                                       f. It is a violation of the Rewards Program terms and service for a user to run more
                                                          than one Skywire node per physical computer.

                                                   110.     Cuthriell and Stephens developed software to run over 300 "nodes" on a single

                                           physical computer in order to defraud the Reward Program.

                                                   111.     Relying on the misrepresentations by Stephens, Kunstman, and Cuthriell, SA

                                           provided these persons rewards to which they were not entitled, totaling approximately $2-$4

                                           million (the precise amount of which is unknown as they have continued to submit fraudulent

                                           applications continuously and under multiple fake aliases).

                                                   112.     Plaintiffs relied upon the information provided in those online applications and

                                           profiles.

                                                   113.     Had Plaintiffs known that these profiles and applications were being generated and

                                           submitted by Stephens, Kunstman, and Cuthriell repeatedly in order to accumulate Skycoin under

                                           false pretenses, Plaintiffs would not have made Reward Program payments to Stephens, Kunstman,

                                           and Cuthriell.

                                                   114.     Stephens, Kunstman, and Cuthriell made these repeated false representations to

                                           Plaintiffs through these applications and profiles even though they knew that they were false and




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                                           made under false pretenses, with an intent to induce Plaintiffs into providing the $2-$4 million in

                                           digital payments/digital assets/digital currency.
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                                                   115.    Stephens, Kunstman, Cuthriell have at all relevant times perpetuated and

                                           deliberately concealed this fraud from Plaintiffs.

                                                   116.    Stephens, Kunstman, and Cuthriell have engaged in a scheme to defraud Plaintiffs

                                           by consistently attempting to conceal this fraud and continue to submit false applications and

                                           profiles to Plaintiffs.

                                                   117.    Plaintiffs relied upon the accuracy and truthfulness of the submitted applications

                                           and profiles, and, had Plaintiffs been aware that the representations of Stephens, Kunstman, and

                                           Cuthriell were false, Plaintiffs would not have acted as they did.

                                                   118.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

                                           actions and misrepresentations, Plaintiffs have sustained damage economically through loss of

                                           business, loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

                                                   WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN        GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

                                           excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                           Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                         COUNT III
                                           CIVIL CONSPIRACY – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL WAYNE
                                                CUTHRIELL, MORGEN PECK, CATHERINE BYERLY, AND UNKNOWN
                                                                INDIVIDUALS AND COMPANIES




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                                                  119.    Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 119 of this Count III as if fully set forth herein
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                                                  120.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                           Companies conspired to destroy Skycoin’s reputation and Plaintiffs’ business by publishing false

                                           and inflammatory news articles and to extort Plaintiffs of money through making monetary

                                           demands in exchange for the articles not being published.

                                                  121.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                           Companies’ acts in furtherance of the conspiracy included, but were not limited to:

                                                      a. Creating and employing a network of journalists to publish fraudulent articles to
                                                         destroy Skycoin’s image and reputation in order to drive down the price of
                                                         Skycoins; and

                                                              i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                                                                 published false articles regarding the legitimacy of Skycoin and Skycoin’s
                                                                 technology;

                                                                     1. Greene was within Stephens’s network and at all times knew
                                                                        Stephens was not the COO of Skycoin, yet published that he was,
                                                                        and continued to publish false information even after Smietana’s
                                                                        continuous attempts to correct the false claims.

                                                      b. Employing Peck to knowingly write the false and defamatory New Yorker Article
                                                         alleging that Skycoin a fraud and a scam;

                                                      c. Publishing an article in Cointelegraph by Simon Chandler, claiming that Plaintiffs’
                                                         attackers were “emboldened” to physically harm Smietana due to Skycoin’s “shady
                                                         dealings;”

                                                      d. Soliciting individuals to make false complaints against Skycoin in order to have
                                                         Skycoin delisted from the Binance Exchange;

                                                      e. Stealing access to Skycoin’s media accounts and demanding over $150,000.00 for
                                                         return of the accounts;

                                                      f. Refusing to return unspent money that was prepaid and allocated for marketing
                                                         services;



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                                                      g. Invoicing unapproved and non-business-related costs and personal entertainment
                                                         costs;
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                                                      h. Invoicing Skycoin and/or SA for $50,000.00 in cash payments and refusing to
                                                         provide an explanation or receipts for how the cash was used;

                                                      i. Invoicing Skycoin and/or SA for subcontractors without prior authorization;

                                                      j. Invoicing Skycoin and/or SA full time rates for part-time subcontractors;

                                                      k. Invoicing Skycoin and/or SA for payment to non-existent persons;

                                                      l. Invoicing Skycoin and/or SA for marketing services performed both before and
                                                         after the company’s relationship with Defendants;

                                                      m. Made false representations to Skycoin staff that costs had been approved by
                                                         Skycoin when they knew said costs had not been approved;

                                                      n. Invoicing Skycoin and/or SA for unapproved “events” on non-existent dates; and

                                                      o. Creating false online profiles and Rewards Program applications with false
                                                         information in order to defraud Skycoin of $2-$4 million.

                                                          (See also Facts Common to All Counts)

                                                  122.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                           Companies worked in concert with one another to accomplish this fraud as evidenced by their

                                           various communications and concerted acts against Plaintiffs.

                                                  123.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

                                           Companies intended to defraud Plaintiffs out of their money, their product, and to tortiously

                                           interfere with their business relationships.

                                                  124.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Peck, Byerly,

                                           and Unknown Individuals and Companies improper actions, Plaintiffs were damaged and defamed,

                                           forced to pay large sums of money, were defrauded of $2-$4 million, and Skycoin was ultimately

                                           not listed on the Bittrex Exchange and was delisted from Binance, resulting in loss of business,

                                           loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

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                                                    WHEREFORE,        Plaintiffs,   BRANDON         SMIETANA,        SKYCOIN          GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a
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                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE

                                           BYERLY, and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount

                                           in excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                           Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                       COUNT IV
                                           TORTIOUS INTERFERENCE – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL
                                           WAYNE CUTHRIELL, CATHERINE BYERLY, AND UNKNOWN INDIVIDUALS AND
                                                                      COMPANIES

                                                    125.   Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 125 of this Count IV as if fully set forth herein.

                                                    126.   Plaintiffs developed business relationships and contracts with various vendors and

                                           customers since Skycoin’s launch in 2013.

                                                    127.   Skycoin sells non-fungible electronic products that fluctuate in value based upon

                                           the market rates on specific internet exchanges.

                                                    128.   For Skycoin to do business, it must participate in these internet exchange markets,

                                           such as, but not limited to, Bittrex, Binance, Kraken, Poloniex and Bifinex, in order to sell its

                                           goods.

                                                    129.   Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                           orchestrated various schemes to undermine the reputation of Plaintiffs and cause these internet

                                           exchange markets, specifically, Bittrex and Binance, to remove Plaintiffs’ products from their

                                           exchanges.

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                                                  130.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                           were fully aware of Plaintiffs’ position within these internet exchange markets.
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                                                  131.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                           were fully aware that Plaintiffs’ Skycoin Token must be sold on these internet exchange markets.

                                                  132.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                           were fully aware that Plaintiffs had agreements and/or expected agreements with these internet

                                           exchange markets.

                                                  133.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                           nonetheless acted in concert to cause these internet exchange markets to remove Plaintiffs’ Skycoin

                                           Token from those markets by committing the following acts:

                                                      a. Stephens and Byerly hacked and linked pornographic blogs and other harmful spam
                                                         content to Skycoin’s website to decrease Skycoin’s website’s ranking precipitously
                                                         in search engines and irrevocably destroy Skycoin’s image, reputation, and internet
                                                         presence;

                                                      b. Stephens, Kunstman, Cuthriell, and Byerly created and employed a network of
                                                         journalists to publish fraudulent articles to destroy Skycoin’s image and reputation
                                                         in order to drive down the price of Skycoins;

                                                               i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                                                                  published false articles regarding the legitimacy of Skycoin and Skycoin’s
                                                                  technology;

                                                               ii. Greene was within Stephens’s network and at all times knew Stephens was
                                                                   not the COO of Skycoin, yet published that he was, and continued to publish
                                                                   false information even after Smietana’s continuous attempts to correct the
                                                                   false claims;

                                                      c. Stephens, Kunstman, Cuthriell, and Byerly employed Peck to knowingly write a
                                                         false and defamatory article published in The New Yorker alleging Skycoin as a
                                                         fraud and a scam;

                                                      d. Stephens solicited an article to be published in Cointelegraph by Simon Chandler,
                                                         claiming that Plaintiffs’ attackers were “emboldened” to physically harm Smietana
                                                         due to Skycoin’s “shady dealings;”



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                                                      e. Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies
                                                         made public statements bragging that they had paid journalists to publish articles
                                                         to slander the company;
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                                                      f. Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies
                                                         publicly discussed the type and content of false reports that needed to be made
                                                         against Skycoin in order to achieve a delisting from Binance; and

                                                      g. Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies
                                                         orchestrated having several individuals send repeated complaints to Binance that
                                                         included allegations of drug use and criminal charges against Smietana and other
                                                         baseless allegations.

                                                          (See also Facts Common to All Counts)

                                                  134.    At all relevant times herein, Stephens, Kunstman, Cuthriell, Byerly, and Unknown

                                           Individuals and Companies intended to cause harm to Plaintiffs’ reputation and finances in order

                                           to interfere with their relationships with these internet exchange markets, along with their

                                           customers and vendors.

                                                  135.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Byerly, and

                                           Unknown Individuals and Companies’ improper actions, Plaintiffs have sustained damage

                                           economically through loss of business, loss of revenue, loss of contracts, loss of market visibility,

                                           and loss of reputation.

                                                  WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,        SKYCOIN         GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

                                           AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

                                           INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $50,000.00,

                                           plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

                                           Court deems just and equitable in the premises.

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                                                                      COUNT V
                                            UNJUST ENRICHMENT – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL
                                           WAYNE CUTHRIELL, CATHERINE BYERLY, AND UNKNOWN INDIVIDUALS AND
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                                                                     COMPANIES

                                                  136.    Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 136 of this Count V as if fully set forth herein.

                                                  137.    Defendants were provided approximately $860,000.00 in funds to provide

                                           marketing, advertising, and web design services to Plaintiffs.

                                                  138.    Specifically, Plaintiffs made the following payments to Stephens, Kunstman,

                                           Cuthriell, Byerly, Unknown Individuals and Companies, and/or the Smolder Partners:

                                                      a. $107,948.00 ($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form
                                                         of 1,100 Skycoin Tokens) in an initial payment for the Marketing Program paid to
                                                         Smolder Partners;

                                                      b. $800,000.00 in Skycoin Tokens paid to Stephens for an internet advertising
                                                         campaign;

                                                      c. $14,752.44 paid to Stephens and Byerly as a result of a fraudulent invoice;

                                                      d. $38,000.00 to Stephens in order to quell the cyber attacks initiated by Stephens;

                                                      e. 20,000 Skycoin Tokens ($842,400.00) to Smolder Partners for the Marketing
                                                         Program budget;

                                                      f. One (1) Bitcoin ($14,314.00) to Smolder Partners for a conference in Miami, Florida;

                                                      g. 3,899 Skycoin Tokens ($121,337.00) to Smolder Partners for the Marketing Program
                                                         budget;

                                                      h. Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens ($80,929.00) to Smolder
                                                         Partners for Marketing Program labor costs;

                                                      i. Four (4) Bitcoins (56,457.00) and a separate payment of 1.30 Bitcoin to Stephens
                                                         for the Marketing Program and to combat the aforementioned attacks on Skycoin’s
                                                         website; and

                                                      j. $127,000.00 as part of the Extortion Payments to Stephens and Eagle.

                                                          (See also Facts Common to All Counts)

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                                                  139.    In addition to the payments made by Plaintiffs, the Assailants, in connection with
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                                           their conspiracy with Stephens, stole 18.88 Bitcoin ($139,160.33) and 6,466 Skycoin

                                           ($81,018.98), totaling $220,179.31 from Plaintiffs.

                                                  140.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

                                           also obtained approximately $2-$4 million in Skycoin Tokens through false reward applications.

                                                  141.    Stephens, Kunstman, Cuthriell, Byerly, Unknown Individuals and Companies,

                                           and/or the Smolder Partners invoiced and charged Plaintiffs for work that was never completed.

                                                  142.    These funds and goods were not earned, were stolen by fraudulent means, and

                                           Plaintiffs received no equivalent value for them in return.

                                                  143.    It would be unconscionable and against fundamental principles of justice, equity

                                           and good conscience for Stephens, Kunstman, Cuthriell, Byerly, Unknown Individuals and

                                           Companies, and/or the Smolder Partners to retain the benefit from those funds, which were paid

                                           by Plaintiffs without receiving any benefit in return.

                                                  144.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Byerly,

                                           Unknown Individuals and Companies, and/or the Smolder Partners’ improper actions, Plaintiffs

                                           have sustained damage economically through loss of business, loss of revenue, loss of contracts,

                                           loss of market visibility, and loss of reputation.

                                                  WHEREFORE,           Plaintiffs,   BRANDON         SMIETANA,     SKYCOIN        GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

                                           AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

                                           INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $50,000.00,

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                                           plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

                                           Court deems just and equitable in the premises.
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                                                                            COUNT VI
                                                         DEFAMATION – BRADFORD STEPHENS AND MORGEN PECK

                                                  145.    Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 145 of this Count VI as if fully set forth herein.

                                                  146.    The New Yorker is an American weekly magazine publication owned and published

                                           by Defendant Advance.

                                                  147.    At all times relevant herein, Peck was an actual agent of Advance.

                                                  148.    At all times relevant herein, Peck was an apparent agent of Advance.

                                                  149.    At all times relevant herein, Peck was acting within the course and scope of her

                                           authority as an agent of Advance.

                                                  150.    At all times relevant herein, Peck was acting within the course and scope of her

                                           authority as an apparent agent of Advance.

                                                  151.    On Aug 18, 2021, the New Yorker Article authored by Peck was published in The

                                           New Yorker (see Ex. A).

                                                  152.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

                                           million social media followers.

                                                  153.    Peck published blatant lies and misrepresentations about Plaintiffs in her New

                                           Yorker article including, but not limited to the following:

                                                      a. Misrepresenting Smietana’s relationship with Stephens                  and   Stephens’s
                                                         involvement with Skycoin and Skycoin’s marketing campaign;

                                                      b. Statements alluding to Smietana and Skycoin as a fraud and a scammer, such as:

                                                               i. “In a way, it makes you into a fraud;”



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                                                          ii. “Is it a scam? I’m 99 percent sure of it”; and

                                                         iii. Suggesting that Skycoin was part of a “pump and dump” scheme.
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                                                   c. Falsely stating that Stephens has recordings of Smietana stating, “We want to
                                                      feminize the peasant population to make them more docile ... [i]t’s so they don’t
                                                      revolt;”

                                                          i. Smietana asked Peck on multiple occasions about the existence of the
                                                             alleged recording to verify the contents of her claims for this statement,
                                                             however Peck never confirmed that she obtained such a recording, even
                                                             though it was used as a purported source for factual information in the
                                                             article.

                                                          ii. Smietana denied such statements to Peck multiple times, each time
                                                              reiterating that they were fabricated and untrue. Peck still published the
                                                              statements.

                                                         iii. Peck admitted to Smietana that no one she interviewed would corroborate
                                                              the quotes given by Stephens. Therefore, Peck knew or should have known
                                                              the published quotes were false.

                                                         iv. Peck knew that Stephens and Kunstman were members of the Neo Nazi alt-
                                                             right internet forum “/pol/” and that similar antisemitic quotes were
                                                             circulated there.

                                                          v. As a result of the publication of the article, a Neo Nazi publication cited to
                                                             the false statement from Peck’s article quoting Smietana, and thereby
                                                             causing damage to Plaintiffs’ reputation.

                                                         vi. As a result of the publication of this statement, Smietana was subjected to
                                                             numerous death threats, harassment, and various hate crimes.

                                                   d. Falsely stating that Smietana invited Binance executives to a Skycoin party during
                                                      a 2018 conference in Las Vegas and instructed Stephens to hire prostitutes for the
                                                      executives;

                                                          i. In fact, it was confirmed there were no Binance executives at the conference
                                                             and the party was a private party of Stephens, without any affiliation to
                                                             Skycoin or Plaintiffs.

                                                          ii. Stephens’s job was to set up meetings at conferences. He unilaterally held a
                                                              private party without instruction to do so. Any approval for holding an event
                                                              was contingent upon finding people from Binance, who were, in fact, not in
                                                              attendance at the conference.



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                                                                  iii. This inaccurate depiction of events was designed to destroy the relationship
                                                                       between Binance and Skycoin and was manufactured solely to do damage
                                                                       to Plaintiffs’ reputation and business.
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                                                                  iv. Peck knew or should have known the statements were false because
                                                                      Smietana sent her the messages from Stephens relating to the conference.

                                                                   v. Peck interviewed Michael Terpin (the event organizer) and Daken
                                                                      Freebourne (Skycoin's head of events), who explicitly told Peck that
                                                                      Stephens was a compulsive liar and that his account was fabricated.

                                                                  vi. Peck merged stories from three separate conferences into a non-factual and
                                                                      defamatory account, designed to inflict damages to Plaintiffs.

                                                          e. Publishing conclusory and unsupported statements by others;

                                                                    i. Stating that “according to several people” (without any evidence or
                                                                       support), that Skycoin privately sold to investors at a discounted rate;

                                                                   ii. Publishing numerous unsupported statements supposedly from
                                                                       “employees” of Skycoin, however, Peck told Smietana that she did not have
                                                                       documentation to show who these “employees” were, if and when they
                                                                       worked at Skycoin, or any confirmation of their statements; and

                                                                  iii. Publishing statements made by people against whom she knew Smietana
                                                                       had an ongoing lawsuit against and therefore knew or should have known
                                                                       these were unreliable sources.

                                                          f. Falsely accusing Smietana of pre-mining “a hundred million coins, which were
                                                             scheduled for circulation;”

                                                                    i. Peck published this statement with full knowledge that Skycoin does not
                                                                       engage in any mining.

                                                                   ii. During fact checking, Peck referenced a website that listed companies with
                                                                       pre-mine scams.5

                                                                            1. The website listed “SYC Skycoin – premined” under a list titled,
                                                                               “List of scamcoins – do not use.”

                                                                            2. SYC Skycoin is a completely different company from SKY Skycoin
                                                                               (Plaintiff).

                                                                            3. Peck knew that SYC was not Plaintiffs’ company and that SYC was
                                                                               not SKY.
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                                               The website can be found at: https://altcoins.com/scamcoins

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                                                                 4. Peck falsely accused and published in her article that Skycoin
                                                                    engaged in a pre-mining scam.
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                                                   g. Falsely accusing Smietana of directing Skycoin’s marketing unit to purposely
                                                      spread negative rumors to attract attention by stating “In a chat with investors,
                                                      Smietana said that they sometimes spread negative rumors about Skycoin, in order
                                                      to attract attention;”

                                                          i. Peck does not provide support to confirm where this chat was from, who
                                                             the “investors” were, or the full context of the conversations.

                                                          ii. The quote itself is purposely suggestive and alludes that Skycoin publishes
                                                              negative rumors for promotion but does not clarify who “they” are that
                                                              “spread negative rumors.”

                                                   h. Falsely accusing Smietana of “plotting new distractions;”

                                                          i. In support of this claim, Peck quoted Smietana, “Quick, someone photoshop
                                                             video of me being beheaded by ISIS and see if you can get them to write an
                                                             article about it.”

                                                          ii. Smietana was improperly quoted and Smietana’s words were purposely
                                                              skewed by Peck and taken out of context to defame Smietana and Skycoin.

                                                         iii. The quote is a snippet of a message that clearly signifies a joke, in which
                                                              the full text reads “The media is retarded. They are still writing articles
                                                              about the ‘insider trading’ of cat memes, fake news. Quick, someone
                                                              photoshop video of me being beheaded by ISIS and see if you can get them
                                                              to write an article about it. ‘Kittycash CEO beheaded by ISIS after SEC
                                                              investigation.’”

                                                   i. Purposely taking direct quotes from chatrooms/messaging conversations and
                                                      placing them out of context to twist their meaning and damage Plaintiffs;

                                                          i. Peck wrote, “A few weeks into the sell-off, a voice message from Smietana
                                                             emerged on Telegram that seemed to imply that the biggest Skycoin
                                                             investors were coordinating their moves in a secret chat room. Smietana
                                                             said in the message, of the investors, “Everyone was basically doing the
                                                             exact opposite of whatever the public was doing.” (Smietana acknowledged
                                                             being in the chat room at one point but claimed that he was barely
                                                             involved).”

                                                                 1. The quote was purposely misconstrued as it had nothing to do with
                                                                    insider trading channels.



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                                                                 2. It was evident from the chat conversations that any reference to any
                                                                    “secret insider trading” was a joke.
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                                                                 3. Peck knew that the “secret chat rooms” were, in fact, public
                                                                    channels, accessible to all people.

                                                         ii. Peck quoted Smietana as stating “If you put in a million dollars now, and
                                                             we have a run just as large as the last one, you’re going to be at fifty million
                                                             dollars;”

                                                                 1. This statement was knowingly taken out of context, altering its
                                                                    meaning, and presented Smietana in a false light.

                                                                 2. Peck’s quote claims that Smietana engaged in price promotion for
                                                                    Skycoin, knowing that Smietana was prohibited from making such
                                                                    statements by company policy and that Smietana could be fired or
                                                                    reprimanded for violation of company policy for making these
                                                                    statements.

                                                                 3. Peck knew or should have known that these out of context
                                                                    statements would expose Plaintiff Smietana to legal liability and
                                                                    damage his reputation and business.

                                                                 4. Peck admitted to Smietana that she could find no example of
                                                                    Smietana engaging in price promotion.

                                                         iii. Peck quoted Smietana as stating, “many could be corroborated only by
                                                              people whom he swore existed but who couldn’t talk because they had
                                                              government security clearance, or were in hiding, or because he didn’t know
                                                              their real names;”

                                                                 1. Smietana’s actual quote was, “all software developers who work in
                                                                    cryptography have government security clearance, because
                                                                    government contractors are the only clients of the industry.”

                                                                 2. Peck distorted and/or manufactured, statements wholesale for the
                                                                    purpose of defaming Plaintiffs.

                                                   j. Falsely accusing Smietana of having sole control of the “pre-mined” coins and
                                                      Skycoin’s virtual wallets;

                                                          i. It is public knowledge that Skycoin is an incorporated corporate entity and
                                                             not under the sole control of one person.




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                                                          ii. Peck had possession of Skycoin’s incorporation documents and corporate
                                                              structure, and therefore knew or should have known that her statements
                                                              were false.
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                                                   k. Accusing Smietana of soliciting advice from an online personality who used a
                                                      Hitler avatar in his profile;

                                                           i. Peck admitted to Smietana during fact checking that she could not find any
                                                              evidence substantiating her statement that Smietana solicited and made
                                                              payments to internet users with a Hitler avatar.

                                                          ii. Peck admitted to Smietana that only Stephens and Kunstman had made
                                                              these claims, and that no other persons could corroborate these statements.

                                                         iii. Peck continued to publish the above statement, knowing its defamatory and
                                                              false nature.

                                                   l. Alleging that Smietana lied about the extent of his medical injuries sustained from
                                                      the attack on himself and his girlfriend, even after publishing that Smietana’s
                                                      attackers admitted to detaining and injuring Smietana and his girlfriend;

                                                           i. Smietana provided Peck with copies of court proceedings and medical
                                                              records, clear evidence that the claims she published in the article were
                                                              false.

                                                   m. Alleging that Smietana used the attack on himself and his girlfriend to “use his
                                                      power to freeze Skycoin transactions,” when Smietana clearly stated in an official
                                                      announcement to the Company that funds were frozen after making sure all Skycoin
                                                      staff were safe after the attack and extortion demands;

                                                           i. Peck knew that Skycoin’s lead developer, Steven Leonard, not Smietana,
                                                              had initiated freezing the stolen funds from the Chinese marketing team and
                                                              employee accounts after the company detected embezzlement.

                                                          ii. Peck knew that the funds that were frozen were solely company accounts.

                                                   n. Peck implied that that Smietana had been employed as a software developer by the
                                                      notorious Washington DC lobbyist, Jack Amabrov, who had several felony
                                                      convictions, including a plea bargain for SEC violations; and

                                                           i. Peck was aware that the allegations were false because the company directly
                                                              informed her that Smietana had briefly spoken to them in 2018, but that no
                                                              agreement had been reached.

                                                          ii. Peck admitted that the statements were false and apologized to Smietana
                                                              multiple times for bringing up false claims.

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                                                             iii. Peck knew or should have known that claiming Smietana had been
                                                                  employed by Jack Amabrov would cause severe damage to Plaintiffs’
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                                                                  business and reputation.

                                                      o. Peck implied that one of Skycoin’s mathematical algorithms, “Obelisk”, did not
                                                         actually exist and that Plaintiffs committed fraud.

                                                              i. Peck knew that these statements were false, as she had possession of both
                                                                 the source codes and white paper for the algorithm.

                                                             ii. Additionally, Skycoin’s algorithm papers were published on Skycoin’s
                                                                 website and in peer reviewed journal articles. This information was publicly
                                                                 available, and Peck had access to the public links to these algorithms.

                                                             iii. Peck had this information at the time she claimed these algorithms did not
                                                                  exist.

                                                  154.    Peck wrote that “Stephens came up with a plan to strip Smietana of power and

                                           transfer management of the company to a foundation.”

                                                  155.    Peck, knowing that Stephens’ intentions were to take Skycoin from Smietana,

                                           continued to base her article on information provided mainly by Stephens, completely disregarding

                                           his clear bias and motive to disenfranchise Smietana from Skycoin and seize control of Skycoin.

                                                  156.    After the New Yorker Article was published, a former employee of Stephens and

                                           Kunstman contacted Plaintiffs stating that Peck received money to intentionally produce and

                                           publish a defamatory article attacking Plaintiffs and would receive bonus payments for destroying

                                           Skycoin’s relationship with Binance.

                                                  157.    The statements made by Peck in the New Yorker Article were purposely false and

                                           defamatory in return for financial gain and personal benefit of Peck.

                                                  158.    Peck acted within the scope of her agency with principal Advance when she

                                           submitted and published the New Yorker Article.




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                                                   159.    As a direct and proximate result of Peck’s defamatory and libelous publication,

                                           Plaintiffs have sustained damage economically through loss of business, loss of revenue, loss of
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                                           contracts, loss of market visibility, and loss of reputation.

                                                   160.    As a direct and proximate result of Peck’s libelous publication, Smietana suffered

                                           serious damage to his reputation, which resulted in numerous death threats, harassment, and

                                           financial harm to his company.

                                                   WHEREFORE,          Plaintiffs,    BRANDON         SMIETANA,     SKYCOIN       GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           and MORGEN PECK, in an amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as well

                                           as such further and other relief for Plaintiff as this Honorable Court deems just and equitable in

                                           the premises.

                                                                          COUNT VII
                                                      DEFAMATION – ADVANCE MAGAZINE PUBLISHERS, INC., d/b/a
                                                                       THE NEW YORKER

                                                   161.    Plaintiffs repeat and reallege Paragraphs 1 through 84 and Paragraphs 146 through

                                           160, inclusive of subparts, of this Second Amended Complaint at Law as and for Paragraph 161

                                           of this Count VII as if fully set forth herein.

                                                   162.    Advance is a global mass media company operating various brands, including The

                                           New Yorker.

                                                   163.    The New Yorker is an American weekly magazine publication owned and operated

                                           by Advance.

                                                   164.    At all times relevant herein, Peck was an actual agent of Advance.



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                                                   165.    At all times relevant herein, Peck was an apparent agent of Advance.

                                                   166.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8
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                                           million social media followers.

                                                   167.    On August 18, 2021, Advance, by and through The New Yorker, published the New

                                           Yorker Article authored by Peck which reached millions of readers worldwide.

                                                   168.    Approximately one week prior to publication, Anna Boots, Fact Checker for The

                                           New Yorker, contacted Smietana regarding the article and stated:

                                                       a. That Peck’s article was the longest fact checking she ever had to do (approximately
                                                          3 months);

                                                       b. That numerous unsubstantiated claims were made in Peck’s article;

                                                       c. That Peck interviewed Michael Terpin regarding the 2018 Las Vegas conference
                                                          and he informed her that Stephens was an unreliable source and a compulsive liar;

                                                       d. That the fact checking process was difficult to complete because almost all the
                                                          information was provided two people, with most claims and statements being
                                                          unsubstantiated; and

                                                       e. That her editor at The New Yorker set a “firm publication date regardless of [fact
                                                          checking] completion.”

                                                   169.    Advance, by and through The New Yorker, published Peck’s article without

                                           properly and completely fact checking the defamatory statements made and checking Peck’s

                                           sources and their credibility.

                                                   170.    As a direct and proximate result of the defamatory and libelous publication in The

                                           New Yorker, Plaintiffs suffered economic damage through loss of business, loss of revenue, loss

                                           of contracts, loss of market visibility, and loss of reputation.

                                                   171.    As a direct and proximate result of the defamatory and libelous publication in The

                                           New Yorker, Smietana suffered serious damage to his reputation, which resulted in numerous death

                                           threats, harassment, and financial harm to his company.

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                                                   WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN         GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a
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                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendant, ADVANCE MAGAZINE

                                           PUBLISHERS, INC., d/b/a THE NEW YORKER, in an amount in excess of $50,000.00, plus

                                           Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable Court

                                           deems just and equitable in the premises.

                                                                        COUNT VIII
                                             BREACH OF FIDUCIARY DUTY – BRADFORD STEPHENS, AARON KUNSTMAN,
                                                      JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, AND
                                                          UNKNOWN INDIVIDUALS AND COMPANIES

                                                   172.    Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 172 of this Count VIII as if fully set forth herein.

                                                   173.    At various times, Stephens, Kunstman, Cuthriell, and Byerly were acting as

                                           contractors hired by Plaintiffs to perform certain duties for the marketing of Skycoin.

                                                   174.    Per that relationship and agreement, Stephens, Kunstman, Cuthriell, and Byerly

                                           were to adhere to the terms of the agreement and provide the services promised.

                                                   175.    Stephens, Kunstman, Cuthriell, and Byerly instead engaged in various schemes to

                                           defraud Plaintiffs, including promising marketing and promotions materials that were never

                                           performed, implementing public schemes to damage Plaintiffs’ reputation needing immediate

                                           marketing damage control, and providing marketing services below the quality and type of what

                                           was agreed upon.

                                                   176.    Stephens, Kunstman, Cuthriell, and Byerly did not provide the promised services

                                           to Plaintiffs, despite Plaintiffs having paid for those services.




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                                                   177.   Stephens, Kunstman, Cuthriell, and Byerly had a duty to adhere to the terms of the

                                           agreements and to provide Plaintiffs with the promised services.
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                                                   178.   Stephens, Kunstman, Cuthriell, and Byerly breached that duty by failing to adhere

                                           to the terms of the agreements and failing to provide Plaintiffs with the promised services.

                                                   179.   As a direct and proximate result of Stephens, Kunstman, Cuthriell, and Byerly’s

                                           improper actions, Plaintiffs have sustained damage economically through loss of business, loss of

                                           revenue, loss of contracts, loss of market visibility, and loss of reputation.

                                                   WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN        GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

                                           INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $50,000.00,

                                           plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

                                           Court deems just and equitable in the premises.

                                                                       COUNT IX
                                              BREACH OF CONTRACT – BRADFORD STEPHENS, AARON KUNSTMAN, AND
                                                                 JOEL WAYNE CUTHRIELL

                                                   180.   Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 180 of this Count IX as if fully set forth herein.

                                                   181.   On or about January 8, 2018, Plaintiffs entered into an agreement with Stephens,

                                           Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services for

                                           Plaintiffs.




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                                                   182.    Following that agreement, Stephens failed to provide the contracted services,

                                           creating false “threats,” and extorting funds from Plaintiffs through coercion.
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                                                   183.    Stephens, Kunstman, and Cuthriell did not adhere to the terms of the Agreement

                                           despite payment.

                                                   184.    Plaintiffs, at all times relevant herein, fully performed on their obligations under

                                           the their agreement with Stephens, Kunstman, and Cuthriell.

                                                   185.    Stephens, Kunstman, and Cuthriell failed to provide any advertising or marketing

                                           services to Plaintiffs during the duration of the contract.

                                                   186.    Stephens, Kunstman, and Cuthriell breached their obligations under the contract

                                           through the following acts or omissions:

                                                       a. Failing to provide advertising services;

                                                       b. Failing to provide marketing services;

                                                       c. Failing to use the funds provided for the advertising or marketing services;

                                                       d. Failing to provide web design services;

                                                       e. Failing to use funds to effectuate any web design;

                                                       f. Failing to stay within the bounds of the expense budget; and

                                                       g. Attempting to extort additional funds outside of the contract terms.

                                                   187.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

                                           actions, Plaintiffs have sustained damage economically through loss of business, loss of revenue,

                                           loss of contracts, loss of market visibility, and loss of reputation.

                                                   WHEREFORE,          Plaintiffs,   BRANDON             SMIETANA,   SKYCOIN        GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully


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                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in
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                                           excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

                                           Plaintiff as this Honorable Court deems just and equitable in the premises.

                                                                              COUNT X
                                                      VIOLATIONS OF 735 ILCS 5/12-7.1 – BRADFORD STEPHENS AND
                                                                         AARON KUNSTMAN

                                                  188.    Plaintiffs repeat and reallege Paragraphs 1 through 84 of this Second Amended

                                           Complaint at Law as and for Paragraph 188 of this Count X as if fully set forth herein.

                                                  189.    Upon information and belief, during the years 2019-2021, Stephens and Kunstman,

                                           through various internet media and in person, made numerous anti-Semitic statements and threats

                                           of death, kidnapping, and other acts of violence against Smietana.

                                                  190.    All of these threats were based on Smietana’s religion and Jewish heritage.

                                                  191.    Stephens and Kunstman also discussed Skycoin as a “Jew coin”, called holders of

                                           Skycoin Tokens “Skygoyim,” and other similar hate speech, which Smietana perceived as a direct

                                           threat due to his being Jewish (See Exhibit C).

                                                  192.    Stephens and Kunstman posted these messages on various social media platforms

                                           and also made said threats directly to Plaintiff.

                                                  193.    In furtherance of their threats, the Assailants invaded Smietana’s home where they

                                           violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in

                                           order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

                                           property, company accounts for operation of business, and cryptocurrency wallets.




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                                                  194.    Under threats of further violence and death, Smietana provided the passwords to

                                           his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466
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                                           Skycoin with a market value of $81,018.98, totaling $220,179.31.

                                                  195.    As a direct and proximate result of Stephens and Kunstman’s aforesaid unlawful

                                           acts, Plaintiffs were damaged, subjected to religion and heritage-based violence, online

                                           harassment, a home invasion, kidnapping and torture, and had great sums of money stolen by the

                                           Assailants.

                                                  WHEREFORE,          Plaintiffs,   BRANDON         SMIETANA,          SKYCOIN      GLOBAL

                                           FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

                                           Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

                                           pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

                                           and AARON KUNSTMAN, in an amount in excess of $50,000.00, plus Plaintiffs’ costs herein, as

                                           well as such further and other relief for Plaintiff as this Honorable Court deems just and equitable

                                           in the premises.

                                                                                             Respectfully submitted,

                                                                                             BRANDON SMIETANA, SKYCOIN
                                                                                             GLOBAL FOUNDATION LIMITED, a
                                                                                             Singapore Company, and SYMBOLIC
                                                                                             ANALYTICS, INC., a Delaware Corporation

                                                                                             By: /s/James A. Karamanis
                                                                                             One of Plaintiffs’ Attorneys

                                           James A. Karamanis
                                           BARNEY & KARAMANIS, LLP
                                           Two Prudential Plaza
                                           180 N. Stetson, Suite 3050
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                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                 COUNTY DEPARTMENT, LAW DIVISION
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                                            BRANDON SMIETANA, SKYCOIN GLOBAL
                                            FOUNDATION LIMITED, a Singapore
                                            Company, and SYMBOLIC ANALYTICS INC.,
                                            a Delaware Corporation,

                                                                              Plaintiffs,

                                                   v.                                                      Case No. 2024L003661

                                            BRADFORD STEPHENS, AARON
                                            KUNSTMAN, JOEL WAYNE CUTHRIELL,
                                            MORGEN PECK, CATHERINE BYERLY,
                                            ADVANCE MAGAZINE PUBLISHERS, INC.,
                                            d/b/a THE NEW YORKER, and UNKNOWN
                                            INDIVIDUALS AND COMPANIES,

                                                                              Defendants.

                                                         AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222(b)

                                                  Pursuant to Supreme Court Rule 222(b), counsel for the above-named Plaintiffs certifies

                                           that Plaintiffs seek money damages in excess of Fifty Thousand and No/100 ($50,000.00),

                                           exclusive of interest and costs.

                                                  Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify that the

                                           statements set forth herein are true and correct.

                                                  FURTHER AFFIANT SAYETH NAUGHT.

                                                                                                    /s/James A. Karamanis

                                           James A. Karamanis
                                           BARNEY & KARAMANIS, LLP
                                           Two Prudential Plaza
                                           180 N. Stetson, Suite 3050
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                                                                  EXHIBIT A
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                                                                                Annals of Technology



                                                          Pumpers, Dumpers, and Shills:
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                                                               The Skycoin Saga
                                                         The cryptocurrency promised to change the world and make its users rich
                                                                        in the process. Then it began to fall apart.

                                                                                    By Morgen Peck
                                                                                      August 18, 2021
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                                                                          Illustration by Nata Metlukh
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                                                                                                  Save this story




                                                       n an April afternoon in 2011, a twenty-seven-year-old tech entrepreneur named Bradford
                                           O
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                                                  Stephens arrived at a stucco bungalow near the canals of Venice, California. He had recently
                                           started a new data-analytics company, and had come to speak with a coder named Brandon Smietana,
                                           whom he hoped would get involved. Stephens had already met Smietana online, where he uses the
                                           handle Synth, and where he often debated minute points about math and programming. When
                                           Stephens and Ryan Rawson, an employee who tagged along, arrived, Smietana invited them into a
                                           carpeted den. A computer sat on a table, its casings removed to reveal a tangle of circuits; a sleeping bag
                                           lay on a sofa. Smietana was in his early twenties, with dark hair and a youthful face. Rawson told me,
                                           “He had the air of this mad scientist couch sur ng.” Stephens pitched his new company, but got no
                                                                                             fi
                                           traction. Smietana had turned his attention to a new technology: cryptocurrency. “The only people who
                                           have to work for money are the people who cannot create it or print it out of thin air,” he told them.


                                           The rst cryptocurrency, Bitcoin—released in 2009 by an anonymous programmer (or a group of them)
                                                  fi
                                           called Satoshi Nakamoto—was a feat of computational brilliance. A bitcoin is an abstract unit of value
                                           that people track and spend with digital wallets. When someone contributes her computer’s power to
                                           process Bitcoin transactions, the computer also races to solve an equation, a process called “mining.”
                                           Each solution that meets certain criteria mints new coins. The number created decreases by half every
                                           four years or so—an event known as the Halvening—which keeps the supply limited, guarding against
                                           in ation. The whole economy is maintained on a blockchain, a shared ledger that keeps a tally of every
                                             fl
                                           Bitcoin transaction. As miners add transactions, the Bitcoin software coördinates and nalizes their
                                                                                                                                    fi
                                           contributions, making the ledger transparent and unchangeable and the system nearly impossible for
                                           governments to shut down.

                                           But the technology has a aw: as more people use it, transactions become slower and more expensive.
                                                                         fl
                                           The average transaction fee uctuates wildly; one day last week, it was two dollars and thirty-three
                                                                              fl
                                           cents, making it more expensive than any major credit card for everyday purchases. The pursuit of a
                                           better Bitcoin quickly became a full-blown academic eld, with its own conferences, university courses,
                                                                                                        fi
                                           and peer-reviewed journals. But, as Smietana explained over the next few years to anyone who would
                                           listen, he had the solution. He was designing a cryptocurrency that could be sent around the world
                                           instantaneously, for next to nothing. He called it Skycoin.

                                           He was going to use this currency, he said, to create a decentralized version of the Internet, called
                                           Skywire. He planned to build a large mesh network, a system that allows people to use special Internet
                                           routers to share bandwidth with their neighbors. With enough members, a network can bypass service
                                           providers, making it harder for corporations and governments to surveil Internet use. But it’s di cult to
                                                                                                                                             ffi
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                                           retain volunteers. “A community network really needs density before it is useful,” Brian Hall, of NYC
                                           Mesh, the largest community network in the U.S., wrote in a blog post. “It can be a chicken and egg
                                           problem.” Smietana’s project proposed a different way to attract people: pay them. His customers would
                                           share bandwidth using routers called Skyminers, and get paid for their service in Skycoin. He envisioned
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                                           a new cryptocurrency spent over a community-owned Internet, calling it “the last step to fulfilling
                                           Satoshi’s mission.”

                                           Stephens left his first meeting with Smietana believing that he could be destined for greatness. Skycoin
                                           launched publicly two years later, in 2013. The following year, Stephens attended a party at Smietana’s
                                           new place, an unrenovated warehouse just south of L.A. Someone had painted the walls with images of
                                           horned monsters. “It was very Burning Man meets H. P. Lovecraft,” Stephens told me. Stephens’s friend
                                           Baron Chat, a photographer who attended, said, of Smietana, “He seemed to be receiving his signal
                                           from a different station than everyone else.” According to Stephens, Smietana asked him to join the
                                           fledgling project, but he demurred. (Smietana said he doesn’t remember seeing Stephens at the party.)

                                           The first cryptocurrency boom arrived in 2017. “Several investors I knew, and a lot of my friends, started
                                           pivoting from angel investing to putting money in crypto and seeing insane returns,” Stephens told me.
                                           Skycoin had a “token sale”—a sort of I.P.O. for cryptocurrencies—and was listed on two small
                                           exchanges. By the end of 2017, its price had gone from a little more than a dollar per coin to about fifty
                                           dollars per coin. That December, while Stephens was on vacation with his wife in Japan, Smietana
                                           messaged him with another chance to get involved. It seemed like an opportunity to work on something
                                           revolutionary. But he also thought, Everybody else is getting rich off crypto, so why not me? He said
                                           that he later told Smietana, “I’m going to need 50K up front and I gotta hire a team.” After a couple
                                           days, he checked his Bitcoin wallet and found fifty thousand dollars sitting in it. “I’m, like, ‘I guess I’m
                                           hired,’ ” he said. (Smietana denies sending the money, though he had said he would do so in texts, and
                                           there’s a record of such a transaction on the Bitcoin ledger.) Before leaving Kyoto, he and his wife had
                                           visited a shrine to Inari, the Shinto god of rice, where they left offerings and made wishes. His wife
                                           wished for the health of her father, who was battling cancer. “I asked for wealth and adventure,”
                                           Stephens told me. “And I got one of those.”


                                               n the past decade, a shift has occurred in the way that cryptocurrencies are distributed. Satoshi put
                                           I   bitcoins into circulation through a reward system: the more computing power you contribute, the
                                           more coins you can mint. Some early adopters paid their rent simply through mining. Around 2012,
                                           though, people began devising blockchains that could be used for more ambitious applications: supply
                                           chains with real-time geolocation, for example, or patient-controlled medical records. Such projects
                                           required capital, compelling founders to experiment with less democratic ways to distribute coins. In
                                           2013, J. R. Willett, the founder of Mastercoin, invented the “initial coin offering,” or I.C.O., the first
                                           token sale: developers partially pre-mined their tokens and then sold them off to raise money. Michael
                                           Terpin, who has managed two hundred such token sales, and who handled public relations for Skycoin,
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                                           told me that the scheme empowers entrepreneurs. “Somebody who had an innovative product could sell
                                           directly, prior to it being built, to an audience of enthusiasts,” he said, without having to “give up a third
                                           of the company.”
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                                           A frenzy followed a few years later. Since 2017, hundreds of projects have announced token sales. One
                                           of the most lucrative, eos, raised about three and a half billion dollars in a yearlong I.C.O. Many
                                           projects amassed funds even before their blockchains or applications existed; some prepared assiduously,
                                           but others merely threw together a Web site, a list of advisers (sometimes without their knowledge), and
                                           some semblance of a technical paper (sometimes plagiarized). “A playbook really emerged for how to set
                                           up a legitimate-looking I.C.O.,” Matt Chwierut, the head of research at Smith & Crown, a blockchain
                                           research firm, told me.

                                           In 2018, I attended the North American Bitcoin Conference, in Miami. On the main stage,
                                           representatives from companies with unpronounceable names riled up the crowds. Downstairs, an arcade
                                           of booths hawked every kind of blockchain project: smart glasses, cargo robots, refugee-identity
                                           documents. At a booth for a group claiming to build a volunteer emergency-services network, I asked
                                           why the endeavor required a coin. The attendant told me to come back later when someone more
                                           technical would be arriving.

                                           Because bitcoin mining is regulated by algorithms, everyone, in theory, has a fair chance of getting new
                                           coins. But, to receive pre-mined coins in a token sale, you often have to buy publicly at the sale price or
                                           else negotiate a deal behind the scenes. “A lot of coins were being sold on the side and in secret,” Josh, a
                                           major cryptocurrency investor—who eventually bought into Skycoin, and requested that I use only his
                                           first name, out of concern for his safety regarding another matter—told me. “You’ll do special deals with
                                           people if they give you three or four or five million dollars up front.” This created a sense that making
                                           your fortune required being in the right room to get the right tip.

                                           On the second night of the conference, I went to a strip club for an after-party, where flashing your
                                           badge got you a crypto-inspired cocktail. (I ordered a Satoshi Sour.) Guests exchanged advice, sure that
                                           they were getting the best inside information. But a few hours later a friend whisked me off to a more
                                           exclusive party, thrown at a beachside bar by Patrick Byrne, the former C.E.O. of Overstock. (Byrne
                                           stepped down in 2019, after it was revealed that he had had an affair with the Russian agent Maria
                                           Butina.) The attendees were celebrating the hundred-million-dollar token sale of Byrne’s trading
                                           platform, TZero, which he said was going to “drag Wall Street behind the barn, kill it with an axe, and
                                           re-create it on blockchain.” There were giant platters of sushi and oysters; the rapper Flo Rida pulled
                                           Byrne up onto the bar for a sing-along. Guests exchanged invites to exclusive chat rooms on Telegram,
                                           an app favored by coin enthusiasts. I turned to a man next to me and asked what had brought him to the
                                           party. He rubbed his thumb and forefinger together and shouted, “Making money.”
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 280 of 323 PageID #:296
                                                he employment structure at Skycoin was loose, and Stephens joined without a contract. “Here I
                                           T    was, a guy used to wrangling hundred-page venture-capital contracts, and I’m joining a company
                                           with no last names and barely any first names,” Stephens said. Smietana, who by then was living in
                                           Shanghai, had pre-mined a hundred million coins, which were scheduled for circulation. Skyminer
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                                           routers were just starting to ship, but sales had already outstripped production. Smietana estimated that
                                           operators who used Skyminers could make between fifteen thousand and forty-five thousand dollars a
                                           month. Most coinholders I spoke to were young men around the world—medical students, craftsmen,
                                           3-D animators—who believed in the project. In chat rooms, Smietana’s followers addressed him with
                                           reverence. “We all are in honor to speak with synth,” a user called Anosis wrote. “It’s like having a
                                           chance to talk to Satoshi.”


                                           Although Stephens studied computer science in college, he admitted that, when he started working with
                                           Skycoin, he “hardly knew anything about crypto.” He was told to handle marketing, and assembled a
                                           team composed mostly of friends and former associates. (Smietana now claims that he contracted a
                                           marketing company that Stephens ran, not Stephens himself.) But he soon realized that word about the
                                           project was already spreading. Large investors recruited in their own circles, and smaller coinholders
                                           hyped Skycoin on social media. At one point, Skycoin advertised a bounty program that promised users
                                           coins in exchange for promotional activities, such as writing blog posts and creating YouTube videos.
                                           One user-made video, titled “Skycoin - To the Moon,” featured footage of a shuttle blasting off next to a
                                           chart of Skycoin’s market value, interspersed with a closeup of glossy lips and the words “YOU
                                           COMIN’?” People who proved their worth on Telegram often got pulled up the ranks. “I started to
                                           spend 90 hours a week in the chat room,” a user called Sudo, who became one of Skycoin’s Telegram
                                           channel moderators, and who refused to tell me his name, messaged me. “They seen how active I was
                                           and offered me a job.”

                                           By early January, 2018, the total estimated value of pre-mined Skycoins had reached almost five billion
                                           dollars. Smietana sent representatives to conferences in New York, Lisbon, San Francisco, and
                                           Singapore, and arranged a retreat in Mauritius. A former marketing contractor, who requested
                                           anonymity out of fear of harassment, recalled that Smietana could spend lavishly on the people who
                                           worked with Skycoin, in one case paying for cryotherapy, vitamin injections, thousand-dollar steak
                                           dinners, and a twelve-thousand-dollar trip to the Esalen Institute. “Dude was very liberal with his
                                           spending and could be very generous,” the marketing contractor said. The team posted a video of a yacht
                                           party, and thundered around in Ferraris. In New York, Skycoin reps cruised in a helicopter to grab
                                           footage of a Skyminer held over Manhattan’s skyline.

                                           That month, Stephens flew to Las Vegas to speak on a panel at the CoinAgenda summit. He wasn’t up
                                           to speed on the technical aspects of Skycoin yet, but he held a Skyminer over his head and said, “You all
                                           are the first to see the new Internet!” On the first day of the conference, Smietana sent Stephens a voice
                                           memo with an urgent request. He was hoping to get Skycoin listed on Binance, one of the world’s
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 281 of 323 PageID #:297
                                           largest cryptocurrency exchanges, which could help secure its legitimacy. During the I.C.O. boom, it was
                                           common for projects to pay a “listing fee” in order to be included on an exchange. (Binance claims that it
                                           chooses projects based solely on “strict security, legal, and regulatory compliance standards.” In 2018,
                                           facing pressure, it announced that it would donate its listing fees to charity.) Smietana said that he had
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                                           paid Binance executives seven and a half million dollars but that they hadn’t followed through. (Binance
                                           confirmed that Skycoin paid it a hundred and fifty thousand Skycoins to spend on “promotion,” which
                                           were worth seven and a half million at the coin’s peak.) Smietana told Stephens to entertain the
                                           executives, to sweeten the deal. Stephens planned a party in a penthouse suite at the Bellagio. Smietana
                                           gave explicit instructions via voice messages: “You have to buy prostitutes for the people at Binance,” he
                                           said. “Get them, like, three girls each.” (Smietana denies any involvement in the party, and claims that
                                           his voice messages about it were “either a joke or a deep fake but probably a deep fake.”)

                                           That night, Stephens and Baron Chat, who had also started working on Skycoin’s marketing, along with
                                           Catherine Byerly, another member of the team, sat in the hotel suite, with champagne on ice. Six escorts
                                           arrived at nine, and the employees instructed them to make the Binance executives feel like “rock stars.”
                                           “To them, I was this, like, stereotypical businesswoman in an Ann Taylor dress,” Byerly said. “But inside
                                           I’m thinking, How did my decisions lead me here?” Chat said, “It felt almost like you were in the process
                                           of living out some bizarre reality that sometimes you see in the movies. The weird excess . . . Crazy shit
                                           happens when you have a corporate account and a green light.” By ten o’clock, the executives hadn’t
                                           shown up, and Stephens began to worry that he’d lost the deal. He couldn’t reach Smietana, so he
                                           frantically called the event organizers. They explained that not only had no Binance reps showed up at
                                           the conference—they weren’t even on the registration list. (A spokesperson at Binance told me that the
                                           company neither requested nor knew about the party.) “That’s when I started taking anything Brandon
                                           said with a grain of salt,” Stephens told me. Still, he decided that, “if this is going to be weird, I’m going
                                           to make it memorable weird.” Some of the escorts took their pay and left; the rest drank champagne and
                                           played Cards Against Humanity with the group into the morning.


                                                   hen Stephens returned from Las Vegas, he set about mapping Skycoin’s progress. One of the
                                           W       company’s main selling points was Obelisk, an algorithm that allowed it to send coins cheaply
                                           and quickly. On Telegram, Smietana insisted that everything that came before was “obsolete and
                                           primitive.” He boasted that Obelisk was written by Houwu Chen, a developer who had worked on
                                           Ethereum, the second-most popular cryptocurrency platform. He posted an academic paper written by
                                           Chen on the Skycoin Web site, claiming that it was a Skycoin white paper. But when Stephens reached
                                           out to Chen, he got no response. “We kept trying to chase people down to ask details, and it was slowly
                                           revealed it just . . . didn’t exist,” he told me. In a later discussion about technical details, a Skycoin
                                           “community manager” told coinholders that “it’s too advanced to share” and that the company “can’t
                                           trust the public with it.” When pressed, Smietana wrote, of Chen, “He is a recluse, I doubt anyone can
                                           contact him or he would respond.” Smietana eventually told me that Chen had taken a payment of a
                                           million Skycoins for his work on the white paper and then left the project. (Chen declined to comment,
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 282 of 323 PageID #:298
                                           saying, “Just don’t put my name in the article. That’s my statement.”) Stephens discovered that Obelisk
                                           had never been implemented. (Smietana now acknowledges this, but claims that the project has
                                           published some of Obelisk’s code and used it in simulations.)
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                                           Skycoin’s payments were fast, but only because transactions were processed on a single server, rather than
                                           on a decentralized network of computers. The server sat in the Shanghai office of Scott Freeman, the
                                           C.E.O. of the C2CX cryptocurrency exchange. This also meant that, if Smietana wanted to, he could
                                           freeze transactions. “The big thing about a blockchain is it’s supposed to be decentralized, and no single
                                           entity is supposed to be able to change it,” Freeman told me. He added, of Skycoin’s setup, “In a way, it
                                           makes you into a fraud.” (Smietana claims that his power to freeze transactions was designed as a
                                           security measure.) Freeman said that he nagged Smietana about implementing Obelisk but that
                                           Smietana told him, “People don’t really care. It’s not worth it. We should spend our resources on other
                                           things.” (Smietana denies this.)

                                           Skycoin’s Web site claimed that multiple payments were scrambled together to provide extra privacy, but
                                           this feature was never implemented in the Skycoin wallet. The pre-mined coins sat in virtual wallets
                                           under Smietana’s sole control. (When pressed, Smietana claimed that he shared control of the coins
                                           with a secret group of advisers, but refused to give me their names.) When Stephens asked to see
                                           Skycoin’s accounting books, Smietana explained that his girlfriend, Sarah, was in charge. Sarah told
                                           Stephens that the accounting was a work in progress. (Smietana denies directing Stephens to Sarah, and
                                           she denies being in charge of the project’s accounting.) Everything seemed haphazard. Stephens was
                                           once paid from a bank account in Mauritius registered under a different name; many employees were
                                           paid in bitcoin or Skycoin.

                                           In early February, 2018, a month after the CoinAgenda conference, Stephens booked a trip to Shanghai
                                           to see Smietana, determined to bring some order to Skycoin. One night, he had dinner with Smietana
                                           and members of a Chinese marketing team that Smietana had hired, at a steak house in Xuhui. As the
                                           dinner began, Smietana rose from his chair and launched into a rambling diatribe of conspiracy theories.
                                           For hours, he catalogued the hidden crimes of a class of global élites who controlled citizens through
                                           virtual reality, medical marijuana, and pornography. At some point, Stephens started recording Smietana
                                           on his phone. “We want to feminize the peasant population to make them more docile,” Smietana says.
                                           “It’s so they don’t revolt.”
                                           Stephens told me, “I just became shell-shocked. What the fuck have I gotten myself into?” He had seen
                                           Smietana post conspiracy theories on Telegram before, but he figured it was a joke. In the weeks after
                                           the dinner, Stephens tried to warn some investors, but felt that they brushed him off: “They would be,
                                           like, ‘Brandon is just doing his thing, and the value of the coin keeps going up.’ ”


                                               hortly after Stephens returned from Shanghai, a reporter named Tristan Greene published a
                                           S   scathing article about Skycoin on the Next Web, a technology-news Web site, condemning the
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                                           company for pre-mining its coins. The Skyminer router was being sold for one bitcoin—worth about
                                           ten thousand dollars at the time—but Greene highlighted the fact that it was constructed from
                                           components worth about six hundred dollars. Customers got back the ninety-four-hundred-dollar
                                           difference, but it came in Skycoin, which still sold only on small exchanges, making it difficult to trade
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                                           in quantity. (The software for the miners was also incomplete; users connecting to Skywire had no way
                                           to pay for the service. Smietana claims that this feature is still under development.) Stephens granted
                                           Greene an interview but couldn’t persuade him of the project’s legitimacy. Greene wrote, “Is it a scam?
                                           I’m 99 percent sure of it.”


                                           Skycoin went into full damage-control mode. The project had been running a black-ops marketing unit
                                           sometimes referred to as Shill Team Six, composed of users plucked from Telegram who specialized in
                                           manipulating attention on the Internet. The “shills” occasionally flooded 4chan and Reddit, keeping
                                           engagement up with memes and bots. A former member of Skycoin’s inner circle, who also requested
                                           anonymity, told me that if someone spoke ill of Skycoin the shills could be sent in to “make their life
                                           difficult,” by digging up embarrassing information. (Smietana denied directing the group, saying it was
                                           “completely out of control.”) The shills found that even bad publicity could be good for Skycoin. In a
                                           chat with investors, Smietana said that they sometimes spread negative rumors about Skycoin, in order
                                           to attract attention. “Direct promotion does not get to front page and has low click rate,” he wrote. “If
                                           they create contraversy, then it directs attention and clicks to skycoin.” (Smietana claimed that these
                                           messages were taken out of context.)

                                           Stephens knew that Smietana pored over texts about crowd psychology and even solicited advice from
                                           DJ Hives, an anonymous online personality who at one point used a Hitler avatar, on controlling public
                                           opinion. In voice messages, DJ Hives referred to Skycoin customers as “fish,” a poker term for easily
                                           exploited players, and encouraged Smietana to cultivate an aura of infallibility: “We want to put you on
                                           the level of deity as far as the masses are concerned.” (When contacted on Telegram, DJ Hives said,
                                           “None of this is correct,” and declined to comment further.)

                                           The team gamed search algorithms into ignoring Greene’s article. “We helped bury that page for a
                                           while,” Sudo, the anonymous user, who claimed to be part of Shill Team Six, messaged me on Telegram.
                                           (Smietana claimed that Skycoin ignored the article.) But word was already spreading. Skeptics showed
                                           up in Skycoin’s social-media channels to ask questions, and Skycoin moderators started blocking them.
                                           “After banning enough losers, everyone left will be winners,” Smietana wrote. Skycoin enthusiasts
                                           smeared Greene on Telegram, accusing him of writing a paid hit piece. When Greene showed up in the
                                           channel to address their concerns, moderators kicked him out. Someone claiming to be a Skycoin
                                           investor e-mailed Greene and threatened to “visit” him, his wife, and their son if he didn’t stop “messing”
                                           with Skycoin, writing, “nothing is really impossible in the world for people like us that grew theire
                                           wealth on crypto.”
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                                           Stephens contacted Michael Terpin, the adviser, to voice his worries, but, he said, “It turns out Terpin
                                           didn’t give a shit.” (Terpin told me that, by this time, his company was phasing out its involvement with
                                           Skycoin. “Brandon’s got a flair for the dramatic,” he said. “Honestly, that’s one reason I found it difficult
                                           to keep working with Skycoin.”) Stephens came up with a plan to strip Smietana of power and transfer
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                                           management of the company to a foundation; he still believed that Skycoin could become a reality if
                                           reasonable people were in charge. But, by late February, 2018, six weeks after he joined the project, he
                                           found that he was locked out of both the Skycoin Telegram and his work e-mail. Members of his team
                                           were locked out, too. “The whole thing was so terrible,” Chat, from the marketing team, told me.
                                           Smietana sent an e-mail to the Next Web denying that Stephens represented Skycoin. “The person you
                                           interviewed has nothing to do with Skycoin and is a known scammer,” Smietana wrote. “Please update
                                           the article.” Stephens heard from Smietana again in June, 2018, when Smietana sent him a mysterious
                                           Facebook message in which he claimed that he had acted out of concern for Stephens’s safety. “I saved
                                           your life. You do not even know,” Smietana wrote. “I will tell you in a few years.”


                                               n July, 2018, a recording leaked of Li Xiaolai, a Chinese billionaire and the founder of a coin that
                                           I   launched with an eighty-two-million-dollar token sale, giving his unfiltered perspective on the
                                           industry. “From the start, I knew one thing,” he said. “The main power to compete here is the traffic.”
                                           Successful coins accrue value, in other words, not because of technical sophistication but because they
                                           get people’s attention. This requires having a founder who can capture the imagination. “All the
                                           successful 100X, 1000X projects—you go and look at the founder, they will definitely be a spin doctor,”
                                           he said. What matters with a coin is that people are talking about it. “The consensus of idiots is still
                                           consensus,” he said.


                                           To some extent, this is true of most modern currencies: they have no value apart from what we
                                           collectively assign them. But the U.S. dollar is supported by government guarantees and controlled
                                           through monetary policies. Bitcoin abolished government backing, but its scarcity is regulated through
                                           algorithms. (Even so, a tweet or statement from a high-profile coinholder like Elon Musk can raise or
                                           crash its price.) Coins that are manually distributed in token sales provide even fewer assurances. It is
                                           often impossible to know how many are in circulation. Their value is built on a promise that some
                                           feature, often still in development, will make them more useful than other currencies. Until that promise
                                           is fulfilled, it is largely a matter of faith. “Money is a social construct,” Smietana wrote, on Telegram. “It
                                           is based upon CONFIDENCE . . . Confidence is a religion and is built upon perception and not
                                           reality.”

                                           Founders that control perception control the price of their coin. According to Chwierut, the blockchain
                                           researcher, during the I.C.O. bubble, it was not uncommon for founders to spend as much as thirty per
                                           cent of their budget on ad campaigns. Some of the effort went to gaming the attention economy,
                                           requesting mentions from influencers or using bots to create an illusion of broad support. Traders can
                                           even use these metrics to manage their portfolios: IntoTheBlock, a “crypto-intelligence” firm, tracks
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                                           Twitter mentions and Telegram-member counts and sells the information to investors; a data platform
                                           called Santiment alerts users when chatter about their coins surges. Recommendation algorithms can
                                           encourage the spread of incendiary content, and coins promoted with controversy and falsehood often
                                           perform well. Some coin promoters use stunts or scandals to keep users engaged. After closing a fifty-
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                                           million-dollar token sale, the founder of a cryptocurrency called Savedroid posted a picture of himself at
                                           what looked like an airport with a caption reading “Thanks guys! Over and out,” which was taken as a
                                           confession that he was running off with the funds. A day later, he revealed that he was trolling about
                                           escaping with the money, but only after several articles had been written about the scandal. The firm
                                           ASKfm hired mountaineers to climb Mt. Everest and film themselves leaving a cryptocurrency wallet on
                                           its peak. (The company released a statement saying, “On a market where launching a blockchain
                                           endeavor is not really a newsbreak, companies have to stand out.”) A sherpa died in the process.

                                           Market manipulation is rampant. In schemes called “pump and dumps,” traders meet in exclusive chat
                                           rooms where they coördinate to purchase a coin, causing the trading volume to go up and others to take
                                           interest. When the price is at its highest, the pump-and-dumpers sell, leaving faithful users holding the
                                           bag. In an industry where everyone is a coinholder, there is no one left to pull the alarm. Should
                                           investors realize that their coin is a sham, it would be an act of self-sabotage to raise concerns. Better to
                                           become evangelists, wooing others in order to boost the price.

                                           U.S. law generally requires projects to register with the S.E.C., forcing them to make financial
                                           disclosures that investors could then inspect before buying. Almost none do, giving convoluted rationales
                                           that John Reed Stark, the founder of the S.E.C.’s Internet-enforcement office, told me are “poppycock.”
                                           Not registering can facilitate further rule-breaking, as when, say, influencers promote coins without
                                           disclosing their investment, or projects pump coins with fraudulent claims. Stark said, of I.C.O.s, “Every
                                           single one I ever saw was unlawful on multiple levels.” The S.E.C. began cracking down in 2017, but
                                           prosecution often requires “extraordinary resources from an alphabet soup of federal and state law-
                                           enforcement agencies,” Stark said. As a result, few projects face consequences.


                                               n the spring of 2018, Skycoin climbed into the list of the top hundred coins, and appeared on a
                                           I   Nasdaq Web cast. That May, Binance announced that it would list Skycoin on its trading platform.
                                           Around the time of the listing, the price jumped thirty-eight per cent. Then, suddenly, it came crashing
                                           down. According to several people involved, Skycoin privately sold to investors at a steep discount—in
                                           at least one case, coins worth millions of dollars—inadvertently giving them an incentive to dump it on
                                           the market as soon as they could. (Smietana denied being involved in such sales.) Smietana had claimed
                                           on Telegram that the investors were restricted from selling. But, as soon as Binance listed Skycoin, the
                                           market flooded with sell orders. Freeman, from the C2CX exchange, had been acting as the project’s
                                           primary “market maker,” using a pool of reserves to provide market liquidity and stabilize prices. “I tried
                                           to hold at about twenty,” he told me. But the sell-off was too much to contain. Coinholders shared their
                                           misery on Telegram. “Its been fun guys, i’m gonns hang myself in 2 hours,” a user named Willy Jr. wrote.
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                                           “Bought 20K at 20 dollars.” A user named Dante wrote, “synth told me this shit would moon,” adding, “i
                                           took a mortage on my house.”


                                           A few weeks into the sell-off, a voice message from Smietana emerged on Telegram that seemed to
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                                           imply that the biggest Skycoin investors were coördinating their moves in a secret chat room. Smietana
                                           said in the message, of the investors, “Everyone was basically doing the exact opposite of whatever the
                                           public was doing.” (Smietana acknowledged being in the chat room at one point but claimed that he was
                                           barely involved.) Rumor spread that the S.E.C. would investigate Skycoin as a result, and that Binance
                                           was considering delisting it. In the public chat, coinholders prepared for a death spiral. A user called
                                           Opaque wrote, “I want to say calm down guys, but its really doesnt look good.”

                                           Then, out of nowhere, Smietana announced that he had big news to share once “all the staff are safe.” In
                                           the coming days, he accused members of the Chinese marketing team of breaking into his house with
                                           five gang members, holding him and his girlfriend hostage for six hours, beating him until one of his
                                           ribs broke, and stealing a small quantity of cryptocurrency. Members of the Chinese marketing team
                                           denied this. In a letter to investors, they claimed that Smietana and his girlfriend had pushed them out,
                                           refused to pay them, and frozen their Skycoin wallets, which contained coins that were then worth
                                           somewhere between four and nine million dollars. This was the first apparent instance of Smietana’s
                                           using his power to freeze Skycoin transactions. (Smietana claims that the wallets contained embezzled
                                           company funds.) In their letter, the marketing-team members claimed that they had been invited to
                                           Smietana’s apartment to find a resolution, and a small scuffle broke out in which he got a bruised wrist.
                                           Afterward, Smietana’s girlfriend filed a police report, and four defendants spent a few months in
                                           detention, after admitting to detaining Smietana and his girlfriend in an incident that left them “lightly”
                                           injured.

                                           Smietana blitzed Telegram with messages about the alleged “kidnapping.” “This is the best thing that
                                           has ever happened to Skycoin. Ever...As long as we can keep this drama going, we can get [the trading
                                           volume] even higher.” He amused himself by plotting new distractions: “Quick, someone photoshop
                                           video of me being beheaded by ISIS and see if you can get them to write an article about it.” But
                                           coinholders seemed not to buy it. When he did a live YouTube interview, shortly after the incident,
                                           someone commented, “I dont see one bruise on his face. beaten the shit out of me, what with ? a piece of
                                           toast.?” As the sell-off continued, Smietana blamed it on the “kidnappers” for dumping their stolen
                                           coins. “They have been surpressing the price the whole time,” he wrote.

                                           In November, 2018, Smietana, apparently growing desperate, enlisted John McAfee to promote the coin.
                                           McAfee, once famous for the antivirus software that he developed in the eighties, had earned a
                                           reputation as a kind of cyber outlaw: he was a “person of interest” in a murder in Belize, in 2012, and
                                           subsequently fled the country, later posting images of himself cruising the Caribbean in his yacht,
                                           brandishing guns. He was a sought-after crypto promoter. McAfee tweeted a video that seemed to show
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                                           him with the Skycoin logo freshly tattooed on his back and the message, “Why Skycoin? If you have to
                                           ask, you’ve been living in a fucking closet.” (Smietana admitted to paying McAfee during this period but
                                           insisted that it was a gift to help with “yacht repairs.”) Smietana urged people to buy: “If you put in a
                                           million dollars now, and we have a run just as large as the last one, you’re going to be at fifty million
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                                           dollars,” he said, in a video. Then, in March, 2019, McAfee publicly broke ties with Skycoin. (Smietana
                                           told me that McAfee began demanding large fees that he refused to pay.) When asked on Twitter what
                                           he would do about the tattoo, McAfee replied, “I’ll keep it as a reminder that no matter how old I get, I
                                           still get scammed by unscrupulous people with pie in the sky plans. They almost drove me to violence.”
                                           Stephens, watching from afar, felt that he had been spared the worst. He hadn’t behaved perfectly: he
                                           had been taken in by Skycoin’s promise, but he also promoted a coin that he knew little about. After
                                           being cut off, he took Skycoin’s social-media accounts hostage, and unsuccessfully demanded a severance
                                           payment. In the end, he told me, he sold his holdings for thirty thousand dollars. The internal drama
                                           and crashing prices prompted a broader exodus from the project. In 2019, Freeman’s exchange
                                           announced that it was delisting Skycoin. Michael Terpin’s name still appears on the Skycoin Web site,
                                           but he told me that he no longer has anything to do with it. Josh, the cryptocurrency investor, lost faith
                                           after visiting Smietana in China, last year. “Crypto is a bunch of con artists conning each other,” he said.
                                           “Obelisk was always a week away, and it still is.” He sold his holdings and told me that he lost ninety-
                                           nine per cent of his investment.

                                           Investors who sold at the peak would have made large profits, but many average coinholders suffered.
                                           (Smietana claimed that he urged restraint: “I told people not to put money into the market that they
                                           were not prepared to lose.”) Armon Koochek, a recent college graduate in Santa Barbara, California,
                                           invested in Skycoin in 2018, lured by the promise of a new Internet and excited by the “memes and
                                           content on Reddit and Twitter.” He lost some fifteen thousand dollars. He tried to warn others away
                                           from the project in the Telegram chat room, and was soon banned. “I hope I saved a lot of investors,” he
                                           told me. Dael Lithgow, a forty-five-year-old bootmaker in Pietermaritzburg, South Africa, invested
                                           most of his savings in Skycoin in 2017, and convinced his mother and girlfriend to invest, as well. Had
                                           they sold during the boom, the profits would have been “life-changing,” but they held on. “I really
                                           believed in what they were trying to do,” he told me. Today their coins are nearly worthless.

                                               n the summer of 2019, I met Smietana at a mozzarella bar in Manhattan. He was wearing all black,
                                           I  and his hair was starting to gray. As we sat, he warned me, unprompted, “Honestly, like, ninety-eight
                                           per cent of the people are scammers in blockchain.” Then, preëmpting my questions, he visited every bit
                                           of Skycoin intrigue. The “gang members” who kidnapped him in China had demanded “sixty million
                                           dollars.” The technology for Skywire, the decentralized Internet service, was already “working” and
                                           Obelisk was just “a few months” out. His girlfriend, Sarah, called several times while we were speaking.
                                           He showed me frantic messages from her, and said that he was blowing off an important meeting, but
                                           he kept talking, telling me about his coin’s promise. He seemed to regard me as the next potential pump.
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                                           Almost four hours into my lunch, I made an excuse to leave, saying that I needed to walk to my bank.
                                           Smietana followed along for almost thirty blocks, ranting about his court case in China. Eventually, I
                                           brought him to Times Square, where his girlfriend was waiting. She must have seen something in my
                                           eyes, and said, “He’s a mad scientist.” After New York, they were headed to the Caribbean, where they
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                                           would see Terpin and check out the crypto scene. They invited me to join. In the months that followed,
                                           Skycoin’s price dropped below a dollar a coin, but Smietana remained optimistic. He told me, on
                                           Telegram, that he had a new hardware lab where he was developing antennae for the Skyminer, and said
                                           that Skycoin was moving into the medical industry, agricultural automation, and underground mining.

                                           When I confronted Smietana about Skycoin’s history, he began sending me dozens of voice messages a
                                           day, spinning elaborate stories that often contradicted one another. Many could be corroborated only by
                                           people whom he swore existed but who couldn’t talk because they had government security clearance, or
                                           were in hiding, or because he didn’t know their real names. He attacked those who spoke ill of Skycoin,
                                           calling them criminals, junkies, and blackmailers. He claimed at first that he didn’t know Stephens (“I
                                           contacted advisor board and no one involved in Skycoin has heard of Bradford”), then that he was a “con
                                           artist,” then that he was a “federal informant/agent” trying to entrap him. At one point, Smietana even
                                           suggested that he wasn’t the real founder of Skycoin. I began to feel dizzy reporting this story, trying to
                                           sort through the layers of deception and to figure out whom I could trust. Everyone seemed to think
                                           that they could spin what I wrote to their advantage.

                                           Smietana continues to post in the Telegram chat room, assuring loyal coinholders that the features
                                           they’ve waited years for are almost complete. “In that Telegram group, he is king,” the former member of
                                           Skycoin’s inner circle told me. Former employees remain divided about Smietana’s motives. “It’s almost
                                           as if he viewed Skycoin as a money printer,” the former marketing contractor told me. “Everything that
                                           happened was a distraction or ruse to keep people in the dark while he kept his shit-coin casino
                                           operating.” It’s impossible to know how much Smietana made on the currency. (“Overall, I would say, I
                                           did ok,” Smietana wrote to me.) But other founders have pulled “exit scams,” dumping all of their coins
                                           at the market’s height and disappearing entirely, which Smietana never did. One of Skycoin’s lead
                                           software developers—who was also Smietana’s friend from college, and who requested anonymity out of
                                           fear of harassment—doesn’t think Smietana was in it to get rich: “Being a figurehead in blockchain is
                                           like being a cult leader and I think he enjoyed that more than the money.” At one point, Smietana sent
                                           me a voice message, asking, “Why didn’t I just take the seventy million and just, like, run off ?”

                                           In the past several years, the S.E.C. has charged multiple I.C.O. operators with offering unregistered
                                           securities and committing fraud, and the cases have resulted in settlements that have ordered hundreds
                                           of millions of dollars returned to coinholders. Last July, Jack Abramoff, who became famous, in 2006, for
                                           his role in a political-lobbying scheme, pleaded guilty to committing securities fraud with a token sale.
                                           The project, called AML BitCoin, published a white paper in 2017 that listed Smietana as one of its
                                           software developers. (Smietana claims that he was included without his consent.) In October, Spanish
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                                           authorities arrested McAfee on an extradition request from the U.S., where he faced charges of tax
                                           evasion and illegally promoting cryptocurrencies. (In June, he was found dead in his jail cell, in an
                                           apparent suicide.) In the past few years, cryptocurrency founders have tweaked their strategies; instead
                                           of I.C.O.s, they now hold “initial exchange o erings” and “initial decentralized exchange o erings.”




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                                           Stark, the former S.E.C. o cial, told me that the new terminology is “designed to create confusion and



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                                           avoid S.E.C. scrutiny, but all of it is the same.” David Silver, a lawyer who represents victims of
                                           cryptocurrency fraud, hopes that, as the S.E.C. enforces securities laws, fraud in the market will decrease.
                                           “Yesterday’s crypto heroes are tomorrow’s crypto felons,” he said. “The statute of limitations is very
                                           long.”

                                           This past January, a Telegram channel named after WallStreetBets, the Reddit forum that supercharged
                                           GameStop’s stock price, targeted Skycoin with a pumping campaign. As the pump spread to other
                                           social-media platforms, the price punched up above ve dollars per coin. The mood in the chat was


                                                                                                        fi
                                           ecstatic. “I’m frantically moving funds around to buy more,” a user named Krzys P wrote. Smietana
                                           wrote, “MOON MOON LAMBO MOON.” Stephens is now a software developer at Salesforce, and
                                           insists that he is done with cryptocurrency: “My personality is not well suited to fraud, and ma oso, and




                                                                                                                                             fi
                                           everything that crypto is.” He recently returned with his wife to Japan and sought out a new Shinto
                                           shrine where, he said, he wished for good health.




                                           New Yorker Favorites
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                                           Morgen Peck is a freelance journalist who has covered cryptocurrency since 2012.


                                           More:   Cryptocurrency   Bitcoin     Entrepreneurs   Fraud        Money   Technology




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                                                                  EXHIBIT B
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                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 293 of 323 PageID #:309
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                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 294 of 323 PageID #:310
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                                                                  EXHIBIT C
                                           Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 295 of 323 PageID #:311
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                       Case:scheduled
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      Judge: Calendar, W
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                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         IRIS Y. MARTINEZ
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FILED DATE: 9/11/2024 1:49 PM 2024L003661




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                                            Brandon     Smietana,    Skycoin   Global         )                                     Calendar, W
                                            Foundation Ltd., a Singapore Company, and         )                                     29323177
                                            Symbolic Analytics Inc., a Delaware               )
                                            Corporation,                                      )
                                                                                              )
                                                          Plaintiffs,                         )
                                                                                              )             Case No: 2024L003661
                                                          v.                                  )
                                                                                                            Calendar W
                                            Bradford Stephens, Aaron Kunstman, Joel Wayne )
                                            Cuthriell, Morgen Peck, Catherine Byerly, Advance )
                                            Magazine Publishers Inc. d/b/a The New Yorker, )
                                            and Unknown Individuals and Companies,            )
                                                                                              )
                                                          Defendants.                         )

                                              UNOPPOSED MOTION FOR EXTENSION OF TIME BY DEFENDANT ADVANCE
                                                      MAGAZINE PUBLISHERS INC. d/b/a THE NEW YORKER

                                                   Defendant Advance Magazine Publishers Inc. d/b/a The New Yorker (“Defendant”), by

                                            counsel, respectfully requests that this Court extend its time to answer or otherwise respond to

                                            Plaintiffs’ Second Amended Complaint, filed on September 9, 2024, until October 21, 2024.

                                            This requested extension is not presented for purposes of delay, but rather to allow Defendant to

                                            prepare the most appropriate responsive pleading to Plaintiffs’ Second Amended Complaint.

                                            Defendant had previously agreed to accept service in exchange for Plaintiffs’ agreement to extend

                                            the time to answer or otherwise respond to Plaintiffs’ prior complaint filed on July 24, 2024, until

                                            October 21, 2024. This unopposed motion is made to maintain that originally agreed-upon

                                            response time and because counsel has only recently been retained and wishes to have additional

                                            time to investigate Plaintiffs’ claims and prepare Defendant’s response accordingly. This motion

                                            is filed in good faith and no prejudice will result to the Plaintiffs by the granting of this motion.
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                                            Dated: September 11, 2024

                                                                                 Respectfully submitted,
FILED DATE: 9/11/2024 1:49 PM 2024L003661




                                                                                 DAVIS WRIGHT TREMAINE LLP

                                                                                 /s/ Harris L. Kay

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                                                                                 Attorneys for Advance Magazine Publishers Inc.
                                                                                 d/b/a The New Yorker




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                       Case:scheduled
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      Judge: Calendar, W
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                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                      IRIS Y. MARTINEZ
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                                            Brandon     Smietana,    Skycoin   Global         )                                Calendar, W
                                            Foundation Ltd., a Singapore Company, and         )                                29323177
                                            Symbolic Analytics Inc., a Delaware               )
                                            Corporation,                                      )
                                                                                              )
                                                          Plaintiffs,                         )
                                                                                              )         Case No: 2024L003661
                                                          v.                                  )
                                                                                                       Calendar W
                                            Bradford Stephens, Aaron Kunstman, Joel Wayne )
                                            Cuthriell, Morgen Peck, Catherine Byerly, Advance )
                                            Magazine Publishers Inc. d/b/a The New Yorker, )
                                            and Unknown Individuals and Companies,            )
                                                                                              )
                                                          Defendants.                         )

                                                                              NOTICE OF MOTION

                                            To:    SEE ATTACHED SERVICE LIST

                                                   PLEASE TAKE NOTICE that on September 17, 2024, at 9:00 a.m., or as soon thereafter
                                            as counsel may be heard, counsel for Defendant Advance Magazine Publishers Inc. d/b/a The New
                                            Yorker shall appear via Zoom before the Honorable Judge Donnelly, or any judge sitting in his
                                            stead in Room 1912 of the Richard J. Daley Center, and shall then and there present its
                                            UNOPPOSED MOTION FOR EXTENSION OF TIME BY DEFENDANT ADVANCE
                                            MAGAZINE PUBLISHERS INC. d/b/a THE NEW YORKER, copies of which are attached
                                            hereto and served upon you. To join via Zoom, use the following: Meeting ID 921-0771-7798,
                                            Password 881 878, Telephone (312) 626-6799.

                                            Dated: September 11, 2024
                                                                                        Respectfully submitted,

                                                                                        DAVIS WRIGHT TREMAINE LLP

                                                                                        /s/ Harris L. Kay

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                                                                                d/b/a The New Yorker




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                                                                              CERTIFICATE OF SERVICE

                                                   Harris L. Kay, attorney, certifies that he served the foregoing NOTICE OF MOTION and
FILED DATE: 9/11/2024 1:49 PM 2024L003661




                                            UNOPPOSED MOTION FOR EXTENSION OF TIME BY DEFENDANT ADVANCE
                                            MAGAZINE PUBLISHERS INC. d/b/a THE NEW YORKER by submission of a true and
                                            correct copy thereof to the court’s electronic filing system, causing the attorneys of record to
                                            receive a copy thereof at their registered e-mail addresses, on September 11, 2024. I have also
                                            caused a true and correct copy of the same to be delivered by email to:

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                                                   Under penalties as provided by law pursuant to Section 1-109 of the Illinois Code of Civil

                                            Procedure, the undersigned certifies that the statements set forth in this Certificate of Service are

                                            true and correct.


                                                                                                   /s/ Harris L. Kay




                                                                                             3
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                                                                            SERVICE LIST

                                            Party          Name                          Attorney
FILED DATE: 9/11/2024 1:49 PM 2024L003661




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                                            Defendants     Symbolic      Analytics   Inc., Unknown
                                                           Catherine Byerly, and Aaron
                                                           Kunstman,      Morgen     Peck
                                                           Bradford Stephens, Unknown
                                                           Individuals and Companies




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                     Case:
      Hearing Date: No hearing1:24-cv-08617
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      Judge: Calendar, W
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                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            Name all Parties

                                            BRANDON SMIETANA/SKYCOIN,


                                                                                     Plaintiff(s)
                                                                     V.
                                                                                                     Case No. 2024 L 003661
                                            MORGEN PECK


                                                                                   Defendant(s)

                                            76 Canal St., #5FL, New York, NY 10002

                                                                      Address of Defendant(s)
                                            Please serve as follows (check one):       Certified Mail       Sheriff Service Alias Process Server X
                                                                                      ALIAS SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court, within
                                            30 days after service of this summons, not counting the day of service. If you fail to do so, a judgment
                                            by default may be entered against you for the relief asked in the complaint.
                                                               THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
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                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

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                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
                                            www illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court
                                            hearing date AND for information whether your hearing will be held by video conference or by telephone.
                                            The Clerk's office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used
                                            to register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
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                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
                                            be returned so endorsed. This summons may not be served later than thirty (30) days after its date.




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
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                                            Telephone: (312) 553-5300 __________
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                                            Primary Email: james@bkchicagolaw.com

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                     Case:
      Hearing Date: No hearing1:24-cv-08617
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                                                                                                                                          29362488

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            Name all Parties

                                            BRANDON SMIETANA/SKYCOIN,


                                                                                    Plaintiff(s)
                                                                     V.
                                                                                                    Case No. 2024 L 003661
                                            BRANDON STEPHENS


                                                                              Defendant(s)
                                            c/o ServiceTitan, Inc.
                                            801 N. Brand Blvd., Glendale, CA 91203

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):      Certified Mail       Sheriff Service Alias Process Server X
                                                                                     ALIAS SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court, within
                                            30 days after service of this summons, not counting the day of service. If you fail to do so, a judgment
                                            by default may be entered against you for the relief asked in the complaint.
                                                               THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
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                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 307 of 323 PageID #:323


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                            service provider.
                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
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                                            www illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
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                                            A court date will be set in the future and you will be notified by email (either to the email address that you used
                                            to register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
                                            website: cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or
                                            contact the appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
                                            be returned so endorsed. This summons may not be served later than thirty (30) days after its date.




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________                                       9/13/2024 2:47 PM IRIS Y. MARTINEZ

                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 308 of 323 PageID #:324



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
                     Case:
      Hearing Date: No hearing1:24-cv-08617
                               scheduled    Document #: 1-2 Filed: 09/18/24 Page 309 of 323 PageID #:325
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                          FILED
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                                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                                          CIRCUIT CLERK
                                                                                                                                          COOK COUNTY, IL
FILED DATE: 9/13/2024 2:47 PM 2024L003661




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                                                                                                                                          Calendar, W
                                                                                                                                          29362488

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            Name all Parties

                                            BRANDON SMIETANA/SKYCOIN,


                                                                                     Plaintiff(s)
                                                                     V.
                                                                                                     Case No. 2024 L 003661
                                            BRANDON STEPHENS


                                                                                   Defendant(s)

                                            1649 North Fairfield Ave., Chicago, IL 60647

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):       Certified Mail       Sheriff Service Alias Process Server X
                                                                                      ALIAS SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                              Page 1 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 310 of 323 PageID #:326


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

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                                            service provider.
                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
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                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used
                                            to register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
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                                            contact the appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
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                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________                        9/13/2024 2:47 PM IRIS Y. MARTINEZ

                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 311 of 323 PageID #:327



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
                     Case:
      Hearing Date: No hearing1:24-cv-08617
                               scheduled    Document #: 1-2 Filed: 09/18/24 Page 312 of 323 PageID #:328
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                           FILED
                                                                                                                                           9/16/2024 10:11 AM
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                                                                                                                                           CIRCUIT CLERK
                                                                                                                                           COOK COUNTY, IL
FILED DATE: 9/16/2024 10:11 AM 2024L003661




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                                                                                                                                           Calendar, W
                                                                                                                                           29374072

                                             2120 - Served                2121- Served               2620 - Sec. of State
                                             2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                             2320 - Served By Mail        2321 - Served By Mail
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                                             Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                             Name all Parties

                                             BRANDON SMIETANA/SKYCOIN,


                                                                                      Plaintiff(s)
                                                                      V.
                                                                                                      Case No. 2024 L 003661
                                             BRADFORD STEPHENS


                                                                                    Defendant(s)

                                             289 Clinton Ave., Apt. 2, Brooklyn, NY 11205

                                                                     Address of Defendant(s)
                                             Please serve as follows (check one):       Certified Mail       Sheriff Service Alias Process Server X
                                                                                       ALIAS SUMMONS
                                             To each Defendant:
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                                                            Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                 cookcountyclerkofcourtorg
                                                                                               Page 1 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 313 of 323 PageID #:329


                                             Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

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                                                                                                                                          9/16/2024 10:11 AM IRIS Y. MARTINEZ




                                             Atty. No.: 48525 ______________________________ Witness date ________________________________


                                             Name:
                                             Barney & Karamanis, LLP.
                                             Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                             Plaintiff _____________________________________  Service by Certified Mail: ________
                                             Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                   (To be inserted by officer on copy left with employer or other person)
                                             City: Chicago, IL. 60601 ____________________
                                             Telephone: (312) 553-5300 __________
                                             Primary Email: james@bkchicagolaw.com

                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                       cookcountyclerkofcourt.org
                                                                                                     Page 2 of 3
                                                  Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 314 of 323 PageID #:330



                                                                    GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

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FILED DATE: 9/16/2024 10:11 AM 2024L003661




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                                                                                                        Gen. Info: (708) 974-6500
                                             Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                          DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                        Gen. Info: (708) 232-4551
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                                             Gen. Info: (312) 325-9500

                                                              LAW DIVISION
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                                                           PROBATE DIVISION
                                             Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                             Gen. Info: (312) 603-6441




                                                                 Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                     cookcountyclerkofcourt.org
                                                                                                  Page 3 of 3
                     Case:
      Hearing Date: No hearing1:24-cv-08617
                               scheduled    Document #: 1-2 Filed: 09/18/24 Page 315 of 323 PageID #:331
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                          FILED
                                                                                                                                          9/13/2024 2:47 PM
                                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                                          CIRCUIT CLERK
                                                                                                                                          COOK COUNTY, IL
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                                                                                                                          2024L003661
                                                                                                                                          Calendar, W
                                                                                                                                          29362488

                                            2120 - Served                2121- Served               2620 - Sec. of State
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                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            Name all Parties

                                            BRANDON SMIETANA/SKYCOIN,


                                                                                    Plaintiff(s)
                                                                     V.
                                                                                                    Case No. 2024 L 003661
                                            CATHERINE J. BYERLY


                                                                           Defendant(s)
                                            c/o Annuity.org
                                            1 S. Orange Ave, #500B, Orlando, FL 32801

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):      Certified Mail       Sheriff Service Alias Process Server X
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                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                             Page 1 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 316 of 323 PageID #:332


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

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                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
                                            with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that allows you to
                                            file in-person or by mail. Ask your circuit clerk for more information or visit wwwillinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver. For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to
                                            www illinoislegalaid.org. You can also ask your local circuit clerk's office for a fee waiver application.
                                            Please call or email the appropriate clerk's office location (on Page 3 of this summons) to get your court
                                            hearing date AND for information whether your hearing will be held by video conference or by telephone.
                                            The Clerk's office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used
                                            to register for efiling, or that you provided to the clerk's office).
                                            CONTACT THE CLERKS OFFICE for information regarding COURT DATES by visiting our
                                            website: cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or
                                            contact the appropriate clerk's office location listed on Page 3.
                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
                                            endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons shall
                                            be returned so endorsed. This summons may not be served later than thirty (30) days after its date.




                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                                                                                                  9/13/2024 2:47 PM IRIS Y. MARTINEZ
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 317 of 323 PageID #:333



                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
                                                                                                 Page 3 of 3
                     Case:
      Hearing Date: No hearing1:24-cv-08617
                               scheduled    Document #: 1-2 Filed: 09/18/24 Page 318 of 323 PageID #:334
      Location: <<CourtRoomNumber>>
      Judge: Calendar, W
                                                                                                                                          FILED
                                                                                                                                          9/13/2024 2:47 PM
                                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                                          CIRCUIT CLERK
                                                                                                                                          COOK COUNTY, IL
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                                                                                                                          2024L003661
                                                                                                                                          Calendar, W
                                                                                                                                          29362488

                                            2120 - Served                2121- Served               2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons                                               (12/01/20) CCG 0001 A

                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS


                                            Name all Parties

                                            BRANDON SMIETANA/SKYCOIN,


                                                                                     Plaintiff(s)
                                                                     V.
                                                                                                     Case No. 2024 L 003661
                                            AARON M. KUNSTMAN


                                                                                   Defendant(s)

                                            2101 13th Street, Sheboygan, WI 53081

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):       Certified Mail       Sheriff Service Alias Process Server X
                                                                                      ALIAS SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court, within
                                            30 days after service of this summons, not counting the day of service. If you fail to do so, a judgment
                                            by default may be entered against you for the relief asked in the complaint.
                                                               THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE. You will need: a computer with internet access; an email address;, a completed
                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.



                                                           Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                cookcountyclerkofcourtorg
                                                                                              Page 1 of 3
                                                 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 319 of 323 PageID #:335


                                            Summons - Alias Summons                                                                                   (12/01/20) CCG 0001 B

                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                            service provider.
                                            If you need additional help or have trouble e-filing, visit http://wwwillinoiscourts.gov/faq/gethelp.asp or talk
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                                            To the officer: (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with
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                                            Atty. No.: 48525 ______________________________ Witness date ________________________________


                                            Name:
                                            Barney & Karamanis, LLP.
                                            Atty. for                                                                   IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff _____________________________________  Service by Certified Mail: ________
                                            Address: 180 N. Stetson, Suite 3050 ________________  Date of Service: __________
                                                                                                                  (To be inserted by officer on copy left with employer or other person)
                                            City: Chicago, IL. 60601 ____________________
                                            Telephone: (312) 553-5300 __________
                                                                                                                   9/13/2024 2:47 PM IRIS Y. MARTINEZ
                                            Primary Email: james@bkchicagolaw.com

                                                                  Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                      cookcountyclerkofcourt.org
                                                                                                    Page 2 of 3
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                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date. Email your case number, or, if you
FILED DATE: 9/13/2024 2:47 PM 2024L003661




                                            do not have your case number, email the Plaintiff or Defendant's name for civil case types, or the Defendant's
                                            name and birthdate for a criminal case.


                                                         CHANCERY DIVISION                                     ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                      DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                  Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                             CIVIL DIVISION                            Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                  Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                              Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                    DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                  Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                          Gen. Info: (708) 865-6040
                                                              DIVISION                                           DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com          Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                             OR
                                                             ChildSupCourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 974-6500
                                            Gen. Info: (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                         DOMESTIC VIOLENCE                             Court date EMAIL: D6CourtDate@cookcountycourt.com
                                                                                                       Gen. Info: (708) 232-4551
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 325-9500

                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426

                                                          PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




                                                                Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                    cookcountyclerkofcourt.org
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               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT, LAW DIVISION

Brandon     Smietana,    Skycoin   Global         )
Foundation Ltd., a Singapore Company, and         )
Symbolic Analytics Inc., a Delaware               )
Corporation,                                      )
                                                  )
              Plaintiffs,                         )     Case No: 2024L003661
                                                  )
              v.                                  )     Hon. Thomas M. Donnelly
Bradford Stephens, Aaron Kunstman, Joel Wayne )
                                                        Calendar W
Cuthriell, Morgen Peck, Catherine Byerly, Advance )
Magazine Publishers Inc. d/b/a The New Yorker, )
and Unknown Individuals and Companies,            )
                                                  )
              Defendants.                         )

                                           ORDER

        This matter came before the Court for status, and on the unopposed motion for extension
of time to answer or otherwise respond to plaintiffs’ Second Amended Complaint filed Defendant
Advance Magazine Publishers Inc. d/b/a The New Yorker (the “Motion”).
       The Court being advised of the premises, it is HEREBY ORDERED:
1) The court grants the Motion. Defendant must answer or otherwise respond to Plaintiffs’
   Seconded Amended Complaint on or before October 21, 2024.

2) The court sets this matter for status on the pleadings on November 12, 2024, at 9:00 a.m. in
   courtroom 1912 or via Zoom at meeting ID: 921 0771 7798; Passcode: 881878.


                                            ENTERED:



                                            __________________________________
                                                   Hon. Thomas M. Donnelly




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 Case: 1:24-cv-08617 Document #: 1-2 Filed: 09/18/24 Page 323 of 323 PageID #:339




Order Prepared By:
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Chicago, Illinois 60654
(312) 820-5460
harriskay@dwt.com
conormcdonough@dwt.com
Counsel for Defendant American Publishers, Inc.


Seen and Agreed:
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Barney & Karamanis
Two Prudential Plaza
180 N. Stetson, Suite 3050
Chicago, Illinois 60601
(312) 553-5300
james@bkchicagolaw.com
Counsel for Plaintiffs

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Defendant Pro Se




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